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                                                                                                     Common Policy Declarations

                                               Policy Number: CPP-08129-E17-REG
Insured Information
 Insured Company Name: Sound Connection Distributors
                                      2801 Green Street                            Primary Contact:      Shimon Swissa
 Mailing Address:
                                      Hollywood, FL 33020                          Primary Contact Phn: (954) 924-2430
 Business Type:                       Corporation                                  Business Description: Distributor & Lessor's Risk
                                                                                   Business Website:

Agent Information
                           Riemer Insurance Group,                 Agent        217 East Hallandale Beach Blvd Hallandale Beach, FL
 Agent Name:
                           Inc.                                    Address:     33009
 Producer Name:            Lawrence Chiet                          Agent Phone: (305) 945-5529

Coverage Period
 Policy Effective Date:                           6/26/2017                        at 12:01 AM Standard Time at your Insured
 Policy Expiration Date:                          6/26/2018                        Company Address shown above.

Common Policy Declarations
In return for the payment of stated premium, and subject to all terms of this policy, we agree to provide insurance as stated in this policy. This policy consists of
the following coverage parts for which a premium is indicated. This premium may be subject to adjustment.
Property Coverage - Difference in Conditions:         Included
Commercial General Liability Coverage:                Included
Umbrella Coverage:                                    Not Included
Total Amount Due:                                     $22,949.00
Policy Payment Plan: 25% Down and Eight (8) Installments - subject to $6 service fee per installment

Endorsements and Optional Coverages
Applicable forms and endorsements are omitted if shown in specific Coverage Part / Coverage Form Declarations.
Standard IL Endorsements
API0414CRED - Credit Disclosure
                                                                              IL09350702 - Exclusion - Certain Computer Related Losses
API0414PRIV - Privacy Policy
                                                                              IL09850108 - Disclosure Pursuant to TRIA
API0414TERR - Terrorism Disclosure
                                                                              IL01750907 - Florida Changes - Legal Action Against Us
IL00171198 - Common Policy Conditions
                                                                              IL02550316 - Florida Changes - Cancellation and Nonrenewal
IL00210908 - Nuclear Energy Liability Exclusion
Policy IL Endorsements
IL09530115 - Exclusion of Certified Acts of Terrorism

Additional Policy Notes
These declarations and policy may not be altered in any way. Any modification without the expressed written consent of the Corporate Secretary voids the
policy and coverages contained therein.
                                                           Executed by: Douglas C Gorman
                                                            Douglas C. Gorman, Corporate Secretary
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                                                                  CPP Property Section Declarations


                                       Policy Number: CPP-08129-E17-REG

Insured Information
 Insured Company Name: Sound Connection Distributors
 Primary Contact Name:         Shimon Swissa                              Agent Name:                     Riemer Insurance Group, Inc.
 Primary Contact Phone:        (954) 924-2430                                                             217 East Hallandale Beach Blvd
                                                                          Agent Address:
                                                                                                          Hallandale Beach, FL 33009
                                                                          Agent Phone:                    (305) 945-5529

Endorsements and Notes
American Property Preferred Package Premier
Standard Property Endorsements          CP00900788 - Commercial Property Conditions
                                        CP01400706 - Exclusion of Loss Due to Virus/Bacteria
                                        CP10301012 - Causes of Loss - Special Form
                                        CP01250212 - Florida Changes
                                        CP00101012 - Building and Personal Property Coverage Form
Policy Property Endorsements            Emergency Repairs Limit – Subject to any other written correspondence, the specified aggregate
                                        annual limit afforded under this policy for the purpose of procuring emergency repairs or measures
                                        occurring within 96 hours of the loss occurrence, and exclusively to prevent subsequent loss to covered
                                        property is $25,000; and does not exceed any other applicable coverage limit(s). This provision does
                                        not supersede any conditions, limitations, loss adjustment procedures, or duties in the event of a loss as
                                        described in the policy documents and is subject to the specified deductible stated in your policy.




Description of Coverage Terms and Premises
Coverage Type: Commercial Inland Marine – Difference In Conditions
Causes of Loss Form: Special - Including Theft
Designated Location                       Occupancy                                                                    Effective Date
2801 Greene St HOLLYWOOD FL               Distributors, Auto Lot Rented to Others, Parking Lot Rented to
                                                                                                                       6/26/2017
33020                                     Others
    Deductible:        $1,000.00          Special Wind Deductible:           $177,500.00
    Inflation Guard:   N/A
    Building Limit:    $3,250,000.00      Replacement Cost                                                             80% coinsurance
    BPP Limit:         $370,000.00        Replacement Cost                                                             80% coinsurance
Additional Interests: Mortgagee: Marquis Bank ISAOA/ATIMA
                      355 Alhambra Circle, Ste 1200
                      Coral Gables, FL 33134
Location Specific Endorsements: CP00301012 - Business Income with Extra Expense: $180,000.00
                                    EB00200113 - Equipment Breakdown: Included as Sublimit of Building Value, Not to Exceed
                                    $2,000,000
                                    CP04051012 - Ordinance or Law Coverage: Coverage A Included as Sublimit of Building Value
                                    CP04051012 - Ordinance or Law Coverage: B&C Inclusive $650,000 Included as Sublimit of
                                    Building Value
Notice To Policy Holder:
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                                                      Commercial General Liability Section Declarations


                                     Policy Number: CPP-08129-E17-REG

Insured Information
 Insured Company Name: Sound Connection Distributors
 Primary Contact Name:                 Shimon Swissa                    Agent Name:                     Riemer Insurance Group, Inc.
 Primary Contact Phone:                (954) 924-2430                                                   217 East Hallandale Beach Blvd
                                                                        Agent Address:
                                                                                                        Hallandale Beach, FL 33009
                                                                        Agent Phone:                    (305) 945-5529

Common General Liability Limits of Insurance
Each Occurence Limit:                   $1,000,000.00
Policy Period Aggregate Limit:          $2,000,000.00
Coverage C - Medical Payments:          $5,000 Per Occurrence            *Coverage C Premium included in GL Premium
Damage to Premises Rented to You Limit: $100,000 Per Occurrence          *Premium included in GL Premium
Fire Legal Liability Limit:             $100,000 Aggregate Per Occurence
Endorsements and Notes
Standard GL               CG00010413 - Commercial General Liability Coverage Form - Occurrence
Endorsements              CG00991185 - Changes in General Liability Forms for Package Policy
                          CG21060514 - Exclusion - Access or Disclosure of Confidential or Personal Information and Data Related
                          Liability
                          CG21320509 - Communicable Disease Exclusion
                          CG21671204 - Fungi or Bacteria Exclusion
                          CG21730115 - Exclusion of Certified Acts of Terrorism
                          CG02200312 - Florida Changes- Cancellation and Nonrenewal
                          CG21471207 - Employment-Related Practices Exclusion
                          API1016CYBR - Cyber Liability Claims Made Cvg Retroactive to Current Term Inception
                          CG00370413 - Products / Completed Operations Liability Coverage Form




GL Line Endorsements      General Liability Deductible - $500 Per Occurrence
                          CG 20 18 04 13 - Additional Insured - Mortgagee, Assignee or Receiver



Insured Locations
                                                                                                                     Location Specific
Address                            Effective Occupancy
                                                                                                                     Endorsements
2801 Greene                                    Distributors, Auto Lot Rented to Others, Parking Lot Rented to
              HOLLYWOOD FL 33020 6/26/2017
St                                             Others




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                                                             API Package Policy Forms




                            INTERLINE FORMS




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                                       Disclosure - Credit Information Usage

      Under the Fair Credit and Reporting Act, an insurer is required to disclose to its customers whether credit
      information will be obtained on the applicant or insured and used as part of the insurance scoring process.

      This notice is to inform you that American Property Insurance Company will obtain and use credit information
      on you as a routine part of the insurance scoring process.

      If credit information is obtained or used on the applicant or insured, we are required to inform the applicant or
      insured of the name of each person on whom credit information was obtained or used and how each person's
      credit information was used to underwrite or rate the policy. This information may be provided with this disclosure
      or in a separate notice.

      Credit information is any credit-related information derived from a credit report itself or provided in an application
      for personal insurance. The term does not include information that is not credit-related, regardless of whether the
      information is contained in a credit report, in an application for insurance coverage, or is used to compute an
      insurance score.

      Insurance score is a number or rating derived from a mathematical formula, computer application, model, or other
      process that is based on credit information and used to predict the expected insurance loss exposure of a
      consumer.


      The types of factors that go into developing the insurance score are:

              Number of new applications for credit

              Payment history

              Bankruptcy, foreclosures, existence and extent of collection activity

              Credit history length

              Amount of outstanding debt in relation to credit limits

              Types of credit being used (eg: mortgage, installment loans)


      Race, religion, gender, ethnicity, age, income and residency are not considerations in the computation of insurance
      score.

      If you need any further information regarding the content of this disclosure, or feel that your score has been
      impacted by an extraordinary life event (e.g. death of an immediate family member, medical collections, dissolution
      of marriage, temporary loss of employment, identity theft, catastrophic illness, etc.), please contact your agent.




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                                            Privacy Policy

   Our policyholders are highly valued, and client confidentiality is of the utmost concern to us. It is
   imperative to make sure your personal information is protected and that you understand the
   policies that protect you, as there are various legal terms in our privacy policy that we are required
   to use. It is our intent to provide self-explanatory descriptions of the most frequently used legal
   terms. This is not a solicitation. You do not need to respond.
   This Privacy Policy describes the types of data we collect, use, share or disclose; and the kinds
   of companies with whom we may share such data. These examples serve only as illustrations
   and not an exhaustive list of the data we may collect, use or share. In addition, we must comply
   with various state and federal privacy laws that may apply to your information.


   Privacy Principles
         We do not sell your personal information.
         We do not share customer information with anyone unless you expressly authorize the
          sharing, or it is permitted or required by law.
         We do not allow those with whom we do business to use our customer information for their
          own marketing purposes. We require any person or business providing products or services
          on our behalf to safeguard our customer information.


   Information We May Collect
   The types of information we may collect and how we gather it:
   1. From you (or provided to us on your behalf), on applications and other forms you submit to us;
   for example: your name; address; tax identification number; telephone number; driving record;
   transaction history; claims history; premiums.
   2. From consumer reporting agencies, public records and data collection agencies; for example:
   your obligations with others and your creditworthiness.
   3. From you when you enroll, request a service, or file a claim; for example: your name, address,
   credit card issuer and policy number, e-mail address, claim information.
   4. From your visits to our Internet websites; for example: session number and IP address. By
   reviewing the legal notice, terms of use, site agreement or similar named link appearing on any of
   our
   websites that you visit you may learn of any "cookies" utilized by us and of any additional
   information that
   may be collected from you on that site

   Information We May Disclose or Share and with Whom
   We may share customer information with other entities as needed to deliver products and
   services to you,
   provide customer service, or handle your account.
   Disclosures Permitted by Law
   We may share customer information as described above and as permitted by law.




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   Information Regarding Former Customers
   We treat the information of prospective, current, and former customers in the same manner with
   respect to the use of personal information.
   Our Security Procedures
   We restrict access to customer information to those employees only that have a valid business purpose
   to access such data. The safeguards we maintain are physical, electronic and procedural in nature. We
   require those who
   provide services for us and to whom we may share your data with to keep it safeguarded and
   confidential.
   Changes to this Privacy Policy
   We reserve the right to change this Privacy Policy at our discretion. If we make material changes,
   we will provide current and prospective policyholders a new notice that describes our new practices
   and will post it on our website.
   Notice of Insurance Information Practices
   We may collect personal information from persons other than the individual or individuals proposed for
   coverage. Personal information as well as other personal or privileged information subsequently
   collected by us
   may in certain circumstances be disclosed to a third party without your authorization. You have the right
   to
   access and correct all personal information collected.
   We value our relationship with all of our policyholders. If you have any questions about our Privacy
   Policy, please write to us at American Property Insurance Company 36 Corbett Way Eatontown, NJ
   07724 or e-mail us your question at info@api-nj.com. Thank you.




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       Policyholder Disclosure Notice of Terrorism Insurance Coverage


   You are hereby notified that under the Terrorism Risk Insurance Act, as amended, that you have a right to
   purchase insurance coverage for losses resulting from acts of terrorism, as defined in Section 102(1) of
   the Act: The term "act of terrorism" means any act that is certified by the Secretary of the Treasury- in
   concurrence with the Secretary of State, and the Attorney General of the United States- to be an act of
   terrorism; to be a violent act or an act that is dangerous to human life, property, or infrastructure; to have
   resulted in damage within the United States, or outside the United States in the case of certain air carriers
   or vessels or the premises of a United States mission; and to have been committed by an individual or
   individuals as part of an effort to coerce the civilian population of the United States or to influence the
   policy or affect the conduct of the United States Government by coercion.
   YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY THIS POLICY FOR LOSSES
   RESULTING FROM CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE PARTIALLY
   REIMBURSED BY THE UNITED STATES GOVERNMENT UNDER A FORMULA ESTABLISHED BY
   FEDERAL LAW. HOWEVER, YOUR POLICY MAY CONTAIN OTHER EXCLUSIONS WHICH MIGHT
   AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION FOR NUCLEAR EVENTS. UNDER THE
   FORMULA, THE UNITED STATES GOVERNMENT GENERALLY REIMBURSES 85% OF COVERED
   TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY THE
   INSURANCE COMPANY PROVIDING THE COVERAGE. THE PREMIUM CHARGED FOR THIS
   COVERAGE IS PROVIDED ON THE DECLARATIONS AND DOES NOT INCLUDE ANY CHARGES
   FOR THE PORTION OF LOSS THAT MAY BE COVERED BY THE FEDERAL GOVERNMENT UNDER
   THE ACT.
   YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS AMENDED,
   CONTAINS A $100 BILLION CAP THAT LIMITS U.S. GOVERNMENT REIMBURSEMENT AS WELL AS
   INSURERS LIABILITY FOR LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM WHEN
   THE AMOUNT OF SUCH LOSSES IN ANY ONE CALENDAR YEAR EXCEEDS $100 BILLION. IF THE
   AGGREGATE INSURED LOSSES FOR ALL INSURERS EXCEED $100 BILLION, YOUR COVERAGE
   MAY BE REDUCED.
   IF YOU DO NOT RESPOND TO THIS NOTIFICATION YOUR SELECTION OF ACCEPTANCE OR
   REJECTION OF TERRORISM INSURANCE COVERAGE WILL CONTINUE AS PER YOUR INITIAL
   SELECTION OR ON YOUR EXISTING POLICY UPON RENEWAL.




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                                                                                                      IL 00 17 11 98


                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                      b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
      tions may cancel this policy by mailing or deliv-              c. Recommend changes.
      ering to us advance written notice of cancella-            2. We are not obligated to make any inspections,
      tion.                                                         surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
      ering to the first Named Insured written notice               surability and the premiums to be charged. We
      of cancellation at least:                                     do not make safety inspections. We do not un-
       a. 10 days before the effective date of cancel-              dertake to perform the duty of any person or
          lation if we cancel for nonpayment of pre-                organization to provide for the health or safety
          mium; or                                                  of workers or the public. And we do not warrant
                                                                    that conditions:
       b. 30 days before the effective date of cancel-
          lation if we cancel for any other reason.                  a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first                b. Comply with laws, regulations, codes or
      Named Insured's last mailing address known to                     standards.
      us.                                                        3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective               only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end              service or similar organization which makes in-
      on that date.                                                 surance inspections, surveys, reports or rec-
                                                                    ommendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first             any inspections, surveys, reports or recom-
      Named Insured cancels, the refund may be                      mendations we may make relative to certifica-
      less than pro rata. The cancellation will be ef-              tion, under state or municipal statutes, ordi-
      fective even if we have not made or offered a                 nances or regulations, of boilers, pressure ves-
      refund.                                                       sels or elevators.
   6. If notice is mailed, proof of mailing will be suffi-    E. Premiums
      cient proof of notice.                                     The first Named Insured shown in the Declara-
B. Changes                                                       tions:
   This policy contains all the agreements between               1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                    and
   The first Named Insured shown in the Declarations             2. Will be the payee for any return premiums we
   is authorized to make changes in the terms of this               pay.
   policy with our consent. This policy's terms can be        F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued                  Policy
   by us and made a part of this policy.
                                                                 Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                         transferred without our written consent except in
   We may examine and audit your books and rec-                  the case of death of an individual named insured.
   ords as they relate to this policy at any time during         If you die, your rights and duties will be transferred
   the policy period and up to three years afterward.            to your legal representative but only while acting
D. Inspections And Surveys                                       within the scope of duties as your legal repre-
   1. We have the right to:                                      sentative. Until your legal representative is ap-
                                                                 pointed, anyone having proper temporary custody
       a. Make inspections and surveys at any time;              of your property will have your rights and duties
                                                                 but only with respect to that property.




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                                                                                                    IL 00 21 09 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                   (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                               C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"            or "property damage" resulting from "hazard-
      or "property damage":                                       ous properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                 (1) The "nuclear material" (a) is at any "nuclear
         the policy is also an insured under a nucle-                 facility" owned by, or operated by or on be-
         ar energy liability policy issued by Nuclear                 half of, an "insured" or (b) has been dis-
         Energy Liability Insurance Association, Mu-                  charged or dispersed therefrom;
         tual Atomic Energy Liability Underwriters,               (2) The "nuclear material" is contained in
         Nuclear Insurance Association of Canada                      "spent fuel" or "waste" at any time pos-
         or any of their successors, or would be an                   sessed, handled, used, processed, stored,
         insured under any such policy but for its                    transported or disposed of, by or on behalf
         termination upon exhaustion of its limit of li-              of an "insured"; or
         ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                    arises out of the furnishing by an "insured"
         of "nuclear material" and with respect to                    of services, materials, parts or equipment in
         which (a) any person or organization is re-                  connection with the planning, construction,
         quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
         suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
         any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
         sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
         would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
         United States of America, or any agency                      age" to such "nuclear facility" and any
         thereof, under any agreement entered into                    property thereat.
         by the United States of America, or any            2. As used in this endorsement:
         agency thereof, with any person or organi-
         zation.                                               "Hazardous properties" includes radioactive, toxic
                                                               or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily inju-          "Nuclear material" means "source material", "spe-
      ry" resulting from the "hazardous properties" of         cial nuclear material" or "by-product material".
      "nuclear material" and arising out of the opera-
      tion of a "nuclear facility" by any person or or-
      ganization.




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   "Source material", "special nuclear material", and             (c) Any equipment or device used for the pro-
   "by-product material" have the meanings given                      cessing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                    nuclear material" if at any time the total
   law amendatory thereof.                                            amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                   the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-                equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                         or contains more than 25 grams of plutoni-
                                                                      um or uranium 233 or any combination
   "Waste" means any waste material (a) containing                    thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                   235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed              (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)               or place prepared or used for the storage or
   resulting from the operation by any person or or-                  disposal of "waste";
   ganization of any "nuclear facility" included under         and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nucle-       is located, all operations conducted on such site
   ar facility".                                               and all premises used for such operations.
   "Nuclear facility" means:                                   "Nuclear reactor" means any apparatus designed
     (a) Any "nuclear reactor";                                or used to sustain nuclear fission in a self-
                                                               supporting chain reaction or to contain a critical
     (b) Any equipment or device designed or used              mass of fissionable material.
         for (1) separating the isotopes of uranium or
         plutonium, (2) processing or utilizing "spent         "Property damage" includes all forms of radioac-
         fuel", or (3) handling, processing or packag-         tive contamination of property.
         ing "waste";




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                                                                                                 IL 09 35 07 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
This endorsement modifies insurance provided under the following:

   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. We will not pay for loss ("loss") or damage caused         2. Any advice, consultation, design, evaluation,
   directly or indirectly by the following. Such loss            inspection, installation, maintenance, repair,
   ("loss") or damage is excluded regardless of any              replacement or supervision provided or done
   other cause or event that contributes concurrently            by you or for you to determine, rectify or test
   or in any sequence to the loss ("loss") or damage.            for, any potential or actual problems described
   1. The failure, malfunction or inadequacy of:                 in Paragraph A.1. of this endorsement.
      a. Any of the following, whether belonging to        B. If an excluded Cause of Loss as described in
         any insured or to others:                            Paragraph A. of this endorsement results:
         (1) Computer hardware, including micro-              1. In a Covered Cause of Loss under the Crime
             processors;                                         and Fidelity Coverage Part, the Commercial In-
                                                                 land Marine Coverage Part or the Standard
         (2) Computer application software;                      Property Policy; or
         (3) Computer operating systems and relat-            2. Under the Commercial Property Coverage
             ed software;                                        Part:
         (4) Computer networks;                                   a. In a "Specified Cause of Loss", or in eleva-
         (5) Microprocessors (computer chips) not                    tor collision resulting from mechanical
             part of any computer system; or                         breakdown, under the Causes of Loss –
                                                                     Special Form; or
         (6) Any other computerized or electronic
             equipment or components; or                          b. In a Covered Cause of Loss under the
                                                                     Causes Of Loss – Basic Form or the Caus-
      b. Any other products, and any services, data
                                                                     es Of Loss – Broad Form;
         or functions that directly or indirectly use or
         rely upon, in any manner, any of the items           we will pay only for the loss ("loss") or damage
         listed in Paragraph A.1.a. of this endorse-          caused by such "Specified Cause of Loss", eleva-
         ment;                                                tor collision, or Covered Cause of Loss.
      due to the inability to correctly recognize, pro-    C. We will not pay for repair, replacement or modifi-
      cess, distinguish, interpret or accept one or           cation of any items in Paragraphs A.1.a. and
      more dates or times. An example is the inability        A.1.b. of this endorsement to correct any deficien-
      of computer software to recognize the year              cies or change any features.
      2000.




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POLICY NUMBER:
                                                                                                    IL 09 85 01 08

    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

          DISCLOSURE PURSUANT TO TERRORISM RISK
                      INSURANCE ACT
                                                      SCHEDULE

 Terrorism Premium (Certified Acts) $
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s), Cover-
 age Form(s) and/or Policy(s):




 Additional information, if any, concerning the terrorism premium:




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium                                     C. Cap On Insurer Participation In Payment Of
   In accordance with the federal Terrorism Risk In-            Terrorism Losses
   surance Act, we are required to provide you with a           If aggregate insured losses attributable to terrorist
   notice disclosing the portion of your premium, if            acts certified under the Terrorism Risk Insurance
   any, attributable to coverage for terrorist acts certi-      Act exceed $100 billion in a Program Year (Janu-
   fied under the Terrorism Risk Insurance Act. The             ary 1 through December 31) and we have met our
   portion of your premium attributable to such cov-            insurer deductible under the Terrorism Risk Insur-
   erage is shown in the Schedule of this endorse-              ance Act, we shall not be liable for the payment of
   ment or in the policy Declarations.                          any portion of the amount of such losses that ex-
B. Disclosure Of Federal Participation In Payment               ceeds $100 billion, and in such case insured loss-
   Of Terrorism Losses                                          es up to that amount are subject to pro rata alloca-
                                                                tion in accordance with procedures established by
   The United States Government, Department of the              the Secretary of the Treasury.
   Treasury, will pay a share of terrorism losses in-
   sured under the federal program. The federal
   share equals 85% of that portion of the amount of
   such insured losses that exceeds the applicable
   insurer retention. However, if aggregate insured
   losses attributable to terrorist acts certified under
   the Terrorism Risk Insurance Act exceed $100 bil-
   lion in a Program Year (January 1 through De-
   cember 31), the Treasury shall not make any
   payment for any portion of the amount of such
   losses that exceeds $100 billion.




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                                                                         IL 01 75 09 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      FLORIDA CHANGES – LEGAL ACTION AGAINST US
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART

The following replaces the second paragraph of the
Legal Action Against Us Condition:
LEGAL ACTION AGAINST US
Legal action against us involving direct physical loss
or damage to property must be brought within 5 years
from the date the loss occurs.




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                                                                                                    IL 02 55 03 16

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  FLORIDA CHANGES – CANCELLATION
                         AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   STANDARD PROPERTY POLICY

A. Paragraph 2. of the Cancellation Common Policy                  (2) Solely on the basis of a single property
   Condition is replaced by the following:                              insurance claim which is the result of
   2. Cancellation For Policies In Effect 90 Days                       water damage, unless we can
      Or Less                                                           demonstrate that you have failed to take
                                                                        action reasonably requested by us to
      a. If this policy has been in effect for 90 days                  prevent a future similar occurrence of
         or less, we may cancel this policy by                          damage to the insured property.
         mailing or delivering to the first Named
         Insured written notice of cancellation,           B. Paragraph 5. of the Cancellation Common Policy
         accompanied by the specific reasons for              Condition is replaced by the following:
         cancellation, at least:                              5. If this policy is cancelled, we will send the first
         (1) 10 days before the effective date of                Named Insured any premium refund due. If we
             cancellation     if  we     cancel  for             cancel, the refund will be pro rata. If the first
             nonpayment of premium; or                           Named Insured cancels, the refund may be
                                                                 less than pro rata. If the return premium is not
         (2) 20 days before the effective date of                refunded with the notice of cancellation or
             cancellation if we cancel for any other             when this policy is returned to us, we will mail
             reason, except we may cancel                        the refund within 15 working days after the
             immediately if there has been:                      date cancellation takes effect, unless this is an
            (a) A     material     misstatement   or             audit policy.
                misrepresentation; or                            If this is an audit policy, then, subject to your
           (b) A failure to comply with underwriting             full cooperation with us or our agent in securing
                requirements established by the                  the necessary data for audit, we will return any
                insurer.                                         premium refund due within 90 days of the date
      b. We may not cancel:                                      cancellation takes effect. If our audit is not
                                                                 completed within this time limitation, then we
        (1) On the basis of property insurance                   shall accept your own audit, and any premium
            claims that are the result of an act of              refund due shall be mailed within 10 working
            God, unless we can demonstrate, by                   days of receipt of your audit.
            claims frequency or otherwise, that you
            have failed to take action reasonably                The cancellation will be effective even if we
                                                                 have not made or offered a refund.
            necessary as requested by us to
            prevent recurrence of damage to the
            insured property; or




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C. The following is added to the Cancellation                         (2) 45 days before the effective date of
   Common Policy Condition:                                               cancellation if:
   7. Cancellation For Policies In Effect For More                       (a) Cancellation is for one or more of the
      Than 90 Days                                                           reasons stated in Paragraphs 7.a.(2)
      a. If this policy has been in effect for more                          through 7.a.(7) above, and this policy
         than 90 days, we may cancel this policy                             does not cover a residential structure
         only for one or more of the following                               or its contents; or
         reasons:                                                        (b) Cancellation is based on the reason
        (1) Nonpayment of premium;                                           stated in Paragraph 7.a.(8) above;
        (2) The policy was obtained by a material                     (3) 120 days before the effective date of
             misstatement;                                                cancellation if:
        (3) In the event of failure to comply, within                    (a) Cancellation is for one or more of the
             90 days after the effective date of                             reasons stated in Paragraphs 7.a.(2)
             coverage,         with        underwriting                      through 7.a.(7) above; and
             requirements established by us before                        (b) This policy covers a residential
             the effective date of coverage;                                   structure or its contents.
        (4) There has been a substantial change in                c. If this policy has been in effect for more
             the risk covered by the policy;                          than 90 days and covers a residential
        (5) The cancellation is for all insureds under                structure or its contents, we may not cancel
             such policies for a given class of                       this policy based on credit information
             insureds;                                                available in public records.
        (6) On the basis of property insurance              D. The following is added:
             claims that are the result of an act of           Nonrenewal
             God, if we can demonstrate, by claims             1. If we decide not to renew this policy, we will
             frequency or otherwise, that you have                mail or deliver to the first Named Insured
             failed to take action reasonably                     written notice of nonrenewal, accompanied by
             necessary as requested by us to                      the specific reason for nonrenewal, at least:
             prevent recurrence of damage to the
             insured property;                                    a. 45 days prior to the expiration of the policy
                                                                      if this policy does not cover a residential
        (7) On the basis of a single property                         structure or its contents, or if nonrenewal is
             insurance claim which is the result of                   for the reason stated in Paragraph D.5.; or
             water damage, if we can demonstrate
             that you have failed to take action                  b. 120 days prior to the expiration of the policy
             reasonably requested by us to prevent a                  if this policy covers a residential structure or
             future similar occurrence of damage to                   its contents.
             the insured property; or                          2. Any notice of nonrenewal will be mailed or
        (8) The cancellation of some or all of our                delivered to the first Named Insured at the last
             policies is necessary to protect the best            mailing address known to us. If notice is
             interests of the public or policyholders             mailed, proof of mailing will be sufficient proof
             and such cancellation is approved by                 of notice.
             the Florida Office of Insurance                   3. We may not refuse to renew this policy:
             Regulation.                                          a. On the basis of property insurance claims
      b. If we cancel this policy for any of these                    that are the result of an act of God, unless
         reasons, we will mail or deliver to the first                we can demonstrate, by claims frequency
         Named       Insured     written    notice    of              or otherwise, that you have failed to take
         cancellation, accompanied by the specific                    action reasonably necessary as requested
         reasons for cancellation, at least:                          by us to prevent recurrence of damage to
        (1) 10 days before the effective date of                      the insured property;
             cancellation if cancellation is for
             nonpayment of premium;




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       b. On the basis of filing of claims for sinkhole             b. We may cancel or nonrenew the policy prior
          loss. However, we may refuse to renew this                   to restoration of the structure or its contents
          policy if:                                                   for any of the following reasons:
         (1) The total of such property insurance                     (1) Nonpayment of premium;
              claim payments for this policy equals or                (2) Material misstatement or fraud related to
              exceeds the policy limits in effect on the                   the claim;
              date of loss for property damage to the
              covered building; or                                     (3) We       determine      that you    have
                                                                            unreasonably caused a delay in the
          (2) You have failed to repair the structure in                    repair of the structure; or
               accordance with the engineering
               recommendations upon which any loss                     (4) We have paid the policy limits.
               payment or policy proceeds were based;                   If we cancel or nonrenew for nonpayment of
               or                                                       premium, we will give you 10 days' notice. If
       c. Solely on the basis of a single property                      we cancel or nonrenew for a reason listed
           insurance claim which is the result of water                 in Paragraph b.(2), b.(3) or b.(4), we will
           damage, unless we can demonstrate that                       give you 45 days' notice.
           you have failed to take action reasonably             2. With respect to a policy covering a residential
           requested by us to prevent a future similar              structure or its contents, any cancellation or
           occurrence of damage to the insured                      nonrenewal that would otherwise take effect
           property.                                                during the duration of a hurricane will not take
   4. Notwithstanding the provisions of Paragraph                   effect until the end of the duration of such
       D.3., we may refuse to renew this policy if this             hurricane, unless a replacement policy has
       policy includes Sinkhole Loss coverage. If we                been obtained and is in effect for a claim
       nonrenew this policy for purposes of removing                occurring during the duration of the hurricane.
       Sinkhole Loss coverage, pursuant to section                  We may collect premium for the period of time
       627.706, Florida Statutes, we will offer you a               for which the policy period is extended.
       policy that includes catastrophic ground cover            3. With respect to Paragraph E.2., a hurricane is
       collapse coverage.                                           a storm system that has been declared to be a
   5. Notwithstanding the provisions of Paragraph                   hurricane by the National Hurricane Center of
       D.3., we may refuse to renew this policy if                  the National Weather Service (hereafter
       nonrenewal of some or all of our policies is                 referred to as NHC). The hurricane occurrence
       necessary to protect the best interests of the               begins at the time a hurricane watch or
       public or policyholders and such nonrenewal is               hurricane warning is issued for any part of
       approved by the Florida Office of Insurance                  Florida by the NHC and ends 72 hours after
       Regulation.                                                  the termination of the last hurricane watch or
                                                                    hurricane warning issued for any part of Florida
E. Limitations On Cancellation And Nonrenewal                       by the NHC.
   In The Event Of Hurricane Or Wind Loss –
   Residential Property
   1. The following provisions apply to a policy
       covering a residential structure or its contents,
       if such property has sustained damage as a
       result of a hurricane or windstorm that is the
       subject of a declaration of emergency by the
       Governor and filing of an order by the
       Commissioner of Insurance Regulation:
       a. Except as provided in Paragraph E.1.b., we
           may not cancel or nonrenew the policy until
           at least 90 days after repairs to the
           residential structure or its contents have
           been substantially completed so that it is
           restored to the extent that it is insurable by
           another insurer writing policies in Florida. If
           we elect to not renew the policy, we will
           provide at least 100 days' notice that we
           intend to nonrenew 90 days after the
           substantial completion of repairs.




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POLICY NUMBER:                                                                                         IL 09 53 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   STANDARD PROPERTY POLICY

                                                    SCHEDULE

The Exception Covering Certain Fire Losses (Paragraph C) applies to property located in the following state(s),
if covered under the indicated Coverage Form, Coverage Part or Policy:


                        State(s)                                Coverage Form, Coverage Part Or Policy




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following definition is added with respect to        B. The following exclusion is added:
   the provisions of this endorsement:                         CERTIFIED ACT OF TERRORISM EXCLUSION
   "Certified act of terrorism" means an act that is           We will not pay for loss or damage caused directly
   certified by the Secretary of the Treasury, in              or indirectly by a "certified act of terrorism". Such
   accordance with the provisions of the federal               loss or damage is excluded regardless of any
   Terrorism Risk Insurance Act, to be an act of               other cause or event that contributes concurrently
   terrorism pursuant to such Act. The criteria                or in any sequence to the loss.
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:    C. Exception Covering Certain Fire Losses
   1. The act resulted in insured losses in excess of          The following exception to the exclusion in
      $5 million in the aggregate, attributable to all         Paragraph B. applies only if indicated and as
      types of insurance subject to the Terrorism              indicated in the Schedule of this endorsement.
      Risk Insurance Act; and                                  If a "certified act of terrorism" results in fire, we will
   2. The act is a violent act or an act that is               pay for the loss or damage caused by that fire.
      dangerous to human life, property or                     Such coverage for fire applies only to direct loss or
      infrastructure and is committed by an individual         damage by fire to Covered Property. Therefore, for
      or individuals as part of an effort to coerce the        example, the coverage does not apply to
      civilian population of the United States or to           insurance provided under Business Income and/or
      influence the policy or affect the conduct of the        Extra Expense coverage forms or endorsements
      United States Government by coercion.                    which apply to those forms, or to the Legal Liability
                                                               Coverage Form or the Leasehold Interest
                                                               Coverage Form.




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   If aggregate insured losses attributable to terrorist   D. Application Of Other Exclusions
   acts certified under the Terrorism Risk Insurance          The terms and limitations of any terrorism
   Act exceed $100 billion in a calendar year and we          exclusion, or the inapplicability or omission of a
   have met our insurer deductible under the                  terrorism exclusion, do not serve to create
   Terrorism Risk Insurance Act, we shall not be              coverage for any loss which would otherwise be
   liable for the payment of any portion of the amount        excluded under this Coverage Part or Policy, such
   of such losses that exceeds $100 billion, and in           as losses excluded by the Nuclear Hazard
   such case insured losses up to that amount are             Exclusion or the War And Military Action
   subject to pro rata allocation in accordance with          Exclusion.
   procedures established by the Secretary of the
   Treasury.




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                                                              API Package Policy Forms




                   COMMERCIAL PROPERTY FORMS
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                                                                                   COMMERCIAL PROPERTY


                 COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.
A. CONCEALMENT, MISREPRESENTATION OR                       F. NO BENEFIT TO BAILEE
   FRAUD                                                      No person or organization, other than you, having
   This Coverage Part is void in any case of fraud by         custody of Covered Property will benefit from this
   you as it relates to this Coverage Part at any time.       insurance.
   It is also void if you or any other insured, at any     G. OTHER INSURANCE
   time, intentionally conceal or misrepresent a
   material fact concerning:                                  1. You may have other insurance subject to the
                                                                 same plan, terms, conditions and provisions as
   1. This Coverage Part;                                        the insurance under this Coverage Part. If you
   2. The Covered Property;                                      do, we will pay our share of the covered loss or
   3. Your interest in the Covered Property; or                  damage. Our share is the proportion that the
                                                                 applicable Limit of Insurance under this
   4. A claim under this Coverage Part.                          Coverage Part bears to the Limits of Insurance
B. CONTROL OF PROPERTY                                           of all insurance covering on the same basis.
   Any act or neglect of any person other than you            2. If there is other insurance covering the same
   beyond your direction or control will not affect this         loss or damage, other than that described in 1.
   insurance.                                                    above, we will pay only for the amount of
                                                                 covered loss or damage in excess of the
   The breach of any condition of this Coverage Part
                                                                 amount due from that other insurance, whether
   at any one or more locations will not affect
                                                                 you can collect on it or not. But we will not pay
   coverage at any location where, at the time of loss           more than the applicable Limit of Insurance.
   or damage, the breach of condition does not exist.
                                                           H. POLICY PERIOD, COVERAGE TERRITORY
C. INSURANCE         UNDER     TWO       OR   MORE
   COVERAGES                                                  Under this Coverage Part:
   If two or more of this policy's coverages apply to         1. We cover loss or damage commencing:
   the same loss or damage, we will not pay more                 a. During the policy period shown in the
   than the actual amount of the loss or damage.                    Declarations; and
D. LEGAL ACTION AGAINST US                                       b. Within the coverage territory.
   No one may bring a legal action against us under           2. The coverage territory is:
   this Coverage Part unless:
                                                                 a. The United States of America (including its
   1. There has been full compliance with all of the                territories and possessions);
       terms of this Coverage Part; and
                                                                 b. Puerto Rico; and
   2. The action is brought within 2 years after the
       date on which the direct physical loss or                 c. Canada.
       damage occurred.
E. LIBERALIZATION
   If we adopt any revision that would broaden the
   coverage under this Coverage Part without
   additional premium within 45 days prior to or
   during the policy period, the broadened coverage
   will immediately apply to this Coverage Part.




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 I. TRANSFER OF RIGHTS OF RECOVERY                           1. Prior to a loss to your Covered Property or
    AGAINST OTHERS TO US                                        Covered Income.
    If any person or organization to or for whom we          2. After a loss to your Covered Property or
    make payment under this Coverage Part has                   Covered Income only if, at time of loss, that
    rights to recover damages from another, those               party is one of the following:
    rights are transferred to us to the extent of our           a. Someone insured by this insurance;
    payment. That person or organization must do
    everything necessary to secure our rights and               b. A business firm:
    must do nothing after loss to impair them. But you            (1) Owned or controlled by you; or
    may waive your rights against another party in
                                                                  (2) That owns or controls you; or
    writing:
                                                                c. Your tenant.
                                                            This will not restrict your insurance.




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                                                                                     COMMERCIAL PROPERTY
                                                                                             CP 01 40 07 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY

A. The exclusion set forth in Paragraph B. applies to all coverage under all forms and endorsements that
   comprise this Coverage Part or Policy, including but not limited to forms or endorsements that cover property
   damage to buildings or personal property and forms or endorsements that cover business income, extra
   expense or action of civil authority.
B. We will not pay for loss or damage caused by or resulting from any virus, bacterium or other microorganism
   that induces or is capable of inducing physical distress, illness or disease.
   However, this exclusion does not apply to loss or damage caused by or resulting from "fungus", wet rot or dry
   rot. Such loss or damage is addressed in a separate exclusion in this Coverage Part or Policy.
C. With respect to any loss or damage subject to the exclusion in Paragraph B., such exclusion supersedes any
   exclusion relating to "pollutants".
D. The following provisions in this Coverage Part or Policy are hereby amended to remove reference to bacteria:
   1. Exclusion of "Fungus", Wet Rot, Dry Rot And Bacteria; and
   2. Additional Coverage – Limited Coverage for "Fungus", W et Rot, Dry Rot And Bacteria, including any
       endorsement increasing the scope or amount of coverage.
E. The terms of the exclusion in Paragraph B., or the inapplicability of this exclusion to a particular loss, do not
   serve to create coverage for any loss that would otherwise be excluded under this Coverage Part or Policy.




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                                                                                     COMMERCIAL PROPERTY
                                                                                             CP 10 30 10 12

                     CAUSES OF LOSS – SPECIAL FORM
Words and phrases that appear in quotation marks have special meaning. Refer to Section G. Definitions.
A. Covered Causes Of Loss                                           (4) Earth sinking (other than sinkhole
   When Special is shown in the Declarations,                           collapse), rising or shifting including soil
   Covered Causes of Loss means direct physical                         conditions      which     cause     settling,
   loss unless the loss is excluded or limited in this                  cracking or other disarrangement of
   policy.                                                              foundations or other parts of realty. Soil
                                                                        conditions          include     contraction,
B. Exclusions                                                           expansion, freezing, thawing, erosion,
   1. W e will not pay for loss or damage caused                        improperly compacted soil and the
      directly or indirectly by any of the following.                   action of water under the ground
      Such loss or damage is excluded regardless of                     surface.
      any other cause or event that contributes                      But if Earth Movement, as described in
      concurrently or in any sequence to the loss.                   b.(1) through (4) above, results in fire or
      a. Ordinance Or Law                                            explosion, we will pay for the loss or
                                                                     damage caused by that fire or explosion.
         The enforcement of or compliance with any
         ordinance or law:                                          (5) Volcanic eruption, explosion or effusion.
                                                                        But if volcanic eruption, explosion or
        (1) Regulating the construction, use or
                                                                        effusion results in fire, building glass
             repair of any property; or
                                                                        breakage or Volcanic Action, we will pay
        (2) Requiring the tearing down of any                           for the loss or damage caused by that
             property, including the cost of removing                   fire, building glass breakage or Volcanic
             its debris.                                                Action.
         This exclusion, Ordinance Or Law, applies                       Volcanic Action means direct loss or
         whether the loss results from:                                  damage resulting from the eruption of a
            (a) An ordinance or law that is enforced                     volcano when the loss or damage is
                 even if the property has not been                       caused by:
                 damaged; or                                            (a) Airborne volcanic blast or airborne
           (b) The increased costs incurred to                               shock waves;
                 comply with an ordinance or law in                     (b) Ash, dust or particulate matter; or
                 the course of construction, repair,
                                                                        (c) Lava flow.
                 renovation, remodeling or demolition
                 of property, or removal of its debris,                 With respect to coverage for Volcanic
                 following a physical loss to that                      Action as set forth in (5)(a), (5)(b) and
                 property.                                              (5)(c), all volcanic eruptions that occur
      b. Earth Movement                                                 within any 168-hour period will constitute
                                                                        a single occurrence.
         (1) Earthquake, including tremors and
             aftershocks and any earth sinking, rising                  Volcanic Action does not include the
             or shifting related to such event;                         cost to remove ash, dust or particulate
                                                                        matter that does not cause direct
         (2) Landslide, including any earth sinking,                    physical loss or damage to the
             rising or shifting related to such event;                  described property.
         (3) Mine subsidence, meaning subsidence                     This exclusion applies regardless of
             of a man-made mine, whether or not                      whether any of the above, in Paragraphs
             mining activity has ceased;                             (1) through (5), is caused by an act of
                                                                     nature    or    is     otherwise caused.




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      c. Governmental Action                                       (3) Insurrection,    rebellion,    revolution,
         Seizure or destruction of property by order                    usurped power, or action taken by
         of governmental authority.                                     governmental authority in hindering or
                                                                        defending against any of these.
         But we will pay for loss or damage caused
         by or resulting from acts of destruction                g. Water
         ordered by governmental authority and                      (1) Flood, surface water, waves (including
         taken at the time of a fire to prevent its                     tidal wave and tsunami), tides, tidal
         spread, if the fire would be covered under                     water, overflow of any body of water, or
         this Coverage Part.                                            spray from any of these, all whether or
      d. Nuclear Hazard                                                 not driven by wind (including storm
                                                                        surge);
         Nuclear reaction or radiation, or radioactive
         contamination, however caused.                             (2) Mudslide or mudflow;
         But if nuclear reaction or radiation, or                   (3) W ater that backs up or overflows or is
         radioactive contamination, results in fire, we                  otherwise discharged from a sewer,
         will pay for the loss or damage caused by                       drain, sump, sump pump or related
         that fire.                                                      equipment;
      e. Utility Services                                           (4) W ater under the ground surface
                                                                         pressing on, or flowing or seeping
         The failure of power, communication, water                      through:
         or other utility service supplied to the
         described premises, however caused, if the                     (a) Foundations, walls, floors or paved
         failure:                                                            surfaces;
        (1) Originates away from the described                          (b) Basements, whether paved or not; or
             premises; or                                                (c) Doors, windows or other openings;
        (2) Originates at the described premises,                             or
             but only if such failure involves                      (5) W aterborne       material    carried    or
             equipment used to supply the utility                         otherwise moved by any of the water
             service to the described premises from                       referred to in Paragraph (1), (3) or (4),
             a source away from the described                             or material carried or otherwise moved
             premises.                                                    by mudslide or mudflow.
         Failure of any utility service includes lack of             This exclusion applies regardless of
         sufficient capacity and reduction in supply.                whether any of the above, in Paragraphs
         Loss or damage caused by a surge of                         (1) through (5), is caused by an act of
         power is also excluded, if the surge would                  nature or is otherwise caused. An example
         not have occurred but for an event causing                  of a situation to which this exclusion applies
         a failure of power.                                         is the situation where a dam, levee, seawall
                                                                     or other boundary or containment system
         But if the failure or surge of power, or the
                                                                     fails in whole or in part, for any reason, to
         failure of communication, water or other
                                                                     contain the water.
         utility service, results in a Covered Cause of
         Loss, we will pay for the loss or damage                    But if any of the above, in Paragraphs (1)
         caused by that Covered Cause of Loss.                       through (5), results in fire, explosion or
                                                                     sprinkler leakage, we will pay for the loss or
         Communication services include but are not                  damage caused by that fire, explosion or
         limited to service relating to Internet access
                                                                     sprinkler leakage (if sprinkler leakage is a
         or access to any electronic, cellular or
                                                                     Covered Cause of Loss).
         satellite network.
                                                                 h. "Fungus", Wet Rot, Dry Rot And
      f. War And Military Action                                    Bacteria
        (1) W ar, including undeclared or civil war;                Presence, growth, proliferation, spread or
        (2) W arlike action by a military force,                    any activity of "fungus", wet or dry rot or
            including action      in   hindering or                 bacteria.
            defending against an actual or expected                  But if "fungus", wet or dry rot or bacteria
            attack, by any government, sovereign or                  result in a "specified cause of loss", we will
            other authority using military personnel                 pay for the loss or damage caused by that
            or other agents; or                                      "specified       cause        of        loss".




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          This exclusion does not apply:                               (5) Nesting or infestation, or discharge or
         (1) When "fungus", wet or dry rot or bacteria                      release of waste products or secretions,
             result from fire or lightning; or                              by insects, birds, rodents or other
                                                                            animals.
         (2) To the extent that coverage is provided
             in the Additional Coverage, Limited                       (6) Mechanical        breakdown,       including
             Coverage For "Fungus", Wet Rot, Dry                            rupture or bursting caused by centrifugal
             Rot And Bacteria, with respect to loss or                      force. But if mechanical breakdown
             damage by a cause of loss other than                           results in elevator collision, we will pay
             fire or lightning.                                             for the loss or damage caused by that
                                                                            elevator collision.
      Exclusions B.1.a. through B.1.h. apply whether
      or not the loss event results in widespread                      (7) The following causes of loss to personal
      damage or affects a substantial area.                                 property:
   2. W e will not pay for loss or damage caused by                        (a) Dampness         or      dryness      of
      or resulting from any of the following:                                   atmosphere;
      a. Artificially generated electrical, magnetic or                    (b) Changes in or extremes                of
          electromagnetic energy that damages,                                  temperature; or
          disturbs, disrupts or otherwise interferes                       (c) Marring or scratching.
          with any:                                                     But if an excluded cause of loss that is
         (1) Electrical or electronic wire, device,                     listed in 2.d.(1) through (7) results in a
              appliance, system or network; or                          "specified cause of loss" or building glass
         (2) Device, appliance, system or network                       breakage, we will pay for the loss or
              utilizing cellular or satellite technology.               damage caused by that "specified cause of
          For the purpose of this exclusion, electrical,                loss" or building glass breakage.
          magnetic        or    electromagnetic      energy         e. Explosion of steam boilers, steam pipes,
          includes but is not limited to:                               steam engines or steam turbines owned or
             (a) Electrical current, including arcing;                  leased by you, or operated under your
                                                                        control. But if explosion of steam boilers,
             (b) Electrical      charge      produced     or            steam pipes, steam engines or steam
                   conducted by a magnetic or                           turbines results in fire or combustion
                   electromagnetic field;                               explosion, we will pay for the loss or
             (c) Pulse of electromagnetic energy; or                    damage caused by that fire or combustion
                                                                        explosion. W e will also pay for loss or
           (d) Electromagnetic           waves         or
                                                                        damage caused by or resulting from the
                 microwaves.
                                                                        explosion of gases or fuel within the furnace
         But if fire results, we will pay for the loss or               of any fired vessel or within the flues or
         damage caused by that fire.                                    passages through which the gases of
      b. Delay, loss of use or loss of market.                          combustion pass.
      c. Smoke, vapor or gas from agricultural                      f. Continuous or repeated seepage or
         smudging or industrial operations.                             leakage of water, or the presence or
                                                                        condensation of humidity, moisture or
      d.(1) W ear and tear;
                                                                        vapor, that occurs over a period of 14 days
         (2) Rust or other corrosion,          decay,                   or more.
             deterioration, hidden or latent defect or
                                                                    g. W ater, other liquids, powder or molten
             any quality in property that causes it to
                                                                        material that leaks or flows from plumbing,
             damage or destroy itself;
                                                                        heating, air conditioning or other equipment
         (3) Smog;                                                      (except fire protective systems) caused by
         (4) Settling,  cracking,         shrinking      or             or resulting from freezing, unless:
             expansion;                                                (1) You do your best to maintain heat in the
                                                                             building      or       structure;     or




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        (2) You drain the equipment and shut off                       (b) To collapse caused by one or more
             the supply if the heat is not maintained.                     of the following:
      h. Dishonest or criminal act (including theft) by                    (i) The "specified causes of loss";
         you, any of your partners, members,                               (ii) Breakage of building glass;
         officers, managers, employees (including
         temporary employees and leased workers),                         (iii) W eight of rain that collects on a
         directors,     trustees       or    authorized                         roof; or
         representatives, whether acting alone or in                      (iv) W eight of people or personal
         collusion with each other or with any other                            property.
         party; or theft by any person to whom you                l. Discharge, dispersal, seepage, migration,
         entrust the property for any purpose,                       release or escape of "pollutants" unless the
         whether acting alone or in collusion with                   discharge, dispersal, seepage, migration,
         any other party.                                            release or escape is itself caused by any of
         This exclusion:                                             the "specified causes of loss". But if the
         (1) Applies whether or not an act occurs                    discharge, dispersal, seepage, migration,
              during your normal hours of operation;                 release or escape of "pollutants" results in a
                                                                     "specified cause of loss", we will pay for the
         (2) Does not apply to acts of destruction by                loss or damage caused by that "specified
              your employees (including temporary                    cause of loss".
              employees and leased workers) or
              authorized representatives; but theft by               This exclusion, I., does not apply to
              your employees (including temporary                    damage to glass caused by chemicals
              employees and leased workers) or                       applied to the glass.
              authorized    representatives    is   not          m. Neglect of an insured to use all reasonable
              covered.                                               means to save and preserve property from
       i. Voluntary parting with any property by you                 further damage at and after the time of loss.
          or anyone else to whom you have entrusted           3. W e will not pay for loss or damage caused by
          the property if induced to do so by any                or resulting from any of the following, 3.a.
          fraudulent scheme, trick, device or false              through 3.c. But if an excluded cause of loss
          pretense.                                              that is listed in 3.a. through 3.c. results in a
       j. Rain, snow, ice or sleet to personal                   Covered Cause of Loss, we will pay for the
          property in the open.                                  loss or damage caused by that Covered Cause
                                                                 of Loss.
      k. Collapse, including any of the following
          conditions of property or any part of the              a. W eather conditions. But this exclusion only
          property:                                                  applies if weather conditions contribute in
                                                                     any way with a cause or event excluded in
         (1) An abrupt falling down or caving in;                    Paragraph 1. above to produce the loss or
         (2) Loss of structural integrity, including                 damage.
              separation of parts of the property or             b. Acts or decisions, including the failure to act
              property in danger of falling down or                  or decide, of any person, group,
              caving in; or                                          organization or governmental body.
        (3) Any cracking, bulging, sagging, bending,              c. Faulty, inadequate or defective:
            leaning, settling, shrinkage or expansion
            as such condition relates to (1) or (2)                 (1) Planning,       zoning,      development,
            above.                                                      surveying, siting;
         But if collapse results in a Covered Cause                 (2) Design, specifications, workmanship,
         of Loss at the described premises, we will                     repair,      construction,     renovation,
         pay for the loss or damage caused by that                      remodeling, grading, compaction;
         Covered Cause of Loss.                                     (3) Materials used in repair, construction,
         This exclusion, k., does not apply:                            renovation or remodeling; or
            (a) To the extent that coverage is                      (4) Maintenance;
                provided   under    the Additional                   of part or all of any property on or off the
                Coverage, Collapse; or                               described                          premises.




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   4. Special Exclusions                                            (5) Any other consequential loss.
      The following provisions apply only to the                  b. Leasehold Interest Coverage Form
      specified Coverage Forms:
                                                                    (1) Paragraph B.1.a., Ordinance Or Law,
      a. Business Income (And Extra Expense)                            does not apply to insurance under this
         Coverage Form, Business Income                                 Coverage Form.
         (Without Extra Expense) Coverage Form,
                                                                    (2) W e will not pay for any loss caused by:
         Or Extra Expense Coverage Form
                                                                       (a) Your cancelling the lease;
         We will not pay for:
                                                                       (b) The      suspension,      lapse       or
        (1) Any loss caused by or resulting from:
                                                                           cancellation of any license; or
           (a) Damage or destruction of "finished
                                                                       (c) Any other consequential loss.
                stock"; or
                                                                  c. Legal Liability Coverage Form
           (b) The time required to reproduce
                "finished stock".                                   (1) The following exclusions do not apply to
            This exclusion does not apply to Extra                      insurance under this Coverage Form:
            Expense.                                                   (a) Paragraph B.1.a. Ordinance Or Law;
        (2) Any loss caused by or resulting from                        (b) Paragraph B.1.c. Governmental
            direct physical loss or damage to radio                         Action;
            or television antennas (including satellite                 (c) Paragraph B.1.d. Nuclear Hazard;
            dishes) and their lead-in wiring, masts or
            towers.                                                    (d) Paragraph B.1.e. Utility Services;
                                                                           and
        (3) Any increase of loss caused by or
                                                                       (e) Paragraph B.1.f. W ar And Military
            resulting from:
                                                                           Action.
           (a) Delay in rebuilding, repairing or
                                                                    (2) The following additional exclusions
                replacing the property or resuming
                                                                        apply to insurance under this Coverage
                "operations", due to interference at
                the location of the rebuilding, repair                  Form:
                or replacement by strikers or other                    (a) Contractual Liability
                persons; or                                                 We will not defend any claim or
           (b) Suspension, lapse or cancellation of                         "suit", or pay damages that you are
               any license, lease or contract. But if                       legally liable to pay, solely by reason
               the suspension, lapse or cancellation                        of your assumption of liability in a
               is     directly   caused    by    the                        contract or agreement. But this
               "suspension" of "operations", we will                        exclusion does not apply to a written
               cover such loss that affects your                            lease agreement in which you have
               Business Income during the "period                           assumed liability for building damage
               of restoration" and any extension of                         resulting from an actual or attempted
               the "period of restoration" in                               burglary or robbery, provided that:
               accordance with the terms of the                             (i) Your assumption of liability was
               Extended        Business      Income                             executed prior to the accident;
               Additional      Coverage   and    the                            and
               Extended Period Of Indemnity
               Optional Coverage or any variation                          (ii) The building is Covered Property
               of these.                                                        under this Coverage Form.
        (4) Any Extra Expense caused by or                              (b) Nuclear Hazard
            resulting from suspension, lapse or                                We will not defend any claim or
            cancellation of any license, lease or                              "suit", or pay any damages, loss,
            contract     beyond     the "period   of                           expense or obligation, resulting from
            restoration".                                                      nuclear reaction or radiation, or
                                                                               radioactive contamination, however
                                                                               caused.




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   5. Additional Exclusion                                         d. Building materials and supplies not
      The following provisions apply only to the                      attached as part of the building or structure,
      specified property:                                             caused by or resulting from theft.
      Loss Or Damage To Products                                      However, this limitation does not apply to:
      We will not pay for loss or damage to any                      (1) Building materials and supplies held for
      merchandise, goods or other product caused                          sale by you, unless they are insured
      by or resulting from error or omission by any                       under the Builders Risk Coverage Form;
      person or entity (including those having                            or
      possession under an arrangement where work                     (2) Business Income Coverage or Extra
      or a portion of the work is outsourced) in any                      Expense Coverage.
      stage of the development, production or use of               e. Property that is missing, where the only
      the product, including planning, testing,
                                                                      evidence of the loss or damage is a
      processing,       packaging,           installation,
                                                                      shortage disclosed on taking inventory, or
      maintenance or repair. This exclusion applies
                                                                      other instances where there is no physical
      to any effect that compromises the form,
                                                                      evidence to show what happened to the
      substance or quality of the product. But if such
                                                                      property.
      error or omission results in a Covered Cause of
      Loss, we will pay for the loss or damage                     f. Property that has been transferred to a
      caused by that Covered Cause of Loss.                           person or to a place outside the described
                                                                      premises on the basis of unauthorized
C. Limitations
                                                                      instructions.
   The following limitations apply to all policy forms
   and endorsements, unless otherwise stated:                      g. Lawns, trees, shrubs or plants which are
                                                                      part of a vegetated roof, caused by or
   1. W e will not pay for loss of or damage to                       resulting from:
      property, as described and limited in this
      section. In addition, we will not pay for any loss             (1) Dampness or dryness of atmosphere or
      that is a consequence of loss or damage as                          of soil supporting the vegetation;
      described and limited in this section.                         (2) Changes in or extremes of temperature;
      a. Steam boilers, steam pipes, steam engines                   (3) Disease;
          or steam turbines caused by or resulting                    (4) Frost or hail; or
          from any condition or event inside such
          equipment. But we will pay for loss of or                    (5) Rain, snow, ice or sleet.
          damage to such equipment caused by or                 2. W e will not pay for loss of or damage to the
          resulting from an explosion of gases or fuel             following types of property unless caused by
          within the furnace of any fired vessel or                the "specified causes of loss" or building glass
          within the flues or passages through which               breakage:
          the gases of combustion pass.                            a. Animals, and then only if they are killed or
       b. Hot water boilers or other water heating                      their destruction is made necessary.
          equipment caused by or resulting from any                b. Fragile articles such as statuary, marbles,
          condition or event inside such boilers or                     chinaware and porcelains, if broken. This
          equipment, other than an explosion.                           restriction does not apply to:
       c. The interior of any building or structure, or                (1) Glass; or
          to personal property in the building or
          structure, caused by or resulting from rain,                 (2) Containers of property held for sale.
          snow, sleet, ice, sand or dust, whether                   c. Builders' machinery, tools and equipment
          driven by wind or not, unless:                               owned by you or entrusted to you, provided
         (1) The building or structure first sustains                  such property is Covered Property.
              damage by a Covered Cause of Loss to                     However, this limitation does not apply:
              its roof or walls through which the rain,               (1) If the property is located on or within
              snow, sleet, ice, sand or dust enters; or                   100 feet of the described premises,
         (2) The loss or damage is caused by or                           unless the premises is insured under the
              results from thawing of snow, sleet or                      Builders Risk Coverage Form; or
              ice on the building or structure.                       (2) To Business Income Coverage or to
                                                                          Extra Expense Coverage.




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   3. The special limit shown for each category, a.           2. W e will pay for direct physical loss or damage
      through d., is the total limit for loss of or              to Covered Property, caused by abrupt
      damage to all property in that category. The               collapse of a building or any part of a building
      special limit applies to any one occurrence of             that is insured under this Coverage Form or
      theft, regardless of the types or number of                that contains Covered Property insured under
      articles that are lost or damaged in that                  this Coverage Form, if such collapse is caused
      occurrence. The special limits are (unless a               by one or more of the following:
      higher limit is shown in the Declarations):                a. Building decay that is hidden from view,
      a. $2,500 for furs, fur garments and garments                 unless the presence of such decay is
          trimmed with fur.                                         known to an insured prior to collapse;
      b. $2,500 for jewelry,           watches, watch            b. Insect or vermin damage that is hidden
          movements, jewels, pearls, precious and                   from view, unless the presence of such
          semiprecious stones, bullion, gold, silver,               damage is known to an insured prior to
          platinum and other precious alloys or                     collapse;
          metals. This limit does not apply to jewelry           c. Use of defective material or methods in
          and watches worth $100 or less per item.                  construction, remodeling or renovation if the
      c. $2,500 for patterns, dies, molds and forms.                abrupt collapse occurs during the course of
      d. $250 for stamps, tickets, including lottery                the construction, remodeling or renovation.
          tickets held for sale, and letters of credit.          d. Use of defective material or methods in
      These special limits are part of, not in addition             construction, remodeling or renovation if the
      to, the Limit of Insurance applicable to the                  abrupt      collapse occurs after the
      Covered Property.                                             construction, remodeling or renovation is
                                                                    complete, but only if the collapse is caused
      This limitation, C.3., does not apply to
                                                                    in part by:
      Business Income Coverage or to Extra
      Expense Coverage.                                             (1) A cause of loss listed in 2.a. or 2.b.;
   4. W e will not pay the cost to repair any defect to             (2) One or more of the "specified causes of
      a system or appliance from which water, other                     loss";
      liquid, powder or molten material escapes. But                (3) Breakage of building glass;
      we will pay the cost to repair or replace
                                                                    (4) W eight of people or personal property;
      damaged parts of fire-extinguishing equipment
                                                                        or
      if the damage:
      a. Results in discharge of any substance from                (5) W eight of rain that collects on a roof.
         an automatic fire protection system; or              3. This Additional Coverage – Collapse does
      b. Is directly caused by freezing.                         not apply to:
                                                                 a. A building or any part of a building that is in
      However, this limitation does not apply to
                                                                    danger of falling down or caving in;
      Business Income Coverage or to Extra
      Expense Coverage.                                          b. A part of a building that is standing, even if
                                                                    it has separated from another part of the
D. Additional Coverage – Collapse
                                                                    building; or
   The coverage provided under this Additional
                                                                 c. A building that is standing or any part of a
   Coverage, Collapse, applies only to an abrupt
                                                                    building that is standing, even if it shows
   collapse as described and limited in D.1. through
                                                                    evidence of cracking, bulging, sagging,
   D.7.
                                                                    bending, leaning, settling, shrinkage or
   1. For the purpose of this Additional Coverage,                  expansion.
      Collapse, abrupt collapse means an abrupt
                                                              4. With respect to the following property:
      falling down or caving in of a building or any
      part of a building with the result that the                 a. Outdoor radio or television antennas
      building or part of the building cannot be                     (including satellite dishes) and their lead-in
      occupied for its intended purpose.                             wiring,       masts          or        towers;




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      b. Awnings, gutters and downspouts;                  E. Additional Coverage – Limited Coverage For
      c. Yard fixtures;                                       "Fungus", Wet Rot, Dry Rot And Bacteria
      d. Outdoor swimming pools;                              1. The coverage described in E.2. and E.6. only
                                                                 applies when the "fungus", wet or dry rot or
      e. Fences;                                                 bacteria are the result of one or more of the
      f. Piers, wharves and docks;                               following causes that occur during the policy
                                                                 period and only if all reasonable means were
      g. Beach     or      diving  platforms         or
                                                                 used to save and preserve the property from
         appurtenances;
                                                                 further damage at the time of and after that
      h. Retaining walls; and                                    occurrence:
       i. W alks, roadways and other paved surfaces;             a. A "specified cause of loss" other than fire or
      if an abrupt collapse is caused by a cause of                  lightning; or
      loss listed in 2.a. through 2.d., we will pay for          b. Flood, if the Flood Coverage Endorsement
      loss or damage to that property only if:                       applies to the affected premises.
         (1) Such loss or damage is a direct result of           This Additional Coverage does not apply to
              the abrupt collapse of a building insured          lawns, trees, shrubs or plants which are part of
              under this Coverage Form; and                      a vegetated roof.
         (2) The property is Covered Property under           2. W e will pay for loss or damage by "fungus",
              this Coverage Form.                                wet or dry rot or bacteria. As used in this
   5. If personal property abruptly falls down or                Limited Coverage, the term loss or damage
      caves in and such collapse is not the result of            means:
      abrupt collapse of a building, we will pay for             a. Direct physical loss or damage to Covered
      loss or damage to Covered Property caused by                  Property caused by "fungus", wet or dry rot
      such collapse of personal property only if:                   or bacteria, including the cost of removal of
      a. The collapse of personal property was                      the "fungus", wet or dry rot or bacteria;
          caused by a cause of loss listed in 2.a.               b. The cost to tear out and replace any part of
          through 2.d.;                                             the building or other property as needed to
      b. The personal property which collapses is                   gain access to the "fungus", wet or dry rot
          inside a building; and                                    or bacteria; and
      c. The property which collapses is not of a                c. The cost of testing performed after removal,
          kind listed in 4., regardless of whether that             repair, replacement or restoration of the
          kind of property is considered to be                      damaged property is completed, provided
          personal property or real property.                       there is a reason to believe that "fungus",
                                                                    wet or dry rot or bacteria are present.
      The coverage stated in this Paragraph 5. does
      not apply to personal property if marring and/or        3. The coverage described under E.2. of this
      scratching is the only damage to that personal             Limited Coverage is limited to $15,000.
      property caused by the collapse.                           Regardless of the number of claims, this limit is
                                                                 the most we will pay for the total of all loss or
   6. This Additional Coverage, Collapse, does not               damage arising out of all occurrences of
      apply to personal property that has not abruptly           "specified causes of loss" (other than fire or
      fallen down or caved in, even if the personal              lightning) and Flood which take place in a 12-
      property shows evidence of cracking, bulging,              month period (starting with the beginning of the
      sagging, bending, leaning, settling, shrinkage             present annual policy period). W ith respect to a
      or expansion.                                              particular occurrence of loss which results in
   7. This Additional Coverage, Collapse, will not               "fungus", wet or dry rot or bacteria, we will not
      increase the Limits of Insurance provided in               pay more than a total of $15,000 even if the
      this Coverage Part.                                        "fungus", wet or dry rot or bacteria continue to
   8. The term Covered Cause of Loss includes the                be present or active, or recur, in a later policy
      Additional Coverage, Collapse, as described                period.
      and limited in D.1. through D.7.




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   4. The coverage provided under this Limited              F. Additional Coverage Extensions
      Coverage does not increase the applicable                1. Property In Transit
      Limit of Insurance on any Covered Property. If
      a particular occurrence results in loss or                  This Extension applies only to your personal
      damage by "fungus", wet or dry rot or bacteria,             property to which this form applies.
      and other loss or damage, we will not pay                   a. You may extend the insurance provided by
      more, for the total of all loss or damage, than                this Coverage Part to apply to your
      the applicable Limit of Insurance on the                       personal property (other than property in
      affected Covered Property.                                     the care, custody or control of your
      If there is covered loss or damage to Covered                  salespersons) in transit more than 100 feet
      Property, not caused by "fungus", wet or dry rot               from the described premises. Property must
      or bacteria, loss payment will not be limited by               be in or on a motor vehicle you own, lease
      the terms of this Limited Coverage, except to                  or operate while between points in the
      the extent that "fungus", wet or dry rot or                    coverage territory.
      bacteria cause an increase in the loss. Any                 b. Loss or damage must be caused by or
      such increase in the loss will be subject to the               result from one of the following causes of
      terms of this Limited Coverage.                                loss:
   5. The terms of this Limited Coverage do not                     (1) Fire, lightning, explosion, windstorm or
      increase or reduce the coverage provided                           hail, riot or civil commotion, or
      under Paragraph F.2. (Water Damage, Other                          vandalism.
      Liquids, Powder Or Molten Material Damage)                    (2) Vehicle collision, upset or overturn.
      of this Causes Of Loss form or under the                           Collision means accidental contact of
      Additional Coverage, Collapse.                                     your vehicle with another vehicle or
   6. The following, 6.a. or 6.b., applies only if                       object. It does not mean your vehicle's
      Business Income and/or Extra Expense                               contact with the roadbed.
      Coverage applies to the described premises                     (3) Theft of an entire bale, case or package
      and only if the "suspension" of "operations"                       by forced entry into a securely locked
      satisfies all terms and conditions of the                          body or compartment of the vehicle.
      applicable Business Income and/or Extra                            There must be visible marks of the
      Expense Coverage Form:                                             forced entry.
      a. If the loss which resulted in "fungus", wet or           c. The most we will pay for loss or damage
          dry rot or bacteria does not in itself                       under this Extension is $5,000.
          necessitate a "suspension" of "operations",
          but such "suspension" is necessary due to               This Coverage Extension is additional
          loss or damage to property caused by                    insurance.       The     Additional  Condition,
          "fungus", wet or dry rot or bacteria, then our          Coinsurance, does not apply to this Extension.
          payment under Business Income and/or                 2. Water Damage, Other Liquids, Powder Or
          Extra Expense is limited to the amount of               Molten Material Damage
          loss and/or expense sustained in a period
                                                                  If loss or damage caused by or resulting from
          of not more than 30 days. The days need
                                                                  covered water or other liquid, powder or molten
          not be consecutive.
                                                                  material damage loss occurs, we will also pay
      b. If a covered "suspension" of "operations"                the cost to tear out and replace any part of the
          was caused by loss or damage other than                 building or structure to repair damage to the
          "fungus", wet or dry rot or bacteria but                system or appliance from which the water or
          remediation of "fungus", wet or dry rot or              other substance escapes. This Coverage
          bacteria prolongs the "period of restoration",          Extension does not increase the Limit of
          we will pay for loss and/or expense                     Insurance.
          sustained during the delay (regardless of
                                                               3. Glass
          when such a delay occurs during the
          "period of restoration"), but such coverage              a. W e will pay for expenses incurred to put up
          is limited to 30 days. The days need not be                 temporary plates or board up openings if
          consecutive.                                                repair or replacement of damaged glass is
                                                                      delayed.




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      b. W e will pay for expenses incurred to                     c. W ater damage means:
          remove or replace obstructions when                        (1) Accidental discharge or leakage of
          repairing or replacing glass that is part of a                 water or steam as the direct result of the
          building. This does not include removing or                    breaking apart or cracking of a
          replacing window displays.                                     plumbing, heating, air conditioning or
      This Coverage Extension F.3. does not                              other system or appliance (other than a
      increase the Limit of Insurance.                                   sump system including its related
G. Definitions                                                           equipment and parts), that is located on
                                                                         the described premises and contains
   1. "Fungus" means any type or form of fungus,                         water or steam; and
      including mold or mildew, and any mycotoxins,
      spores, scents or by-products produced or                      (2) Accidental discharge or leakage of
      released by fungi.                                                 water or waterborne material as the
                                                                         direct result of the breaking apart or
   2. "Specified causes of loss" means the following:                    cracking of a water or sewer pipe that is
      fire; lightning; explosion; windstorm or hail;                     located off the described premises and
      smoke; aircraft or vehicles; riot or civil                         is part of a municipal potable water
      commotion; vandalism; leakage from fire-                           supply system or municipal sanitary
      extinguishing equipment; sinkhole collapse;                        sewer system, if the breakage or
      volcanic action; falling objects; weight of snow,                  cracking is caused by wear and tear.
      ice or sleet; water damage.
                                                                      But water damage does not include loss or
      a. Sinkhole collapse means the sudden                           damage otherwise excluded under the
           sinking or collapse of land into underground               terms of the W ater Exclusion. Therefore, for
           empty spaces created by the action of                      example, there is no coverage under this
           water on limestone or dolomite. This cause                 policy in the situation in which discharge or
           of loss does not include:                                  leakage of water results from the breaking
        (1) The cost of filling sinkholes; or                         apart or cracking of a pipe which was
        (2) Sinking or collapse of land into man-                     caused by or related to weather-induced
             made underground cavities.                               flooding,    even     if   wear   and     tear
                                                                      contributed to the breakage or cracking. As
      b. Falling objects does not include loss or
         damage to:                                                   another example, and also in accordance
                                                                      with the terms of the W ater Exclusion, there
        (1) Personal property in the open; or                         is no coverage for loss or damage caused
         (2) The interior of a building or structure, or              by or related to weather-induced flooding
             property inside a building or structure,                 which follows or is exacerbated by pipe
             unless the roof or an outside wall of the                breakage or cracking attributable to wear
             building or structure is first damaged by                and tear.
             a falling object.                                        To the extent that accidental discharge or
                                                                      leakage of water falls within the criteria set
                                                                      forth in c.(1) or c.(2) of this definition of
                                                                      "specified causes of loss," such water is not
                                                                      subject to the provisions of the W ater
                                                                      Exclusion which preclude coverage for
                                                                      surface water or water under the surface of
                                                                      the                                   ground.




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                                                                                   COMMERCIAL PROPERTY
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    FLORIDA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
A. When this endorsement is attached to Standard              When loss or damage to exterior paint or
   Property Policy CP 00 99, the term Coverage Part           waterproofing material is excluded, we will not
   in this endorsement is replaced by the term Policy.        include the value of paint or waterproofing material
B. The following provision applies when a                     to determine:
   Coinsurance percentage is shown in the                         a. The amount of the Windstorm or Hail
   Declarations:                                                     Deductible; or
   Florida law states as follows:                                b. The value of Covered Property when
   Coinsurance contract: The rate charged in this                   applying the Coinsurance Condition.
   policy is based upon the use of the coinsurance        D. The Loss Payment Condition dealing with the
   clause attached to this policy, with the consent of       number of days within which we must pay for
   the Insured.                                              covered loss or damage is replaced by the
C. The following is added:                                   following:
   If windstorm is a Covered Cause of Loss and loss           Provided you have complied with all the terms of
   or damage to Covered Property is caused by or              this Coverage Part, we will pay for covered loss or
   results from windstorm, the following exclusion            damage upon the earliest of the following:
   applies in:                                                      (1) Within 20 days after we receive the
   1. Broward County;                                                   sworn proof of loss and reach written
                                                                        agreement with you;
   2. Dade County;
                                                                    (2) Within 30 days after we receive the
   3. Martin County;                                                    sworn proof of loss and:
   4. Monroe County;                                                   (a) There is an entry of a final judgment;
   5. Palm Beach County; and                                               or
   6. All the areas east of the west bank of the                       (b) There is a filing of an appraisal
      Intracoastal Waterway in the counties of:                              award with us; or
      a. Indian River; and                                          (3) Within 90 days of receiving notice of an
      b. St. Lucie.                                                     initial, reopened or supplemental claim,
                                                                        unless we deny the claim during that
   Windstorm Exterior Paint And Waterproofing                           time or factors beyond our control
   Exclusion                                                            reasonably prevent such payment. If a
   We will not pay for loss or damage caused by                         portion of the claim is denied, then the
   windstorm to:                                                        90-day time period for payment of claim
                                                                        relates to the portion of the claim that is
   1. Paint; or                                                         not denied.
   2. Waterproofing material;                                           Paragraph (3) applies only to the
   applied to the exterior of buildings unless the                      following:
   building to which such loss or damage occurs also                   (a) A claim under a policy covering
   sustains other loss or damage by windstorm in the                       residential property;
   course of the same storm event. But such
   coverage applies only if windstorm is a Covered                     (b) A claim for building or contents
   Cause of Loss.                                                          coverage if the insured structure is
                                                                           10,000 square feet or less and the
                                                                           policy covers only locations in
                                                                           Florida; or




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           (c) A claim for contents coverage under            Catastrophic Ground Cover Collapse
               a tenant's policy if the rented                We will pay for direct physical loss or damage to
               premises are 10,000 square feet or             Covered Property caused by or resulting from
               less and the policy covers only                catastrophic ground cover collapse, meaning
               locations in Florida.                          geological activity that results in all of the
E. Sinkhole Collapse Coverage Removed                         following:
   Sinkhole Collapse coverage is removed, as                  1. The abrupt collapse of the ground cover;
   indicated in Paragraphs E.1. through E.4.; and             2. A depression in the ground cover clearly visible
   coverage for Catastrophic Ground Cover Collapse               to the naked eye;
   is added instead as set forth in Paragraph F.
                                                              3. "Structural damage" to the building, including
   1. In the Causes Of Loss – Basic Form and in the              the foundation; and
       Standard Property Policy, Sinkhole Collapse is
       deleted from the Covered Causes of Loss and            4. The insured structure being condemned and
       sinkhole collapse is no longer an exception to            ordered to be vacated by the governmental
       the Earth Movement Exclusion.                             agency authorized by law to issue such an
                                                                 order for that structure.
   2. In the Causes Of Loss – Broad Form, Sinkhole
      Collapse is deleted from the Covered Causes             However, damage consisting merely of the settling
      of Loss and from the Additional Coverage –              or cracking of a foundation, structure or building
      Collapse; and sinkhole collapse is no longer an         does not constitute loss or damage resulting from
      exception to the Earth Movement Exclusion.              a catastrophic ground cover collapse.
   3. In the Causes Of Loss – Special Form,                  The Earth Movement Exclusion and the Collapse
      Sinkhole Collapse is deleted from the                  Exclusion do not apply to coverage for
      "specified causes of loss" and is no longer an         Catastrophic Ground Cover Collapse.
      exception to the Earth Movement Exclusion.             Coverage for Catastrophic Ground Cover Collapse
   4. In the Mortgageholders Errors And Omissions            does not increase the applicable Limit of
      Coverage Form, Sinkhole Collapse is deleted            Insurance. Regardless of whether loss or damage
      from the Covered Causes of Loss under                  attributable to catastrophic ground cover collapse
      Coverage B and from the "specified causes of           also qualifies as Sinkhole Loss or Earthquake (if
      loss", and is no longer an exception to the            either or both of those causes of loss are covered
      Earth Movement Exclusion.                              under this Coverage Part), only one Limit of
                                                             Insurance will apply to such loss or damage.
   Further, this Coverage Part does not insure
   against Sinkhole Loss as defined in Florida law        G. The following applies to the Additional Coverage
   unless an endorsement for Sinkhole Loss is made           – Civil Authority under the Business Income (And
   part of this policy. However, if Sinkhole Loss            Extra Expense) Coverage Form, Business Income
   causes Catastrophic Ground Cover Collapse,                (Without Extra Expense) Coverage Form and
   coverage is provided for the resulting Catastrophic       Extra Expense Coverage Form:
   Ground Cover Collapse even if an endorsement              1. The Additional Coverage – Civil Authority
   for Sinkhole Loss is not made part of this policy.            includes a requirement that the described
F. The following is added to this Coverage Part as a             premises are not more than one mile from the
   Covered Cause of Loss. In the Causes Of Loss –                damaged property. With respect to described
   Special Form and Mortgageholders Errors And                   premises located in Florida, such one-mile
   Omissions Coverage Form, the following is also                radius does not apply.
   added as a "specified cause of loss". However, as         2. The Additional Coverage – Civil Authority is
   a "specified cause of loss", the following does not           limited to a coverage period of up to four
   apply to the Additional Coverage – Collapse.                  weeks. With respect to described premises
                                                                 located in Florida, such four-week period is
                                                                 replaced by a three-week period.
                                                              3. Civil Authority coverage is subject to all other
                                                                 provisions of that Additional Coverage.




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H. The following provisions are added to the Duties             2. Foundation displacement or deflection in
   In The Event Of Loss Or Damage Loss                             excess of acceptable variances as defined in
   Condition:                                                      ACI 318-95 or the Florida Building Code, which
        (1) A claim, supplemental claim                or          results in settlement related damage to the
              reopened claim for loss or damage                    primary structural members or primary
              caused by hurricane or other windstorm               structural systems that prevents those
              is barred unless notice of claim is given            members or systems from supporting the loads
              to us in accordance with the terms of                and forces they were designed to support to
              this policy within three years after the             the extent that stresses in those primary
              hurricane first made landfall or a                   structural members or primary structural
              windstorm other than hurricane caused                systems exceed one and one-third the nominal
              the covered damage. (Supplemental                    strength allowed under the Florida Building
              claim or reopened claim means an                     Code for new buildings of similar structure,
              additional claim for recovery from us for            purpose, or location;
              losses from the same hurricane or other           3. Damage that results in listing, leaning, or
              windstorm which we have previously                   buckling of the exterior load bearing walls or
              adjusted pursuant to the initial claim.)             other vertical primary structural members to
              This provision concerning time for                   such an extent that a plumb line passing
              submission of claim, supplemental claim              through the center of gravity does not fall
              or reopened claim does not affect any                inside the middle one-third of the base as
              limitation for legal action against us as            defined within the Florida Building Code;
              provided in this policy under the Legal           4. Damage that results in the building, or any
              Action Against Us Condition, including               portion of the building containing primary
              any amendment to that condition.                     structural members or primary structural
         (2) Any inspection or survey by us, or on                 systems, being significantly likely to imminently
              our behalf, of property that is the subject          collapse because of the movement or
              of a claim, will be conducted with at                instability of the ground within the influence
              least 48 hours' notice to you. The 48-               zone of the supporting ground within the sheer
              hour notice may be waived by you.                    plane necessary for the purpose of supporting
                                                                   such building as defined within the Florida
 I. The following definition of structural damage is               Building Code; or
    added with respect to the coverage provided
    under this endorsement:                                     5. Damage occurring on or after October 15,
                                                                   2005, that qualifies as substantial structural
   "Structural damage" means a covered building,                   damage as defined in the Florida Building
   regardless of the date of its construction, has                 Code.
   experienced the following.
   1. Interior floor displacement or deflection in
       excess of acceptable variances as defined in
       ACI 117-90 or the Florida Building Code, which
       results in settlement related damage to the
       interior such that the interior building structure
       or members become unfit for service or
       represent a safety hazard as defined within the
       Florida Building Code;




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                                                                                        COMMERCIAL PROPERTY
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                   BUILDING AND PERSONAL PROPERTY
                           COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.
A. Coverage                                                         b. Your       Business     Personal      Property
   We will pay for direct physical loss of or damage to                 consists of the following property located in
   Covered Property at the premises described in the                    or on the building or structure described in
   Declarations caused by or resulting from any                         the Declarations or in the open (or in a
   Covered Cause of Loss.                                               vehicle) within 100 feet of the building or
                                                                        structure or within 100 feet of the premises
   1. Covered Property                                                  described in the Declarations, whichever
       Covered Property, as used in this Coverage                       distance is greater:
       Part, means the type of property described in                   (1) Furniture and fixtures;
       this section, A.1., and limited in A.2. Property
       Not Covered, if a Limit Of Insurance is shown                   (2) Machinery and equipment;
       in the Declarations for that type of property.                  (3) "Stock";
       a. Building, meaning the building or structure                  (4) All other personal property owned by
            described in the Declarations, including:                       you and used in your business;
           (1) Completed additions;                                    (5) Labor, materials or services furnished or
           (2) Fixtures, including outdoor fixtures;                        arranged by you on personal property of
                                                                            others;
           (3) Permanently installed:
                                                                       (6) Your use interest as tenant in
              (a) Machinery; and                                            improvements        and       betterments.
              (b) Equipment;                                                Improvements and betterments are
           (4) Personal property owned by you that is                       fixtures, alterations, installations or
               used to maintain or service the building                     additions:
               or structure or its premises, including:                    (a) Made a part of the building or
              (a) Fire-extinguishing equipment;                                 structure you occupy but do not own;
                                                                                and
              (b) Outdoor furniture;
                                                                           (b) You acquired or made at your
              (c) Floor coverings; and                                          expense but cannot legally remove;
              (d) Appliances used for refrigerating,                   (7) Leased personal property for which you
                   ventilating, cooking, dishwashing or                     have a contractual responsibility to
                   laundering;                                              insure, unless otherwise provided for
           (5) If not covered by other insurance:                           under Personal Property Of Others.
              (a) Additions        under      construction,          c. Personal Property Of Others that is:
                   alterations and repairs to the building             (1) In your care, custody or control; and
                   or structure;
                                                                       (2) Located in or on the building or structure
              (b) Materials, equipment, supplies and                        described in the Declarations or in the
                   temporary structures, on or within                       open (or in a vehicle) within 100 feet of
                   100 feet of the described premises,                      the building or structure or within 100
                   used      for     making     additions,                  feet of the premises described in the
                   alterations or repairs to the building
                                                                            Declarations, whichever distance is
                   or structure.
                                                                            greater.




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         However, our payment for loss of or                      n. Electronic data, except as provided under
         damage to personal property of others will                  the Additional Coverage, Electronic Data.
         only be for the account of the owner of the                 Electronic data means information, facts or
         property.                                                   computer programs stored as or on,
   2. Property Not Covered                                           created or used on, or transmitted to or
                                                                     from computer software (including systems
      Covered Property does not include:                             and applications software), on hard or
      a. Accounts, bills, currency, food stamps or                   floppy disks, CD-ROMs, tapes, drives, cells,
           other evidences of debt, money, notes or                  data processing devices or any other
           securities. Lottery tickets held for sale are             repositories of computer software which are
           not securities;                                           used       with    electronically     controlled
      b. Animals, unless owned by others and                         equipment. The term computer programs,
           boarded by you, or if owned by you, only as               referred to in the foregoing description of
           "stock" while inside of buildings;                        electronic data, means a set of related
                                                                     electronic instructions which direct the
      c. Automobiles held for sale;                                  operations and functions of a computer or
      d. Bridges, roadways, walks, patios or other                   device connected to it, which enable the
           paved surfaces;                                           computer or device to receive, process,
      e. Contraband, or property in the course of                    store, retrieve or send data. This
           illegal transportation or trade;                          paragraph, n., does not apply to your
      f. The cost of excavations, grading, backfilling               "stock" of prepackaged software, or to
           or filling;                                               electronic data which is integrated in and
                                                                     operates or controls the building's elevator,
      g. Foundations of           buildings, structures,
                                                                     lighting, heating, ventilation, air conditioning
           machinery or boilers if their foundations are
                                                                     or security system;
           below:
                                                                  o. The cost to replace or restore the
          (1) The lowest basement floor; or
                                                                     information on valuable papers and
          (2) The surface of the ground, if there is no              records, including those which exist as
                basement;                                            electronic data. Valuable papers and
      h. Land (including land on which the property                  records include but are not limited to
           is located), water, growing crops or lawns                proprietary information, books of account,
           (other than lawns which are part of a                     deeds, manuscripts, abstracts, drawings
           vegetated roof);                                          and card index systems. Refer to the
       i. Personal property while airborne or                        Coverage Extension for Valuable Papers
           waterborne;                                               And Records (Other Than Electronic Data)
                                                                     for limited coverage for valuable papers and
       j. Bulkheads, pilings, piers, wharves or docks;               records other than those which exist as
     k. Property that is covered under another                       electronic data;
         coverage form of this or any other policy in             p. Vehicles or        self-propelled machines
         which it is more specifically described,                    (including aircraft or watercraft) that:
         except for the excess of the amount due
         (whether you can collect on it or not) from                (1) Are licensed for use on public roads; or
         that other insurance;                                      (2) Are operated principally away from the
      l. Retaining walls that are not part of a                          described premises.
         building;                                                   This paragraph does not apply to:
     m. Underground pipes, flues or drains;                             (a) Vehicles or self-propelled machines
                                                                             or autos you manufacture, process
                                                                             or                          warehouse;




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           (b) Vehicles or self-propelled machines,                   (d) Remove property of others of a type
                 other than autos, you hold for sale;                      that would not be Covered Property
           (c) Rowboats or canoes out of water at                          under this Coverage Form;
                 the described premises; or                           (e) Remove deposits of mud or earth
           (d) Trailers, but only to the extent                            from the grounds of the described
                 provided for in the Coverage                              premises;
                 Extension for Non-owned Detached                      (f) Extract "pollutants" from land or
                 Trailers; or                                              water; or
      q. The following property while outside of                      (g) Remove, restore or replace polluted
         buildings:                                                        land or water.
        (1) Grain, hay, straw or other crops;                      (3) Subject to the exceptions in Paragraph
                                                                       (4), the following provisions apply:
        (2) Fences, radio or television antennas
             (including satellite dishes) and their                   (a) The most we will pay for the total of
             lead-in wiring, masts or towers, trees,                       direct physical loss or damage plus
             shrubs or plants (other than trees,                           debris removal expense is the Limit
             shrubs or plants which are "stock" or are                     of Insurance applicable to the
             part of a vegetated roof), all except as                      Covered Property that has sustained
             provided in the Coverage Extensions.                          loss or damage.
   3. Covered Causes Of Loss                                          (b) Subject to (a) above, the amount we
                                                                           will pay for debris removal expense
      See applicable Causes Of Loss form as shown
      in the Declarations.                                                 is limited to 25% of the sum of the
                                                                           deductible plus the amount that we
   4. Additional Coverages                                                 pay for direct physical loss or
      a. Debris Removal                                                    damage to the Covered Property that
        (1) Subject to Paragraphs (2), (3) and (4),                        has sustained loss or damage.
                                                                           However, if no Covered Property has
            we will pay your expense to remove
                                                                           sustained direct physical loss or
            debris of Covered Property and other
                                                                           damage, the most we will pay for
            debris that is on the described premises,
                                                                           removal of debris of other property (if
            when such debris is caused by or
                                                                           such removal is covered under this
            results from a Covered Cause of Loss
                                                                           Additional Coverage) is $5,000 at
            that occurs during the policy period. The
                                                                           each location.
            expenses will be paid only if they are
            reported to us in writing within 180 days              (4) We will pay up to an additional $25,000
            of the date of direct physical loss or                     for debris removal expense, for each
            damage.                                                    location, in any one occurrence of
        (2) Debris Removal does not apply to costs                     physical loss or damage to Covered
            to:                                                        Property, if one or both of the following
                                                                       circumstances apply:
           (a) Remove debris of property of yours
                that is not insured under this policy,                (a) The total of the actual debris removal
                or property in your possession that is                     expense plus the amount we pay for
                not Covered Property;                                      direct physical loss or damage
                                                                           exceeds the Limit of Insurance on
           (b) Remove debris of property owned by                          the Covered Property that has
               or leased to the landlord of the                            sustained loss or damage.
               building where your described
               premises are located, unless you                       (b) The actual debris removal expense
               have a contractual responsibility to                        exceeds 25% of the sum of the
               insure such property and it is insured                      deductible plus the amount that we
               under this policy;                                          pay for direct physical loss or
                                                                           damage to the Covered Property that
            (c) Remove any property that is                                has sustained loss or damage.
                Property Not Covered, including
                property addressed under the
                Outdoor    Property   Coverage
                Extension;




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             Therefore, if (4)(a) and/or (4)(b) applies,    The additional amount payable for debris removal
             our total payment for direct physical loss     expense is provided in accordance with the terms of
             or damage and debris removal expense           Paragraph (4), because the debris removal expense
             may reach but will never exceed the            ($40,000) exceeds 25% of the loss payable plus the
             Limit of Insurance on the Covered              deductible ($40,000 is 50% of $80,000), and because
             Property that has sustained loss or            the sum of the loss payable and debris removal
             damage, plus $25,000.                          expense ($79,500 + $40,000 = $119,500) would
         (5) Examples                                       exceed the Limit of Insurance ($90,000). The
                                                            additional amount of covered debris removal expense
             The following examples assume that             is $25,000, the maximum payable under Paragraph
             there is no Coinsurance penalty.               (4). Thus, the total payable for debris removal
Example 1                                                   expense in this example is $35,500; $4,500 of the
                                                            debris removal expense is not covered.
Limit of Insurance:                         $ 90,000
                                                                  b. Preservation Of Property
Amount of Deductible:                       $     500
Amount of Loss:                             $ 50,000                  If it is necessary to move Covered Property
                                                                      from the described premises to preserve it
Amount of Loss Payable:                     $ 49,500                  from loss or damage by a Covered Cause
                                     ($50,000 – $500)                 of Loss, we will pay for any direct physical
Debris Removal Expense:                     $ 10,000                  loss or damage to that property:
Debris Removal Expense Payable:             $ 10,000                 (1) While it is being moved or while
($10,000 is 20% of $50,000.)                                               temporarily stored at another location;
                                                                           and
The debris removal expense is less than 25% of the                   (2) Only if the loss or damage occurs within
sum of the loss payable plus the deductible. The sum                       30 days after the property is first moved.
of the loss payable and the debris removal expense
($49,500 + $10,000 = $59,500) is less than the Limit               c. Fire Department Service Charge
of Insurance. Therefore, the full amount of debris                    When the fire department is called to save
removal expense is payable in accordance with the                     or protect Covered Property from a
terms of Paragraph (3).                                               Covered Cause of Loss, we will pay up to
                                                                      $1,000 for service at each premises
Example 2
                                                                      described in the Declarations, unless a
Limit of Insurance:                        $ 90,000                   higher limit is shown in the Declarations.
                                                                      Such limit is the most we will pay
Amount of Deductible:                      $      500
                                                                      regardless of the number of responding fire
Amount of Loss:                            $ 80,000                   departments or fire units, and regardless of
Amount of Loss Payable:                    $ 79,500                   the number or type of services performed.
                                     ($80,000 – $500)                 This Additional Coverage applies to your
Debris Removal Expense:                    $ 40,000                   liability for fire department service charges:
Debris Removal Expense Payable                                       (1) Assumed by contract or agreement prior
                                                                          to loss; or
                      Basic Amount:        $ 10,500
                                                                     (2) Required by local ordinance.
                      Additional Amount: $ 25,000
                                                                      No Deductible applies to this Additional
The basic amount payable for debris removal                           Coverage.
expense under the terms of Paragraph (3) is
calculated as follows: $80,000 ($79,500 + $500) x .25
= $20,000, capped at $10,500. The cap applies
because the sum of the loss payable ($79,500) and
the basic amount payable for debris removal expense
($10,500) cannot exceed the Limit of Insurance
($90,000).




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      d. Pollutant Clean-up And Removal                             (5) Under this Additional Coverage, we will
                                                                        not pay for:
         We will pay your expense to extract
         "pollutants" from land or water at the                        (a) The enforcement of or compliance
         described premises if the discharge,                               with any ordinance or law which
         dispersal, seepage, migration, release or                          requires        demolition,       repair,
         escape of the "pollutants" is caused by or                         replacement,             reconstruction,
         results from a Covered Cause of Loss that                          remodeling      or    remediation     of
         occurs during the policy period. The                               property due to contamination by
         expenses will be paid only if they are                             "pollutants" or due to the presence,
         reported to us in writing within 180 days of                       growth, proliferation, spread or any
         the date on which the Covered Cause of                             activity of "fungus", wet or dry rot or
         Loss occurs.                                                       bacteria; or
         This Additional Coverage does not apply to                    (b) Any costs associated with the
         costs to test for, monitor or assess the                           enforcement of or compliance with
         existence, concentration or effects of                             an ordinance or law which requires
         "pollutants". But we will pay for testing                          any insured or others to test for,
         which is performed in the course of                                monitor, clean up, remove, contain,
         extracting the "pollutants" from the land or                       treat, detoxify or neutralize, or in any
         water.                                                             way respond to, or assess the
                                                                            effects of "pollutants", "fungus", wet
         The most we will pay under this Additional
                                                                            or dry rot or bacteria.
         Coverage for each described premises is
         $10,000 for the sum of all covered                         (6) The most we will pay under this
         expenses arising out of Covered Causes of                      Additional Coverage, for each described
         Loss occurring during each separate 12-                        building insured under this Coverage
         month period of this policy.                                   Form, is $10,000 or 5% of the Limit of
      e. Increased Cost Of Construction                                 Insurance applicable to that building,
                                                                        whichever is less. If a damaged building
        (1) This Additional Coverage applies only to                    is covered under a blanket Limit of
            buildings to which the Replacement                          Insurance which applies to more than
            Cost Optional Coverage applies.
                                                                        one building or item of property, then the
        (2) In the event of damage by a Covered                         most we will pay under this Additional
            Cause of Loss to a building that is                         Coverage, for that damaged building, is
            Covered Property, we will pay the                           the lesser of $10,000 or 5% times the
            increased costs incurred to comply with                     value of the damaged building as of the
            the minimum standards of an ordinance                       time of loss times the applicable
            or law in the course of repair, rebuilding                  Coinsurance percentage.
            or replacement of damaged parts of that
                                                                        The amount payable under this
            property, subject to the limitations stated
                                                                        Additional Coverage is          additional
            in e.(3) through e.(9) of this Additional
                                                                        insurance.
            Coverage.
                                                                    (7) With respect to          this Additional
        (3) The ordinance or law referred to in e.(2)                   Coverage:
            of this Additional Coverage is an
            ordinance or law that regulates the                        (a) We will not pay for the Increased
            construction or repair of buildings or                          Cost of Construction:
            establishes zoning or land use                                  (i) Until the property is actually
            requirements at the described premises                              repaired or replaced at the same
            and is in force at the time of loss.                                or another premises; and
        (4) Under this Additional Coverage, we will                        (ii) Unless the repair or replacement
            not pay any costs due to an ordinance                               is made as soon as reasonably
            or law that:                                                        possible after the loss or
                                                                                damage, not to exceed two
           (a) You were required to comply with
                                                                                years. W e may extend this period
                before the loss, even when the
                                                                                in writing during the two years.
                building was undamaged; and
           (b) You failed to comply with.




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           (b) If the building is repaired or replaced               (3) The Covered Causes of Loss applicable
                at the same premises, or if you elect                    to Your Business Personal Property
                to rebuild at another premises, the                      apply to this Additional Coverage,
                most we will pay for the Increased                       Electronic Data, subject to the following:
                Cost of Construction, subject to the                    (a) If the Causes Of Loss – Special
                provisions of e.(6) of this Additional                      Form applies, coverage under this
                Coverage, is the increased cost of                          Additional     Coverage,     Electronic
                construction at the same premises.                          Data, is limited to the "specified
           (c) If the ordinance or law requires                             causes of loss" as defined in that
                relocation to another premises, the                         form and Collapse as set forth in that
                most we will pay for the Increased                          form.
                Cost of Construction, subject to the                    (b) If the Causes Of Loss – Broad Form
                provisions of e.(6) of this Additional                      applies,     coverage     under     this
                Coverage, is the increased cost of                          Additional     Coverage,     Electronic
                construction at the new premises.                           Data, includes Collapse as set forth
        (8) This Additional Coverage is not subject                         in that form.
            to the terms of the Ordinance Or Law                        (c) If the Causes Of Loss form is
            Exclusion to the extent that such                               endorsed to add a Covered Cause of
            Exclusion would conflict with the                               Loss, the additional Covered Cause
            provisions of this Additional Coverage.                         of Loss does not apply to the
        (9) The costs addressed in the Loss                                 coverage      provided    under     this
            Payment and Valuation Conditions and                            Additional     Coverage,     Electronic
            the     Replacement       Cost   Optional                       Data.
            Coverage, in this Coverage Form, do                         (d) The Covered Causes of Loss include
            not    include    the    increased cost                         a virus, harmful code or similar
            attributable to enforcement of or                               instruction introduced into or enacted
            compliance with an ordinance or law.                            on a computer system (including
            The amount payable under this                                   electronic data) or a network to
            Additional Coverage, as stated in e.(6)                         which it is connected, designed to
            of this Additional Coverage, is not                             damage or destroy any part of the
            subject to such limitation.                                     system or disrupt its normal
      f. Electronic Data                                                    operation. But there is no coverage
        (1) Under      this    Additional   Coverage,                       for loss or damage caused by or
            electronic data has the meaning                                 resulting from manipulation of a
            described under Property Not Covered,                           computer       system        (including
            Electronic      Data.    This    Additional                     electronic data) by any employee,
            Coverage does not apply to your "stock"                         including a temporary or leased
            of prepackaged software, or                to                   employee, or by an entity retained by
            electronic data which is integrated in                          you or for you to inspect, design,
            and operates or controls the building's                         install, modify, maintain, repair or
            elevator, lighting, heating, ventilation, air                   replace           that          system.
            conditioning or security system.
        (2) Subject to the provisions of this
            Additional Coverage, we will pay for the
            cost to replace or restore electronic data
            which has been destroyed or corrupted
            by a Covered Cause of Loss. To the
            extent that electronic data is not
            replaced or restored, the loss will be
            valued at the cost of replacement of the
            media on which the electronic data was
            stored, with blank media of substantially
            identical type.




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        (4) The most we will pay under this                         (2) Your Business Personal Property
            Additional Coverage, Electronic Data, is                   (a) If this policy covers Your Business
            $2,500 (unless a higher limit is shown in                      Personal Property, you may extend
            the Declarations) for all loss or damage                       that insurance to apply to:
            sustained in any one policy year,
            regardless of the number of occurrences                        (i) Business     personal     property,
            of loss or damage or the number of                                 including such property that you
            premises,     locations    or    computer                          newly acquire, at any location
            systems involved. If loss payment on the                           you acquire other than at fairs,
            first occurrence does not exhaust this                             trade shows or exhibitions; or
            amount, then the balance is available for                     (ii) Business     personal     property,
            subsequent loss or damage sustained in                             including such property that you
            but not after that policy year. W ith                              newly acquire, located at your
            respect to an occurrence which begins                              newly constructed or acquired
            in one policy year and continues or                                buildings     at   the     location
            results in additional loss or damage in a                          described in the Declarations.
            subsequent policy year(s), all loss or
            damage is deemed to be sustained in                            The most we will pay for loss or
            the policy year in which the occurrence                        damage under this Extension is
            began.                                                         $100,000 at each building.
   5. Coverage Extensions                                              (b) This Extension does not apply to:
      Except as otherwise provided, the following                          (i) Personal property of others that
      Extensions apply to property located in or on                            is temporarily in your possession
      the building described in the Declarations or in                         in the course of installing or
      the open (or in a vehicle) within 100 feet of the                        performing     work    on   such
      described premises.                                                      property; or
      If a Coinsurance percentage of 80% or more,                         (ii) Personal property of others that
      or a Value Reporting period symbol, is shown                             is temporarily in your possession
      in the Declarations, you may extend the                                  in     the   course     of   your
      insurance provided by this Coverage Part as                              manufacturing or wholesaling
      follows:                                                                 activities.
      a. Newly Acquired Or Constructed                              (3) Period Of Coverage
         Property                                                        With respect to insurance provided
        (1) Buildings                                                    under this Coverage Extension for
                                                                         Newly      Acquired      Or Constructed
            If this policy covers Building, you may                      Property, coverage will end when any of
            extend that insurance to apply to:
                                                                         the following first occurs:
           (a) Your new buildings while being built
                on the described premises; and                          (a) This policy expires;
           (b) Buildings you acquire at locations,                     (b) 30 days expire after you acquire the
                other than the described premises,                         property or begin construction of that
                intended for:                                              part of the building that would qualify
                (i) Similar use as the building                            as covered property; or
                    described in the Declarations; or                  (c) You report values to us.
               (ii) Use as a warehouse.                                 We will charge you additional premium
            The most we will pay for loss or damage                     for values reported from the date you
            under this Extension is $250,000 at                         acquire    the    property    or   begin
            each building.                                              construction of that part of the building
                                                                        that would qualify as covered property.




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      b. Personal Effects And Property Of Others                d. Property Off-premises
         You may extend the insurance that applies                (1) You may extend the insurance provided
         to Your Business Personal Property to                        by this Coverage Form to apply to your
         apply to:                                                    Covered Property while it is away from
        (1) Personal effects owned by you, your                       the described premises, if it is:
             officers, your partners or members, your                (a) Temporarily at a location you do not
             managers or your employees. This                            own, lease or operate;
             Extension does not apply to loss or                     (b) In storage at a location you lease,
             damage by theft.                                            provided the lease was executed
        (2) Personal property of others in your care,                    after the beginning of the current
             custody or control.                                         policy term; or
         The most we will pay for loss or damage                     (c) At any fair, trade show or exhibition.
         under this Extension is $2,500 at each
                                                                  (2) This Extension does not apply to
         described premises. Our payment for loss
                                                                      property:
         of or damage to personal property of others
         will only be for the account of the owner of                (a) In or on a vehicle; or
         the property.                                                (b) In the care, custody or control of
      c. Valuable Papers And Records (Other                               your salespersons, unless the
         Than Electronic Data)                                            property is in such care, custody or
                                                                          control at a fair, trade show or
        (1) You may extend the insurance that
                                                                          exhibition.
            applies to Your Business Personal
            Property to apply to the cost to replace               (3) The most we will pay for loss or damage
            or restore the lost information on                         under this Extension is $10,000.
            valuable papers and records for which                e. Outdoor Property
            duplicates do not exist. But this
                                                                    You may extend the insurance provided by
            Extension does not apply to valuable
                                                                    this Coverage Form to apply to your
            papers and records which exist as
                                                                    outdoor fences, radio and television
            electronic data. Electronic data has the
                                                                    antennas (including satellite dishes), trees,
            meaning described under Property Not
                                                                    shrubs and plants (other than trees, shrubs
            Covered, Electronic Data.
                                                                    or plants which are "stock" or are part of a
        (2) If the Causes Of Loss – Special Form                    vegetated roof), including debris removal
            applies, coverage under this Extension                  expense, caused by or resulting from any of
            is limited to the "specified causes of                  the following causes of loss if they are
            loss" as defined in that form and                       Covered Causes of Loss:
            Collapse as set forth in that form.                    (1) Fire;
        (3) If the Causes Of Loss – Broad Form                     (2) Lightning;
            applies, coverage under this Extension
            includes Collapse as set forth in that                 (3) Explosion;
            form.                                                  (4) Riot or Civil Commotion; or
        (4) Under this Extension, the most we will                 (5) Aircraft.
            pay to replace or restore the lost
            information is $2,500 at each described                 The most we will pay for loss or damage
            premises, unless a higher limit is shown                under this Extension is $1,000, but not
            in the Declarations. Such amount is                     more than $250 for any one tree, shrub or
            additional insurance. W e will also pay                 plant. These limits apply to any one
            for the cost of blank material for                      occurrence, regardless of the types or
            reproducing the records (whether or not                 number of items lost or damaged in that
            duplicates exist) and (when there is a                  occurrence.
            duplicate) for the cost of labor to
            transcribe or copy the records. The
            costs of blank material and labor are
            subject to the applicable Limit of
            Insurance on Your Business Personal
            Property and, therefore, coverage of
            such costs is not additional insurance.




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         Subject to all aforementioned terms and                   (2) If the applicable Covered Causes of
         limitations of coverage, this Coverage                        Loss form or endorsement contains a
         Extension includes the expense of                             limitation or exclusion concerning loss or
         removing from the described premises the                      damage from sand, dust, sleet, snow,
         debris of trees, shrubs and plants which are                  ice or rain to property in a structure,
         the property of others, except in the                         such limitation or exclusion also applies
         situation in which you are a tenant and such                  to property in a portable storage unit.
         property is owned by the landlord of the                  (3) Coverage under this Extension:
         described premises.
                                                                      (a) Will end 90 days after the business
      f. Non-owned Detached Trailers                                       personal property has been placed in
        (1) You may extend the insurance that                              the storage unit;
            applies to Your Business Personal                         (b) Does not apply if the storage unit
            Property to apply to loss or damage to                         itself has been in use at the
            trailers that you do not own, provided                         described premises for more than 90
            that:                                                          consecutive days, even if the
           (a) The trailer is used in your business;                       business personal property has been
                                                                           stored there for 90 or fewer days as
           (b) The trailer is in your care, custody or                     of the time of loss or damage.
               control at the premises described in
               the Declarations; and                               (4) Under this Extension, the most we will
           (c) You have a contractual responsibility                   pay for the total of all loss or damage to
               to pay for loss or damage to the                        business personal property is $10,000
               trailer.                                                (unless a higher limit is indicated in the
                                                                       Declarations     for    such      Extension)
        (2) We will not pay for any loss or damage                     regardless of the number of storage
            that occurs:                                               units. Such limit is part of, not in addition
           (a) While the trailer is attached to any                    to, the applicable Limit of Insurance on
               motor      vehicle     or     motorized                 Your Business Personal Property.
               conveyance, whether or not the                          Therefore,     payment         under     this
               motor      vehicle     or     motorized                 Extension will not increase the
               conveyance is in motion;                                applicable Limit of Insurance on Your
           (b) During      hitching    or   unhitching                 Business Personal Property.
               operations, or when a trailer                       (5) This Extension does not apply to loss or
               becomes accidentally unhitched from                     damage otherwise covered under this
               a motor vehicle or motorized                            Coverage Form or any endorsement to
               conveyance.                                             this Coverage Form or policy, and does
        (3) The most we will pay for loss or damage                    not apply to loss or damage to the
            under this Extension is $5,000, unless a                   storage unit itself.
            higher limit is shown in the Declarations.          Each of these Extensions is additional
        (4) This insurance is excess over the                   insurance unless otherwise indicated. The
            amount due (whether you can collect on              Additional Condition, Coinsurance, does not
            it or not) from any other insurance                 apply to these Extensions.
            covering such property.                       B. Exclusions And Limitations
      g. Business Personal Property Temporarily              See applicable Causes Of Loss form as shown in
         In Portable Storage Units                           the Declarations.
        (1) You may extend the insurance that             C. Limits Of Insurance
            applies to Your Business Personal                The most we will pay for loss or damage in any
            Property to apply to such property while         one occurrence is the applicable Limit Of
            temporarily stored in a portable storage         Insurance shown in the Declarations.
            unit (including a detached trailer)
            located within 100 feet of the building or       The most we will pay for loss or damage to
            structure described in the Declarations          outdoor signs, whether or not the sign is attached
            or within 100 feet of the premises               to a building, is $2,500 per sign in any one
            described in the Declarations, whichever         occurrence.
            distance is greater.




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   The amounts of insurance stated in the following          Total amount of loss payable:
   Additional Coverages apply in accordance with the         $59,850 + $80,000 = $139,850
   terms of such coverages and are separate from
   the Limit(s) Of Insurance shown in the                    Example 2
   Declarations for any other coverage:                      (This example, too, assumes there is no Coinsurance
   1. Fire Department Service Charge;                        penalty.)
                                                             The Deductible and Limits of Insurance are the same
   2. Pollutant Clean-up And Removal;                        as those in Example 1.
   3. Increased Cost Of Construction; and
                                                             Loss to Building 1:                        $ 70,000
   4. Electronic Data.
                                                               (Exceeds Limit of Insurance plus Deductible)
   Payments under the Preservation Of Property
   Additional Coverage will not increase the                 Loss to Building 2:                        $ 90,000
   applicable Limit of Insurance.                              (Exceeds Limit of Insurance plus Deductible)
D. Deductible                                                Loss Payable – Building 1:                 $ 60,000
   In any one occurrence of loss or damage                     (Limit of Insurance)
   (hereinafter referred to as loss), we will first reduce   Loss Payable – Building 2:                 $ 80,000
   the amount of loss if required by the Coinsurance           (Limit of Insurance)
   Condition or the Agreed Value Optional Coverage.
                                                             Total amount of loss payable:              $ 140,000
   If the adjusted amount of loss is less than or equal
   to the Deductible, we will not pay for that loss. If      E. Loss Conditions
   the adjusted amount of loss exceeds the                      The following conditions apply in addition to the
   Deductible, we will then subtract the Deductible             Common Policy Conditions and the Commercial
   from the adjusted amount of loss and will pay the            Property Conditions:
   resulting amount or the Limit of Insurance,
                                                                1. Abandonment
   whichever is less.
                                                                   There can be no abandonment of any property
   When the occurrence involves loss to more than                  to us.
   one item of Covered Property and separate Limits
   of Insurance apply, the losses will not be                   2. Appraisal
   combined in determining application of the                      If we and you disagree on the value of the
   Deductible. But the Deductible will be applied only             property or the amount of loss, either may
   once per occurrence.                                            make written demand for an appraisal of the
Example 1                                                          loss. In this event, each party will select a
                                                                   competent and impartial appraiser. The two
(This example assumes there is no Coinsurance                      appraisers will select an umpire. If they cannot
penalty.)                                                          agree, either may request that selection be
Deductible:                                   $      250           made by a judge of a court having jurisdiction.
                                                                   The appraisers will state separately the value
Limit of Insurance – Building 1:              $   60,000           of the property and amount of loss. If they fail
Limit of Insurance – Building 2:              $   80,000           to agree, they will submit their differences to
Loss to Building 1:                           $   60,100           the umpire. A decision agreed to by any two
                                                                   will be binding. Each party will:
Loss to Building 2:                           $   90,000
                                                                   a. Pay its chosen appraiser; and
The amount of loss to Building 1 ($60,100) is less
than the sum ($60,250) of the Limit of Insurance                   b. Bear the other expenses of the appraisal
                                                                       and umpire equally.
applicable to Building 1 plus the Deductible.
                                                                   If there is an appraisal, we will still retain our
The Deductible will be subtracted from the amount of
                                                                   right to deny the claim.
loss in calculating the loss payable for Building 1:
                                                                3. Duties In The Event Of Loss Or Damage
    $ 60,100
                                                                    a. You must see that the following are done in
    –    250                                                           the event of loss or damage to Covered
    $ 59,850 Loss Payable – Building 1                                 Property:
The Deductible applies once per occurrence and                        (1) Notify the police if a law may have been
therefore is not subtracted in determining the amount                     broken.
of loss payable for Building 2. Loss payable for
Building 2 is the Limit of Insurance of $80,000.




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        (2) Give us prompt notice of the loss or              4. Loss Payment
            damage. Include a description of the                 a. In the event of loss or damage covered by
            property involved.                                      this Coverage Form, at our option, we will
        (3) As soon as possible, give us a                          either:
            description of how, when and where the                 (1) Pay the value of lost or damaged
            loss or damage occurred.                                    property;
        (4) Take all reasonable steps to protect the               (2) Pay the cost of repairing or replacing the
            Covered Property from further damage,                       lost or damaged property, subject to b.
            and keep a record of your expenses                          below;
            necessary to protect the Covered                       (3) Take all or any part of the property at an
            Property, for consideration in the                          agreed or appraised value; or
            settlement of the claim. This will not
                                                                   (4) Repair, rebuild or replace the property
            increase the Limit of Insurance.                            with other property of like kind and
            However, we will not pay for any                            quality, subject to b. below.
            subsequent loss or damage resulting
            from a cause of loss that is not a                      We will determine the value of lost or
            Covered Cause of Loss. Also, if                         damaged property, or the cost of its repair
            feasible, set the damaged property                      or replacement, in accordance with the
            aside and in the best possible order for                applicable terms of the Valuation Condition
            examination.                                            in this Coverage Form or any applicable
                                                                    provision which amends or supersedes the
        (5) At our request, give us complete                        Valuation Condition.
            inventories of the damaged and
            undamaged property. Include quantities,              b. The cost to repair, rebuild or replace does
            costs, values and amount of loss                        not include the increased cost attributable
            claimed.                                                to enforcement of or compliance with any
                                                                    ordinance      or     law     regulating   the
        (6) As often as may be reasonably required,                 construction, use or repair of any property.
            permit us to inspect the property proving
            the loss or damage and examine your                  c. We will give notice of our intentions within
            books and records.                                      30 days after we receive the sworn proof of
                                                                    loss.
             Also, permit us to take samples of                  d. We will not pay you more than your
             damaged and undamaged property for                     financial interest in the Covered Property.
             inspection, testing and analysis, and
             permit us to make copies from your                  e. We may adjust losses with the owners of
             books and records.                                     lost or damaged property if other than you.
                                                                    If we pay the owners, such payments will
        (7) Send us a signed, sworn proof of loss                   satisfy your claims against us for the
             containing the information we request to               owners' property. We will not pay the
             investigate the claim. You must do this                owners more than their financial interest in
             within 60 days after our request. W e will             the Covered Property.
             supply you with the necessary forms.
                                                                 f. We may elect to defend you against suits
        (8) Cooperate with us in the investigation or               arising from claims of owners of property.
             settlement of the claim.                               We will do this at our expense.
      b. We may examine any insured under oath,                  g. We will pay for covered loss or damage
         while not in the presence of any other                     within 30 days after we receive the sworn
         insured and at such times as may be                        proof of loss, if you have complied with all
         reasonably required, about any matter                      of the terms of this Coverage Part, and:
         relating to this insurance or the claim,
                                                                   (1) We have reached agreement with you
         including an insured's books and records. In                   on the amount of loss; or
         the event of an examination, an insured's
         answers must be signed.                                   (2) An appraisal award has been made.




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      h. A party wall is a wall that separates and is                  (b) When this policy is issued to the
         common to adjoining buildings that are                             owner or general lessee of a
         owned by different parties. In settling                            building, building means the entire
         covered losses involving a party wall, we                          building. Such building is vacant
         will pay a proportion of the loss to the party                     unless at least 31% of its total
         wall based on your interest in the wall in                         square footage is:
         proportion to the interest of the owner of the                     (i) Rented to a lessee or sublessee
         adjoining building. However, if you elect to                           and used by the lessee or
         repair or replace your building and the                                sublessee     to   conduct    its
         owner of the adjoining building elects not to                          customary operations; and/or
         repair or replace that building, we will pay
         you the full value of the loss to the party                       (ii) Used by the building owner to
         wall, subject to all applicable policy                                 conduct customary operations.
         provisions including Limits of Insurance, the             (2) Buildings      under     construction  or
         Valuation and Coinsurance Conditions and                       renovation are not considered vacant.
         all other provisions of this Loss Payment               b. Vacancy Provisions
         Condition. Our payment under the
                                                                     If the building where loss or damage occurs
         provisions of this paragraph does not alter
                                                                     has been vacant for more than 60
         any right of subrogation we may have
                                                                     consecutive days before that loss or
         against any entity, including the owner or
                                                                     damage occurs:
         insurer of the adjoining building, and does
         not alter the terms of the Transfer Of Rights              (1) We will not pay for any loss or damage
         Of Recovery Against Others To Us                                 caused by any of the following, even if
         Condition in this policy.                                        they are Covered Causes of Loss:
   5. Recovered Property                                                 (a) Vandalism;
      If either you or we recover any property after                     (b) Sprinkler leakage, unless you have
      loss settlement, that party must give the other                        protected    the    system   against
      prompt notice. At your option, the property will                       freezing;
      be returned to you. You must then return to us                     (c) Building glass breakage;
      the amount we paid to you for the property. W e                    (d) Water damage;
      will pay recovery expenses and the expenses
      to repair the recovered property, subject to the                 (e) Theft; or
      Limit of Insurance.                                               (f) Attempted theft.
   6. Vacancy                                                       (2) With respect to Covered Causes of Loss
      a. Description Of Terms                                           other than those listed in b.(1)(a)
                                                                        through b.(1)(f) above, we will reduce
        (1) As used in this Vacancy Condition, the                      the amount we would otherwise pay for
            term building and the term vacant have                      the loss or damage by 15%.
            the meanings set forth in (1)(a) and
            (1)(b) below:                                     7. Valuation
            (a) When this policy is issued to a                  We will determine the value of Covered
                tenant, and with respect to that                 Property in the event of loss or damage as
                                                                 follows:
                tenant's interest in Covered Property,
                building means the unit or suite                 a. At actual cash value as of the time of loss
                rented or leased to the tenant. Such                 or damage, except as provided in b., c., d.
                building is vacant when it does not                  and e. below.
                contain enough business personal                 b. If the Limit of Insurance for Building
                property to conduct customary                        satisfies   the     Additional    Condition,
                operations.                                          Coinsurance, and the cost to repair or
                                                                     replace the damaged building property is
                                                                     $2,500 or less, we will pay the cost of
                                                                     building    repairs     or     replacement.




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          The cost of building repairs or replacement                Instead, we will determine the most we will
          does not include the increased cost                        pay using the following steps:
          attributable   to   enforcement      of    or             (1) Multiply the value of Covered Property
          compliance with any ordinance or law                           at the time of loss by the Coinsurance
          regulating the construction, use or repair of                  percentage;
          any property.
                                                                    (2) Divide the Limit of Insurance of the
          However, the following property will be                        property by the figure determined in
          valued at the actual cash value, even when                     Step (1);
          attached to the building:                                 (3) Multiply the total amount of loss, before
         (1) Awnings or floor coverings;                                 the application of any deductible, by the
         (2) Appliances for refrigerating, ventilating,                  figure determined in Step (2); and
              cooking, dishwashing or laundering; or                (4) Subtract the deductible from the figure
         (3) Outdoor equipment or furniture.                             determined in Step (3).
     c. "Stock" you have sold but not delivered at                   We will pay the amount determined in Step
          the selling price less discounts and                       (4) or the Limit of Insurance, whichever is
          expenses you otherwise would have had.                     less. For the remainder, you will either have
                                                                     to rely on other insurance or absorb the
     d. Glass at the cost of replacement with                        loss yourself.
          safety-glazing material if required by law.
                                                           Example 1 (Underinsurance)
     e. Tenants' Improvements and Betterments at:
         (1) Actual cash value of the lost or              When:     The value of the property is:       $ 250,000
              damaged property if you make repairs                   The Coinsurance percentage
              promptly.                                              for it is:                               80%
         (2) A proportion of your original cost if you               The Limit of Insurance for it is:   $ 100,000
              do not make repairs promptly. We will                  The Deductible is:                  $     250
              determine the proportionate value as
                                                                     The amount of loss is:              $ 40,000
              follows:
                                                           Step (1): $250,000 x 80% = $200,000
             (a) Multiply the original cost by the
                  number of days from the loss or                    (the minimum amount of insurance to
                  damage to the expiration of the                    meet your Coinsurance requirements)
                  lease; and                               Step (2): $100,000  $200,000 = .50
             (b) Divide the amount determined in (a)       Step (3): $40,000 x .50 = $20,000
                  above by the number of days from
                                                           Step (4): $20,000 – $250 = $19,750
                  the installation of improvements to
                  the expiration of the lease.             We will pay no more than $19,750. The remaining
              If your lease contains a renewal option,     $20,250 is not covered.
              the expiration of the renewal option         Example 2 (Adequate Insurance)
              period will replace the expiration of the
                                                           When:     The value of the property is:       $ 250,000
              lease in this procedure.
                                                                     The Coinsurance percentage
         (3) Nothing if others pay for repairs or
              replacement.                                           for it is:                               80%
                                                                     The Limit of Insurance for it is:   $ 200,000
F. Additional Conditions
                                                                     The Deductible is:                  $     250
   The following conditions apply in addition to the
   Common Policy Conditions and the Commercial                       The amount of loss is:              $ 40,000
   Property Conditions:                                    The minimum amount of insurance to meet your
   1. Coinsurance                                          Coinsurance requirement is $200,000 ($250,000 x
                                                           80%). Therefore, the Limit of Insurance in this
      If a Coinsurance percentage is shown in the          example is adequate, and no penalty applies. W e will
      Declarations, the following condition applies:       pay no more than $39,750 ($40,000 amount of loss
      a. We will not pay the full amount of any loss if    minus the deductible of $250).
          the value of Covered Property at the time of
          loss times the Coinsurance percentage
          shown for it in the Declarations is greater
          than the Limit of Insurance for the property.




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        b. If one Limit of Insurance applies to two or                 (2) Submits a signed, sworn proof of loss
           more separate items, this condition will                         within 60 days after receiving notice
           apply to the total of all property to which the                  from us of your failure to do so; and
           limit applies.                                              (3) Has notified us of any change in
Example 3                                                                   ownership, occupancy or substantial
                                                                            change in        risk    known to     the
When:      The value of the property is:                                    mortgageholder.
           Building at Location 1:             $ 75,000                 All of the terms of this Coverage Part will
           Building at Location 2:             $ 100,000                then apply directly to the mortgageholder.
           Personal Property                                         e. If we pay the mortgageholder for any loss
           at Location 2:                      $ 75,000                 or damage and deny payment to you
                                                                        because of your acts or because you have
                                               $ 250,000
                                                                        failed to comply with the terms of this
           The Coinsurance percentage                                   Coverage Part:
           for it is:                               90%
                                                                       (1) The mortgageholder's rights under the
           The Limit of Insurance for                                       mortgage will be transferred to us to the
           Buildings and Personal Property                                  extent of the amount we pay; and
           at Locations 1 and 2 is:            $ 180,000
           The Deductible is:                  $ 1,000                  (2) The mortgageholder's right to recover
                                                                             the full amount of the mortgageholder's
           The amount of loss is:                                            claim will not be impaired.
           Building at Location 2:             $ 30,000                  At our option, we may pay to the
           Personal Property                                             mortgageholder the whole principal on the
           at Location 2:                      $ 20,000                  mortgage plus any accrued interest. In this
                                               $ 50,000                  event, your tomortgage
                                                                         transferred               and will
                                                                                          us and you     notepay
                                                                                                               willyour
                                                                                                                     be
Step (1): $250,000 x 90% = $225,000
                                                                         remaining mortgage debt to us.
          (the minimum amount of insurance to
          meet your Coinsurance requirements                          f. If we cancel this policy, we will give written
                                                                         notice to the mortgageholder at least:
          and to avoid the penalty shown below)
Step (2): $180,000  $225,000 = .80                                     (1) 10 days before the effective date of
                                                                             cancellation if we cancel for your
Step (3): $50,000 x .80 = $40,000                                            nonpayment of premium; or
Step (4): $40,000 – $1,000 = $39,000                                    (2) 30 days before the effective date of
We will pay no more than $39,000. The remaining                              cancellation if we cancel for any other
$11,000 is not covered.                                                      reason.
   2. Mortgageholders                                                g. If we elect not to renew this policy, we will
                                                                         give written notice to the mortgageholder at
        a. The term mortgageholder includes trustee.
                                                                         least 10 days before the expiration date of
        b. We will pay for covered loss of or damage                     this policy.
           to buildings or structures to each
                                                              G. Optional Coverages
           mortgageholder shown in the Declarations
           in their order of precedence, as interests            If shown as applicable in the Declarations, the
           may appear.                                           following Optional Coverages apply separately to
                                                                 each item:
        c. The mortgageholder has the right to receive
           loss payment even if the mortgageholder               1. Agreed Value
           has started foreclosure or similar action on              a. The Additional Condition, Coinsurance,
           the building or structure.                                   does not apply to Covered Property to
        d. If we deny your claim because of your acts                   which this Optional Coverage applies. W e
           or because you have failed to comply with                    will pay no more for loss of or damage to
           the terms of this Coverage Part, the                         that property than the proportion that the
           mortgageholder will still have the right to                  Limit of Insurance under this Coverage Part
           receive loss payment if the mortgageholder:                  for the property bears to the Agreed Value
                                                                        shown for it in the Declarations.
          (1) Pays any premium due under this
               Coverage Part at our request if you
               have failed to do so;




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      b. If the expiration date for this Optional                    (4) "Stock", unless the Including "Stock"
          Coverage shown in the Declarations is not                       option is shown in the Declarations.
          extended,      the    Additional    Condition,              Under the terms of this Replacement Cost
          Coinsurance, is reinstated and this Optional                Optional Coverage, tenants' improvements
          Coverage expires.                                           and betterments are not considered to be
      c. The terms of this Optional Coverage apply                    the personal property of others.
          only to loss or damage that occurs:                      c. You may make a claim for loss or damage
         (1) On or after the effective date of this                   covered by this insurance on an actual cash
              Optional Coverage; and                                  value basis instead of on a replacement
         (2) Before the Agreed Value expiration date                  cost basis. In the event you elect to have
              shown in the Declarations or the policy                 loss or damage settled on an actual cash
              expiration date, whichever occurs first.                value basis, you may still make a claim for
   2. Inflation Guard                                                 the additional coverage this Optional
                                                                      Coverage provides if you notify us of your
      a. The Limit of Insurance for property to which                 intent to do so within 180 days after the loss
          this Optional Coverage applies will                         or damage.
          automatically increase by the annual
                                                                   d. We will not pay on a replacement cost basis
          percentage shown in the Declarations.                       for any loss or damage:
      b. The amount of increase will be:                             (1) Until the lost or damaged property is
         (1) The Limit of Insurance that applied on                       actually repaired or replaced; and
              the most recent of the policy inception                (2) Unless the repair or replacement is
              date, the policy anniversary date, or any                   made as soon as reasonably possible
              other policy change amending the Limit                      after the loss or damage.
              of Insurance, times                                     With respect to tenants' improvements and
         (2) The percentage of annual increase                        betterments, the following also apply:
              shown in the Declarations, expressed as                (3) If the conditions in d.(1) and d.(2) above
              a decimal (example: 8% is .08), times                       are not met, the value of tenants'
         (3) The number of days since the beginning                       improvements and betterments will be
              of the current policy year or the effective                 determined as a proportion of your
              date of the most recent policy change                       original cost, as set forth in the
              amending the Limit of Insurance, divided                    Valuation Loss Condition of this
              by 365.                                                     Coverage Form; and
Example                                                              (4) We will not pay for loss or damage to
                                                                          tenants' improvements and betterments
If:    The applicable Limit of Insurance is:   $ 100,000                  if others pay for repairs or replacement.
       The annual percentage increase is:            8%            e. We will not pay more for loss or damage on
       The number of days since the                                   a replacement cost basis than the least of
       beginning of the policy year                                   (1), (2) or (3), subject to f. below:
       (or last policy change) is:                  146              (1) The Limit of Insurance applicable to the
       The amount of increase is:                                         lost or damaged property;
       $100,000 x .08 x 146  365 =            $   3,200             (2) The cost to replace the lost or damaged
                                                                          property with other property:
      3. Replacement Cost
                                                                         (a) Of comparable material and quality;
        a. Replacement Cost (without deduction for                             and
           depreciation) replaces Actual Cash Value in
           the Valuation Loss Condition of this                          (b) Used for the same purpose; or
           Coverage Form.                                             (3) The amount actually spent that is
        b. This Optional Coverage does not apply to:                      necessary to repair or replace the lost or
                                                                          damaged property.
          (1) Personal property of others;
                                                                       If a building is rebuilt at a new premises, the
          (2) Contents of a residence;                                 cost described in e.(2) above is limited to
          (3) Works of art, antiques or rare articles,                 the cost which would have been incurred if
              including etchings, pictures, statuary,                  the building had been rebuilt at the original
              marbles, bronzes, porcelains and bric-a-                 premises.
              brac; or




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      f. The cost of repair or replacement does not        H. Definitions
         include the increased cost attributable to           1. "Fungus" means any type or form of fungus,
         enforcement of or compliance with any                   including mold or mildew, and any mycotoxins,
         ordinance      or    law     regulating    the          spores, scents or by-products produced or
         construction, use or repair of any property.            released by fungi.
   4. Extension Of Replacement Cost To                        2. "Pollutants" means any solid, liquid, gaseous or
      Personal Property Of Others                                thermal irritant or contaminant, including
      a. If the Replacement Cost Optional Coverage               smoke, vapor, soot, fumes, acids, alkalis,
         is shown as applicable in the Declarations,             chemicals and waste. Waste includes materials
         then this Extension may also be shown as                to be recycled, reconditioned or reclaimed.
         applicable. If the Declarations show this            3. "Stock" means merchandise held in storage or
         Extension as applicable, then Paragraph                 for sale, raw materials and in-process or
         3.b.(1) of the Replacement Cost Optional                finished goods, including supplies used in their
         Coverage is deleted and all other provisions            packing or shipping.
         of the Replacement Cost Optional
         Coverage apply to replacement cost on
         personal property of others.
      b. With respect to replacement cost on the
         personal property of others, the following
         limitation applies:
         If an item(s) of personal property of others
         is subject to a written contract which
         governs your liability for loss or damage to
         that item(s), then valuation of that item(s)
         will be based on the amount for which you
         are liable under such contract, but not to
         exceed the lesser of the replacement cost
         of the property or the applicable Limit of
         Insurance.




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                              "Premier" Preferred Package
   BUILDING AND PERSONAL PROPERTY COVERAGE FORM CP 00 10 10 12
   CAUSES OF LOSS — SPECIAL FORM CP 10 30 10 12

   You should read your policy, its endorsements, and any changes to your policy under this endorsement
   for complete information on coverages you are provided. If there is any conflict your policy and the
   endorsements will control.

   COVERAGES
   The provisions of the Building and Personal Property Coverage Form and Causes of Loss - Special Form
   apply except as otherwise provided in this endorsement.


   CHANGES TO BUILDING AND PERSONAL PROPERTY COVERAGE FORM CP 00
   10 10 12 :

   I. Section C. Limits of insurance
   Outdoor Signs
   a. We will pay for direct physical loss of or damage to all outdoor signs at the described premises,
   whether or not the sign is attached to the building:
   (1) Owned by you; or
   (2) Owned by others but in your care, custody or control.
   b. The most we will pay under this Additional Coverage for loss or damage in any one occurrence is
   $5,000 unless a different Limit of Insurance for outdoor signs is shown in the Declarations.
   c. The provisions of this Additional Coverage supersede all other outdoor signs coverage references in the
   Building and Personal Property Coverage Form.


   II. The Additional Coverages in Section A. Coverage of the Building and Personal Property
   Coverage Form are amended as follows:
   4.a. (4) Debris Removal
   The limit of insurance under Additional Coverages Debris Removal is changed to up to an additional
   $25,000 for each location in any one occurrence.
   4.a. (5) c. Fire Department Service Charge
   The limit of insurance under Additional Coverages, Fire Department Service Charge, is changed to
   $5,000 unless a different Limit of Insurance for Fire Department Service Charge is shown in the
   Declarations.
   4.f. (4) Electronic Data
   The most we will pay under Additional Coverages, Electronic Data, is changed to $4,500 for all loss or
   damage sustained in any one policy year, regardless of the number of occurrences of loss or damage or
   the number of premises, locations, or computer systems involved.



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   III. The following are ADDED to Section A. Coverage subsection 4. Additional Coverages of the
   Building and Personal Property Coverage Form:
   4.9. Accounts Receivable
   a. You may extend the insurance that applies to your Business Personal Property to accounts receivable.
   We will pay:
           (1) All amounts due from your customers that you are unable to collect;
           (2) interest charges on any loan required to offset amounts you are unable to collect pending our
           payment of these amounts;
           (3) Collection expenses in excess of your normal collection expenses that are made necessary by
           loss or damage; and
           (4) Other reasonable expenses that you incur to reestablish your records of accounts receivable;
   that result from direct physical loss or damage by any Covered Cause of Loss to your records of accounts
   receivable.
   b. The most we will pay under this Extension for loss or damage in any one occurrence at each
   described premises is $10,000.
   c. For accounts receivable not at a described premises, the most we will pay is $10,000 in any one
   occurrence.
   d. To the extent that coverage for accounts receivable is provided under this Extension, the
   provisions of Property Not Covered in the Coverage Section do not apply.


   4.h. Reward Payment
   a. We will reimburse you for rewards paid as follows:
           (1) Up to $2,500 to an eligible person for information leading to the arrest and conviction of any
           person or persons committing a crime resulting in loss to Covered Property from a Covered
           Cause of Loss.
           However, we will pay no more than the lesser of the following amounts:
                   (a) Actual cash value of the Covered Property at the time of loss or damage, but not more
                   than the amount required to repair or replace it; or
                   (b) The amount determined by the loss settlement procedure applicable to the Covered
                   Property under the Loss Payment Condition.
           (2) Up to $2,500 to an eligible person for the return of stolen Covered Property, when the loss is
           caused by theft. However, we will pay no more than the lesser of the following amounts:
                   (a) Actual cash value based on the condition of the Covered Property at the time it is
                   returned, but not more than the amount required to repair or replace it; or
                   (b) The amount determined by the loss settlement procedure applicable to the returned
                   Covered Property under the Loss Payment Condition.
   This Additional Coverage applies subject to the following conditions:
           (1) An eligible person means that person designated by a law enforcement agency as being the
           first to voluntarily provide the information leading to the arrest and conviction or return of the
           stolen Covered Property and who is not:
                   (a) You or any family member;



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                   (b) Your employee or any of his or her family members;
                   (c) An employee of a law enforcement agency;
                   (d) An employee of a business engaged in property protection;
                   (e) Any person who had custody of the Covered Property at the time the theft was
                   committed; or
                   (f) Any person involved in the crime.
           (2) No reward will be reimbursed unless and until the person(s) committing the crime is (are)
           convicted or the Covered Property is returned.
           (3) The lesser of the amount of the reward or $2,500 is the most we will reimburse for loss under
           this Additional Coverage in any one occurrence.


   i. Back-up of Sewers or Drains
   a. We will pay for direct loss caused by water that backs up through sewers or drains, or water that enters
   into and overflows from or within a sump pump, sump pump well or other type system designed to
   remove subsurface water which is drained from the foundation area.
   b. The most we will pay under this Extension is $25,000 per occurrence, subject to a policy aggregate of
   $25,000 per policy period.
   c. If CP1032 Water Exclusion Endorsement IS NOT a part of this policy, Section B., Exclusions Item
   g.(3) in Causes of Loss Special Form is replaced by (3) below:
           (3) Water that backs up from a sewer, drain or sump, except as provided by Additional Coverage
               4.i above - Back-up of Sewers or Drains.


                                    THIS IS NOT FLOOD INSURANCE
   We will not pay for water or other materials that back up from any sewer or drain or overflow from a
   sump when the back up or overflow is caused by any flood. This applies regardless of the proximity of the
   flood to Covered Property Flood includes accumulation of surface water, waves, tidal waves, overflow of
   streams or other bodies of water, or their spray, all whether driven by wind or not that enters the sewer or
   drain system.


   4.j. Brands and Labels
   a. If branded or labeled merchandise that is Covered Property is damaged by a Covered Cause of Loss, we
   may take all or any part of the property at an agreed or appraised value. If so, we will pay your
   reasonable expenses and you may:
           (1) Stamp the word "salvage" on the merchandise or its containers, if the stamp will not
           physically damage the merchandise; or
           (2) Remove the brands or labels, if doing so will not physically damage the merchandise. You
           must re-label the merchandise or its containers to comply with the law.
   b. We will pay for the loss in value of the salvage merchandise that results from stamping it or removing
   the brands and labels.
   c. The most we will pay under this Additional Coverage for loss or damage in any one occurrence is
   $7,500.



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   4.k. Consequential Loss to Stock
   a. We will pay the reduction in value of the remaining parts of "stock" in process of manufacture when
   the reduction is caused by direct physical loss or damage from a Covered Cause of Loss to other parts of
   "stock" in process of manufacture at the described premises.
   b. In the application of the COINSURANCE Additional Condition, the value of "stock" in process of
   manufacture at any location to which this endorsement applies, includes the additional value that it
   represents in "stock" at other locations.
   c. The most we will pay under this Additional Coverage for each described premises is $7,500 over the
   policy term.

   4.l. Employee Theft and Forgery or Alteration
   A. Insuring Agreements
   Coverage is provided for the following insuring Agreements:
   1. Employee Theft
   We will pay for loss of or damage to "money", "securities" and "other property" resulting directly from
   "theft" committed by an "employee", whether identified or not, acting alone or in collusion with other
   persons.
   This coverage does not apply to any "employee" immediately upon discovery by you or any of your
   partners, officers, or directors not in collusion with the "employee"; of any theft or dishonest act
   committed by that "employee" before or after being employed by you.
   2. Forgery or Alteration:
   a. We will pay for loss resulting directly from "forgery" or unauthorized alteration of checks, drafts,
   promissory notes, or similar written promises, orders or directions to pay a sum certain in "money" that
   are:
           (1) Made or drawn by or drawn upon you; or
           (2) Made or drawn by one acting as your agent; or
           (3) That are purported to have been so made or drawn.
   b. If you are sued for refusing to pay any instrument covered in Paragraph a. above, on the basis that it
   has been forged or altered, and you have our written consent to defend against the suit, we will pay for
   reasonable legal expenses that you incur and pay in that defense.
   c. We will treat mechanically reproduced facsimile signatures the same as handwritten signatures.
   d. For the purpose of this coverage, check includes a substitute check as defined in the Check Clearing for
   the 21st Century Act and will be treated the same as the original it replaced.
   e. The most we will pay for any loss in any one "occurrence", including legal expenses, under this
   Additional Coverage is $30,000 unless a different Limit of Insurance for forgery or alteration is shown in
   the Declarations.
   B. Limit Of Insurance
   The most we will pay for loss in any one "occurrence", including legal expenses, under this Additional
   Coverage, is $30,000 unless a different limit of insurance for Employee Theft, Forgery or Alteration is
   shown in the Declarations. All loss or damage caused by one or more "employees," or involving a single
   act or series of related acts, is considered one occurrence.
   C. Exclusions



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   1. This Additional Coverage does not apply to:
   a. Acts Committed By You, Your Partners Or Your Members
   Loss resulting from "theft" or any other dishonest act committed by:
           (1) You; or
           (2) Any of your partners or "members"; whether acting alone or in collusion with other persons.
   b. Confidential information
   Loss resulting from:
           (1) The unauthorized disclosure of your confidential information including, but not limited to,
           patents, trade secrets, processing methods or customer lists; or
           (2) The unauthorized use or disclosure of confidential information of another person or entity
           which is held by you including, but not limited to, financial information, personal information,
           credit card information or similar non-public information.
   c. Indirect Loss
   Loss that is an indirect result of any act or "occurrence" covered by this Additional Coverage including,
   but not limited to, loss resulting from:
           (1) Your inability to realize income that you would have realized had there been no loss of or
           damage to "money", "securities" or “other property".
           (2) Payment of damages of any type for which you are legally liable. But, we will pay
           compensatory damages arising directly from a loss covered under this Additional Coverage.
           (3) Payment of costs, fees or other expenses you incur in establishing either the existence or the
           amount of loss under this Additional Coverage. Item 4. r of this enhancement endorsement is not
           applicable to this section.
   d. Legal Fees, Costs And Expenses
   Fees, costs and expenses incurred by you which are related to any legal action, except when covered
   under Insuring Agreement A2.
   2. Insuring Agreement A.1. does not cover:
   a. Inventory Shortages
   Loss, or that part of any loss, the proof of which as to its existence or amount is dependent upon:
           (1) An inventory computation; or
           (2) A profit and loss computation.
   However, where you establish wholly apart from such computations that you have sustained a loss, then
   you may offer your inventory records and actual physical count of inventory in support of the amount of
   loss claimed.
   b. Trading
   Loss resulting directly or indirectly from trading, whether in your name or in a genuine or fictitious
   account.
   c. Warehouse Receipts
   Loss resulting from fraudulent or dishonest signing, issuing, canceling or failing to cancel, a warehouse
   receipt or any papers connected with it.
   3. Insuring Agreement A2. does not apply to:



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   Acts of Employees, Managers, Directors, Trustees or Representatives
   Loss resulting from "theft" or any other dishonest act committed by any of your "employees",
   "managers", directors, trustees or authorized representatives:
   a. Whether acting alone or in collusion with other persons; or
   b. While performing services for you or otherwise.
   D. Discovery
   1. We will pay for loss that you sustain through acts committed at any time and discovered by        you
   during the policy period shown in the Declarations; or
   2. Discovery of loss occurs when you first become aware of facts which would cause a reasonable person
   to assume that a loss covered by this Additional Coverage has been or will be incurred, even though the
   exact amount or details of loss may not then be known. Discovery also occurs when you receive notice of
   an actual or potential claim against you alleging facts that if true would constitute a covered loss under
   this Additional Coverage.
   E. Examination of Your Books and Records
   We may examine and audit your books and records as they relate to this Additional Coverage at any time
   during the policy period and up to 3 years afterward.
   F. Definitions
   1. "Forgery" means the signing of the name of another person or organization with intent to deceive; it
   does not mean a signature which consists in whole or in part of one's own name signed with or without
   authority, in any capacity, for any purpose.
   2. "Occurrence" means:
           (a) As respects Insuring Agreement A.1., all loss caused by, or involving, one or more
           "employees", whether the result of a single act or series of acts.
           (b) As respects Insuring Agreement A.2., all loss caused by any person or in which that
           person is involved, whether the loss involves one or more instruments.
   3. "Other property" means any tangible property other than "money" and "securities" that has
           intrinsic value but does not include any property excluded under this policy.
   4. "Theft" means the unlawful taking of "money", "securities" or "other property" to the deprivation of
   the Insured.

   4.m. Employees Tools
   a. You may extend the insurance provided by this Coverage Form for direct physical loss or damage to
   covered property located at the premises described in the Declarations to apply to tools owned by your
   "employees." Our payment for loss of or damage to "employees" tools will only be for the account of the
   owner of the property. The loss or damage must be caused by or result form a Covered Cause of Loss.
   The most we will pay for loss or damage under this Extension is $2,000 for the duration of the policy
   period as described in the Declarations.


   4.n. Fine Arts
   a. You may extend the insurance provided by this Coverage Form to apply to direct physical loss or
   damage to objects of art, art glass windows, antique or period furniture, and other items that have artistic
   merit, antique value or historical worth owned by you, or in your care, custody or control, located at the



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   premises described in the Declarations. We will not cover such property if held for sale, nor for loss or
   damage caused by repair, restoration or retouching. Loss or damage must be caused by or result from a
   Covered Cause of Loss.
   b. If loss or damage occurs, we will pay the appraisal value. If you do not have an appraisal, we will pay
   your cost at the time of purchase.
   c. Our payment for loss of or damage to property of others will only be for the account of the owner of the
   property.
   d. The most we will pay for loss or damage under this Fine Arts Coverage Extension is $5,000 at each
   described premises over the policy term.

   4.o. Fire Extinguisher Recharge Expense
   a. We will pay:
           (1) The cost of recharging or replacing, whichever is less, your fire extinguishers and fire
           extinguishing systems (including hydrostatic testing if needed) if they are discharged on or within
           100 feet of the described premises; and
           (2) For loss or damage to Covered Property if such Foss or damage is the result of an accidental
           discharge of chemicals from a fire extinguisher or fire extinguishing system.
   b. No coverage will apply if the fire extinguishing system is discharged during installation or testing.
   c. The most we will pay under this Additional Coverage is $2,000 in any one occurrence


   4.p. Lock and Key Replacement
   a. We will pay for the cost to repair or replace locks at the described premises due to theft or other loss to
   keys.
   b. The most we will pay under this Additional Coverage for all loss or damage in any one occurrence is
   $2,000.
   c. A per occurrence deductible of $50 will apply.

   4.q. Loss Adjustment Expenses
   We will pay your expenses for preparation of loss data, including recording information, compiling
   inventories, or obtaining appraisals, that we require in connection with any claim covered under this
   policy, except for public adjusters hired by you.
   The most we will pay under this Extension is $2,000 for any one loss.


   4.r. Money and Securities
   a. We will pay for loss of "money" and "securities" used in your business while at a bank or savings
   institution, within your living quarters or the living quarters of your partners or any "employee" having
   use and custody of the property, at the described premises, or in transit between any of these places.
   b. We will pay only for loss of "money" and "securities" resulting directly from:
           (1) Theft, meaning any act of stealing;
           (2) Disappearance; or
           (3) Destruction.


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   c. We will not pay for loss:
            (1) Resulting from accounting or arithmetical errors or omissions;
            (2) Due to the giving or surrendering of property in any exchange or purchase; or
            (3) Of property contained in any money-operated device unless the amount of "money" deposited
               in it is recorded by a continuous reading instrument in the device.
   d. Unless different limits are shown in the Declarations for "money" and "securities", the most we will
   pay for loss in any one occurrence is:
            (1) $5,000 for "money" and "securities" while:
                    (a) in or on the described premises; or
                    (b) Within a bank or savings institution;
   and
            (2) $2,500 for "money" and "securities" while anywhere else described in Paragraph d.(1).(a).
   above.
   e. All loss:
            (1) Caused by one or more persons; and
            (2) Involving a single act or series of related acts;
   is considered one occurrence.
   f. You must keep records of all "money" and "securities" so we can verify the amount of any loss or
   damage.
   g. To the extent that coverage for "money" and "securities" is provided under this Additional Coverage,
   the Property Not Covered Provisions in the Coverage Section do not apply.

   4.s. Theft Damage to Building
   We will pay for damage caused directly by burglary, theft or attempted burglary or theft to:
   a. That part of any building described in the policy Declarations containing your Business Personal
   Property; or
   b. Equipment within that building used to maintain or service the building.
   We will not pay for damage caused by fire or explosion. The most we will pay under this Additional
   Coverage for all loss or damage in any one occurrence is $2,500.


   4.t. Spoilage
   a. Insuring Agreements
   Paragraph A.1., Covered Property, is replaced by the following:
   1. Covered Property
          Covered Property includes "perishable stock" at any building described in the policy Declarations
          owned by you or by others that is in your care, custody or control. With respect to the coverage
          provided by this endorsement, property located on buildings or in the open or in vehicles is
          considered to be Property Not Covered.
   b. The following are added to the Covered Causes of Loss form:
   1. Breakdown or Contamination, meaning:
   a. Change in temperature or humidity resulting from mechanical breakdown or mechanical failure of



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   refrigerating, cooling or humidity control apparatus or equipment, only while such equipment or
   apparatus is at any building described in the policy Declarations; and
   b. Contamination by the refrigerant.
   2. Power Outage, meaning change in temperature or humidity resulting from complete or partial
              interruption of electrical power, either on or off the any building described in the policy
              Declarations, due to conditions beyond your control.
   c. The following is added to the Valuation Loss Condition:
   We will determine the value of finished "perishable stock" in the event of loss or damage at:
       1. The selling price, as if no loss or damage had occurred;
       2. Less discounts and expenses you otherwise would have had.
    d. The most we will pay under this Additional Coverage for all loss or damage in any one occurrence is
           $2,500.
   e. Paragraph A.5., Coverage Extensions, does not apply.
    f. Paragraph B., Exclusions, is replaced by the following:
       B. Exclusions
           1. The following Exclusions are added:
              We will not pay for loss or damage caused by or resulting from:
              a. The disconnection of any refrigerating, cooling or humidity control system from the source
                  of power.
              b. The deactivation of electrical power caused by the manipulation of any switch or other
                  device used to control the flow of electrical power or current.
              c. The inability of an Electrical Utility Company or other power source to provide sufficient
                  power due to:
                      (1) Lack of fuel; or
                      (2) Governmental order.
              d. The inability of a power source at any building described in the policy Declarations to
                  provide sufficient power due to lack of generating capacity to meet demand.
              e. Breaking of any glass that is a permanent part of any refrigerating, cooling or humidity
                  control unit.
   g. The following is added to Paragraph F., Additional Conditions:
       3. REFRIGERATION MAINTENANCE AGREEMENTS
       You must maintain a refrigeration maintenance or service agreement. If you voluntarily terminate this
       agreement and do not notify us, the insurance provided by this endorsement will be automatically
       suspended at the involved location.
   h. Paragraph G., Optional Coverages, does not apply.
    i. The following is added to the Definitions:
       "Perishable stock" means personal property:
       a. Maintained under controlled conditions for its preservation; and
       b. Susceptible to loss or damage if the controlled conditions change.


   4.u Electric Generators
   a. We will pay for the cost to repair or replace electric generators, whether mobile or permanently
   installed, and meant as a backup source of utility provided electricity that incur damage caused by or
   result from a Covered Cause of Loss, including theft, and provided the equipment is not held for sale.




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   b. The most we will pay for loss or damage under this Additional Coverage is $1,000 for the duration of
   the policy period as described in the Declarations, subject to the deductible.


   4.v "Green" Upgrades
   a. We will pay for the cost to repair or replace "Green" upgrades that incur damage caused by or result
   from a caused by a Covered Cause of Loss, provided the equipment is not held for sale. We will not pay
   under this endorsement unless the property is actually repaired or replaced at the same or another
   premises, and unless the repair or replacement is made as soon as reasonably possible after the loss or
   damage, not to exceed six months. If the property is being relocated to another premises, the most we will
   pay for Green upgrades is the cost of Green upgrades at the original premises, subject to all other terms
   and conditions.
   b. The most we will pay for loss or damage under this Additional Coverage is $5,000 for the duration of
   the policy period as described in the Declarations, subject to the deductible.
   c. The following is added to the Definitions:
           "Green" means enhanced energy efficiency or use of environmentally preferable, sustainable
           materials, products or methods in design, construction, manufacture or operation, as recognized
           by a Green standards-setter such as:
                   a. The Leadership in Energy and Environmental Design (LEED®) program of the U.S.
                      Green Building Council;
                   b. ENERGY STAR, a joint program of the U.S. Environmental Protection Agency and
                      the U.S. Department of Energy; and
                   c. Green Globes™, a program of the Green Building Initiative.


   IV. Section A. Coverage, 5. Coverage Extensions of the Building and Personal Property Coverage
   Form is amended as follows:
   5.a. Newly Acquired or Constructed Property
   We will extend coverage in accordance with item 5.a Coverage Extension, Newly Acquired or
   Constructed Property, except that:
           (1) The most we will pay at each newly acquired location for loss or damage to your Building
           under this extension is increased to the lesser of 25% of your Building Limit or $250,000 at each
           location.
           (2) The most we will pay at each newly acquired location for loss or damage under this extension
           for Your Business Personal Property is increased to the lesser of 25% of your Business and
           Personal Property Limit or $100,000 at each location.
           (3) The maximum days under paragraph (3)(h) is maintained at 30 days.


   5.b. Personal Effects and Property of Others
   Personal Effects and Property of Others is replaced by the following:
   You may extend the insurance that applies to Your Business Personal Property to apply to:
   a. Personal effects owned by you, your officers, your partners or members, your managers or your
   employees. This Extension does not apply to loss or damage by theft; and
   b. Personal property of others in your care, custody or control.


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   The most we will pay for loss or damage in any one occurrence under this Extension is $5,000 at each
   described premises, unless a different limit of insurance for personal and property of others is shown in
   the Declarations. Our payment for loss of or damage to personal property of others will only be for the
   account of the owner of the property. This extension does not apply to tools owned by your "employees".


   5.c.4. Valuable Papers and Records (Other Than Electronic Data)
   Item 5.c.(4) under Valuable Papers and Records (Other Than Electronic Data) is replaced by the
   following:
   Under this Extension, the most we will pay to replace or restore the lost information is $5,000 at each
   described premises, unless a higher limit is shown in the Declarations. Such amount is additional
   insurance. We will also pay for the cost of blank material for reproducing the records (whether or not
   duplicates exist), and (when there is a duplicate) for the cost of labor to transcribe or copy the records.
   The costs of blank material and labor are subject to the applicable Limit of Insurance on Your Business
   Personal Property and therefore coverage of such costs is not additional insurance.


   5.6. Property Off-Premises
   1. The most we will pay for loss or damage under item 5.d, Coverage Extensions, Property Off-Premises,
   is increased to $15,000, except that the most we will pay for loss of or damage to laptops and portable
   office equipment is $3,500. For purposes of this extension, the coverage territory with respect to laptops
   and portable office equipment only is amended to worldwide.
   2. You may extend this insurance provided by this Coverage Extension to include Business Personal
   Property, other than "stock," in a salesperson's care, custody or control. This extension also applies to
   Covered Property in or on a vehicle while in a salesperson's care, custody and control. The most we will
   pay under this extension is $5,000.

   Outdoor Property
   A.5.e.Coverage Extensions, Outdoor Property, is replaced by the following:
   You may extend the insurance provided by this Coverage Form to apply to the following property:
   a. Your outdoor fences, retaining walls, light poles, and flag poles that are not part of a building.
   b. Your outdoor radio, television, satellite, dish-type or other antennas, including their masts, towers,
   lead-in and support wiring.
   c. Your outdoor trees, shrubs and plants that are not "stock."
   including debris removal expense, caused by or resulting from any of the following causes of loss if they
   are Covered Causes of Loss:
           (1) Fire;
           (2) Lightning;
           (3) Explosion;
           (4) Riot or Civil Commotion; or
           (5) Aircraft.
   The most we will pay is $2,500 in any one occurrence, but not more than $500 for any one tree, shrub or
   plant.




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   V. Additional Conditions
   The following Additional Conditions are added to all coverages provided under this Preferred Package
   coverage enhancement:
   a. Coverage afforded the insured under this Preferred Package coverage enhancement will be excess over
   any other valid and collectible insurance available to the insured.
   b. Non-Cumulation of Limit of Insurance
   Regardless of the number of years this Preferred Package coverage enhancement endorsement remains in
   force or the number of premiums paid, no Limit of Insurance cumulates from year to year or policy period
   to policy period.


   VI. Additional Definitions
   1. "Employee"
   a. "Employee" means:
           (1) Any natural person:
                   (a) While in your service or for 30 days after termination of service;
                   (b) Who you compensate directly by salary, wages or commissions; and
                   (c) Who you have the right to direct and control while performing services for you;
           (2) Any natural person who is furnished temporarily to you:
                   (a) To substitute for a permanent "employee" as defined in Paragraph (1) above who is on
                       leave; or
                   (b) To meet seasonal or short-term work load conditions;
                   while that person is subject to your direction and control and performing services for you,
                   excluding, however, any such person while having care and custody of property outside
                   the "premises" ;
           (3) Any natural person who is leased to you under a written agreement between you and a labor
               leasing firm, to perform duties related to the conduct of your business but does not mean a
               temporary employee as defined in Paragraph (2) above;
           (4) Any natural person who is:
                   (a) A trustee, officer, employee, administrator or manager, except an administrator or
                   manager who is an independent contractor, of any "employee benefit plan(s)" insured
                   under this policy; and
                   (b) Your director or trustee while that person is handling "funds" or "other property" of
                   any "employee benefit plan(s) " insured under this policy;
           (5) Any natural person who is a former "employee", director, partner, "member", "manager",
           representative or trustee retained as a consultant while performing services for you; or
           (6) Any natural person who is a guest student or intern pursuing studies or duties, excluding,
           however, any such person while having care and custody of property outside the "premises".
   b. "Employee" does not mean:
           (1) Any agent, broker, factor, commission merchant, consignee, independent contractor or
           representative of the same general character; or




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           (2) Any “manager”, director or trustee except while performing acts coming within the scope of
           the usual duties of an "employee".


   2. "Manager" means a person serving in a directorial capacity for a limited liability company.
   3. "Member" means an owner of a limited liability company represented by its membership interest, who
   also may serve as a "manager".
   4. "Money" means:
           (a) Currency, coins and bank notes in current use and having a face value; and
           (b) Travelers checks, register checks and money orders held for safe to the public.
   5. "Operations" means your business activities occurring at the described premises.
   6. "Premises" means the interior of that portion of any building you occupy in conducting your business.
   7. "Securities" means negotiable and nonnegotiable instruments or contracts representing either "money"
   or property and includes:
           (a) Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused
           value in a meter) in current use; and
           (b) Evidences of debt issued in connection with creditor charge cards, which cards are not issued
           by you;
           (c) but does not include "money".

   Except as amended herein, all of the terms and conditions of your policy remain unchanged.




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                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 00 30 10 12

              BUSINESS INCOME (AND EXTRA EXPENSE)
                         COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section F. Definitions.

A. Coverage                                                         With respect to the requirements set forth in
   1. Business Income                                               the preceding paragraph, if you occupy only
                                                                    part of a building, your premises means:
      Business Income means the:
                                                                          (a) The portion of the building which you
      a. Net Income (Net Profit or Loss before                                rent, lease or occupy;
         income taxes) that would have been earned
         or incurred; and                                                 (b) The area within 100 feet of the
                                                                              building or within 100 feet of the
      b. Continuing normal operating expenses                                 premises       described     in    the
          incurred, including payroll.                                        Declarations, whichever distance is
      For manufacturing risks, Net Income includes                            greater (with respect to loss of or
      the net sales value of production.                                      damage to personal property in the
      Coverage is provided as described and limited                           open or personal property in a
      below for one or more of the following options                          vehicle); and
      for which a Limit Of Insurance is shown in the                      (c) Any area within the building or at the
      Declarations:                                                           described premises, if that area
         (1) Business Income Including "Rental                                services, or is used to gain access
             Value".                                                          to, the portion of the building which
                                                                              you rent, lease or occupy.
         (2) Business Income Other Than "Rental
              Value".                                           2. Extra Expense
         (3) "Rental Value".                                       a. Extra Expense Coverage is provided at the
                                                                      premises described in the Declarations only
      If option (1) above is selected, the term                       if the Declarations show that Business
      Business Income will include "Rental Value". If                 Income Coverage applies at that premises.
      option (3) above is selected, the term Business
      Income will mean "Rental Value" only.                         b. Extra Expense means necessary expenses
                                                                       you incur during the "period of restoration"
      If Limits of Insurance are shown under more                      that you would not have incurred if there
      than one of the above options, the provisions                    had been no direct physical loss or damage
      of this Coverage Part apply separately to each.                  to property caused by or resulting from a
      We will pay for the actual loss of Business                      Covered Cause of Loss.
      Income you sustain due to the necessary                          We will pay Extra Expense (other than the
      "suspension" of your "operations" during the                     expense to repair or replace property) to:
      "period of restoration". The "suspension" must
      be caused by direct physical loss of or damage                  (1) Avoid or minimize the "suspension" of
      to property at premises which are described in                      business and to continue operations at
      the Declarations and for which a Business                           the    described     premises     or  at
                                                                          replacement premises or temporary
      Income Limit Of Insurance is shown in the
      Declarations. The loss or damage must be                            locations, including relocation expenses
      caused by or result from a Covered Cause of                         and costs to equip and operate the
                                                                          replacement location or temporary
      Loss. With respect to loss of or damage to
      personal property in the open or personal                           location.
      property in a vehicle, the described premises
      include the area within 100 feet of such
      premises.



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        (2) Minimize the "suspension" of business if           5. Additional Coverages
            you cannot continue "operations".                     a. Civil Authority
         We will also pay Extra Expense to repair or                 In this Additional Coverage, Civil Authority,
         replace property, but only to the extent it                 the described premises are premises to
         reduces the amount of loss that otherwise                   which this Coverage Form applies, as
         would have been payable under this                          shown in the Declarations.
         Coverage Form.
                                                                      When a Covered Cause of Loss causes
   3. Covered Causes Of Loss, Exclusions And                          damage to property other than property at
      Limitations                                                     the described premises, we will pay for the
      See applicable Causes Of Loss form as shown                     actual loss of Business Income you sustain
      in the Declarations.                                            and necessary Extra Expense caused by
   4. Additional Limitation – Interruption Of                         action of civil authority that prohibits access
      Computer Operations                                             to the described premises, provided that
                                                                      both of the following apply:
      a. Coverage for Business Income does not
          apply when a "suspension" of "operations"                  (1) Access to the area immediately
          is caused by destruction or corruption of                       surrounding the damaged property is
          electronic data, or any loss or damage to                       prohibited by civil authority as a result of
          electronic data, except as provided under                       the damage, and the described
          the Additional Coverage, Interruption Of                        premises are within that area but are not
          Computer Operations.                                            more than one mile from the damaged
                                                                          property; and
      b. Coverage for Extra Expense does not apply
          when action is taken to avoid or minimize a                (2) The action of civil authority is taken in
          "suspension" of "operations" caused by                          response      to      dangerous      physical
          destruction or corruption of electronic data,                   conditions resulting from the damage or
          or any loss or damage to electronic data,                       continuation of the Covered Cause of
          except as provided under the Additional                         Loss that caused the damage, or the
          Coverage, Interruption Of Computer                              action is taken to enable a civil authority
          Operations.                                                     to have unimpeded access to the
                                                                          damaged property.
      c. Electronic data means information, facts or
         computer programs stored as or on,                           Civil Authority Coverage for Business
         created or used on, or transmitted to or                     Income will begin 72 hours after the time of
         from computer software (including systems                    the first action of civil authority that prohibits
         and applications software), on hard or                       access to the described premises and will
         floppy disks, CD-ROMs, tapes, drives, cells,                 apply for a period of up to four consecutive
         data processing devices or any other                         weeks from the date on which such
         repositories of computer software which are                  coverage began.
         used      with     electronically    controlled              Civil Authority Coverage for Extra Expense
         equipment. The term computer programs,                       will begin immediately after the time of the
         referred to in the foregoing description of                  first action of civil authority that prohibits
         electronic data, means a set of related                      access to the described premises and will
         electronic instructions which direct the                     end:
         operations and functions of a computer or                   (1) Four consecutive weeks after the date
         device connected to it, which enable the                        of that action; or
         computer or device to receive, process,
         store, retrieve or send data.                               (2) When your Civil Authority Coverage for
                                                                         Business Income ends;
      d. This Additional Limitation does not apply
         when loss or damage to electronic data                       whichever is later.
         involves only electronic data which is
         integrated in and operates or controls a
         building's elevator,       lighting,   heating,
         ventilation, air conditioning or security
         system.




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      b. Alterations And New Buildings                                   However, Extended Business Income
         We will pay for the actual loss of Business                     does not apply to loss of Business
         Income you sustain and necessary Extra                          Income incurred as a result of
         Expense you incur due to direct physical                        unfavorable business conditions caused
         loss or damage at the described premises                        by the impact of the Covered Cause of
         caused by or resulting from any Covered                         Loss in the area where the described
         Cause of Loss to:                                               premises are located.
        (1) New buildings or structures, whether                         Loss of Business Income must be
            complete or under construction;                              caused by direct physical loss or
                                                                         damage at the described premises
        (2) Alterations or additions to existing                         caused by or resulting from any Covered
            buildings or structures; and                                 Cause of Loss.
        (3) Machinery, equipment, supplies or                        (2) "Rental Value"
            building materials located on or within
            100 feet of the described premises and:                      If the necessary "suspension" of your
                                                                         "operations" produces a "Rental Value"
            (a) Used in the construction, alterations                    loss payable under this policy, we will
                 or additions; or                                        pay for the actual loss of "Rental Value"
            (b) Incidental to the occupancy of new                       you incur during the period that:
                 buildings.                                             (a) Begins on the date property is
         If such direct physical loss or damage                              actually repaired, rebuilt or replaced
         delays the start of "operations", the "period                       and tenantability is restored; and
         of restoration" for Business Income                            (b) Ends on the earlier of:
         Coverage will begin on the date
         "operations" would have begun if the direct                         (i) The date you could restore tenant
         physical loss or damage had not occurred.                               occupancy,      with    reasonable
                                                                                 speed, to the level which would
      c. Extended Business Income                                                generate the "Rental Value" that
        (1) Business Income Other Than "Rental                                   would have existed if no direct
             Value"                                                              physical loss or damage had
             If the necessary "suspension" of your                               occurred; or
             "operations" produces a Business                               (ii) 60 consecutive days after the
             Income loss payable under this policy,                              date determined in (2)(a) above.
             we will pay for the actual loss of                          However, Extended Business Income
             Business Income you incur during the                        does not apply to loss of "Rental Value"
             period that:                                                incurred as a result of unfavorable
            (a) Begins on the date property (except                      business conditions caused by the
                 "finished stock") is actually repaired,                 impact of the Covered Cause of Loss in
                 rebuilt or replaced and "operations"                    the area where the described premises
                 are resumed; and                                        are located.
            (b) Ends on the earlier of:                                  Loss of "Rental Value" must be caused
                                                                         by direct physical loss or damage at the
                 (i) The date you could restore your
                     "operations", with reasonable                       described premises caused by or
                     speed, to the level which would                     resulting from any Covered Cause of
                                                                         Loss.
                     generate the business income
                     amount that would have existed if            d. Interruption Of Computer Operations
                     no direct physical loss or damage              (1) Under      this  Additional  Coverage,
                     had occurred; or                                   electronic data has the meaning
                (ii) 60 consecutive days after the                      described under Additional Limitation –
                     date determined in (1)(a) above.                   Interruption Of Computer Operations.




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        (2) Subject to all provisions of this                       (4) The most we will pay under this
            Additional Coverage, you may extend                         Additional Coverage, Interruption Of
            the insurance that applies to Business                      Computer Operations, is $2,500 (unless
            Income and Extra Expense to apply to a                      a higher limit is shown in the
            "suspension" of "operations" caused by                      Declarations) for all loss sustained and
            an interruption in computer operations                      expense incurred in any one policy year,
            due to destruction or corruption of                         regardless     of    the    number     of
            electronic data due to a Covered Cause                      interruptions or the number of premises,
            of Loss. However, we will not provide                       locations or computer systems involved.
            coverage       under     this   Additional                  If loss payment relating to the first
            Coverage when the Additional Limitation                     interruption does not exhaust this
            – Interruption Of Computer Operations                       amount, then the balance is available for
            does not apply based on Paragraph                           loss or expense sustained or incurred as
            A.4.d. therein.                                             a result of subsequent interruptions in
        (3) With respect to the coverage provided                       that policy year. A balance remaining at
            under this Additional Coverage, the                         the end of a policy year does not
            Covered Causes of Loss are subject to                       increase the amount of insurance in the
            the following:                                              next policy year. With respect to any
                                                                        interruption which begins in one policy
           (a) If the Causes Of Loss – Special                          year and continues or results in
               Form applies, coverage under this                        additional loss or expense in a
               Additional Coverage, Interruption Of                     subsequent policy year(s), all loss and
               Computer Operations, is limited to                       expense is deemed to be sustained or
               the "specified causes of loss" as                        incurred in the policy year in which the
               defined in that form and Collapse as                     interruption began.
               set forth in that form.
                                                                    (5) This Additional Coverage, Interruption
           (b) If the Causes Of Loss – Broad Form                       Of Computer Operations, does not apply
               applies,     coverage      under    this                 to loss sustained or expense incurred
               Additional Coverage, Interruption Of                     after the end of the "period of
               Computer       Operations,     includes                  restoration", even if the amount of
               Collapse as set forth in that form.                      insurance stated in (4) above has not
           (c) If the Causes Of Loss form is                            been exhausted.
               endorsed to add a Covered Cause of             6. Coverage Extension
               Loss, the additional Covered Cause
               of Loss does not apply to the                     If a Coinsurance percentage of 50% or more is
               coverage provided under this                      shown in the Declarations, you may extend the
               Additional Coverage, Interruption Of              insurance provided by this Coverage Part as
               Computer Operations.                              follows:
           (d) The Covered Causes of Loss include                Newly Acquired Locations
               a virus, harmful code or similar                  a. You may extend your Business Income and
               instruction introduced into or enacted               Extra Expense Coverages to apply to
               on a computer system (including                      property at any location you acquire other
               electronic data) or a network to                     than fairs or exhibitions.
               which it is connected, designed to                b. The most we will pay under this Extension,
               damage or destroy any part of the                    for the sum of Business Income loss and
               system or disrupt its normal                         Extra Expense incurred, is $100,000 at
               operation. But there is no coverage                  each location, unless a higher limit is shown
               for an interruption related to                       in the Declarations.
               manipulation of a computer system
               (including electronic data) by any                c. Insurance under this Extension for each
               employee, including a temporary or                   newly acquired location will end when any
               leased employee, or by an entity                     of the following first occurs:
               retained by you or for you to inspect,               (1) This policy expires;
               design, install, maintain, repair or
               replace that system.




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         (2) 30 days expire after you acquire or               2. Duties In The Event Of Loss
             begin to construct the property; or                  a. You must see that the following are done in
         (3) You report values to us.                                the event of loss:
          We will charge you additional premium for                 (1) Notify the police if a law may have been
          values reported from the date you acquire                     broken.
          the property.                                             (2) Give us prompt notice of the direct
      The Additional Condition, Coinsurance, does                       physical loss or damage. Include a
      not apply to this Extension.                                      description of the property involved.
B. Limits Of Insurance                                              (3) As soon as possible, give us a
   The most we will pay for loss in any one                             description of how, when and where the
   occurrence is the applicable Limit Of Insurance                      direct physical loss or damage occurred.
   shown in the Declarations.                                        (4) Take all reasonable steps to protect the
   Payments under the following coverages will not                       Covered Property from further damage,
   increase the applicable Limit of Insurance:                           and keep a record of your expenses
                                                                         necessary to protect the Covered
   1. Alterations And New Buildings;                                     Property, for consideration in the
   2. Civil Authority;                                                   settlement of the claim. This will not
                                                                         increase the Limit of Insurance.
   3. Extra Expense; or
                                                                         However, we will not pay for any
   4. Extended Business Income.                                          subsequent loss or damage resulting
   The amounts of insurance stated in the                                from a cause of loss that is not a
   Interruption Of Computer Operations Additional                        Covered Cause of Loss. Also, if
   Coverage and the Newly Acquired Locations                             feasible, set the damaged property
   Coverage Extension apply in accordance with the                       aside and in the best possible order for
   terms of those coverages and are separate from                        examination.
   the Limit(s) Of Insurance shown in the                            (5) As often as may be reasonably required,
   Declarations for any other coverage.                                  permit us to inspect the property proving
C. Loss Conditions                                                       the loss or damage and examine your
                                                                         books and records.
   The following conditions apply in addition to the
   Common Policy Conditions and the Commercial                           Also permit us to take samples of
   Property Conditions:                                                  damaged and undamaged property for
                                                                         inspection, testing and analysis, and
   1. Appraisal                                                          permit us to make copies from your
      If we and you disagree on the amount of Net                        books and records.
      Income and operating expense or the amount                     (6) Send us a signed, sworn proof of loss
      of loss, either may make written demand for an                     containing the information we request to
      appraisal of the loss. In this event, each party
                                                                         investigate the claim. You must do this
      will select a competent and impartial appraiser.                   within 60 days after our request. We will
      The two appraisers will select an umpire. If                       supply you with the necessary forms.
      they cannot agree, either may request that
                                                                     (7) Cooperate with us in the investigation or
      selection be made by a judge of a court having
                                                                         settlement of the claim.
      jurisdiction. The appraisers will state separately
      the amount of Net Income and operating                         (8) If you intend to continue your business,
      expense or amount of loss. If they fail to agree,                  you must resume all or part of your
      they will submit their differences to the umpire.                  "operations" as quickly as possible.
      A decision agreed to by any two will be                     b. We may examine any insured under oath,
      binding. Each party will:                                      while not in the presence of any other
      a. Pay its chosen appraiser; and                               insured and at such times as may be
                                                                     reasonably required, about any matter
      b. Bear the other expenses of the appraisal                    relating to this insurance or the claim,
          and umpire equally.                                        including an insured's books and records. In
      If there is an appraisal, we will still retain our             the event of an examination, an insured's
      right to deny the claim.                                       answers must be signed.




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   3. Loss Determination                                         c. Resumption Of Operations
      a. The amount of Business Income loss will be                  We will reduce the amount of your:
         determined based on:                                       (1) Business Income loss, other than Extra
        (1) The Net Income of the business before                       Expense, to the extent you can resume
            the direct physical loss or damage                          your "operations", in whole or in part, by
            occurred;                                                   using damaged or undamaged property
        (2) The likely Net Income of the business if                    (including merchandise or stock) at the
            no physical loss or damage had                              described premises or elsewhere.
            occurred, but not including any Net                     (2) Extra Expense loss to the extent you
            Income that would likely have been                          can return "operations" to normal and
            earned as a result of an increase in the                    discontinue such Extra Expense.
            volume of business due to favorable                  d. If you do not resume "operations", or do not
            business conditions caused by the                        resume "operations" as quickly as possible,
            impact of the Covered Cause of Loss on                   we will pay based on the length of time it
            customers or on other businesses;                        would have taken to resume "operations" as
        (3) The operating expenses, including                        quickly as possible.
            payroll expenses, necessary to resume             4. Loss Payment
            "operations" with the same quality of
            service that existed just before the direct          We will pay for covered loss within 30 days
            physical loss or damage; and                         after we receive the sworn proof of loss, if you
                                                                 have complied with all of the terms of this
        (4) Other relevant sources of information,               Coverage Part, and:
            including:
                                                                 a. We have reached agreement with you on
           (a) Your      financial  records   and                    the amount of loss; or
                accounting procedures;
                                                                b. An appraisal award has been made.
           (b) Bills, invoices and other vouchers;
                and                                       D. Additional Condition
           (c) Deeds, liens or contracts.                    COINSURANCE
      b. The amount of Extra Expense will be                 If a Coinsurance percentage is shown in the
         determined based on:                                Declarations, the following condition applies in
                                                             addition to the Common Policy Conditions and the
        (1) All expenses that exceed the normal              Commercial Property Conditions.
            operating expenses that would have
            been incurred by "operations" during the          We will not pay the full amount of any Business
            "period of restoration" if no direct              Income loss if the Limit of Insurance for Business
            physical loss or damage had occurred.             Income is less than:
            We will deduct from the total of such             1. The Coinsurance percentage shown for
            expenses:                                            Business Income in the Declarations; times
           (a) The salvage value that remains of              2. The sum of:
                any property bought for temporary
                                                                 a. The Net Income (Net Profit or Loss before
                use during the "period of restoration",
                                                                     income taxes), and
                once "operations" are resumed; and
                                                                 b. Operating expenses, including payroll
           (b) Any Extra Expense that is paid for by                 expenses,
                other insurance, except for insurance
                that is written subject to the same              that would have been earned or incurred (had
                plan,    terms,      conditions    and           no loss occurred) by your "operations" at the
                provisions as this insurance; and                described premises for the 12 months following
                                                                 the inception, or last previous anniversary date,
        (2) Necessary expenses that reduce the                   of this policy (whichever is later).
            Business Income loss that otherwise
            would have been incurred.




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   Instead, we will determine the most we will pay        Example 1 (Underinsurance)
   using the following steps:
                                                          When:     The Net Income and operating
   Step (1): Multiply the Net Income and operating                  expenses for the 12 months
              expense for the 12 months following the               following the inception, or last
              inception, or last previous anniversary               previous anniversary date, of
              date, of this policy by the Coinsurance               this policy at the described
              percentage;                                           premises would have been:        $ 400,000
   Step (2): Divide the Limit of Insurance for the                  The Coinsurance percentage is:        50%
              described premises by the figure
              determined in Step (1); and                           The Limit of Insurance is:       $ 150,000
   Step (3): Multiply the total amount of loss by the               The amount of loss is:           $ 80,000
              figure determined in Step (2).              Step (1): $400,000 x 50% = $200,000
   We will pay the amount determined in Step (3) or                 (the minimum amount of insurance to
   the limit of insurance, whichever is less. For the               meet your Coinsurance requirements)
   remainder, you will either have to rely on other       Step (2): $150,000 ÷ $200,000 = .75
   insurance or absorb the loss yourself.                 Step (3): $80,000 x .75 = $60,000
   In determining operating expenses for the purpose
   of applying the Coinsurance condition, the             We will pay no more than $60,000. The remaining
                                                          $20,000 is not covered.
   following expenses, if applicable, shall be
   deducted from the total of all operating expenses:     Example 2 (Adequate Insurance)
         (1) Prepaid freight – outgoing;                  When:     The Net Income and operating
         (2) Returns and allowances;                                expenses for the 12 months
         (3) Discounts;                                             following the inception, or last
                                                                    previous anniversary date, of
         (4) Bad debts;                                             this policy at the described
         (5) Collection expenses;                                   premises would have been:        $ 400,000
         (6) Cost of raw stock and factory supplies                 The Coinsurance percentage is:        50%
              consumed (including transportation                    The Limit of Insurance is:       $ 200,000
              charges);                                             The amount of loss is:           $ 80,000
         (7) Cost of merchandise sold (including
              transportation charges);                    The minimum amount of insurance to meet your
                                                          Coinsurance requirement is $200,000 ($400,000 x
         (8) Cost of other supplies consumed              50%). Therefore, the Limit of Insurance in this
              (including transportation charges);         example is adequate and no penalty applies. We will
        (9) Cost of services purchased from               pay no more than $80,000 (amount of loss).
            outsiders (not employees) to resell, that     This condition does not apply to Extra Expense
            do not continue under contract;               Coverage.
       (10) Power, heat and refrigeration expenses        E. Optional Coverages
            that do not continue under contract (if
            Form CP 15 11 is attached);                      If shown as applicable in the Declarations, the
                                                             following Optional Coverages apply separately to
       (11) All payroll expenses or the amount of            each item.
            payroll expense excluded (if Form CP
            15 10 is attached); and                          1. Maximum Period Of Indemnity
                                                                 a. The Additional Condition, Coinsurance,
       (12) Special deductions for mining properties
                                                                    does not apply to this Coverage Form at the
            (royalties unless specifically included in
            coverage; actual depletion commonly                     described premises to which this Optional
            known as unit or cost depletion – not                   Coverage applies.
            percentage depletion; welfare and
            retirement fund charges based on
            tonnage; hired trucks).




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        b. The most we will pay for the total of                         (b) Estimated for the 12 months
           Business Income loss and Extra Expense is                          immediately following the inception
           the lesser of:                                                     of this Optional Coverage.
          (1) The amount of loss sustained and                        (2) The Declarations must indicate that the
              expenses incurred during the 120 days                       Business Income Agreed Value Optional
              immediately following the beginning of                      Coverage applies, and an Agreed Value
              the "period of restoration"; or                             must be shown in the Declarations. The
          (2) The Limit Of Insurance shown in the                         Agreed Value should be at least equal
              Declarations.                                               to:
   2. Monthly Limit Of Indemnity                                         (a) The Coinsurance percentage shown
                                                                              in the Declarations; multiplied by
      a. The Additional Condition, Coinsurance,
         does not apply to this Coverage Form at the                     (b) The amount of Net Income and
         described premises to which this Optional                            operating expenses for the following
         Coverage applies.                                                    12 months you report on the Work
                                                                              Sheet.
        b. The most we will pay for loss of Business
           Income in each period of 30 consecutive                  b. The Additional Condition, Coinsurance, is
           days after the beginning of the "period of                  suspended until:
           restoration" is:                                           (1) 12 months after the effective date of this
          (1) The Limit of Insurance, multiplied by                       Optional Coverage; or
          (2) The fraction shown in the Declarations                  (2) The expiration date of this policy;
              for this Optional Coverage.                              whichever occurs first.
Example                                                             c. We will reinstate the Additional Condition,
                                                                       Coinsurance, automatically if you do not
When:     The Limit of Insurance is:         $ 120,000                 submit a new Work Sheet and Agreed
          The fraction shown in the                                    Value:
          Declarations for this Optional
                                                                      (1) Within 12 months of the effective date of
          Coverage is:                              1/4                   this Optional Coverage; or
          The most we will pay for loss in
          each period of 30 consecutive                               (2) When you request a change in your
                                                                          Business Income Limit of Insurance.
          days is:                           $   30,000
          ($120,000 x 1/4 = $30,000)                                d. If the Business Income Limit of Insurance is
                                                                       less than the Agreed Value, we will not pay
          If, in this example, the actual                              more of any loss than the amount of loss
          amount of loss is:                                           multiplied by:
          Days 1–30:                         $   40,000
                                                                      (1) The Business Income            Limit    of
          Days 31–60:                        $   20,000                   Insurance; divided by
          Days 61–90:                        $   30,000               (2) The Agreed Value.
                                             $   90,000     Example
          We will pay:
                                                            When:     The Limit of Insurance is:         $ 100,000
          Days 1–30:                       $ 30,000
                                                                      The Agreed Value is:               $ 200,000
          Days 31–60:                      $ 20,000
                                                                      The amount of loss is:             $ 80,000
          Days 61–90:                      $ 30,000
                                                            Step (1): $100,000 ÷ $200,000 = .50
                                           $ 80,000
                                                            Step (2): .50 x $80,000 = $40,000
        The remaining $10,000 is not covered.
                                                            We will pay $40,000. The remaining $40,000 is not
   3. Business Income Agreed Value
                                                            covered.
      a. To activate this Optional Coverage:
                                                                4. Extended Period Of Indemnity
        (1) A Business Income Report/Work Sheet
            must be submitted to us and must show                  Under Paragraph A.5.c., Extended Business
            financial data for your "operations":                  Income, the number 60 in Subparagraphs
                                                                   (1)(b) and (2)(b) is replaced by the number
           (a) During the 12 months prior to the                   shown in the Declarations for this Optional
                date of the Work Sheet; and                        Coverage.




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F. Definitions                                                       (2) Requires any insured or others to test
   1. "Finished stock" means stock you have                              for, monitor, clean up, remove, contain,
      manufactured.                                                      treat, detoxify or neutralize, or in any
                                                                         way respond to, or assess the effects of
      "Finished stock" also includes whiskey and                         "pollutants".
      alcoholic products being aged, unless there is
      a Coinsurance percentage shown for Business                 The expiration date of this policy will not cut
      Income in the Declarations.                                 short the "period of restoration".
      "Finished stock" does not include stock you              4. "Pollutants" means any solid, liquid, gaseous or
      have manufactured that is held for sale on the              thermal irritant or contaminant, including
      premises of any retail outlet insured under this            smoke, vapor, soot, fumes, acids, alkalis,
      Coverage Part.                                              chemicals and waste. Waste includes materials
                                                                  to be recycled, reconditioned or reclaimed.
   2. "Operations" means:
                                                               5. "Rental Value" means Business Income that
      a. Your business activities occurring at the                consists of:
          described premises; and
                                                                  a. Net Income (Net Profit or Loss before
      b. The tenantability of the described premises,                income taxes) that would have been earned
          if coverage for Business Income Including                  or incurred as rental income from tenant
          "Rental Value" or "Rental Value" applies.                  occupancy of the premises described in the
   3. "Period of restoration" means the period of time               Declarations as furnished and equipped by
      that:                                                          you, including fair rental value of any
      a. Begins:                                                     portion of the described premises which is
                                                                     occupied by you; and
         (1) 72 hours after the time of direct physical
              loss or damage for Business Income                  b. Continuing normal operating expenses
                                                                     incurred in connection with that premises,
              Coverage; or
                                                                     including:
         (2) Immediately after the time of direct
              physical loss or damage for Extra                     (1) Payroll; and
              Expense Coverage;                                     (2) The amount of charges which are the
                                                                         legal obligation of the tenant(s) but
         caused by or resulting from any Covered
                                                                         would otherwise be your obligations.
         Cause of Loss at the described premises;
         and                                                   6. "Suspension" means:
      b. Ends on the earlier of:                                  a. The slowdown or cessation of your
        (1) The date when the property at the                        business activities; or
            described premises should be repaired,                b. That a part or all of the described premises
            rebuilt or replaced with reasonable                      is rendered untenantable, if coverage for
            speed and similar quality; or                            Business Income Including "Rental Value"
        (2) The date when business is resumed at a                   or "Rental Value" applies.
            new permanent location.
      "Period of restoration" does not include any
      increased period required due to the
      enforcement of or compliance with any
      ordinance or law that:
         (1) Regulates the construction, use or
             repair, or requires the tearing down, of
             any property; or




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                                                                                    EQUIPMENT BREAKDOWN
                                                                                             EB 00 20 01 13

                 EQUIPMENT BREAKDOWN PROTECTION
                         COVERAGE FORM
Various provisions in this policy restrict coverage.                    However, if coverage for "Extra
Read the entire policy carefully to determine rights,                   Expense" only is indicated in the
duties and what is and is not covered.                                  Declarations,       then   coverage      for
Throughout this policy, the words "you" and "your"                      "Business Income" is not provided.
refer to the Named Insured shown in the Declarations.                   We will consider the experience of your
The words "we", "us" and "our" refer to the company                     business before the "Breakdown" and
providing this insurance.                                               the probable experience you would have
Other words and phrases that appear in quotation                        had without the "Breakdown" in
marks have special meaning. Refer to Section F.                         determining the amount of our payment.
Definitions.                                                        (2) If you have coverage for "Business
A. Coverage                                                             Income" and "Extra Expense" or "Extra
                                                                        Expense" only and:
   1. Covered Cause Of Loss
                                                                       (a) If a number of days is shown in the
        Covered Cause of Loss is a "Breakdown" to                           Declarations for Extended Period Of
        "Covered Equipment".                                                Restoration Coverage, it will replace
   2. Coverages Provided                                                    the five consecutive days in the
                                                                            definition of "Period of Restoration".
      Each of the following coverages is provided if
      either a limit or the word INCLUDED is shown                     (b) If you have coverage for Ordinance
      for that coverage in the Declarations. If neither                     or Law, then the "Period of
      a limit nor the word INCLUDED is shown, then                          Restoration" is extended to include
      that coverage is not provided.                                        the additional period of time required
                                                                            for demolition, removal, repair,
      These coverages apply only to that portion of
      the loss or damage that is a direct result of a                       remodeling or reconstruction.
      Covered Cause of Loss.                                           (c) If "Media" are damaged or "Data" are
                                                                            lost or corrupted, we will pay your
      a. Property Damage
                                                                            actual loss of "Business Income"
         We will pay for direct damage to "Covered                          and/or "Extra Expense" during the
         Property" located at the premises described                        time necessary to:
         in the Declarations.
                                                                            (i) Research, replace or restore the
      b. Expediting Expenses                                                    damaged "Media" or lost or
         With respect to direct damage to "Covered                              corrupted "Data"; and
         Property", we will pay for the extra cost you                     (ii) Reprogram instructions used in
         necessarily incur to:                                                  any        covered      "Computer
        (1) Make temporary repairs; and                                         Equipment".
        (2) Expedite the permanent repairs or                               There shall be no coverage for any
             replacement of the damaged property.                           "Media" or "Data" that we determine
                                                                            are not or cannot be replaced or
      c. Business Income And Extra Expense Or                               restored.
         Extra Expense Only
                                                                            Unless a higher limit is shown in the
         (1) We will pay:                                                   Declarations, we will pay the lesser
            (a) Your actual loss of "Business                               of your actual loss of "Business
                Income" during the "Period of                               Income" and/or "Extra Expense" up
                Restoration"; and                                           to 30 days after the "Period of
            (b) The "Extra Expense" you necessarily                         Restoration", or $25,000.
                incur to operate your business during
                the "Period of Restoration".




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      d. Spoilage Damage                                             f. Newly Acquired Premises
        (1) We will pay for the spoilage damage to                      We will automatically provide coverage at
            raw materials, property in process or                       newly acquired premises you have
            finished products, provided all of the                      purchased or leased. This coverage begins
            following conditions are met:                               at the time you acquire the property and
            (a) The raw materials, property in                          continues for a period not exceeding the
                process or finished products must be                    number of days indicated in the
                in storage or in the course of being                    Declarations for Newly Acquired Premises,
                manufactured;                                           under the following conditions:
            (b) You must own or be legally liable                      (1) You must inform us, in writing, of the
                under written contract for the raw                         newly acquired premises as soon as
                materials, property in process or                          practicable;
                finished products; and                                 (2) You agree to pay an additional premium
             (c) The spoilage damage must be due                           as determined by us;
                   to the lack or excess of power, light,              (3) The coverage for these premises will be
                   heat, steam or refrigeration.                           subject to the same terms, conditions,
        (2) We will also pay any necessary                                 exclusions and limitations as other
              expenses you incur to reduce the                             insured premises; and
              amount of loss under this coverage. We                   (4) If the coverages and deductibles vary
              will pay such expenses to the extent that                    for existing premises, then the
              they do not exceed the amount of loss                        coverages for the newly acquired
              that otherwise would have been payable                       premises will be the broadest coverage
              under this Coverage Form.                                    and highest limits and deductible
      e. Utility Interruption                                              applicable to the existing premises.
         If you have coverage for "Business Income"                 g. Ordinance Or Law Coverage
         and "Extra Expense", "Extra Expense" only                     The following applies despite the Ordinance
         or Spoilage Damage, that coverage is                          Or Law Exclusion and provided these
         extended to include loss resulting from the                   increases in loss are necessitated by the
         interruption of utility services, provided all of             enforcement of or compliance with any
         the following conditions are met:                             ordinance or law that is in force at the time
        (1) The interruption is the direct result of a                 of the "Breakdown", which regulates the
              "Breakdown" to "Covered Equipment"                       demolition, construction, repair or use of the
              owned, operated or controlled by the                     building or structure. With respect to the
              local private or public utility or distributor           building or structure that was damaged as a
              that directly generates, transmits,                      result of a "Breakdown":
              distributes or provides utility services                 (1) We will pay for:
              which you receive;                                          (a) The loss in value of the undamaged
        (2) The "Covered Equipment" is used to                                portion of the building or structure as
              supply electric power, communication                            a consequence of enforcement of or
              services, air conditioning, heating, gas,                       compliance with an ordinance or law
              sewer, water or steam to your premises;                         that requires the demolition of
              and                                                             undamaged parts of the same
        (3) The interruption of utility service to your                       building or structure;
              premises lasts at least the consecutive                     (b) Your actual cost to demolish and
              period of time shown in the                                     clear the site of the undamaged
              Declarations. Once this waiting period is                       parts of the same building or
              met, coverage will commence at the                              structure as a consequence of
              initial time of the interruption and will be                    enforcement of or compliance with
              subject to all applicable deductibles.                          an ordinance or law that requires the
                                                                              demolition of such undamaged
                                                                              property; and




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           (c) The increased cost actually and                            (f) Loss or expense sustained due to
               necessarily expended to:                                       the enforcement of or compliance
               (i) Repair     or    reconstruct   the                         with any ordinance or law which
                   damaged or destroyed portions of                           requires the demolition, repair,
                   the building or structure; and                             replacement,            reconstruction,
                                                                              remodeling      or   remediation       of
                 (ii) Reconstruct or remodel the                              property due to the presence,
                      undamaged portion of that                               growth, proliferation, spread or any
                      building     or   structure    with                     activity of "Fungus", wet or dry rot; or
                      buildings or structures of like
                      materials, height, floor area and                  (g) Costs        associated      with     the
                      style for like occupancy, whether                       enforcement of or compliance with
                      or not demolition is required on:                       any ordinance or law which requires
                                                                              any insured or others to test for,
                      i. The same premises or on                              monitor, clean up, remove, contain,
                         another premises if you so                           treat, detoxify or neutralize, or in any
                         elect. However, if you rebuild                       way respond to or assess the effects
                         at another premises, the most                        of "Fungus", wet or dry rot.
                         we will pay is the increased
                         cost of construction that we                 (3) If:
                         would have paid to rebuild at                   (a) The building or structure is damaged
                         the same premises; or                                by a "Breakdown" that is covered
                     ii. Another premises if the                              under this policy;
                         relocation is required by the                   (b) There is other physical damage that
                         ordinance or law. The most                           is not covered under this policy; and
                         we will pay is the increased                     (c) As a result of the building damage in
                         cost of construction at the                           its entirety, you are required to
                         new premises.                                         comply with the ordinance or law;
        (2) We will not pay for any:                                       then we will not pay the full amount of
           (a) Demolition or site clearing until the                       the loss under this coverage. Instead,
               undamaged portions of the buildings                         we will pay only that proportion of such
               or     structures     are    actually                       loss, meaning the proportion that the
               demolished;                                                 covered "Breakdown" loss bears to the
           (b) Increase in loss until the damaged or                       total physical damage.
               destroyed buildings or structures are                       But if the building or structure sustains
               actually rebuilt or replaced and                            direct physical damage that is not
               approved       by    the     regulating                     covered under this policy and such
               government agency;                                          damage is the subject of the ordinance
           (c) Loss due to any ordinance or law                            or law, then there is no Ordinance Or
               that:                                                       Law Coverage under this Coverage Part
                                                                           even if the building has also sustained
               (i) You were required to comply with                        damage by a covered "Breakdown".
                   before the loss, even if the
                   building was undamaged; and                     h. Errors And Omissions
              (ii) You failed to comply with;                         We will pay for any loss or damage, which
                                                                      is not otherwise payable under this
           (d) Increase in loss, excess of the                        Coverage Part, solely because of the items
               amount required to meet the                            listed below:
               minimum       requirement     of   any
               ordinance or law enforcement at the                   (1) Any error or unintentional omission in
               time of the "Breakdown";                                    the description or location of property as
                                                                           insured under this Coverage Part or in
           (e) Increase in loss resulting from a                           any subsequent amendments;
               substance declared to be hazardous
               to health or environment by any                       (2) Any failure through error to include any
               government agency;                                          premises owned or occupied by you at
                                                                           the inception date of this Coverage Part;
                                                                           or




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        (3) Any error or unintentional omission by                  (2) You shall use your influence to induce
              you that results in cancellation of any                   the contributing or recipient premises to
              premises insured under this policy.                       make use of any other machinery,
         No coverage is provided as a result of any                     equipment, supplies or premises
         error or unintentional omission by you in the                  available in order to resume operations
         reporting of values or the coverage you                        and delivery of services or materials to
         requested.                                                     you, or the acceptance of products or
                                                                        services from you. You shall cooperate
         It is a condition of this coverage that such                   with the contributing or recipient
         errors or unintentional omissions shall be                     premises to this effect in every way, but
         reported and corrected when discovered.                        not financially unless authorized by us.
         The policy premium will be adjusted
         accordingly to reflect the date the premises     B. Exclusions
         should have been added had no error or              We will not pay for loss or damage caused directly
         omission occurred.                                  or indirectly by any of the following. Such loss or
      i. Brands And Labels                                   damage is excluded, regardless of any other
                                                             cause or event that contributes concurrently or in
        (1) If branded or labeled merchandise that           any sequence to the loss.
              is "Covered Property" is damaged by a
              "Breakdown", we may take all or any            The exclusions apply whether or not the loss event
              part of the property at an agreed or           results in widespread damage or affects a
              appraised value. If so, you may:               substantial area.
           (a) Stamp the word SALVAGE on the                 1. Ordinance Or Law
               merchandise or its containers if the              Increase in loss from the enforcement of or
               stamp will not physically damage the              compliance with any ordinance, law, rule,
               merchandise; or                                   regulation or ruling which restricts or regulates
           (b) Remove the brands or labels if doing              the repair, replacement, alteration, use,
                so will not physically damage the                operation, construction, installation, cleanup or
                merchandise. You must relabel the                disposal of "Covered Property".
                merchandise or its containers to                However, the words use and operation shall be
                comply with any law.                            eliminated as respects a covered "Breakdown"
        (2) We will pay reasonable costs you incur              to electrical supply and emergency generating
            to perform the activity described in                equipment located on the premises of a
            Paragraphs (1)(a) and (1)(b), but the               hospital.
            total we pay for these costs and the             2. Earth Movement
            value of the damaged property will not              Earth movement, including, but not limited to,
            exceed the applicable Limit of Insurance            earthquake, tremors and aftershocks relating to
            on such property.                                   earthquake, landslide, land subsidence, mine
      j. Contingent Business Income And Extra                   subsidence or volcanic action.
         Expense Or Extra Expense Only                       3. Water
         Coverage
                                                                a. Flood, surface water, waves (including tidal
        (1) Subject to the same terms and                           wave and tsunami), tides, tidal water,
            conditions, the "Business Income" and                   overflow of any body of water, or spray from
            "Extra Expense" or "Extra Expense" only                 any of these, all whether or not driven by
            coverage provided by this Coverage                      wind (including storm surge);
            Part is extended to cover your loss, if
            any, resulting from a "Breakdown" to                b. Mudslide or mudflow;
            "Covered Equipment" at a premises                   c. Water that backs up or overflows or is
            shown in the Declarations, that is not                  otherwise discharged from a sewer, drain,
            owned or operated by you which:                         sump, sump pump or related equipment;
           (a) Wholly or partially prevents the                 d. Water damage caused by the discharge or
               delivery of services or materials                    leakage of a sprinkler system or domestic
               shown in the Declarations to you or                  water piping;
               from you to others for your account;
               or
           (b) Results in the loss of sales at your
               premises shown in the Declarations.



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      e. Water under the ground surface pressing                  c. Ensue from a "Breakdown".
          on, or flowing or seeping through:                   8. "Fungus", Wet Rot And Dry Rot
         (1) Foundations, walls, floors or paved                  Presence, growth, proliferation, spread or
             surfaces;                                            activity of "Fungus", wet or dry rot. However, if
         (2) Basements, whether paved or not;                     a "Breakdown" occurs, we will pay the resulting
         (3) Doors, windows or other openings; or                 loss or damage.
       f. Waterborne material carried or otherwise                This exclusion does not apply to the extent that
          moved by any of the water referred to in                coverage for "Fungus", wet rot or dry rot is
          Paragraph a., c. or e., or material carried or          provided elsewhere in this Coverage Form and
          otherwise moved by mudslide or mudflow.                 then only for that portion of any loss or damage
                                                                  resulting    from     the    presence,     growth,
      This exclusion applies, regardless of whether               proliferation, spread or activity of "Fungus", wet
      any of the above, in Paragraphs a. through f.,              or dry rot as a result of a "Breakdown".
      is caused by an act of nature or is otherwise
      caused. An example of a situation to which this          9. Any virus, bacterium or other microorganism
      exclusion applies is the situation where a dam,             that induces or is capable of inducing physical
      levee, seawall or other boundary or                         distress, illness or disease. However:
      containment system fails in whole or in part, for           a. If a "Breakdown" occurs, we will pay the
      any reason, to contain the water.                               resulting loss or damage;
   4. Nuclear Hazard                                              b. This exclusion does not apply to loss or
      Nuclear reaction or radiation, or radioactive                  damage caused by or resulting from
      contamination, however caused.                                 "Fungus", wet rot or dry rot. Such loss or
                                                                     damage is addressed in Exclusion B.8.;
   5. War Or Military Action
                                                                  c. Regardless of the application of this
      a. War, including undeclared or civil war;                     exclusion to any particular loss, the
      b. Warlike action by a military force, including               provisions of this Exclusion 9. do not serve
          action in hindering or defending against an                to create coverage for any loss that would
          actual or expected attack, by any                          otherwise be excluded under this Coverage
          government, sovereign or other authority                   Form.
          using military personnel or other agents; or        10. Explosion within the furnace of a chemical
      c. Insurrection, rebellion, revolution, usurped             recovery type boiler or within the passage from
          power or action taken by governmental                   the furnace to the atmosphere.
          authority in hindering or defending against         11. Damage to "Covered Equipment" undergoing a
          any of these.                                           pressure or electrical test.
   6. An explosion. However, we will pay for loss or          12. Water or other means used to extinguish a fire,
      damage caused by an explosion of "Covered                   even when the attempt is unsuccessful.
      Equipment" of a kind specified in a. through g.
      below, if not otherwise excluded in this Section        13. Depletion, deterioration, corrosion, erosion or
      B.:                                                         wear and tear. However, if a "Breakdown"
                                                                  occurs, we will pay the resulting loss or
      a. Steam boiler;                                            damage.
      b. Electric steam generator;                            14. A "Breakdown" that is caused by any of the
      c. Steam piping;                                            following causes of loss if coverage for that
                                                                  cause of loss is provided by another policy of
      d. Steam turbine;
                                                                  insurance you have, whether collectible or not:
      e. Steam engine;
                                                                  a. Aircraft or vehicles;
       f. Gas turbine; or
                                                                  b. Freezing caused by cold weather;
      g. Moving or rotating machinery when such
          explosion is caused by centrifugal force or             c. Lightning;
          mechanical breakdown.                                   d. Sinkhole collapse;
   7. Fire or combustion explosion including those                e. Smoke;
      that:                                                       f. Riot, civil commotion or vandalism; or
      a. Result in a "Breakdown";                                 g. Weight of snow, ice or sleet.
      b. Occur at the same time as a "Breakdown";
         or



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  15. A "Breakdown" that is caused by windstorm or           20. Any indirect result of a "Breakdown" to
      hail.                                                      "Covered Equipment" except as provided by
  16. A delay in, or an interruption of, any business,           the "Business Income" and "Extra Expense",
      manufacturing or processing activity except as             "Extra Expense" only, Spoilage Damage and
      provided by the "Business Income" and "Extra               Utility Interruption Coverages.
      Expense", "Extra Expense" only and Utility             21. Neglect by you to use all reasonable means to
      Interruption Coverages.                                    save and preserve "Covered Property" from
  17. With respect to "Business Income" and "Extra               further damage at and after the time of the
      Expense", "Extra Expense" only and Utility                 loss.
      Interruption Coverages, the following additional     C. Limits Of Insurance
      exclusions shall apply:                                 1. The most we will pay for any and all coverages
      a. The business that would not or could not                for loss or damage from any "One Breakdown"
          have been carried on if the "Breakdown"                is the applicable Limit Of Insurance shown in
          had not occurred;                                      the Declarations.
      b. Your failure to use due diligence and                2. Any payment made will not be increased if
          dispatch and all reasonable means to                   more than one insured is shown in the
          operate your business as nearly normal as              Declarations.
          practicable at the premises shown in the            3. For each coverage in Paragraph A.2., if:
          Declarations; or
                                                                 a. INCLUDED is shown in the Declarations,
      c. The suspension, lapse or cancellation of a                 the limit for such coverage is part of, not in
          contract following a "Breakdown" extending                addition to, the Limit per Breakdown.
          beyond the time business could have
          resumed if the contract had not lapsed,                b. A limit is shown in the Declarations, we will
          been suspended or canceled.                               not pay more than the Limit of Insurance for
                                                                    each such coverage.
  18. Any indirect loss following a "Breakdown" to
      "Covered Equipment" that results from the lack          4. For any "Covered Equipment" that is:
      or excess of power, light, heat, steam or                  a. Used solely to supply utility services to your
      refrigeration except as provided by the                       premises;
      "Business Income" and "Extra Expense",                     b. Owned by a public or private utility;
      "Extra Expense" only, Spoilage Damage and
      Utility Interruption Coverages.                            c. Not in your care, custody or control and for
                                                                    which you are legally liable; and
  19. With respect to Utility Interruption Coverage,
      any loss resulting from the following additional           d. Covered under this Coverage Form;
      causes of loss whether or not coverage for that            the Limit Of Insurance for Property Damage
      cause of loss is provided by another policy you            stated in the Declarations is replaced by the
      have:                                                      sum of one dollar.
      a. Acts of sabotage;                                       If you are a public or private utility, 4.b. is
      b. Collapse;                                               replaced by the following:
      c. Deliberate act(s) of load-shedding by the               b. Owned by a public or private utility other
          supplying utility;                                        than you.
      d. Freezing caused by cold weather;                     5. Unless a higher limit or INCLUDED is shown in
                                                                 the Declarations, the most we will pay for direct
      e. Impact of aircraft, missile or vehicle;                 damage as a direct result of a "Breakdown" to
       f. Impact of objects falling from an aircraft or          "Covered Equipment" is $25,000 for each of
          missile;                                               the following. The limits are part of, not in
      g. Lightning;                                              addition to, the Limit of Insurance for Property
                                                                 Damage or Limit per Breakdown.
      h. Riot, civil commotion or vandalism;
                                                                 a. Ammonia Contamination
       i. Sinkhole collapse;
                                                                     The spoilage to "Covered Property"
       j. Smoke; or                                                  contaminated by ammonia, including any
      k. Weight of snow, ice or sleet.                               salvage expense.




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      b. Consequential Loss                                 6. Limited Coverage For "Fungus", Wet Rot
         The reduction in the value of undamaged               And Dry Rot
         "Stock" parts of a product which becomes              a. Property Damage
         unmarketable. The reduction in value must                We will pay for loss or damage by
         be caused by a physical loss or damage to                "Fungus", wet or dry rot only when the
         another part of the product.                             "Fungus", wet or dry rot is the direct result
      c. Data And Media                                           of a "Breakdown" to "Covered Equipment"
         Your cost to research, replace or restore                that occurs during the policy period. As
         damaged "Data" or "Media" including the                  used in this Limited Coverage, the term loss
         cost to reprogram instructions used in any               or damage means:
         "Computer Equipment".                                   (1) Direct physical loss or damage to
      d. Hazardous Substance                                          "Covered Property" caused by "Fungus",
                                                                      wet or dry rot including the cost of
         Any additional expenses incurred by you for                  removal of the "Fungus", wet or dry rot:
         the cleanup, repair or replacement or
         disposal of "Covered Property" that is                      (a) The cost to tear out and replace any
         damaged, contaminated or polluted by a                          "Covered Property" as needed to
         "Hazardous Substance".                                          gain access to the "Fungus", wet or
                                                                         dry rot; and
         As used here, additional expenses means
         the additional cost incurred over and above                 (b) The cost of testing performed after
         the amount that we would have paid had no                       removal, repair, replacement or
         "Hazardous Substance" been involved with                        restoration of the damaged property
         the loss.                                                       is completed, provided there is a
                                                                         reason to believe that "Fungus", wet
         Ammonia is not considered to be a                               or dry rot is present.
         "Hazardous Substance" as respects this
         limitation.                                              (2) The       coverage     described    under
                                                                      Paragraph 6.a.(1) of this Limited
         This coverage applies despite the operation                  Coverage is limited to $15,000.
         of the Ordinance Or Law Exclusion.                           Regardless of the number of claims, this
      e. Water Damage                                                 limit is the most we will pay for the total
                                                                      of all loss or damage arising out of all
         The damage to "Covered Property" by
                                                                      occurrences       of    "Breakdown"      to
         water including any salvage expenses.
                                                                      "Covered Equipment" which take place
         If "Fungus", wet or dry rot results from                     within the 12-month period starting with
         damage by water as limited in this                           the beginning of the present annual
         paragraph, loss or damage attributable to                    policy period. With respect to a
         "Fungus", wet or dry rot will be:                            particular occurrence of loss which
        (1) Limited as described in Paragraphs                        results in "Fungus", wet or dry rot, we
             C.6.a.(1) through C.6.a.(5); and                         will not pay more than a total of $15,000
                                                                      even if the "Fungus", wet or dry rot
        (2) Part of the Water Damage limit, not in                    continues to be present or active or
             addition to it.
                                                                      recurs in a later policy period.
                                                                  (3) The coverage provided under this
                                                                      Limited Coverage does not increase the
                                                                      applicable Limit of Insurance on any
                                                                      "Covered Property". If a particular
                                                                      occurrence results in loss or damage by
                                                                      "Fungus", wet or dry rot, and other loss
                                                                      or damage, we will not pay more, for the
                                                                      total of all loss or damage, than the
                                                                      applicable Limit of Insurance on the
                                                                      affected "Covered Property".




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            If there is covered loss or damage to                      (b) If a covered loss of "Business
            "Covered Property" not caused by                               Income" or an "Extra Expense" was
            "Fungus", wet or dry rot, loss payment                         caused by loss or damage other than
            will not be limited by the terms of this                       "Fungus", wet or dry rot, but
            Limited Coverage, except to the extent                         remediation of "Fungus", wet or dry
            that "Fungus", wet or dry rot causes an                        rot    prolongs   the   "Period of
            increase in the loss. Any such increase                        Restoration", we will pay for loss
            in the loss will be subject to the terms of                    and/or expense sustained during the
            this Limited Coverage.                                         delay (regardless of when such a
        (4) If a Revised Limit is shown in the                             delay occurs during the "Period of
            Declarations, the amount of $15,000 in                         Restoration"), but such coverage is
            Paragraph 6.a.(2) is replaced by the                           limited to 30 days. The days need
            amount indicated in the Declarations.                          not be consecutive.
        (5) If the Declarations indicates that the                  (2) If a Revised Number of Days is shown
            Separate Premises Option applies, then                      in the Declarations, the number of days
            the amount of coverage ($15,000,                            (30) in Paragraph b.(1)(a) or b.(1)(b) is
            unless a higher amount is shown in the                      replaced by the number of days
            Declarations) is made applicable to                         indicated in the Declarations.
            separate premises as described in the                c. If you have coverage for Ordinance Or Law,
            Declarations. For each premises so                       then with respect to Property Damage,
            described, the amount of coverage is an                  "Business Income" and "Extra Expense" or
            annual aggregate limit, subject to the                   "Extra Expense" only, we will not pay under
            terms set forth in Paragraph 6.a.(2).                    the Ordinance Or Law Coverage for:
      b. Business Income And Extra Expense Or                       (1) Loss or expense sustained due to the
         Extra Expense Only                                             enforcement of or compliance with any
        (1) If you have coverage for "Business                          ordinance or law which requires the
            Income" and "Extra Expense" or "Extra                       demolition,      repair,    replacement,
            Expense" only, then Paragraph b.(1)(a)                      reconstruction,       remodeling       or
            or b.(1)(b) applies, provided that the                      remediation of property due to the
            incurred loss or expense satisfies the                      presence, growth, proliferation, spread
            terms and conditions applicable to the                      or any activity of "Fungus", wet or dry
            "Business Income" and "Extra Expense"                       rot; or
            or "Extra Expense" only coverage.                       (2) The costs associated with the
           (a) If:                                                      enforcement of or compliance with any
                                                                        ordinance or law which requires any
                (i) The "Breakdown"; or                                 insured or others to test for, monitor,
               (ii) Any damage from water resulting                     clean up, remove, contain, treat,
                    from the "Breakdown";                               detoxify or neutralize, or in any way
                which resulted in "Fungus", wet or                      respond to or assess the effects of
                dry rot, does not in itself generate a                  "Fungus", wet or dry rot.
                loss of "Business Income" or an               7. Increased Cost Of Loss And Related
                "Extra Expense", but the loss of                 Expenses For "Green" Upgrades
                "Business     Income"      or   "Extra           a. Property Damage
                Expense" is solely due to loss or
                damage to property caused by                        Coverage is extended to include the
                "Fungus", wet or dry rot, then our                  additional loss or damage and related
                payment under "Business Income"                     expenses incurred by you that are
                and "Extra Expense" or "Extra                       attributable to "Green" upgrades as a direct
                Expense" only is limited to the                     result of a "Breakdown" to "Covered
                amount of loss and/or expense                       Equipment" that occurs during the policy
                sustained in a period of not more                   period. As provided in this "Green"
                than 30 days. The days need not be                  upgrades coverage, we will pay for:
                consecutive.                                       (1) Additional expense to repair or replace
                                                                        the damaged "Covered Property" except
                                                                        raw materials, property in process,
                                                                        finished goods and "Stock";




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        (2) Related additional expenses to:                                  (ii) Additional cost to repair or
           (a) Reuse or salvage the damaged                                       replace damaged property solely
               "Covered Property";                                                for the purpose of achieving
                                                                                  points toward certification or
           (b) Remove, transport and dispose of                                   recertification of the property by a
               the recyclable damaged "Covered                                    "Green standards-setter".
               Property" and its construction waste
               to appropriate sites; and                              Unless a different limit or INCLUDED is
                                                                      shown in the Declarations, the most we pay
           (c) Replace the damaged portions of                        under this "Green" upgrades coverage is an
               roof section(s) of buildings or                        amount equal to 25% of the total Property
               structures with a vegetated roof in                    Damage loss otherwise recoverable,
               accordance with the recommended                        subject to a maximum limit of $100,000.
               procedures of a "Green standards-
               setter";                                            b. Business Income And Extra Expense Or
                                                                      Extra Expense Only
        (3) Additional reasonable and customary
            expense to hire the services of an                        If you have coverage for "Business Income"
            accredited architect or engineer with                     and "Extra Expense" or "Extra Expense"
            respect to any necessary design and                       only and the terms and conditions
            engineering recommendations in the                        applicable to the "Business Income" and
            course of repair or replacement of                        "Extra Expense" or "Extra Expense" only
            damaged portions of the building; and                     coverage are satisfied, then:
        (4) Additional reasonable expense to pay:                    (1) If the remediation of the damaged
                                                                          "Covered Property" using "Green"
            (a) Fees imposed by the "Green                                upgrades prolongs the "Period of
                standards-setter"       in    order     to                Restoration", we will pay for loss and/or
                determine        if   certification     or                expense sustained during the delay
                recertification      is       appropriate                 (regardless of when such a delay occurs
                according to the organization's                           during the "Period of Restoration"), but
                standard;                                                 such coverage is limited to 30 days. The
            (b) Fees to test "Covered Equipment"                          days need not be consecutive.
                following its repair or installation as              (2) If a Revised Number of Days is shown
                replacements, when such testing is                       in the Declarations, the number of days
                undertaken in the course of                              (30) in Paragraph b.(1) is replaced by
                submitting to the certification or                       the number of days indicated in the
                recertification process; and                             Declarations.
            (c) After repair or reconstruction is                    (3) As used here, the prolonged "Period of
                completed, to flush out the renovated                    Restoration" is limited to the additional
                space and/or conduct air quality                         days incurred over and above the
                testing of the renovated space in                        amount needed had no "Green"
                accordance with the recommended                          upgrades been involved with the loss.
                procedures of a "Green standards-
                setter" and for the purpose of                     c. The coverage provided under this "Green"
                mitigating      indoor     air     quality            upgrades coverage:
                deficiencies resulting from the repair                (1) Does not increase any of the applicable
                or reconstruction of the "Covered                         Limits of Insurance;
                Property".                                            (2) Applies despite the operation of the
         As used here, additional expenses are                            Ordinance Or Law Exclusion; and
         limited to the additional cost incurred over                 (3) Does not reduce the coverage otherwise
         and above the amount that we would have                          applicable for repair or replacement of
         paid had no "Green" upgrades been                                "Covered Property" that qualified as
         involved with the loss.                                          "Green" prior to loss or damage, with
         In addition, we will not pay for any:                            comparable materials and products.
                (i) Further     modification      if    the
                    "Covered Property" fails to obtain
                    certification, recertification or a
                    specific level of certification; or




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D. Deductibles                                                     (3) Multiply the daily value in Paragraph (2)
   1. Application Of Deductibles                                        by the number of days shown in the
                                                                        Declarations. We will first subtract this
      We will not pay for loss or damage resulting                      deductible amount from any loss we
      from any "One Breakdown" until the amount of                      would otherwise pay. We will then pay
      covered loss or damage exceeds the                                the amount of loss or damage in excess
      deductible shown in the Declarations for each                     of the deductible, up to the applicable
      applicable coverage. We will then pay the                         Limit of Insurance.
      amount of covered loss or damage in excess of
      the deductible, up to the applicable Limit of              d. Percentage Of Loss Deductible
      Insurance.                                                    If a deductible is expressed as a
      Deductibles apply separately for each                         percentage of loss in the Declarations, we
      applicable coverage except if:                                will not be liable for the indicated
                                                                    percentage of gross amount of loss or
      a. A deductible is shown as COMBINED for                      damage (prior to the applicable deductible
         any of the coverages in the Declarations,                  or coinsurance) insured under the
         then we will first subtract the combined                   applicable coverage.
         deductible amount from the aggregate
         amount of any loss to which the combined                e. Minimum Or Maximum Deductibles
         deductible applies; or                                    (1) If:
      b. More than one "Covered Equipment" is                          (a) A minimum dollar amount deductible
         involved in "One Breakdown", then only one                         is shown in the Declarations; and
         deductible, the highest, shall apply for each                 (b) The dollar amount of the Multiple of
         of the applicable coverages.                                       Daily Value or the Percentage of
   2. Determination Of Deductibles                                          Loss Deductible is less than the
      a. Dollar Deductible                                                  Minimum Deductible;
         If a dollar deductible is shown in the                         then the Minimum Deductible amount
         Declarations, we will first subtract the                       shown in the Declarations will be the
         deductible amount from any loss we would                       applicable deductible.
         otherwise pay.                                            (2) If:
      b. Time Deductible                                               (a) A maximum dollar amount deductible
         If a time deductible is shown in the                               is shown in the Declarations; and
         Declarations, we will not be liable for any                   (b) The dollar amount of the Multiple of
         loss under that coverage that occurs during                        Daily Value or the Percentage of
         that specified time period immediately                             Loss Deductible is greater than the
         following a "Breakdown". If a time                                 Maximum Deductible;
         deductible is shown in days, each day shall                    then the Maximum Deductible amount
         mean 24 consecutive hours.                                     shown in the Declarations will be the
      c. Multiple Of Daily Value Deductible                             applicable deductible.
         If a multiple of daily value is shown in the      E. Equipment Breakdown Protection Conditions
         Declarations, this deductible will be                The following conditions apply in addition to the
         calculated as follows:                               Common Policy Conditions:
         (1) For the entire premises where the loss           1. Loss Conditions
             occurred, determine the total amount of
             "Business Income" that would have                   a. Abandonment
             been earned during the "Period of                      There can be no abandonment of any
             Restoration" had no "Breakdown" taken                  property to us.
             place.
         (2) Divide the result in Paragraph (1) by the
             number of days the business would
             have been open during the "Period of
             Restoration". The result is the daily
             value.




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      b. Appraisal                                                      (e) Send us a signed, sworn proof of
         If we and you disagree on the value of the                          loss containing the information we
         property or the amount of loss, either may                          request to investigate the claim. You
         make written demand for an appraisal of                             must do this within 60 days after our
         the loss. In this event, each party will select                     request. We will supply you with the
         a competent and impartial appraiser. The                            necessary forms.
         two appraisers will select an umpire. If they                   (f) Cooperate     with     us    in    the
         cannot agree, either may request that the                           investigation or settlement of the
         selection be made by a judge of a court                             claim.
         having jurisdiction. The appraisers will state             (2) We may examine any insured under
         separately the value of the property and                        oath, while not in the presence of any
         amount of loss. If they fail to agree, they will                other insured and at such times as may
         submit their differences to the umpire. A                       be reasonably required, about any
         decision agreed to by any two will be                           matter relating to this insurance or the
         binding.                                                        claim, including an insured's books and
         Each party will:                                                records. In the event of an examination,
        (1) Pay its chosen appraiser; and                                an insured's answers must be signed.
        (2) Bear the other expenses of the                        e. Insurance Under Two Or More
             appraisal and umpire equally.                           Coverages
         If there is an appraisal, we will still retain               If two or more of this policy's coverages
         our right to deny the claim.                                 apply to the same loss or damage, we will
                                                                      not pay more than the actual amount of the
      c. Defense                                                      loss or damage.
         We may elect to defend you against suits                  f. Legal Action Against Us
         arising from claims of owners of property.
         We will do this at our expense.                              No one may bring a legal action against us
                                                                      under this Coverage Part unless:
      d. Duties In The Event Of Loss Or Damage
                                                                     (1) There has been full compliance with all
        (1) You must see that the following are                          the terms of this Coverage Part; and
             done in the event of loss or damage to
             "Covered Property":                                     (2) The action is brought within two years
                                                                         after the date of the "Breakdown"; or
            (a) Give us a prompt notice of the loss
                or damage. Include a description of                 (3) We agree in writing that you have an
                the property involved.                                  obligation to pay for damage to
                                                                        "Covered Property" of others or until the
            (b) As soon as possible, give us a                          amount of that obligation has been
                description of how, when and where                      determined by final judgment or
                the loss or damage occurred.                            arbitration award. No one has the right
            (c) Allow us a reasonable time and                          under this policy to bring us into any
                opportunity to examine the property                     action to determine your liability.
                and premises before repairs are                   g. Loss Payable Clause
                undertaken or physical evidence of
                the "Breakdown" is removed. But you                 (1) We will pay you and the loss payee
                must take whatever measures are                         shown in the Declarations for loss due
                necessary to protect the property                       to a "Breakdown" to "Covered
                and premises from further damage.                       Equipment", as interests may appear.
                                                                        The insurance covers the interest of the
            (d) As often as may be reasonably                           loss payee unless the loss results from
                required, permit us to inspect the                      conversion, secretion or embezzlement
                property proving the loss or damage                     on your part.
                and examine your books and
                records.                                            (2) We may cancel the policy as allowed by
                                                                        the Cancellation Condition. Cancellation
                Also, permit us to take samples of                      ends this agreement as to the loss
                damaged and undamaged property                          payee's interest. If we cancel, we will
                for inspection, testing and analysis,                   mail you and the loss payee the same
                and permit us to make copies from                       advance notice.
                your books and records.




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         (3) If we make any payment to the loss                         (d) Salvaging the damaged "Covered
              payee, we will obtain their rights against                    Property".
              any other party.                                    k. Transfer Of Rights Of Recovery Against
      h. Other Insurance                                             Others To Us
         (1) You may have other insurance subject                    If any person or organization to or for whom
              to the same plan, terms, conditions and                we make payment under this Coverage
              provisions as the insurance under this                 Part has rights to recover damages from
              Coverage Part. If you do, we will pay our              another, those rights are transferred to us
              share of the covered loss or damage.                   to the extent of our payment.
              Our share is the proportion that the                    That person or organization must do
              applicable Limit of Insurance under this                everything necessary to secure our rights
              Coverage Part bears to the Limits of                    and must do nothing after loss to impair
              Insurance of all insurance covering on                  them. But you may waive your rights
              the same basis.                                         against another party in writing:
         (2) If there is other insurance covering the                (1) Prior to a loss to your "Covered
              same loss or damage, other than that                        Property" or covered income.
              described in Paragraph (1), we will pay
              only for the amount of covered loss or                 (2) After a loss to your "Covered Property"
              damage in excess of the amount due                          or covered income only if, at time of
              from that other insurance, whether you                      loss, that party is one of the following:
              can collect on it or not. But we will not                  (a) Someone insured by this insurance;
              pay more than the applicable Limit of
                                                                        (b) A business firm:
              Insurance.
                                                                              (i) Owned or controlled by you; or
       i. Privilege To Adjust With Owner
                                                                             (ii) That owns or controls you; or
          In the event of loss or damage involving
          property of others in your care, custody or                    (c) Your tenant.
          control, we have the right to settle the loss               This will not restrict your insurance.
          or damage with the owner of the property. A
          receipt for payment from the owner of that               l. Valuation
          property will satisfy any claim of yours                   (1) We will determine the value of "Covered
          against us.                                                     Property" in the event of loss or damage
                                                                          as follows:
       j. Reducing Your Loss
          As soon as possible after a "Breakdown",                      (a) The cost to repair, rebuild or replace
          you must:                                                          the damaged property with property
                                                                             of the same kind, capacity, size or
         (1) Resume        business,     partially    or                     quality on the same site or another
              completely;                                                    site, whichever is the less costly; or
        (2) Make up for lost business within a                          (b) The cost actually and necessarily
            reasonable period of time. This                                  expended in repairing, rebuilding or
            reasonable period does not necessarily                           replacing on the same site or
            end when operations are resumed; and                             another site, whichever is the less
        (3) Make use of every reasonable means to                            costly;
            reduce or avert loss, including:                             except we will not pay for such damaged
           (a) Working extra time or overtime at the                     property that is obsolete and useless to
               premises or at another premises you                       you.
               own or acquire to carry on the same                   (2) If you elect or we require that the repair
               operations;                                               or replacement of the damaged
           (b) Utilizing the property and/or services                    "Covered Equipment" be done in a
               of other concerns;                                        manner that enhances safety while
                                                                         maintaining the existing function, then
           (c) Using      merchandise      or   other                    we will pay, subject to the limit of
               property, such as surplus machinery,
                                                                         insurance, up to an additional 25% of
               duplicate parts, equipment, supplies                      the property damage amount for the
               and surplus or reserve stock you                          "Covered       Equipment"        otherwise
               own, control or can obtain; or
                                                                         recoverable.




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        (3) If:                                                     (7) We will determine the value of "Covered
           (a) Any damaged "Covered Property" is                        Property" under Spoilage Damage
                protected by an extended warranty,                      Coverage as follows:
                or maintenance or service contract;                    (a) For raw materials, the replacement
                and                                                        cost;
           (b) That warranty or contract becomes                       (b) For property in process, the
                void or unusable due to a                                   replacement cost of the raw
                "Breakdown";                                                materials, the labor expended and
            we will reimburse you for the unused                            the proper proportion of overhead
            costs of nonrefundable, nontransferable                         charges; and
            warranties or contracts.                                   (c) For finished products, the selling
        (4) Unless we agree otherwise in writing, if                        price, as if no loss or damage had
            you do not repair or replace the                                occurred, less any discounts you
            damaged property within 24 months                               offered and expenses you otherwise
            following the date of the "Breakdown",                          would have had.
            then we will pay only the smaller of the:              (8) Any salvage value of property obtained
           (a) Cost it would have taken to repair or                    for temporary repairs or use following a
                replace; or                                             "Breakdown" which remains after repairs
                                                                        are completed will be taken into
           (b) Actual cash value at the time of the                     consideration in the adjustment of any
                "Breakdown".                                            loss.
        (5) If all of the following conditions are met,          m. The following additional conditions apply to
            property held by you for sale will be                   the "Business Income" and "Extra Expense"
            valued at the selling price as if no loss               Coverage:
            or damage had occurred, less any
            discounts you offered and expenses you                  (1) Annual Reports
            otherwise would have had:                                   You must complete an Annual Report of
           (a) The property was manufactured by                         Values form approved by us once each
               you;                                                     year. Your reports must reach us within
                                                                        three months of the annual report date
           (b) The selling price of the property is                     shown in the Declarations and each
               more than the replacement cost of                        anniversary of that date.
               the property; and
                                                                    (2) Adjustment Of Premium
           (c) You are unable to replace the
                property before its anticipated sale.                   Upon receipt of the annual reports of
                                                                        values you furnish us, we will determine
        (6) We will pay for loss to damaged "Data"                      the amount of premium we earned for
            or "Media" as follows:                                      the past year. If the amount determined
           (a) Replacement cost for "Data" or                           is more than the premium we have
                "Media" that are mass produced and                      already charged for this coverage, you
                commercially available; and                             must pay the difference. If the amount
                                                                        determined is less than the premium we
           (b) The cost you actually spend to
                reproduce the records on blank                          originally charged, we will refund the
                material for all other "Data" or                        difference. However, the amount we
                                                                        return will not exceed 75% of the
                "Media", including the cost of
                gathering or assembling information                     premium we originally charged.
                for such reproduction.                              (3) Coinsurance
            However, we will not pay for "Data" or                      This Coinsurance Condition applies only
            "Media" that we determine are not or                        if we did not receive your Annual Report
            cannot be replaced with "Data" or                           of Values form within three months of
            "Media" of like kind and quality or                         the due date as outlined in Paragraph
            property of similar functional use.                         (1).




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            (a) We will not pay the full amount of                 c. Concealment, Misrepresentation Or
                any loss if:                                          Fraud
                (i) The "Business Income Actual                       This Coverage Part is void in any case of
                    Annual Value" at the time of loss                 fraud,    intentional    concealment     or
                    is greater than the "Business                     misrepresentation of a material fact by you
                    Income Estimated Annual Value"                    or any other insured, at any time,
                    shown in your latest report; or                   concerning:
               (ii) Your report was received by us                   (1) This Coverage Part;
                    more than three months after the                 (2) The "Covered Property";
                    due date, or your report is
                    overdue.                                         (3) Your interest in the "Covered Property";
                                                                          or
            (b) Instead, we will determine the most
                we will pay using the following steps:               (4) A claim under this Coverage Part.
                  (i) Divide the "Business Income                  d. Liberalization
                      Estimated Annual Value" by the                  If we adopt any standard form revision for
                      "Business Income Actual Annual                  general use that would broaden coverage in
                      Value" at the time of the                       this Coverage Part without additional
                      "Breakdown";                                    premium, the broadened coverage will
                 (ii) Multiply the total amount of the                immediately apply to this Coverage Part if
                      covered loss of "Business                       the revision is effective within 45 days prior
                      Income" by the figure determined                to or during the policy period.
                      in Step (i); and                             e. Mortgageholder
                (iii) Subtract       any       applicable            (1) The term mortgageholder includes
                      deductible from the amount                         trustee.
                      determined in Step (ii).
                                                                     (2) We will pay for direct damage to
                 We will pay the amount determined                       "Covered     Property"     due    to  a
                 in Step (iii) or the "Business Income"                  "Breakdown" to "Covered Equipment" to
                 and "Extra Expense" limit of                            each mortgageholder shown in the
                 insurance, whichever is less. For the                   Declarations    in   their    order  of
                 remainder, you will either have to                      precedence, as interests may appear.
                 rely on other insurance or absorb the
                                                                      (3) The mortgageholder has the right to
                 loss yourself.
                                                                          receive loss payment even if the
            If coverage is provided for more than                         mortgageholder has started foreclosure
            one premises, then this Coinsurance                           or similar action on the "Covered
            Condition applies separately to each                          Property".
            premises.
                                                                      (4) If we deny your claim because of your
   2. General Conditions                                                  acts or because you have failed to
      a. Additional Insured                                               comply with the terms of this Coverage
                                                                          Part, the mortgageholder will still have
         If a person or organization is designated in                     the right to receive loss payment if the
         this Coverage Part as an additional insured,                     mortgageholder:
         we will consider them to be an insured
         under this Coverage Part to the extent of                       (a) Pays any premium due under this
         their interest.                                                      Coverage Part at our request if you
                                                                              have failed to do so;
      b. Bankruptcy
                                                                         (b) Submits a signed, sworn proof of
         The bankruptcy or insolvency of you or your                          loss within 60 days after receiving
         estate will not relieve us of our obligation                         notice from us of your failure to do
         under this Coverage Part.                                            so; and
                                                                         (c) Has notified us of any change in
                                                                              ownership or material change in risk
                                                                              known to the mortgageholder.
                                                                          All of the terms of this Coverage Part will
                                                                          then      apply      directly   to     the
                                                                          mortgageholder.




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        (5) If we pay the mortgageholder for any                       (b) Puerto Rico; and
            loss and deny payment to you because                       (c) Canada.
            of your acts or because you have failed
            to comply with the terms of this                    h. Premium And Adjustments
            Coverage Part:                                          You shall report to us 100% of the total
           (a) The mortgageholder's rights under                    insurable values at each premises every
                the mortgage will be transferred to                 year as of the anniversary date. The values
                us to the extent of the amount we                   shall be reported separately for each of the
                pay; and                                            coverages provided. Premium for each
                                                                    anniversary will be promulgated for the
           (b) The mortgageholder's right to                        ensuing period on the basis of rates in
                recover the full amount of the                      effect at the anniversary date and for all
                mortgageholder's claim will not be                  values at risk.
                impaired.
                                                                    You agree to keep the applicable records
            At our option, we may pay to the                        for each policy year available for inspection
            mortgageholder the whole principal on                   by our representatives at all times during
            the mortgage plus any accrued interest.                 business hours, during the respective policy
            In this event, your mortgage and note                   year, and for a period of 12 months after
            will be transferred to us and you will pay              the end of the respective policy year or after
            your remaining mortgage debt to us.                     cancellation of this Coverage Part.
        (6) If we cancel this policy, we will give               i. Suspension
            written notice to the mortgageholder at
            least:                                                  Whenever "Covered Equipment" is found to
                                                                    be in, or exposed to, a dangerous condition,
           (a) 10 days before the effective date of                 any of our representatives may immediately
                cancellation if we cancel for                       suspend the insurance against loss from a
                nonpayment of premium; or                           "Breakdown" to that "Covered Equipment".
           (b) 30 days before the effective date of                 This can be done by delivering or mailing a
                cancellation if we cancel for any                   written notice of suspension to:
                other reason.                                      (1) Your last known address; or
        (7) If we do not renew this policy, we will                (2) The address where the "Covered
            give     written     notice      to the                     Equipment" is located.
            mortgageholder at least 10 days before
            the expiration date of this policy.                     Once suspended in this way, your
                                                                    insurance can be reinstated only by an
        (8) If we suspend coverage, it will also be                 endorsement for that "Covered Equipment".
            suspended         as     respects   the
            mortgageholder. We will give written                    If we suspend your insurance, you will get a
            notice of the suspension to the                         pro rata refund of premium for that
            mortgageholder.                                         "Covered Equipment". But the suspension
                                                                    will be effective even if we have not yet
      f. No Benefit To Bailee                                       made or offered a refund.
         No person or organization, other than you,          3. Joint Or Disputed Loss Agreement
         having custody of "Covered Property" will
         benefit from this insurance.                           a. This condition is intended to facilitate
                                                                   payment of insurance proceeds when:
      g. Policy Period, Coverage Territory
                                                                  (1) Both a commercial property policy and
         Under this Coverage Part:                                    this equipment breakdown protection
        (1) We cover loss or damage commencing:                       policy are in effect;
           (a) During the policy period shown in the               (2) Damage occurs to "Covered Property"
               Declarations; and                                       that is insured by the commercial
           (b) Within the coverage territory.                          property policy and this equipment
                                                                       breakdown protection policy; and
        (2) The coverage territory is:
                                                                   (3) There is disagreement between the
           (a) The United States of America                            insurers as to whether there is coverage
               (including    its    territories and                    or as to the amount of the loss to be
               possessions);                                           paid, if any, by each insurer under its
                                                                       own policies.




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      b. This condition does not apply if:                                 (c) The total amount of the loss is
        (1) Both the commercial property insurer(s)                            agreed to by you, the commercial
            and we do not admit to any liability; and                          property insurer(s) and us.
        (2) Neither    the    commercial     property               d. If the requirements listed in Paragraph c.
            insurer(s) nor we contend that coverage                    above are satisfied, we and the commercial
            applies under the other insurer's policy.                  property insurer(s) will make payments to
                                                                       the extent, and in the manner, described as
      c. The provisions of this condition apply only if                follows:
         all of the following requirements are met:
                                                                      (1) We will pay, after your written request,
        (1) The commercial property policy carried                        the entire amount of loss that we have
              by the Named Insured, insuring the                          agreed as being covered, if any, by this
              "Covered Property", contains a similar                      equipment breakdown protection policy
              provision at the time of the loss or                        and one-half (1/2) the amount of the
              damage, with substantially the same                         loss that is in disagreement.
              requirements,            procedures     and
              conditions as contained in this condition;              (2) The commercial property insurer(s) will
                                                                          pay, after your written request, the entire
        (2) The damage to the "Covered Property"                          amount of loss that they have agreed as
              was caused by a loss for which:                             being covered, if any, by the commercial
             (a) Both the commercial property                             property policy and one-half (1/2) the
                  insurer(s) and we admit to some                         amount of loss that is in disagreement.
                  liability for payment under the                     (3) Payments by the insurers of the
                  respective policies; or                                 amounts that are in disagreement, as
            (b) Either:                                                   described in Paragraphs (1) and (2), do
                  (i) The        commercial       property                not alter, waive or surrender any rights
                      insurer(s) does not admit to any                    of any insurer against any other with
                                                                          regard to the portion of the loss for
                      liability for payment, while we
                      contend that:                                       which each insurer is liable.
                        i. All liability exists under the             (4) The amount in disagreement to be paid
                           commercial property policy; or                 by us under this condition shall not
                                                                          exceed the amount payable under the
                     ii. Some liability exists under                      equivalent Loss Agreement(s) of the
                         both the commercial property                     commercial property policy.
                         policy and this equipment
                         breakdown protection policy;                 (5) The amount to be paid under this
                                                                          condition shall not exceed the amount
                (ii) We do not admit to any liability                     we would have paid had no commercial
                     for   payment,    while    the                       property policy been in effect at the time
                     commercial property insurer(s)                       of loss. In no event will we pay more
                     contends that:                                       than the applicable Limit Of Insurance
                      i. All liability exists under this                  shown in the Declarations.
                         equipment            breakdown               (6) Acceptance by you of sums paid under
                         protection coverage policy; or                   this condition does not alter, waive or
                     ii. Some liability exists under                      surrender any other rights against us.
                         both the commercial property               e. Arbitration
                         policy and this equipment
                         breakdown protection policy;                 (1) If the circumstances described in
                         or                                               Paragraph c.(2)(a) exist and the
                                                                          commercial property insurer(s) and we
                (iii) Both the commercial property                        agree to submit our differences to
                      insurer(s) and we:                                  arbitration, the commercial property
                       i. Do not admit to any liability for               insurer(s) and we will determine the
                          payment; and                                    amount each will pay and will pay the
                                                                          insured within 90 days. Arbitration will
                      ii. Contend that some or all                        then take place within 90 days after
                          liability exists under the other
                                                                          payment of the loss under the terms of
                          insurer's policy; and                           this condition.




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         (2) If any of the circumstances described in                unless such loss or damage is otherwise
             Paragraph c.(2)(b) exist, then the                      excluded within this Coverage Form.
             commercial property insurer(s) and we                b. Does not mean or include:
             agree to submit our differences to
             arbitration within 90 days after payment               (1) Malfunction including but not limited to
             of the loss under the terms of this                        adjustment,     alignment,   calibration,
             condition.                                                 cleaning or modification;
         (3) You agree to cooperate with any                         (2) Defects, erasures, errors, limitations or
             arbitration procedures. There will be                       viruses in computer equipment and
             three arbitrators: one will be appointed                    programs including the inability to
             by us, and another will be appointed by                     recognize and process any date or time
             the commercial property insurer(s). The                     or provide instructions to "Covered
             two arbitrators will select a third                         Equipment";
             arbitrator. If they cannot agree, either                (3) Leakage at any valve, fitting, shaft seal,
             may request that selection be made by                       gland packing, joint or connection;
             a judge of a court having jurisdiction. A
                                                                     (4) Damage to any vacuum tube, gas tube,
             decision agreed to by two of the three
                                                                         or brush;
             arbitrators will be binding on both
             parties. Judgment on any award can be                   (5) Damage to any structure or foundation
             entered in any court that has jurisdiction.                 supporting the "Covered Equipment" or
                                                                         any of its parts;
       f. Final Settlement Between Insurers
                                                                     (6) The functioning of any safety or
          The insurer(s) found responsible for the                       protective device; or
          greater percentage of the ultimate loss
          must return the excess contribution to the                 (7) The cracking of any part on an internal
          other insurer(s). In addition, the insurer(s)                  combustion gas turbine exposed to the
          found responsible for the greater portion of                   products of combustion.
          the loss must pay Liquidated Damages to              2. "Business Income" means the:
          the other insurer(s) on the amount of the
          excess contribution of the other insurer(s).            a. Net Income (Net Profit or Loss before
          Liquidated Damages are defined as interest                 income taxes) that would have been earned
          from the date the insured invokes this                     or incurred; and
          Agreement to the date the insurer(s) that               b. Continuing normal operating expenses
          contributed the excess amount is                           incurred, including payroll.
          reimbursed. The interest is calculated at 1.5        3. "Business Income Actual Annual Value" means
          times the highest prime rate from the                   the sum of the Net Income and continuing
          Money Rates column of the Wall Street                   normal operating expenses incurred, including
          Journal during the period of the Liquidated             payroll that would have been earned had the
          Damages. Arbitration expenses are not a                 "Breakdown" not occurred.
          part of the excess contribution for which
          Liquidated Damages are calculated.                   4. "Business Income Estimated Annual Value"
          Arbitration expenses will be apportioned                means the sum of the Net Income and
          between insurers on the same basis that                 continuing     normal    operating    expenses
          the ultimate loss is apportioned.                       incurred, including payroll as estimated by you
                                                                  in the most recent Annual Report of Values
F. Definitions                                                    form on file with us.
   1. "Breakdown":                                             5. "Computer Equipment" means:
      a. Means the following direct physical loss that            a. Your programmable electronic equipment
          causes damage to "Covered Equipment"                        that is used to store, retrieve and process
          and necessitates its repair or replacement:                 data; and
         (1) Failure of pressure or vacuum                        b. Associated peripheral equipment that
             equipment;                                               provides communication including input and
         (2) Mechanical failure including rupture or                  output functions such as printing or auxiliary
             bursting caused by centrifugal force; or                 functions such as data transmission.
         (3) Electrical failure including arcing;                 It does not include "Data" or "Media".




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   6. "Covered Equipment":                                          (8) Vehicle,      aircraft,    self-propelled
      a. Means and includes any:                                        equipment or floating vessel including
                                                                        any "Covered Equipment" that is
        (1) Equipment built to operate under                            mounted upon or used solely with any
             internal pressure or vacuum other than                     one or more vehicle(s), aircraft, self-
             weight of contents;                                        propelled equipment or floating vessel;
        (2) Electrical or mechanical equipment that                 (9) Dragline, excavation or construction
             is used in the generation, transmission                    equipment including any "Covered
             or utilization of energy;                                  Equipment" that is mounted upon or
        (3) Communication           equipment     and                   used solely with any one or more
             "Computer Equipment"; and                                  dragline(s), excavation or construction
        (4) Equipment in Paragraphs (1), (2) and                        equipment;
             (3) that is owned by a public or private              (10) Felt, wire, screen, die, extrusion plate,
             utility and used solely to supply utility                  swing hammer, grinding disc, cutting
             services to your premises.                                 blade, nonelectrical cable, chain, belt,
         However, if Coverage A.2.e. Utility                            rope, clutch plate, brake pad, nonmetal
         Interruption is provided, then Paragraph                       part or any part or tool subject to
                                                                        periodic replacement;
         6.a.(4) does not apply.
         Except for Paragraph 6.a.(4), Utility                    (11) Machine or apparatus used solely for
         Interruption and Contingent "Business                          research,     diagnosis,   medication,
         Income" and "Extra Expense" or "Extra                          surgical,   therapeutic,  dental     or
                                                                        pathological purposes including any
         Expense" only coverages, the "Covered
         Equipment" must be located at a premises                       "Covered Equipment" that is mounted
         described in the Declarations and be                           upon or used solely with any one or
                                                                        more machine(s) or apparatus unless
         owned, leased or operated under your
         control.                                                       Diagnostic Equipment is shown as
                                                                        INCLUDED in the Declarations; or
      b. Does not mean or include any:
                                                                  (12) Equipment or any part of such
        (1) "Media";                                                    equipment manufactured by you for
        (2) Part of pressure or vacuum equipment                        sale.
             that is not under internal pressure of its       7. "Covered Property" means any property that:
             contents or internal vacuum;
                                                                 a. You own; or
        (3) Insulating or refractory material, but not
             excluding the glass lining of any                   b. Is in your care, custody or control and for
             "Covered Equipment";                                   which you are legally liable.
                                                              8. "Data" means:
         (4) Nonmetallic pressure or vacuum
             equipment, unless it is constructed and             a. Programmed and recorded material stored
             used in accordance with the American                   on "Media"; and
             Society of Mechanical Engineers                     b. Programming records used for electronic
             (A.S.M.E.) code or another appropriate                  data processing, or electronically controlled
             and approved code;                                      equipment.
         (5) Catalyst;                                        9. "Extra Expense" means the additional cost you
         (6) Vessels, piping and other equipment                 incur to operate your business during the
             that is buried belowground and requires             "Period of Restoration" over and above the
             the excavation of materials to inspect,             cost that you normally would have incurred to
             remove, repair or replace;                          operate the business during the same period
         (7) Structure,    foundation,    cabinet    or          had no "Breakdown" occurred.
             compartment supporting or containing            10. "Fungus" means any type or form of fungus,
             the "Covered Equipment" or part of the              including mold or mildew and any mycotoxins,
             "Covered        Equipment"       including          spores, scents or by-products produced or
             penstock, draft tube or well casing;                released by fungi.




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  11. "Green" means enhanced energy efficiency or          14. "Media" means electronic data processing or
      use of environmentally-preferable, sustainable           storage media such as films, tapes, discs,
      materials, products or methods in design,                drums or cells.
      construction, manufacture or operation, as           15. "One Breakdown" means if an initial
      recognized by a "Green standards-setter".                "Breakdown" causes other "Breakdowns", all
  12. "Green      standards-setter"   means       an           will be considered "One Breakdown". All
      organization or governmental agency which                "Breakdowns" at any one premises that
      produces and maintains guidelines related to             manifest themselves at the same time and are
      "Green" products and practices. "Green                   the direct result of the same cause will be
      standards-setters" include but are not limited           considered "One Breakdown".
      to:                                                  16. "Period of Restoration" means the period of
      a. The     Leadership     in   Energy   and              time that:
         Environmental Design (LEED®) program of               a. Begins at the time of the "Breakdown" or 24
         the U.S. Green Building Council;                         hours before we receive notice of
      b. ENERGY STAR, a joint program of the U.S.                 "Breakdown", whichever is later; and
         Environmental Protection Agency and the               b. Ends five consecutive days after the date
         U.S. Department of Energy; and                           when the damaged property at the
      c. Green Globes™, a program of the Green                    premises described in the Declarations is
         Building Initiative.                                     repaired or replaced with reasonable speed
  13. "Hazardous Substance" means any substance                   and similar quality.
      other than ammonia that has been declared to         17. "Stock" means merchandise held in storage or
      be hazardous to health by a government                   for sale, raw materials, property in process or
      agency.                                                  finished products including supplies used in
                                                               their packing or shipping.




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POLICY NUMBER:                                                                        COMMERCIAL PROPERTY
                                                                                              CP 04 05 10 12

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        ORDINANCE OR LAW COVERAGE
This endorsement modifies insurance provided under the following:

   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   STANDARD PROPERTY POLICY

                                                   SCHEDULE

                                                  Coverage B             Coverage C          Coverage B And C
 Building Number/                                     Limit                  Limit            Combined Limit
 Premises Number           Coverage A             Of Insurance           Of Insurance          Of Insurance
          /                                   $                      $                      $                   *
          /                                   $                      $                      $                   *
          /                                   $                      $                      $                   *
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
 *Do not enter a Blanket Limit of Insurance if individual Limits of Insurance are selected for Coverages B and C,
 or if one of these Coverages is not applicable.


A. Each Coverage – Coverage A, Coverage B and                    2.a. The building sustains direct physical
   Coverage C – is provided under this endorsement                    damage that is covered under this policy
   only if that Coverage(s) is chosen by entry in the                 and as a result of such damage, you are
   above Schedule and then only with respect to the                   required to comply with the ordinance or
   building identified for that Coverage(s) in the                    law; or
   Schedule.                                                       b. The building sustains both direct physical
B. Application Of Coverage(s)                                         damage that is covered under this policy
   The Coverage(s) provided by this endorsement                       and direct physical damage that is not
   applies only if both B.1. and B.2. are satisfied and               covered under this policy, and as a result of
   are then subject to the qualifications set forth in                the building damage in its entirety, you are
   B.3.                                                               required to comply with the ordinance or
                                                                      law.
   1. The ordinance or law:
                                                                   c. But if the building sustains direct physical
       a. Regulates the demolition, construction or                   damage that is not covered under this
          repair of buildings, or establishes zoning or               policy, and such damage is the subject of
          land use requirements at the described                      the ordinance or law, then there is no
          premises; and                                               coverage under this endorsement even if
       b. Is in force at the time of loss.                            the building has also sustained covered
                                                                      direct physical damage.
   But coverage under this endorsement applies only
   in response to the minimum requirements of the
   ordinance or law. Losses and costs incurred in
   complying with recommended actions or
   standards that exceed actual requirements are not
   covered under this endorsement.




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   3. In the situation described in B.2.b. above, we            2. Coverage B – Demolition Cost Coverage
      will not pay the full amount of loss otherwise               With respect to the building that has sustained
      payable under the terms of Coverages A, B,                   covered direct physical damage, we will pay
      and/or C of this endorsement. Instead, we will               the cost to demolish and clear the site of
      pay a proportion of such loss, meaning the                   undamaged parts of the same building as a
      proportion that the covered direct physical                  consequence of a requirement to comply with
      damage bears to the total direct physical                    an ordinance or law that requires demolition of
      damage.                                                      such undamaged property.
      (Section H. of this endorsement provides an                  The Coinsurance Additional Condition does not
      example of this procedure.)                                  apply to Demolition Cost Coverage.
      However, if the covered direct physical                   3. Coverage C – Increased Cost Of
      damage, alone, would have resulted in a                      Construction Coverage
      requirement to comply with the ordinance or
      law, then we will pay the full amount of loss                a. With respect to the building that has
      otherwise payable under the terms of                             sustained covered direct physical damage,
      Coverages A, B and/or C of this endorsement.                     we will pay the increased cost to:
C. We will not pay under Coverage A, B or C of this                   (1) Repair or reconstruct damaged portions
   endorsement for:                                                       of that building; and/or
   1. Enforcement of or compliance with any                           (2) Reconstruct or remodel undamaged
      ordinance or law which requires the demolition,                     portions of that building, whether or not
      repair, replacement, reconstruction, remodeling                     demolition is required;
      or     remediation     of    property     due     to             when the increased cost is a consequence
      contamination by "pollutants" or due to the                      of a requirement to comply with the
      presence, growth, proliferation, spread or any                   minimum standards of the ordinance or law.
      activity of "fungus", wet or dry rot or bacteria; or
                                                                       However:
   2. The costs associated with the enforcement of
                                                                      (1) This coverage applies only if the
      or compliance with any ordinance or law which
                                                                          restored or remodeled property is
      requires any insured or others to test for,                         intended for similar occupancy as the
      monitor, clean up, remove, contain, treat,                          current property, unless such occupancy
      detoxify or neutralize, or in any way respond to,
                                                                          is not permitted by zoning or land use
      or assess the effects of "pollutants", "fungus",
                                                                          ordinance or law.
      wet or dry rot or bacteria.
                                                                     (2) We will not pay for the increased cost of
D. Coverage
                                                                          construction if the building is not
   1. Coverage A – Coverage For Loss To The                               repaired, reconstructed or remodeled.
      Undamaged Portion Of The Building                               The Coinsurance Additional Condition does
      With respect to the building that has sustained                 not apply to Increased Cost of Construction
      covered direct physical damage, we will pay                     Coverage.
      under Coverage A for the loss in value of the                b. When a building is damaged or destroyed
      undamaged portion of the building as a
                                                                      and Coverage C applies to that building in
      consequence of a requirement to comply with                     accordance with 3.a. above, coverage for
      an ordinance or law that requires demolition of                 the increased cost of construction also
      undamaged parts of the same building.                           applies to repair or reconstruction of the
      Coverage A is included within the Limit Of                      following, subject to the same conditions
      Insurance shown in the Declarations as                          stated in 3.a.:
      applicable to the covered building. Coverage A                 (1) The cost of excavations, grading,
      does not increase the Limit of Insurance.
                                                                          backfilling and filling;




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        (2) Foundation of the building;                          b. The applicable Limit Of Insurance shown
        (3) Pilings; and                                              for Coverage B in the Schedule above.
        (4) Underground pipes, flues and drains.              4. Unless Paragraph E.5. applies, loss payment
                                                                 under Coverage C – Increased Cost Of
         The items listed in b.(1) through b.(4)                 Construction Coverage will be determined as
         above are deleted from Property Not                     follows:
         Covered, but only with respect to the
         coverage described in this provision, 3.b.              a. We will not pay under Coverage C:
E. Loss Payment                                                      (1) Until the property is actually repaired or
                                                                          replaced, at the same or another
   1. All following loss payment provisions, E.2.                         premises; and
      through E.5., are subject to the apportionment
      procedures set forth in Section B.3. of this                   (2) Unless the repair or replacement is
      endorsement.                                                        made as soon as reasonably possible
                                                                          after the loss or damage, not to exceed
   2. When there is a loss in value of an undamaged                       two years. We may extend this period in
      portion of a building to which Coverage A                           writing during the two years.
      applies, the loss payment for that building,
      including damaged and undamaged portions,                  b. If the building is repaired or replaced at the
      will be determined as follows:                                  same premises, or if you elect to rebuild at
                                                                      another premises, the most we will pay
      a. If the Replacement Cost Coverage Option                      under Coverage C is the lesser of:
          applies and the property is being repaired
          or replaced, on the same or another                        (1) The increased cost of construction at
          premises, we will not pay more than the                         the same premises; or
          lesser of:                                                 (2) The applicable Limit Of Insurance
         (1) The amount you would actually spend to                       shown for Coverage C in the Schedule
              repair, rebuild or reconstruct the                          above.
              building, but not for more than the                c. If the ordinance or law requires relocation to
              amount it would cost to restore the                     another premises, the most we will pay
              building on the same premises and to                    under Coverage C is the lesser of:
              the same height, floor area, style and                 (1) The increased cost of construction at
              comparable quality of the original                          the new premises; or
              property insured; or
                                                                     (2) The applicable Limit Of Insurance
          (2) The Limit Of Insurance shown in the                         shown for Coverage C in the Schedule
              Declarations as applicable to the                           above.
              covered building.
                                                              5. If a Combined Limit Of Insurance is shown for
      b. If the Replacement Cost Coverage Option                 Coverages B and C in the Schedule above,
           applies and the property is not repaired or           Paragraphs E.3. and E.4. of this endorsement
           replaced, or if the Replacement Cost                  do not apply with respect to the building that is
           Coverage Option does not apply, we will               subject to the Combined Limit, and the
           not pay more than the lesser of:                      following loss payment provisions apply
          (1) The actual cash value of the building at           instead:
              the time of loss; or                               The most we will pay, for the total of all
          (2) The Limit Of Insurance shown in the                covered losses for Demolition Cost and
              Declarations as applicable to the                  Increased Cost of Construction, is the
              covered building.                                  Combined Limit Of Insurance shown for
   3. Unless Paragraph E.5. applies, loss payment                Coverages B and C in the Schedule above.
      under Coverage B – Demolition Cost Coverage                Subject to this Combined Limit of Insurance,
      will be determined as follows:                             the following loss payment provisions apply:
      We will not pay more than the lesser of the                a. For Demolition Cost, we will not pay more
      following:                                                    than the amount you actually spend to
                                                                    demolish and clear the site of the described
      a. The amount you actually spend to demolish                  premises.
           and clear the site of the described
           premises; or




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      b. With respect to the Increased Cost of                Assume:
         Construction:                                         Wind is a Covered Cause of Loss; Flood is an
        (1) We will not pay for the increased cost of             excluded Cause of Loss
            construction:                                      The building has a value of $200,000
           (a) Until the property is actually repaired         Total direct physical damage to building:
               or replaced, at the same or another                $100,000
               premises; and                                   The ordinance or law in this jurisdiction is
           (b) Unless the repair or replacement is                enforced when building damage equals or
               made as soon as reasonably                         exceeds 50% of the building's value
               possible after the loss or damage,              Portion of direct physical damage that is
               not to exceed two years. We may                    covered (caused by wind): $30,000
               extend this period in writing during
               the two years.                                  Portion of direct physical damage that is not
                                                                  covered (caused by flood): $70,000
         (2) If the building is repaired or replaced at        Loss under Ordinance Or Law Coverage C of
             the same premises, or if you elect to                this endorsement: $60,000
             rebuild at another premises, the most
             we will pay for the increased cost of            Step 1: Determine the proportion that the covered
             construction is the increased cost of                      direct physical damage bears to the total
             construction at the same premises.                         direct physical damage.
         (3) If the ordinance or law requires                           $30,000  $100,000 = .30
             relocation to another premises, the most         Step 2: Apply that proportion to the Ordinance or
             we will pay for the increased cost of                      Law loss.
             construction is the increased cost of                      $60,000 x .30 = $18,000
             construction at the new premises.
                                                              In this example, the most we will pay under this
F. The terms of this endorsement apply separately to          endorsement for the Coverage C loss is $18,000,
   each building to which this endorsement applies.           subject to the applicable Limit of Insurance and
G. Under this endorsement we will not pay for loss            any other applicable provisions.
   due to any ordinance or law that:                          Note: The same procedure applies to losses
   1. You were required to comply with before the             under Coverages A and B of this endorsement.
      loss, even if the building was undamaged; and        I. The following definition is added:
   2. You failed to comply with.                              "Fungus" means any type or form of fungus,
H. Example of proportionate loss payment for                  including mold or mildew, and any mycotoxins,
   Ordinance Or Law Coverage Losses (procedure                spores, scents or by-products produced or
   as set forth in Section B.3. of this endorsement).         released by fungi.




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                                              API Commercial General Liability Policy Forms




             COMMERCIAL GENERAL LIABILITY FORMS
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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 00 01 04 13

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.            (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,                occurs during the policy period; and
duties and what is and is not covered.                          (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your"                    under Paragraph 1. of Section II – W ho Is
refer to the Named Insured shown in the Declarations,                An Insured and no "employee" authorized
and any other person or organization qualifying as a                 by you to give or receive notice of an
Named Insured under this policy. The words "we",                     "occurrence" or claim, knew that the "bodily
"us" and "our" refer to the company providing this                   injury" or "property damage" had occurred,
insurance.                                                           in whole or in part. If such a listed insured
                                                                     or authorized "employee" knew, prior to the
The word "insured" means any person or organization
                                                                     policy period, that the "bodily injury" or
qualifying as such under Section II – Who Is An
                                                                     "property damage" occurred, then any
Insured.
                                                                     continuation, change or resumption of such
Other words and phrases that appear in quotation                     "bodily injury" or "property damage" during
marks have special meaning. Refer to Section V –                     or after the policy period will be deemed to
Definitions.                                                         have been known prior to the policy period.
SECTION I – COVERAGES                                         c. "Bodily injury" or "property damage" which
COVERAGE A – BODILY INJURY AND PROPERTY                          occurs during the policy period and was not,
DAMAGE LIABILITY                                                 prior to the policy period, known to have
1. Insuring Agreement                                            occurred by any insured listed under
                                                                 Paragraph 1. of Section II – Who Is An Insured
   a. We will pay those sums that the insured                    or any "employee" authorized by you to give or
       becomes legally obligated to pay as damages               receive notice of an "occurrence" or claim,
       because of "bodily injury" or "property damage"           includes     any continuation, change          or
       to which this insurance applies. W e will have            resumption of that "bodily injury" or "property
       the right and duty to defend the insured against          damage" after the end of the policy period.
       any "suit" seeking those damages. However,
       we will have no duty to defend the insured             d. "Bodily injury" or "property damage" will be
       against any "suit" seeking damages for "bodily            deemed to have been known to have occurred
       injury" or "property damage" to which this                at the earliest time when any insured listed
                                                                 under Paragraph 1. of Section II – Who Is An
       insurance does not apply. W e may, at our
       discretion, investigate any "occurrence" and              Insured or any "employee" authorized by you to
       settle any claim or "suit" that may result. But:          give or receive notice of an "occurrence" or
                                                                 claim:
      (1) The amount we will pay for damages is
           limited as described in Section III – Limits         (1) Reports all, or any part, of the "bodily injury"
           Of Insurance; and                                         or "property damage" to us or any other
                                                                     insurer;
      (2) Our right and duty to defend ends when we
                                                                (2) Receives a written or verbal demand or
           have used up the applicable limit of
           insurance in the payment of judgments or                  claim for damages because of the "bodily
           settlements under Coverages A or B or                     injury" or "property damage"; or
           medical expenses under Coverage C.                   (3) Becomes aware by any other means that
      No other obligation or liability to pay sums or                "bodily injury" or "property damage" has
      perform acts or services is covered unless                     occurred or has begun to occur.
      explicitly provided for under Supplementary             e. Damages because of "bodily injury" include
      Payments – Coverages A and B.                              damages claimed by any person or
   b. This insurance applies to "bodily injury" and              organization for care, loss of services or death
      "property damage" only if:                                 resulting at any time from the "bodily injury".
     (1) The "bodily injury" or "property damage" is
         caused by an "occurrence" that takes place
         in the "coverage territory";




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 2. Exclusions                                                      This exclusion applies even if the claims
                                                                    against any insured allege negligence or other
    This insurance does not apply to:                               wrongdoing in:
    a. Expected Or Intended Injury                                     (a) The supervision, hiring, employment,
       "Bodily injury" or "property damage" expected                        training or monitoring of others by that
       or intended from the standpoint of the insured.                      insured; or
       This exclusion does not apply to "bodily injury"                (b) Providing      or     failing  to   provide
       resulting from the use of reasonable force to                        transportation with respect to any
       protect persons or property.                                         person that may be under the influence
    b. Contractual Liability                                                of alcohol;
       "Bodily injury" or "property damage" for which               if the "occurrence" which caused the "bodily
       the insured is obligated to pay damages by                   injury" or "property damage", involved that
       reason of the assumption of liability in a                   which is described in Paragraph (1), (2) or (3)
       contract or agreement. This exclusion does not               above.
       apply to liability for damages:                              However, this exclusion applies only if you are
      (1) That the insured would have in the absence                in the business of manufacturing, distributing,
           of the contract or agreement; or                         selling, serving or furnishing alcoholic
      (2) Assumed in a contract or agreement that is                beverages. For the purposes of this exclusion,
           an "insured contract", provided the "bodily              permitting a person to bring alcoholic
           injury" or "property damage" occurs                      beverages on your premises, for consumption
           subsequent to the execution of the contract              on your premises, whether or not a fee is
           or agreement. Solely for the purposes of                 charged or a license is required for such
           liability assumed in an "insured contract",              activity, is not by itself considered the business
           reasonable attorneys' fees and necessary                 of selling, serving or furnishing alcoholic
           litigation expenses incurred by or for a party           beverages.
           other than an insured are deemed to be                d. Workers' Compensation And Similar Laws
           damages because of "bodily injury" or
                                                                    Any obligation of the insured under a workers'
           "property damage", provided:
                                                                    compensation,       disability  benefits   or
          (a) Liability to such party for, or for the cost          unemployment compensation law or any
                of, that party's defense has also been              similar law.
                assumed in the same "insured contract";
                                                                 e. Employer's Liability
                and
          (b) Such attorneys' fees and litigation                    "Bodily injury" to:
                expenses are for defense of that party              (1) An "employee" of the insured arising out of
                against a civil or alternative dispute                  and in the course of:
                resolution proceeding in which damages                 (a) Employment by the insured; or
                to which this insurance applies are                    (b) Performing duties related to the conduct
                alleged.                                                    of the insured's business; or
    c. Liquor Liability                                             (2) The spouse, child, parent, brother or sister
       "Bodily injury" or "property damage" for which                   of that "employee" as a consequence of
       any insured may be held liable by reason of:                     Paragraph (1) above.
      (1) Causing or contributing to the intoxication of            This exclusion applies whether the insured
           any person;                                              may be liable as an employer or in any other
      (2) The furnishing of alcoholic beverages to a                capacity and to any obligation to share
           person under the legal drinking age or                   damages with or repay someone else who
           under the influence of alcohol; or                       must pay damages because of the injury.
      (3) Any statute, ordinance or regulation relating             This exclusion does not apply to liability
           to the sale, gift, distribution or use of                assumed by the insured under an "insured
           alcoholic beverages.                                     contract".




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    f. Pollution                                                     (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                   on which any insured or any contractors
          out of the actual, alleged or threatened                       or subcontractors working directly or
          discharge, dispersal, seepage, migration,                      indirectly on any insured's behalf are
          release or escape of "pollutants":                             performing operations if the "pollutants"
                                                                         are brought on or to the premises, site
         (a) At or from any premises, site or location                   or location in connection with such
              which is or was at any time owned or                       operations by such insured, contractor
              occupied by, or rented or loaned to, any                   or    subcontractor.   However,      this
              insured. However, this subparagraph                        subparagraph does not apply to:
              does not apply to:
                                                                         (i) "Bodily injury" or "property damage"
              (i) "Bodily injury" if sustained within a                      arising out of the escape of fuels,
                  building and caused by smoke,                              lubricants or other operating fluids
                  fumes, vapor or soot produced by or                        which are needed to perform the
                  originating from equipment that is                         normal electrical,      hydraulic    or
                  used to heat, cool or dehumidify the                       mechanical functions necessary for
                  building, or equipment that is used to                     the operation of "mobile equipment"
                  heat water for personal use, by the                        or its parts, if such fuels, lubricants
                  building's occupants or their guests;                      or other operating fluids escape from
             (ii) "Bodily injury" or "property damage"                       a vehicle part designed to hold, store
                  for which you may be held liable, if                       or receive them. This exception does
                  you are a contractor and the owner                         not apply if the "bodily injury" or
                  or lessee of such premises, site or                        "property damage" arises out of the
                  location has been added to your                            intentional discharge, dispersal or
                  policy as an additional insured with                       release of the fuels, lubricants or
                  respect to your ongoing operations                         other operating fluids, or if such
                  performed for that additional insured                      fuels, lubricants or other operating
                  at that premises, site or location and                     fluids are brought on or to the
                  such premises, site or location is not                     premises, site or location with the
                  and never was owned or occupied                            intent that they be discharged,
                  by, or rented or loaned to, any                            dispersed or released as part of the
                  insured, other than that additional                        operations being performed by such
                  insured; or                                                insured, contractor or subcontractor;
            (iii) "Bodily injury" or "property damage"                  (ii) "Bodily injury" or "property damage"
                  arising out of heat, smoke or fumes                        sustained within a building and
                  from a "hostile fire";                                     caused by the release of gases,
         (b) At or from any premises, site or location                       fumes or vapors from materials
              which is or was at any time used by or                         brought into that building in
              for any insured or others for the                              connection with operations being
              handling, storage, disposal, processing                        performed by you or on your behalf
              or treatment of waste;                                         by a contractor or subcontractor; or
         (c) Which are or were at any time                              (iii) "Bodily injury" or "property damage"
              transported, handled, stored, treated,                          arising out of heat, smoke or fumes
              disposed of, or processed as waste by                           from a "hostile fire".
              or for:                                                (e) At or from any premises, site or location
              (i) Any insured; or                                         on which any insured or any contractors
                                                                          or subcontractors working directly or
             (ii) Any person or organization for whom
                  you may be legally responsible; or                      indirectly on any insured's behalf are
                                                                          performing operations if the operations
                                                                          are to test for, monitor, clean up,
                                                                          remove, contain, treat, detoxify or
                                                                          neutralize, or in any way respond to, or
                                                                          assess the effects of, "pollutants".




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      (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
          any:                                                          out of:
         (a) Request, demand, order or statutory or                    (a) The operation of            machinery or
             regulatory requirement that any insured                        equipment that is attached to, or part of,
             or others test for, monitor, clean up,                         a land vehicle that would qualify under
             remove, contain, treat, detoxify or                            the definition of "mobile equipment" if it
             neutralize, or in any way respond to, or                       were not subject to a compulsory or
             assess the effects of, "pollutants"; or                        financial responsibility law or other
         (b) Claim or suit by or on behalf of a                             motor vehicle insurance law where it is
             governmental authority for damages                             licensed or principally garaged; or
             because of testing for, monitoring,                      (b) The operation of any of the machinery
             cleaning up, removing, containing,                             or equipment listed in Paragraph f.(2) or
             treating, detoxifying or neutralizing, or in                   f.(3) of the definition of "mobile
             any way responding to, or assessing the                        equipment".
             effects of, "pollutants".                         h. Mobile Equipment
          However, this paragraph does not apply to                "Bodily injury" or "property damage" arising out
          liability for damages because of "property               of:
          damage" that the insured would have in the
                                                                  (1) The transportation of "mobile equipment" by
          absence of such request, demand, order or                     an "auto" owned or operated by or rented or
          statutory or regulatory requirement, or such                  loaned to any insured; or
          claim or "suit" by or on behalf of a
          governmental authority.                                 (2) The use of "mobile equipment" in, or while
                                                                        in practice for, or while being prepared for,
    g. Aircraft, Auto Or Watercraft                                     any prearranged racing, speed, demolition,
       "Bodily injury" or "property damage" arising out                 or stunting activity.
       of the ownership, maintenance, use or                    i. War
       entrustment to others of any aircraft, "auto" or
       watercraft owned or operated by or rented or                "Bodily injury" or "property damage", however
                                                                   caused, arising, directly or indirectly, out of:
       loaned to any insured. Use includes operation
       and "loading or unloading".                                (1) War, including undeclared or civil war;
       This exclusion applies even if the claims                  (2) Warlike action by a military force, including
       against any insured allege negligence or other                 action in hindering or defending against an
       wrongdoing in the supervision, hiring,                         actual or expected attack, by any
       employment, training or monitoring of others by                government, sovereign or other authority
       that insured, if the "occurrence" which caused                 using military personnel or other agents; or
       the "bodily injury" or "property damage"                   (3) Insurrection, rebellion, revolution, usurped
       involved the ownership, maintenance, use or                    power, or action taken by governmental
       entrustment to others of any aircraft, "auto" or               authority in hindering or defending against
       watercraft that is owned or operated by or                     any of these.
       rented or loaned to any insured.
                                                                j. Damage To Property
       This exclusion does not apply to:
                                                                   "Property damage" to:
      (1) A watercraft while ashore on premises you
           own or rent;                                           (1) Property you own, rent, or occupy, including
                                                                      any costs or expenses incurred by you, or
      (2) A watercraft you do not own that is:                        any other person, organization or entity, for
          (a) Less than 26 feet long; and                             repair,     replacement,      enhancement,
         (b) Not being used to carry persons or                       restoration or maintenance of such property
               property for a charge;                                 for any reason, including prevention of
                                                                      injury to a person or damage to another's
      (3) Parking an "auto" on, or on the ways next
                                                                      property;
           to, premises you own or rent, provided the
           "auto" is not owned by or rented or loaned             (2) Premises you sell, give away or abandon, if
           to you or the insured;                                     the "property damage" arises out of any
                                                                      part of those premises;
      (4) Liability assumed under any "insured
           contract" for the ownership, maintenance or            (3) Property loaned to you;
           use of aircraft or watercraft; or




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      (4) Personal property in the care, custody or                This exclusion does not apply to the loss of use
          control of the insured;                                  of other property arising out of sudden and
      (5) That particular part of real property on                 accidental physical injury to "your product" or
          which you or any contractors or                          "your work" after it has been put to its intended
          subcontractors working directly or indirectly            use.
          on your behalf are performing operations, if          n. Recall Of Products, Work Or Impaired
          the "property damage" arises out of those                Property
          operations; or
                                                                   Damages claimed for any loss, cost or
      (6) That particular part of any property that                expense incurred by you or others for the loss
          must be restored, repaired or replaced                   of use, withdrawal, recall, inspection, repair,
          because "your work" was incorrectly                      replacement, adjustment, removal or disposal
          performed on it.                                         of:
       Paragraphs (1), (3) and (4) of this exclusion do            (1) "Your product";
       not apply to "property damage" (other than                  (2) "Your work"; or
       damage by fire) to premises, including the
       contents of such premises, rented to you for a              (3) "Impaired property";
       period of seven or fewer consecutive days. A                if such product, work, or property is withdrawn
       separate limit of insurance applies to Damage               or recalled from the market or from use by any
       To Premises Rented To You as described in                   person or organization because of a known or
       Section III – Limits Of Insurance.                          suspected defect, deficiency, inadequacy or
        Paragraph (2) of this exclusion does not apply             dangerous condition in it.
        if the premises are "your work" and were never          o. Personal And Advertising Injury
        occupied, rented or held for rental by you.
                                                                   "Bodily injury" arising out of "personal and
        Paragraphs (3), (4), (5) and (6) of this                   advertising injury".
        exclusion do not apply to liability assumed
        under a sidetrack agreement.                            p. Electronic Data
        Paragraph (6) of this exclusion does not apply             Damages arising out of the loss of, loss of use
        to "property damage" included in the "products-            of, damage to, corruption of, inability to access,
        completed operations hazard".                              or inability to manipulate electronic data.
    k. Damage To Your Product                                      However, this exclusion does not apply to
                                                                   liability for damages because of "bodily injury".
        "Property damage" to "your product" arising out
        of it or any part of it.                                   As used in this exclusion, electronic data
                                                                   means information, facts or programs stored as
     l. Damage To Your Work                                        or on, created or used on, or transmitted to or
      "Property damage" to "your work" arising out of              from computer software, including systems and
      it or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
      completed operations hazard".                                ROMs, tapes, drives, cells, data processing
      This exclusion does not apply if the damaged                 devices or any other media which are used
      work or the work out of which the damage                     with electronically controlled equipment.
      arises was performed on your behalf by a                  q. Recording And Distribution Of Material Or
      subcontractor.                                               Information In Violation Of Law
   m. Damage To Impaired Property Or Property                      "Bodily injury" or "property damage" arising
      Not Physically Injured                                       directly or indirectly out of any action or
      "Property damage" to "impaired property" or                  omission that violates or is alleged to violate:
      property that has not been physically injured,              (1) The Telephone Consumer Protection Act
      arising out of:                                                  (TCPA), including any amendment of or
     (1) A defect, deficiency, inadequacy or                           addition to such law;
          dangerous condition in "your product" or                (2) The CAN-SPAM Act of 2003, including any
          "your work"; or                                              amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting               (3) The Fair Credit Reporting Act (FCRA), and
          on your behalf to perform a contract or                      any amendment of or addition to such law,
          agreement in accordance with its terms.                      including the Fair and Accurate Credit
                                                                       Transactions        Act      (FACTA);        or




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       (4) Any federal, state or local statute,              2. Exclusions
           ordinance or regulation, other than the              This insurance does not apply to:
           TCPA, CAN-SPAM Act of 2003 or FCRA
           and their amendments and additions, that             a. Knowing Violation Of Rights Of Another
           addresses, prohibits, or limits the printing,           "Personal and advertising injury" caused by or
           dissemination,      disposal,      collecting,          at the direction of the insured with the
           recording,      sending,        transmitting,           knowledge that the act would violate the rights
           communicating or distribution of material or            of another and would inflict "personal and
           information.                                            advertising injury".
    Exclusions c. through n. do not apply to damage             b. Material Published With Knowledge Of
    by fire to premises while rented to you or                     Falsity
    temporarily occupied by you with permission of the             "Personal and advertising injury" arising out of
    owner. A separate limit of insurance applies to this           oral or written publication, in any manner, of
    coverage as described in Section III – Limits Of               material, if done by or at the direction of the
    Insurance.                                                     insured with knowledge of its falsity.
 COVERAGE B – PERSONAL AND ADVERTISING                          c. Material Published Prior To Policy Period
 INJURY LIABILITY
                                                                   "Personal and advertising injury" arising out of
 1. Insuring Agreement                                             oral or written publication, in any manner, of
    a. We will pay those sums that the insured                     material whose first publication took place
        becomes legally obligated to pay as damages                before the beginning of the policy period.
        because of "personal and advertising injury" to         d. Criminal Acts
        which this insurance applies. We will have the
        right and duty to defend the insured against               "Personal and advertising injury" arising out of
        any "suit" seeking those damages. However,                 a criminal act committed by or at the direction
        we will have no duty to defend the insured                 of the insured.
        against any "suit" seeking damages for                  e. Contractual Liability
        "personal and advertising injury" to which this             "Personal and advertising injury" for which the
        insurance does not apply. W e may, at our                   insured has assumed liability in a contract or
        discretion, investigate any offense and settle              agreement. This exclusion does not apply to
        any claim or "suit" that may result. But:                   liability for damages that the insured would
       (1) The amount we will pay for damages is                    have in the absence of the contract or
            limited as described in Section III – Limits            agreement.
            Of Insurance; and                                    f. Breach Of Contract
      (2) Our right and duty to defend end when we
                                                                   "Personal and advertising injury" arising out of
          have used up the applicable limit of
                                                                   a breach of contract, except an implied
          insurance in the payment of judgments or                 contract to use another's advertising idea in
          settlements under Coverages A or B or
                                                                   your "advertisement".
          medical expenses under Coverage C.
                                                                g. Quality Or Performance Of Goods – Failure
       No other obligation or liability to pay sums or             To Conform To Statements
       perform acts or services is covered unless
       explicitly provided for under Supplementary                 "Personal and advertising injury" arising out of
       Payments – Coverages A and B.                               the failure of goods, products or services to
                                                                   conform with any statement of quality or
    b. This insurance applies to "personal and                     performance made in your "advertisement".
       advertising injury" caused by an offense arising
       out of your business but only if the offense was         h. Wrong Description Of Prices
       committed in the "coverage territory" during the            "Personal and advertising injury" arising out of
       policy period.                                              the wrong description of the price of goods,
                                                                   products or services stated in             your
                                                                   "advertisement".




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    i. Infringement Of Copyright, Patent,                      n. Pollution-related
       Trademark Or Trade Secret
                                                                   Any loss, cost or expense arising out of any:
       "Personal and advertising injury" arising out of
                                                                  (1) Request, demand, order or statutory or
       the    infringement of       copyright, patent,
                                                                      regulatory requirement that any insured or
       trademark, trade secret or other intellectual
                                                                      others test for, monitor, clean up, remove,
       property rights. Under this exclusion, such
                                                                      contain, treat, detoxify or neutralize, or in
       other intellectual property rights do not include
                                                                      any way respond to, or assess the effects
       the use of another's advertising idea in your
                                                                      of, "pollutants"; or
       "advertisement".
                                                                  (2) Claim or suit by or on behalf of a
       However, this exclusion does not apply to
                                                                      governmental authority for         damages
       infringement, in your "advertisement", of
                                                                      because of testing for, monitoring, cleaning
       copyright, trade dress or slogan.
                                                                      up,     removing,    containing,    treating,
    j. Insureds In Media And Internet Type                            detoxifying or neutralizing, or in any way
       Businesses                                                     responding to, or assessing the effects of,
       "Personal and advertising injury" committed by                 "pollutants".
       an insured whose business is:                           o. War
      (1) Advertising, broadcasting, publishing or                "Personal and advertising injury", however
           telecasting;                                           caused, arising, directly or indirectly, out of:
      (2) Designing or determining content of web                (1) War, including undeclared or civil war;
           sites for others; or
      (3) An Internet search, access, content or                 (2) Warlike action by a military force, including
           service provider.                                          action in hindering or defending against an
                                                                      actual or expected attack, by any
       However, this exclusion does not apply to                      government, sovereign or other authority
       Paragraphs 14.a., b. and c. of "personal and                   using military personnel or other agents; or
       advertising injury" under the Definitions
       section.                                                  (3) Insurrection, rebellion, revolution, usurped
                                                                      power, or action taken by governmental
       For the purposes of this exclusion, the placing                authority in hindering or defending against
       of frames, borders or links, or advertising, for               any of these.
       you or others anywhere on the Internet, is not
       by itself, considered the business of                   p. Recording And Distribution Of Material Or
       advertising,  broadcasting,     publishing    or           Information In Violation Of Law
       telecasting.                                               "Personal and advertising injury" arising
    k. Electronic Chatrooms Or Bulletin Boards                    directly or indirectly out of any action or
                                                                  omission that violates or is alleged to violate:
       "Personal and advertising injury" arising out of
       an electronic chatroom or bulletin board the              (1) The Telephone Consumer Protection Act
       insured hosts, owns, or over which the insured                 (TCPA), including any amendment of or
       exercises control.                                             addition to such law;
    l. Unauthorized Use Of Another's Name Or                     (2) The CAN-SPAM Act of 2003, including any
       Product                                                        amendment of or addition to such law;
       "Personal and advertising injury" arising out of          (3) The Fair Credit Reporting Act (FCRA), and
       the unauthorized use of another's name or                      any amendment of or addition to such law,
       product in your e-mail address, domain name                    including the Fair and Accurate Credit
       or metatag, or any other similar tactics to                    Transactions Act (FACTA); or
       mislead another's potential customers.                    (4) Any federal, state or local statute,
   m. Pollution                                                       ordinance or regulation, other than the
                                                                      TCPA, CAN-SPAM Act of 2003 or FCRA
       "Personal and advertising injury" arising out of               and their amendments and additions, that
       the actual, alleged or threatened discharge,                   addresses, prohibits, or limits the printing,
       dispersal, seepage, migration, release or                      dissemination,       disposal,        collecting,
       escape of "pollutants" at any time.                            recording,        sending,         transmitting,
                                                                      communicating or distribution of material or
                                                                      information.




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 COVERAGE C – MEDICAL PAYMENTS                                  d. Workers' Compensation And Similar Laws
 1. Insuring Agreement                                             To a person, whether or not an "employee" of
    a. We will pay medical expenses as described                   any insured, if benefits for the "bodily injury"
        below for "bodily injury" caused by an accident:           are payable or must be provided under a
                                                                   workers' compensation or disability benefits
       (1) On premises you own or rent;                            law or a similar law.
       (2) On ways next to premises you own or rent;            e. Athletics Activities
           or
                                                                   To a person injured while practicing, instructing
       (3) Because of your operations;
                                                                   or participating in any physical exercises or
       provided that:                                              games, sports, or athletic contests.
          (a) The accident takes place in the                   f. Products-Completed Operations Hazard
              "coverage territory" and during the policy
                                                                   Included within the "products-completed
              period;                                              operations hazard".
         (b) The expenses are incurred and reported             g. Coverage A Exclusions
              to us within one year of the date of the
              accident; and                                        Excluded under Coverage A.
          (c) The    injured   person    submits    to       SUPPLEMENTARY PAYMENTS – COVERAGES A
              examination, at our expense, by                AND B
              physicians of our choice as often as we        1. We will pay, with respect to any claim we
              reasonably require.                               investigate or settle, or any "suit" against an
    b. We will make these payments regardless of                insured we defend:
       fault. These payments will not exceed the                a. All expenses we incur.
       applicable limit of insurance. W e will pay              b. Up to $250 for cost of bail bonds required
       reasonable expenses for:                                    because of accidents or traffic law violations
      (1) First aid administered at the time of an                 arising out of the use of any vehicle to which
          accident;                                                the Bodily Injury Liability Coverage applies. We
      (2) Necessary medical, surgical, X-ray and                   do not have to furnish these bonds.
          dental    services,   including    prosthetic         c. The cost of bonds to release attachments, but
          devices; and                                             only for bond amounts within the applicable
      (3) Necessary        ambulance,         hospital,            limit of insurance. We do not have to furnish
          professional nursing and funeral services.               these bonds.
 2. Exclusions                                                  d. All reasonable expenses incurred by the
    We will not pay expenses for "bodily injury":                  insured at our request to assist us in the
                                                                   investigation or defense of the claim or "suit",
    a. Any Insured                                                 including actual loss of earnings up to $250 a
       To any insured, except "volunteer workers".                 day because of time off from work.
    b. Hired Person                                             e. All court costs taxed against the insured in the
       To a person hired to do work for or on behalf of            "suit". However, these payments do not include
       any insured or a tenant of any insured.                     attorneys' fees or attorneys' expenses taxed
                                                                   against the insured.
    c. Injury On Normally Occupied Premises
                                                                f. Prejudgment interest awarded against the
       To a person injured on that part of premises                insured on that part of the judgment we pay. If
       you own or rent that the person normally                    we make an offer to pay the applicable limit of
       occupies.                                                   insurance, we will not pay any prejudgment
                                                                   interest based on that period of time after the
                                                                   offer.




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    g. All interest on the full amount of any judgment           So long as the above conditions are met,
        that accrues after entry of the judgment and             attorneys' fees incurred by us in the defense of
        before we have paid, offered to pay, or                  that indemnitee, necessary litigation expenses
        deposited in court the part of the judgment that         incurred by us and necessary litigation expenses
        is within the applicable limit of insurance.             incurred by the indemnitee at our request will be
    These payments will not reduce the limits of                 paid         as      Supplementary     Payments.
    insurance.                                                   Notwithstanding the provisions of Paragraph
                                                                 2.b.(2) of Section I – Coverage A – Bodily Injury
 2. If we defend an insured against a "suit" and an              And Property Damage Liability, such payments will
    indemnitee of the insured is also named as a party           not be deemed to be damages for "bodily injury"
    to the "suit", we will defend that indemnitee if all of      and "property damage" and will not reduce the
    the following conditions are met:                            limits of insurance.
    a. The "suit" against the indemnitee seeks
                                                                 Our obligation to defend an insured's indemnitee
        damages for which the insured has assumed                and to pay for attorneys' fees and necessary
        the liability of the indemnitee in a contract or         litigation expenses as Supplementary Payments
        agreement that is an "insured contract";                 ends when we have used up the applicable limit of
    b. This insurance applies to such liability                  insurance in the payment of judgments or
        assumed by the insured;                                  settlements or the conditions set forth above, or
    c. The obligation to defend, or the cost of the              the terms of the agreement described in
        defense of, that indemnitee, has also been               Paragraph f. above, are no longer met.
        assumed by the insured in the same "insured           SECTION II – WHO IS AN INSURED
        contract";
                                                              1. If you are designated in the Declarations as:
    d. The allegations in the "suit" and the information
       we know about the "occurrence" are such that              a. An individual, you and your spouse are
                                                                     insureds, but only with respect to the conduct
       no conflict appears to exist between the                      of a business of which you are the sole owner.
       interests of the insured and the interests of the
       indemnitee;                                               b. A partnership or joint venture, you are an
                                                                     insured. Your members, your partners, and
    e. The indemnitee and the insured ask us to                      their spouses are also insureds, but only with
       conduct and control the defense of that                       respect to the conduct of your business.
       indemnitee against such "suit" and agree that
       we can assign the same counsel to defend the              c. A limited liability company, you are an insured.
       insured and the indemnitee; and                               Your members are also insureds, but only with
                                                                     respect to the conduct of your business. Your
    f. The indemnitee:                                               managers are insureds, but only with respect
       (1) Agrees in writing to:                                     to their duties as your managers.
          (a) Cooperate with us in the investigation,            d. An organization other than a partnership, joint
              settlement or defense of the "suit";                  venture or limited liability company, you are an
          (b) Immediately send us copies of any                     insured. Your "executive officers" and directors
              demands, notices, summonses or legal                  are insureds, but only with respect to their
              papers received in connection with the                duties as your officers or directors. Your
              "suit";                                               stockholders are also insureds, but only with
                                                                    respect to their liability as stockholders.
          (c) Notify any other insurer whose coverage
              is available to the indemnitee; and                e. A trust, you are an insured. Your trustees are
                                                                    also insureds, but only with respect to their
          (d) Cooperate with us with respect to                     duties                   as                trustees.
              coordinating other applicable insurance
              available to the indemnitee; and
       (2) Provides us with written authorization to:
          (a) Obtain records and other information
              related to the "suit"; and
          (b) Conduct and control the defense of the
              indemnitee in such "suit".




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 2. Each of the following is also an insured:                   c. Any person or organization having proper
                                                                    temporary custody of your property if you die,
    a. Your "volunteer workers" only while performing               but only:
       duties related to the conduct of your business,
       or your "employees", other than either your                 (1) With respect to liability arising out of the
       "executive officers" (if you are an organization                 maintenance or use of that property; and
       other than a partnership, joint venture or limited          (2) Until your legal representative has been
       liability company) or your managers (if you are                  appointed.
       a limited liability company), but only for acts          d. Your legal representative if you die, but only
       within the scope of their employment by you or               with respect to duties as such. That
       while performing duties related to the conduct               representative will have all your rights and
       of your business. However, none of these                     duties under this Coverage Part.
       "employees" or "volunteer workers" are
                                                             3. Any organization you newly acquire or form, other
       insureds for:
                                                                than a partnership, joint venture or limited liability
      (1) "Bodily injury" or "personal and advertising          company, and over which you maintain ownership
           injury":                                             or majority interest, will qualify as a Named
          (a) To you, to your partners or members (if           Insured if there is no other similar insurance
                you are a partnership or joint venture),        available to that organization. However:
                to your members (if you are a limited           a. Coverage under this provision is afforded only
                liability company), to a co-"employee"              until the 90th day after you acquire or form the
                while in the course of his or her                   organization or the end of the policy period,
                employment or performing duties related             whichever is earlier;
                to the conduct of your business, or to
                your other "volunteer workers" while            b. Coverage A does not apply to "bodily injury" or
                                                                    "property damage" that occurred before you
                performing duties related to the conduct            acquired or formed the organization; and
                of your business;
                                                                c. Coverage B does not apply to "personal and
          (b) To the spouse, child, parent, brother or              advertising injury" arising out of an offense
              sister of    that   co-"employee" or                  committed before you acquired or formed the
              "volunteer worker" as a consequence of                organization.
              Paragraph (1)(a) above;
                                                             No person or organization is an insured with respect
          (c) For which there is any obligation to           to the conduct of any current or past partnership, joint
              share damages with or repay someone            venture or limited liability company that is not shown
              else who must pay damages because of           as a Named Insured in the Declarations.
              the injury described in Paragraph (1)(a)
              or (b) above; or                               SECTION III – LIMITS OF INSURANCE
          (d) Arising out of his or her providing or         1. The Limits of Insurance shown in the Declarations
              failing to provide professional health            and the rules below fix the most we will pay
              care services.                                    regardless of the number of:
      (2) "Property damage" to property:                        a. Insureds;
          (a) Owned, occupied or used by;                       b. Claims made or "suits" brought; or
          (b) Rented to, in the care, custody or                c. Persons or organizations making claims or
              control of, or over which physical control           bringing "suits".
              is being exercised for any purpose by;         2. The General Aggregate Limit is the most we will
           you, any of your "employees", "volunteer             pay for the sum of:
           workers", any partner or member (if you are          a. Medical expenses under Coverage C;
           a partnership or joint venture), or any              b. Damages under Coverage A, except damages
           member (if you are a limited liability                  because of "bodily injury" or "property damage"
           company).                                               included in the "products-completed operations
    b. Any person (other than your "employee" or                   hazard"; and
       "volunteer worker"), or any organization while
       acting as your real estate manager.                      c. Damages under Coverage B.




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 3. The Products-Completed Operations Aggregate                  (3) The nature and location of any injury or
    Limit is the most we will pay under Coverage A for                damage arising out of the "occurrence" or
    damages because of "bodily injury" and "property                  offense.
    damage" included in the "products-completed                b. If a claim is made or "suit" is brought against
    operations hazard".                                           any insured, you must:
 4. Subject to Paragraph 2. above, the Personal And              (1) Immediately record the specifics of the
    Advertising Injury Limit is the most we will pay                  claim or "suit" and the date received; and
    under Coverage B for the sum of all damages                  (2) Notify us as soon as practicable.
    because of all "personal and advertising injury"
                                                                  You must see to it that we receive written
    sustained by any one person or organization.
                                                                  notice of the claim or "suit" as soon as
 5. Subject to Paragraph 2. or 3. above, whichever                practicable.
    applies, the Each Occurrence Limit is the most we
                                                               c. You and any other involved insured must:
    will pay for the sum of:
                                                                 (1) Immediately send us copies of any
    a. Damages under Coverage A; and
                                                                       demands, notices, summonses or legal
    b. Medical expenses under Coverage C                               papers received in connection with the
    because of all "bodily injury" and "property                       claim or "suit";
    damage" arising out of any one "occurrence".                 (2) Authorize us to obtain records and other
 6. Subject to Paragraph 5. above, the Damage To                       information;
    Premises Rented To You Limit is the most we will             (3) Cooperate with us in the investigation or
    pay under Coverage A for damages because of                        settlement of the claim or defense against
    "property damage" to any one premises, while                       the "suit"; and
    rented to you, or in the case of damage by fire,
                                                                 (4) Assist us, upon our request, in the
    while rented to you or temporarily occupied by you
                                                                       enforcement of any right against any
    with permission of the owner.
                                                                       person or organization which may be liable
 7. Subject to Paragraph 5. above, the Medical                         to the insured because of injury or damage
    Expense Limit is the most we will pay under                        to which this insurance may also apply.
    Coverage C for all medical expenses because of
                                                               d. No insured will, except at that insured's own
    "bodily injury" sustained by any one person.
                                                                  cost, voluntarily make a payment, assume any
 The Limits of Insurance of this Coverage Part apply              obligation, or incur any expense, other than for
 separately to each consecutive annual period and to              first aid, without our consent.
 any remaining period of less than 12 months, starting
                                                            3. Legal Action Against Us
 with the beginning of the policy period shown in the
 Declarations, unless the policy period is extended            No person or organization has a right under this
 after issuance for an additional period of less than 12       Coverage Part:
 months. In that case, the additional period will be           a. To join us as a party or otherwise bring us into
 deemed part of the last preceding period for purposes             a "suit" asking for damages from an insured; or
 of determining the Limits of Insurance.                       b. To sue us on this Coverage Part unless all of
 SECTION IV – COMMERCIAL GENERAL LIABILITY                         its terms have been fully complied with.
 CONDITIONS                                                    A person or organization may sue us to recover on
 1. Bankruptcy                                                 an agreed settlement or on a final judgment
    Bankruptcy or insolvency of the insured or of the          against an insured; but we will not be liable for
    insured's estate will not relieve us of our                damages that are not payable under the terms of
    obligations under this Coverage Part.                      this Coverage Part or that are in excess of the
                                                               applicable limit of insurance. An agreed settlement
 2. Duties In The Event Of Occurrence, Offense,                means a settlement and release of liability signed
    Claim Or Suit                                              by us, the insured and the claimant or the
    a. You must see to it that we are notified as soon         claimant's             legal         representative.
       as practicable of an "occurrence" or an offense
       which may result in a claim. To the extent
       possible, notice should include:
      (1) How, when and where the "occurrence" or
          offense took place;
      (2) The names and addresses of any injured
          persons and witnesses; and




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 4. Other Insurance                                               (3) When this insurance is excess over other
    If other valid and collectible insurance is available             insurance, we will pay only our share of the
    to the insured for a loss we cover under                          amount of the loss, if any, that exceeds the
    Coverages A or B of this Coverage Part, our                       sum of:
    obligations are limited as follows:                              (a) The total amount that all such other
                                                                          insurance would pay for the loss in the
    a. Primary Insurance                                                  absence of this insurance; and
       This insurance is primary except when                         (b) The total of all deductible and self-
       Paragraph b. below applies. If this insurance is                   insured amounts under all that other
       primary, our obligations are not affected unless                   insurance.
       any of the other insurance is also primary.
       Then, we will share with all that other                    (4) We will share the remaining loss, if any,
       insurance by the method described in                           with any other insurance that is not
       Paragraph c. below.                                            described in this Excess Insurance
                                                                      provision and was not bought specifically to
    b. Excess Insurance                                               apply in excess of the Limits of Insurance
      (1) This insurance is excess over:                              shown in the Declarations of this Coverage
         (a) Any of the other insurance, whether                      Part.
              primary, excess, contingent or on any             c. Method Of Sharing
              other basis:
                                                                    If all of the other insurance permits contribution
              (i) That is Fire, Extended Coverage,                  by equal shares, we will follow this method
                  Builder's Risk, Installation Risk or              also. Under this approach each insurer
                  similar coverage for "your work";                 contributes equal amounts until it has paid its
             (ii) That is Fire insurance for premises               applicable limit of insurance or none of the loss
                  rented to you or temporarily                      remains, whichever comes first.
                  occupied by you with permission of               If any of the other insurance does not permit
                  the owner;                                       contribution by equal shares, we will contribute
            (iii) That is insurance purchased by you               by limits. Under this method, each insurer's
                  to cover your liability as a tenant for          share is based on the ratio of its applicable
                  "property damage" to premises                    limit of insurance to the total applicable limits of
                  rented to you or temporarily                     insurance of all insurers.
                  occupied by you with permission of         5. Premium Audit
                  the owner; or
                                                                a. We will compute all premiums for this
             (iv) If the loss arises out of the                    Coverage Part in accordance with our rules
                  maintenance or use of aircraft,                  and rates.
                  "autos" or watercraft to the extent not
                  subject to Exclusion g. of Section I –        b. Premium shown in this Coverage Part as
                  Coverage A – Bodily Injury And                   advance premium is a deposit premium only.
                  Property Damage Liability.                       At the close of each audit period we will
                                                                   compute the earned premium for that period
          (b) Any other primary insurance available to             and send notice to the first Named Insured.
              you covering liability for damages                   The due date for audit and retrospective
              arising out of the premises or                       premiums is the date shown as the due date
              operations, or the products and                      on the bill. If the sum of the advance and audit
              completed operations, for which you                  premiums paid for the policy period is greater
              have been added as an additional                     than the earned premium, we will return the
              insured.                                             excess to the first Named Insured.
      (2) When this insurance is excess, we will have           c. The first Named Insured must keep records of
          no duty under Coverages A or B to defend                 the information we need for premium
          the insured against any "suit" if any other              computation, and send us copies at such times
          insurer has a duty to defend the insured                 as we may request.
          against that "suit". If no other insurer
          defends, we will undertake to do so, but we        6. Representations
          will be entitled to the insured's rights              By accepting this policy, you agree:
          against all those other insurers.                     a. The statements in the Declarations are
                                                                   accurate               and        complete;




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    b. Those     statements   are     based   upon               However, "auto" does not include "mobile
       representations you made to us; and                       equipment".
    c. We have issued this policy in reliance upon            3. "Bodily injury" means bodily injury, sickness or
       your representations.                                     disease sustained by a person, including death
 7. Separation Of Insureds                                       resulting from any of these at any time.
    Except with respect to the Limits of Insurance, and       4. "Coverage territory" means:
    any rights or duties specifically assigned in this           a. The United States of America (including its
    Coverage Part to the first Named Insured, this                   territories and possessions), Puerto Rico and
    insurance applies:                                               Canada;
    a. As if each Named Insured were the only                    b. International waters or airspace, but only if the
        Named Insured; and                                           injury or damage occurs in the course of travel
    b. Separately to each insured against whom claim                 or transportation between any places included
        is made or "suit" is brought.                                in Paragraph a. above; or
 8. Transfer Of Rights Of Recovery Against Others                c. All other parts of the world if the injury or
    To Us                                                            damage arises out of:
    If the insured has rights to recover all or part of             (1) Goods or products made or sold by you in
    any payment we have made under this Coverage                         the territory described in Paragraph a.
                                                                         above;
    Part, those rights are transferred to us. The
    insured must do nothing after loss to impair them.              (2) The activities of a person whose home is in
    At our request, the insured will bring "suit" or                     the territory described in Paragraph a.
    transfer those rights to us and help us enforce                      above, but is away for a short time on your
    them.                                                                business; or
 9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses
                                                                          that take place through the Internet or
   If we decide not to renew this Coverage Part, we
                                                                          similar electronic means of communication;
   will mail or deliver to the first Named Insured
   shown in the Declarations written notice of the                provided the insured's responsibility to pay
   nonrenewal not less than 30 days before the                    damages is determined in a "suit" on the merits, in
   expiration date.                                               the territory described in Paragraph a. above or in
                                                                  a settlement we agree to.
   If notice is mailed, proof of mailing will be sufficient
   proof of notice.                                           5. "Employee"        includes    a    "leased    worker".
 SECTION V – DEFINITIONS                                          "Employee" does not include a "temporary
                                                                  worker".
 1. "Advertisement" means a notice that is broadcast
    or published to the general public or specific            6. "Executive officer" means a person holding any of
    market segments about your goods, products or                 the officer positions created by your charter,
    services for the purpose of attracting customers or           constitution, bylaws or any other similar governing
    supporters. For the purposes of this definition:              document.
    a. Notices that are published include material            7. "Hostile fire" means one which becomes
                                                                  uncontrollable or breaks out from where it was
       placed on the Internet or on similar electronic            intended to be.
       means of communication; and
                                                              8. "Impaired property" means tangible property, other
    b. Regarding web sites, only that part of a web               than "your product" or "your work", that cannot be
       site that is about your goods, products or                 used or is less useful because:
       services for the purposes of attracting
       customers or supporters is considered an                   a. It incorporates "your product" or "your work"
       advertisement.                                                 that is known or thought to be defective,
                                                                      deficient, inadequate or dangerous; or
 2. "Auto" means:
                                                                  b. You have failed to fulfill the terms of a contract
    a. A land motor vehicle, trailer or semitrailer                   or agreement;
       designed for travel on public roads, including
       any attached machinery or equipment; or                    if such property can be restored to use by the
                                                                  repair, replacement, adjustment or removal of
    b. Any other land vehicle that is subject to a                "your product" or "your work" or your fulfilling the
       compulsory or financial responsibility law or              terms      of     the   contract     or   agreement.
       other motor vehicle insurance law where it is
       licensed or principally garaged.




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 9. "Insured contract" means:                                  10. "Leased worker" means a person leased to you by
    a. A contract for a lease of premises. However,                a labor leasing firm under an agreement between
       that portion of the contract for a lease of                 you and the labor leasing firm, to perform duties
       premises that indemnifies any person or                     related to the conduct of your business. "Leased
       organization for damage by fire to premises                 worker" does not include a "temporary worker".
       while rented to you or temporarily occupied by          11. "Loading or unloading" means the handling of
       you with permission of the owner is not an                  property:
       "insured contract";                                         a. After it is moved from the place where it is
    b. A sidetrack agreement;                                          accepted for movement into or onto an aircraft,
                                                                       watercraft or "auto";
    c. Any easement or license agreement, except in
       connection with construction or demolition                  b. While it is in or on an aircraft, watercraft or
       operations on or within 50 feet of a railroad;                  "auto"; or
    d. An obligation, as required by ordinance, to                 c. While it is being moved from an aircraft,
       indemnify a municipality, except in connection                  watercraft or "auto" to the place where it is
       with work for a municipality;                                   finally delivered;
    e. An elevator maintenance agreement;                          but "loading or unloading" does not include the
    f. That part of any other contract or agreement                movement of property by means of a mechanical
       pertaining to your business (including an                   device, other than a hand truck, that is not
       indemnification of a municipality in connection             attached to the aircraft, watercraft or "auto".
       with work performed for a municipality) under           12. "Mobile equipment" means any of the following
       which you assume the tort liability of another              types of land vehicles, including any attached
       party to pay for "bodily injury" or "property               machinery or equipment:
       damage" to a third person or organization. Tort             a. Bulldozers, farm machinery, forklifts and other
       liability means a liability that would be imposed               vehicles designed for use principally off public
       by law in the absence of any contract or                        roads;
       agreement.                                                  b. Vehicles maintained for use solely on or next to
       Paragraph f. does not include that part of any                  premises you own or rent;
       contract or agreement:
                                                                   c. Vehicles that travel on crawler treads;
      (1) That indemnifies a railroad for "bodily injury"
                                                                   d. Vehicles, whether self-propelled or not,
           or "property damage" arising out of
                                                                       maintained primarily to provide mobility to
           construction or demolition operations, within
                                                                       permanently mounted:
           50 feet of any railroad property and
           affecting any railroad bridge or trestle,                  (1) Power cranes, shovels, loaders, diggers or
           tracks, road-beds, tunnel, underpass or                         drills; or
           crossing;                                                  (2) Road construction or resurfacing equipment
      (2) That indemnifies an architect, engineer or                       such as graders, scrapers or rollers;
           surveyor for injury or damage arising out of:           e. Vehicles not described in Paragraph a., b., c.
          (a) Preparing, approving, or failing to                      or d. above that are not self-propelled and are
                prepare or approve, maps, shop                         maintained primarily to provide mobility to
                drawings, opinions, reports, surveys,                  permanently attached equipment of the
                field orders, change orders or drawings                following types:
                and specifications; or                               (1) Air compressors, pumps and generators,
          (b) Giving directions or instructions, or                      including    spraying,   welding,  building
                failing to give them, if that is the primary             cleaning, geophysical exploration, lighting
                cause of the injury or damage; or                        and well servicing equipment; or
      (3) Under which the insured, if an architect,                  (2) Cherry pickers and similar devices used to
          engineer or surveyor, assumes liability for                    raise or lower workers;
          an injury or damage arising out of the                   f. Vehicles not described in Paragraph a., b., c.
          insured's rendering or failure to render                    or d. above maintained primarily for purposes
          professional services, including those listed               other than the transportation of persons or
          in (2) above and supervisory, inspection,                   cargo.
          architectural or engineering activities.




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        However, self-propelled vehicles with the            16. "Products-completed operations hazard":
        following types of permanently attached                  a. Includes all "bodily injury" and "property
        equipment are not "mobile equipment" but will                damage" occurring away from premises you
        be considered "autos":                                       own or rent and arising out of "your product" or
       (1) Equipment designed primarily for:                         "your work" except:
          (a) Snow removal;                                         (1) Products that are still in your physical
          (b) Road maintenance, but not construction                     possession; or
              or resurfacing; or                                    (2) Work that has not yet been completed or
          (c) Street cleaning;                                           abandoned. However, "your work" will be
                                                                         deemed completed at the earliest of the
       (2) Cherry pickers and similar devices mounted                    following times:
           on automobile or truck chassis and used to
           raise or lower workers; and                                  (a) When all of the work called for in your
                                                                             contract has been completed.
       (3) Air compressors, pumps and generators,
                                                                        (b) When all of the work to be done at the
           including   spraying,    welding,  building
                                                                             job site has been completed if your
           cleaning, geophysical exploration, lighting
                                                                             contract calls for work at more than one
           and well servicing equipment.
                                                                             job site.
     However, "mobile equipment" does not include
                                                                       (c) When that part of the work done at a job
     any land vehicles that are subject to a compulsory
                                                                           site has been put to its intended use by
     or financial responsibility law or other motor
                                                                           any person or organization other than
     vehicle insurance law where it is licensed or
                                                                           another contractor or subcontractor
     principally garaged. Land vehicles subject to a
                                                                           working on the same project.
     compulsory or financial responsibility law or other
     motor vehicle insurance law are considered                         Work that may need service, maintenance,
     "autos".                                                           correction, repair or replacement, but which
                                                                        is otherwise complete, will be treated as
 13. "Occurrence" means an accident, including
                                                                        completed.
     continuous or repeated exposure to substantially
     the same general harmful conditions.                        b. Does not include "bodily injury" or "property
                                                                     damage" arising out of:
 14. "Personal and advertising injury" means injury,
     including consequential "bodily injury", arising out           (1) The transportation of property, unless the
     of one or more of the following offenses:                          injury or damage arises out of a condition in
                                                                        or on a vehicle not owned or operated by
     a. False arrest, detention or imprisonment;                        you, and that condition was created by the
    b. Malicious prosecution;                                           "loading or unloading" of that vehicle by any
    c. The wrongful eviction from, wrongful entry into,                 insured;
       or invasion of the right of private occupancy of             (2) The existence of tools, uninstalled
       a room, dwelling or premises that a person                       equipment or abandoned or unused
       occupies, committed by or on behalf of its                       materials; or
       owner, landlord or lessor;                                   (3) Products or operations for which the
     d. Oral or written publication, in any manner, of                  classification, listed in the Declarations or in
         material that slanders or libels a person or                   a policy Schedule, states that products-
         organization or disparages a person's or                       completed operations are subject to the
         organization's goods, products or services;                    General Aggregate Limit.
     e. Oral or written publication, in any manner, of       17. "Property damage" means:
         material that violates a person's right of             a. Physical injury to tangible property, including
         privacy;                                                   all resulting loss of use of that property. All
      f. The use of another's advertising idea in your              such loss of use shall be deemed to occur at
         "advertisement"; or                                        the time of the physical injury that caused it; or
     g. Infringing upon another's copyright, trade dress        b. Loss of use of tangible property that is not
         or slogan in your "advertisement".                         physically injured. All such loss of use shall be
 15. "Pollutants" mean any solid, liquid, gaseous or                deemed to occur at the time of the
     thermal irritant or contaminant, including smoke,              "occurrence" that caused it.
     vapor, soot, fumes, acids, alkalis, chemicals and          For the purposes of this insurance, electronic data
     waste. W aste includes materials to be recycled,           is not tangible property.
     reconditioned or reclaimed.




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     As used in this definition, electronic data means          b. Includes:
     information, facts or programs stored as or on,              (1) Warranties or representations made at any
     created or used on, or transmitted to or from                     time with respect to the fitness, quality,
     computer software, including systems and                          durability, performance or use of "your
     applications software, hard or floppy disks, CD-                  product"; and
     ROMs, tapes, drives, cells, data processing
     devices or any other media which are used with               (2) The providing of or failure to provide
     electronically controlled equipment.                              warnings or instructions.
 18. "Suit" means a civil proceeding in which damages           c. Does not include vending machines or other
     because of "bodily injury", "property damage" or              property rented to or located for the use of
     "personal and advertising injury" to which this               others but not sold.
     insurance applies are alleged. "Suit" includes:         22. "Your work":
     a. An arbitration proceeding in which such                  a. Means:
         damages are claimed and to which the insured              (1) Work or operations performed by you or on
         must submit or does submit with our consent;                   your behalf; and
         or                                                        (2) Materials, parts or equipment furnished in
     b. Any other alternative dispute resolution                        connection with such work or operations.
         proceeding in which such damages are                    b. Includes:
         claimed and to which the insured submits with
         our consent.                                              (1) Warranties or representations made at any
                                                                       time with respect to the fitness, quality,
 19. "Temporary worker" means a person who is                          durability, performance or use of "your
     furnished to you to substitute for a permanent                    work"; and
     "employee" on leave or to meet seasonal or short-
     term workload conditions.                                     (2) The providing of or failure to provide
                                                                       warnings           or         instructions.
 20. "Volunteer worker" means a person who is not
     your "employee", and who donates his or her work
     and acts at the direction of and within the scope of
     duties determined by you, and is not paid a fee,
     salary or other compensation by you or anyone
     else for their work performed for you.
 21. "Your product":
    a. Means:
      (1) Any goods or products, other than real
          property, manufactured, sold, handled,
          distributed or disposed of by:
         (a) You;
          (b) Others trading under your name; or
          (c) A person or organization whose
               business or assets you have acquired;
               and
       (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




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                                                                         COMMERCIAL GENERAL LIABILITY


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           CHANGES IN GENERAL LIABILITY FORMS FOR
               COMMERCIAL PACKAGE POLICIES
 This endorsement modifies insurances provided under the following:

         COMPLETED OPERATIONS AND PRODUCTS LIABILITY INSURANCE
         COMPREHENSIVE GENERAL LIABILITY INSURANCE
         CONTRACTUAL LIABILITY INSURANCE
         DRUGGISTS LIABILITY INSURANCE
         ELEVATOR COLLISION INSURANCE
         MANUFACTURERS AND CONTRACTORS LIABILITY INSURANCE
         OWNERS AND CONTRACTORS PROTECTIVE LIABILITY INSURANCE
         OWNERS, LANDLORDS AND TENANTS LIABILITY INSURANCE
         PREMISES MEDICAL PAYMENTS INSURANCE
         SPECIAL MULTI-PERIL POLICY LIABILITY INSURANCE
         STOREKEEPERS INSURANCE
 A. Whenever the term "policy" is used in any form        Cancellation. This policy may be cancelled by
    listed above or in the declarations or any related    the "named insured" by mailing to the company
    endorsement, it is changed to "coverage part."        written notice stating when thereafter the can-
 B. The Common Policy Declarations (other than any        cellation shall be effective. This policy may be
    references to premiums) and the Common Policy         cancelled by the company by mailing to the
    Conditions do not apply).                             "named insured" at the address shown in this
                                                          policy, written notice stating when not less than
 C. With respect to the Special Multi-Peril Policy Con-   thirty days thereafter such cancellation shall be
    ditions and Definitions Form attached to this poli-   effective; provided that in the event of non-
    cy:
                                                          payment of premium, such notice shall state
    1. The General Conditions, Conditions Applicable      when not less than ten days thereafter such
         to Section II and Definitions Applicable to Sec- cancellation shall be effective. The mailing of
         tion II apply only to the Commercial General     notice as aforesaid shall be sufficient proof of
         Liability Coverage Part;                         notice. The effective date of cancellation stated
    2. The Conditions Applicable to Section I do not      in the notice shall become the end of the policy
         apply to any part of this policy; and            period. Delivery of such written notice either by
    3. The Cancellation condition is replaced by the      the "named insured" or by the company shall
         following:                                       be equivalent to mailing.
                                                          If the "named insured" cancels, earned premi-
                                                          um shall be computed in accordance with the
                                                          customary short rate table and procedure. If
                                                          the company cancels, earned premium shall be
                                                          computed pro rata. Premium adjustment may
                                                          be made either at the time cancellation is ef-
                                                          fected or as soon as practicable after cancella-
                                                          tion becomes effective, but payment or tender
                                                          of unearned premium is not a condition of can-
                                                          cellation.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 06 05 14

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         EXCLUSION – ACCESS OR DISCLOSURE OF
       CONFIDENTIAL OR PERSONAL INFORMATION AND
              DATA-RELATED LIABILITY – WITH
            LIMITED BODILY INJURY EXCEPTION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
 A. Exclusion 2.p. of Section I – Coverage A –                         As used in this exclusion, electronic data
    Bodily Injury And Property Damage Liability is                     means information, facts or programs
    replaced by the following:                                         stored as or on, created or used on, or
    2. Exclusions                                                      transmitted to or from computer software,
                                                                       including    systems       and    applications
       This insurance does not apply to:                               software, hard or floppy disks, CD-ROMs,
       p. Access Or Disclosure Of Confidential Or                      tapes, drives, cells, data processing
          Personal Information And Data-related                        devices or any other media which are used
          Liability                                                    with electronically controlled equipment.
          Damages arising out of:                            B. The following is added to Paragraph 2.
         (1) Any access to or disclosure of any                 Exclusions of Section I – Coverage B –
              person's or organization's confidential or        Personal And Advertising Injury Liability:
              personal information, including patents,          2. Exclusions
              trade secrets, processing methods,                   This insurance does not apply to:
              customer lists, financial information,
              credit      card    information,     health          Access Or Disclosure Of Confidential Or
              information or       any other type of               Personal Information
              nonpublic information; or                            "Personal and advertising injury" arising out of
         (2) The loss of, loss of use of, damage to,               any access to or disclosure of any person's or
              corruption of, inability to access, or               organization's    confidential    or    personal
              inability to manipulate electronic data.             information, including patents, trade secrets,
                                                                   processing methods, customer lists, financial
          This exclusion applies even if damages are
                                                                   information, credit card information, health
          claimed for notification costs, credit
                                                                   information or any other type of nonpublic
          monitoring expenses, forensic expenses,
                                                                   information.
          public relations expenses or any other loss,
          cost or expense incurred by you or others                This exclusion applies even if damages are
          arising out of that which is described in                claimed for notification costs, credit monitoring
          Paragraph (1) or (2) above.                              expenses, forensic expenses, public relations
                                                                   expenses or any other loss, cost or expense
          However, unless Paragraph (1) above
                                                                   incurred by you or others arising out of any
          applies, this exclusion does not apply to
                                                                   access to or disclosure of any person's or
          damages because of "bodily injury".
                                                                   organization's     confidential   or    personal
                                                                   information.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 32 05 09

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  COMMUNICABLE DISEASE EXCLUSION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
 A. The following exclusion is added to Paragraph 2.       B. The following exclusion is added to Paragraph 2.
    Exclusions of Section I – Coverage A – Bodily             Exclusions of Section I – Coverage B – Person-
    Injury And Property Damage Liability:                     al And Advertising Injury Liability:
    2. Exclusions                                             2. Exclusions
       This insurance does not apply to:                         This insurance does not apply to:
       Communicable Disease                                      Communicable Disease
       "Bodily injury" or "property damage" arising out          "Personal and advertising injury" arising out of
       of the actual or alleged transmission of a com-           the actual or alleged transmission of a com-
       municable disease.                                        municable disease.
       This exclusion applies even if the claims                 This exclusion applies even if the claims
       against any insured allege negligence or other            against any insured allege negligence or other
       wrongdoing in the:                                        wrongdoing in the:
       a. Supervising, hiring, employing, training or            a. Supervising, hiring, employing, training or
           monitoring of others that may be infected                monitoring of others that may be infected
           with and spread a communicable disease;                  with and spread a communicable disease;
       b. Testing for a communicable disease;                    b. Testing for a communicable disease;
       c. Failure to prevent the spread of the dis-              c. Failure to prevent the spread of the dis-
           ease; or                                                 ease; or
       d. Failure to report the disease to authorities.          d. Failure to report the disease to authorities.




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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 67 12 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        FUNGI OR BACTERIA EXCLUSION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
 A. The following exclusion is added to Paragraph 2. B. The following exclusion is added to Paragraph 2.
    Exclusions of Section I – Coverage A – Bodily       Exclusions of Section I – Coverage B – Per-
    Injury And Property Damage Liability:               sonal And Advertising Injury Liability:
    2. Exclusions                                       2. Exclusions
       This insurance does not apply to:                           This insurance does not apply to:
       Fungi Or Bacteria                                           Fungi Or Bacteria
       a. "Bodily injury" or "property damage" which              a. "Personal and advertising injury" which
          would not have occurred, in whole or in                     would not have taken place, in whole or in
          part, but for the actual, alleged or threat-                part, but for the actual, alleged or threat-
          ened inhalation of, ingestion of, contact                   ened inhalation of, ingestion of, contact
          with, exposure to, existence of, or presence                with, exposure to, existence of, or presence
          of, any "fungi" or bacteria on or within a                  of any "fungi" or bacteria on or within a
          building or structure, including its contents,              building or structure, including its contents,
          regardless of whether any other cause,                      regardless of whether any other cause,
          event, material or product contributed con-                 event, material or product contributed con-
          currently or in any sequence to such injury                 currently or in any sequence to such injury.
          or damage.                                              b. Any loss, cost or expense arising out of the
       b. Any loss, cost or expenses arising out of                   abating, testing for, monitoring, cleaning up,
          the abating, testing for, monitoring, cleaning              removing, containing, treating, detoxifying,
          up, removing, containing, treating, detoxify-               neutralizing, remediating or disposing of, or
          ing, neutralizing, remediating or disposing                 in any way responding to, or assessing the
          of, or in any way responding to, or as-                     effects of, "fungi" or bacteria, by any in-
          sessing the effects of, "fungi" or bacteria, by             sured or by any other person or entity.
          any insured or by any other person or enti-       C. The following definition is added to the Definitions
          ty.                                                  Section:
       This exclusion does not apply to any "fungi" or         "Fungi" means any type or form of fungus, includ-
       bacteria that are, are on, or are contained in, a       ing mold or mildew and any mycotoxins, spores,
       good or product intended for bodily consump-            scents or byproducts produced or released by
       tion.                                                   fungi.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 73 01 15

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         EXCLUSION OF CERTIFIED ACTS OF TERRORISM
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POLICY
 A. The following exclusion is added:                                b. The act is a violent act or an act that is
    This insurance does not apply to:                                    dangerous to human life, property or
                                                                         infrastructure and is committed by an
    TERRORISM                                                            individual or individuals as part of an effort
    "Any injury or damage" arising, directly or                          to coerce the civilian population of the
    indirectly, out of a "certified act of terrorism".                   United States or to influence the policy or
 B. The following definitions are added:                                 affect the conduct of the United States
                                                                         Government by coercion.
    1. For the purposes of this endorsement, "any
                                                              C. The terms and limitations of any terrorism
        injury or damage" means any injury or damage
                                                                 exclusion, or the inapplicability or omission of a
        covered under any Coverage Part to which this
                                                                 terrorism exclusion, do not serve to create
        endorsement is applicable, and includes but is
                                                                 coverage for injury or damage that is otherwise
        not limited to "bodily injury", "property
                                                                 excluded        under     this    Coverage      Part.
        damage", "personal and advertising injury",
        "injury" or "environmental damage" as may be
        defined in any applicable Coverage Part.
    2. "Certified act of terrorism" means an act that is
        certified by the Secretary of the Treasury, in
        accordance with the provisions of the federal
        Terrorism Risk Insurance Act, to be an act of
        terrorism pursuant to such Act. The criteria
        contained in the Terrorism Risk Insurance Act
        for a "certified act of terrorism" include the
        following:
        a. The act resulted in insured losses in excess
            of $5 million in the aggregate, attributable to
            all types of insurance subject to the
            Terrorism Risk Insurance Act; and




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 02 20 03 12

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         FLORIDA CHANGES –
                    CANCELLATION AND NONRENEWAL
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    ELECTRONIC DATA LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART PRODUCT WITHDRAWAL
    COVERAGE PART PRODUCTS/COMPLETED OPERATIONS LIABILITY
    COVERAGE PART
 A. Paragraph 2. of the Cancellation Common Policy                   (2) The policy was obtained by a material
    Condition is replaced by the following:                              misstatement;
    2. Cancellation Of Policies In Effect                            (3) Failure to comply with underwriting
       a. For 90 Days Or Less                                            requirements established by the insurer
                                                                         within 90 days of the effective date of
          If this policy has been in effect for 90 days                  coverage;
          or less, we may cancel this policy by
          mailing or delivering to the first Named                   (4) A substantial change in the risk covered
          Insured written notice of cancellation,                        by the policy; or
          accompanied        by   the    reasons     for             (5) The cancellation is for all insureds under
          cancellation, at least:                                        such policies for a given class of
          (1) 10 days before the effective date of                       insureds.
              cancellation     if   we    cancel   for                If we cancel this policy for any of these
              nonpayment of premium; or                               reasons, we will mail or deliver to the first
          (2) 20 days before the effective date of                    Named       Insured      written notice    of
              cancellation if we cancel for any other                 cancellation, accompanied by the reasons
              reason, except we may cancel                            for cancellation, at least:
              immediately if there has been:                             (a) 10 days before the effective date of
             (a) A    material    misstatement       or                      cancellation if we cancel for
                 misrepresentation; or                                       nonpayment of premium; or
            (b) A failure to comply with the                             (b) 45 days before the effective date of
                underwriting             requirements                        cancellation if we cancel for any of
                established by the insurer.                                  the other        reasons  stated    in
                                                                             Paragraph 2.b.
       b. For More Than 90 Days
                                                            B. Paragraph 3. of the Cancellation Common Policy
           If this policy has been in effect for more          Condition is replaced by the following:
           than 90 days, we may cancel this policy
           only for one or more of the following               3. We will mail or deliver our notice to the first
           reasons:                                               Named Insured at the last mailing address
                                                                  known                    to                us.
          (1) Nonpayment of premium;




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 C. Paragraph 5. of the Cancellation Common Policy                  The cancellation will be effective even if we
    Condition is replaced by the following:                         have not made or offered a refund.
    5. If this policy is cancelled, we will send the first    D. The following is added and supersedes any other
       Named Insured any premium refund due. If we               provision to the contrary:
       cancel, the refund will be pro rata. If the first         Nonrenewal
       Named Insured cancels, the refund may be
       less than pro rata. If the return premium is not          1. If we decide not to renew this policy, we will
       refunded with the notice of cancellation or                  mail or deliver to the first Named Insured
       when this policy is returned to us, we will mail             written notice of nonrenewal, accompanied by
       the refund within 15 working days after the                  the reason for nonrenewal, at least 45 days
       date cancellation takes effect, unless this is an            prior to the expiration of this policy.
       audit policy.                                             2. Any notice of nonrenewal will be mailed or
       If this is an audit policy, then, subject to your            delivered to the first Named Insured at the last
       full cooperation with us or our agent in securing            mailing address known to us. If notice is
       the necessary data for audit, we will return any             mailed, proof of mailing will be sufficient proof
       premium refund due within 90 days of the date                of                                        notice.
       cancellation takes effect. If our audit is not
       completed within this time limitation, then we
       shall accept your own audit, and any premium
       refund due shall be mailed within 10 working
       days of receipt of your audit.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 47 12 07

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EMPLOYMENT-RELATED PRACTICES EXCLUSION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
 A. The following exclusion is added to Paragraph 2.,      B. The following exclusion is added to Paragraph 2.,
    Exclusions of Section I – Coverage A – Bodily             Exclusions of Section I – Coverage B – Person-
    Injury And Property Damage Liability:                     al And Advertising Injury Liability:
    This insurance does not apply to:                         This insurance does not apply to:
    "Bodily injury" to:                                       "Personal and advertising injury" to:
   (1) A person arising out of any:                           (1) A person arising out of any:
      (a) Refusal to employ that person;                         (a) Refusal to employ that person;
      (b) Termination of that person's employment;               (b) Termination of that person's employment;
          or                                                         or
      (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
          acts or omissions, such as coercion, demo-                 acts or omissions, such as coercion, demo-
          tion, evaluation, reassignment, discipline,                tion, evaluation, reassignment, discipline,
          defamation, harassment, humiliation, dis-                  defamation, harassment, humiliation, dis-
          crimination or malicious prosecution di-                   crimination or malicious prosecution di-
          rected at that person; or                                  rected at that person; or
   (2) The spouse, child, parent, brother or sister of        (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"            that person as a consequence of "personal and
       to that person at whom any of the employment-              advertising injury" to that person at whom any
       related practices described in Paragraphs (a),             of the employment-related practices described
       (b), or (c) above is directed.                             in Paragraphs (a), (b), or (c) above is directed.
    This exclusion applies:                                    This exclusion applies:
   (1) Whether the injury-causing event described in          (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before             Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                 employment, during employment or after em-
       ployment of that person;                                   ployment of that person;
   (2) Whether the insured may be liable as an em-            (2) Whether the insured may be liable as an em-
       ployer or in any other capacity; and                       ployer or in any other capacity; and
   (3) To any obligation to share damages with or             (3) To any obligation to share damages with or
       repay someone else who must pay damages                    repay someone else who must pay damages
       because of the injury.                                     because            of         the       injury.




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                                                                                                   API1016CYBR


                                          CYBER LIABILITY INSURANCE
                                      (Claims-Made and Reported Coverage)


 POLICY NUMBER: (See Declarations)

 ENDORSEMENT EFFECTIVE DATE: (Policy Inception unless otherwise indicated on Declarations)

 RETROACTIVE DATE: (Policy Inception unless otherwise indicated on Declarations)


                                                      SCHEDULE OF LIMITS
                                  Coverage                                              Limits
  Multimedia Liability Coverage                                       $25,000 each claim/aggregate

  Security and Privacy Liability Coverage                             $25,000 each claim/aggregate

                                                                      $25,000 each claim/aggregate
  Privacy Regulatory Defense and Penalties Coverage

  PCI DSS Assessment Coverage                                         $25,000 each claim/aggregate

  Privacy Breach Response Costs, Notification Expenses and            $25,000 each claim/aggregate
  Breach Support and Credit Monitoring Expenses Coverage
    Proactive Privacy Breach Responses Costs Sublimit                 $25,000 each claim/aggregate

    Voluntary Notification Expenses Sublimit                          $25,000 each claim/aggregate

  Network Asset Protection Coverage                                   $25,000 each claim/aggregate

  Cyber Extortion Coverage                                            $25,000 each claim/aggregate

  Cyber Terrorism Coverage                                            $25,000 each claim/aggregate

  BrandGuard Coverage                                                 $25,000 each claim/aggregate

  Annual Aggregate Limit                                              $25,000 each claim/aggregate


 This Endorsement (“Endorsement”) amends your policy to provide Cyber Liability insurance on a Claims-Made
 and Reported basis. Read the entire Endorsement carefully to determine your rights and duties and what is and
 is not covered. The terms, conditions, exclusions, and limits of insurance set forth in this Endorsement apply
 only to the coverage provided by this Endorsement.

 All words and phrases in this Endorsement that appear in bold print have the meanings set forth in Section V of
 this Endorsement. To the extent any words or phrases used in this Endorsement are also defined elsewhere in
 the Policy, such definitions do not apply give meaning to the words or phrases used in this Endorsement.

 The Cyber Liability limits of insurance are specified in the Schedule of Limits (“Schedule”) above. Such limits of
 insurance are in addition to, and will not erode, the limits of insurance provided elsewhere under your Policy.
 Defense costs paid under this Endorsement will erode the limits set forth in the Schedule.




 American Property Insurance Cyber Liability Insurance Endorsement                               Page 1 of 19
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                                                                                                            API1016CYBR

 SECTION I – COVERAGE AGREEMENTS

 A.       MULTIMEDIA LIABILITY COVERAGE

          Subject to the limits shown in the Schedule, the Company will pay damages, including liability assumed under
          contract, which an insured becomes legally obligated to pay, and related defense costs, because of a claim for a
          multimedia peril, provided that:

          (1)       Such claim is first made against the insured during the endorsement period;
          (2)       Such claim is reported to the Company no later than sixty (60) days after the claim is first made against
                    the insured; and
          (3)       The multimedia peril takes place or first commences on or after the retroactive date.

 B.       SECURITY AND PRIVACY LIABILITY COVERAGE

          Subject to the limits shown in the Schedule, the Company will pay damages, including liability assumed under
          contract, which an insured becomes legally obligated to pay, and related defense costs, because of a claim for a
          security and privacy wrongful act, provided that:

          (1)       Such claim is first made against the insured during the endorsement period;
          (2)       Such claim is reported to the Company no later than sixty (60) days after the claim is first made against
                    the insured; and
          (3)       The security and privacy wrongful act takes place or first commences on or after the retroactive date.

 C.       PRIVACY REGULATORY DEFENSE AND PENALTIES COVERAGE

          Subject to the limits shown in the Schedule, the Company will pay regulatory fines and penalties and regulatory
          compensatory awards which an insured becomes legally obligated to pay, and related defense costs, because
          of a claim for a security breach or privacy breach, provided that:

          (1)       Such claim is first made against the insured during the endorsement period;
          (2)       Such claim is reported to the Company no later than sixty (60) days after the claim is first made against
                    the insured; and
          (3)       The security breach or privacy breach takes place or first commences on or after the retroactive date.

 D.       PCI DSS ASSESSMENT COVERAGE

          Subject to the limits shown in the Schedule, the Company will pay PCI DSS assessments which an insured
          becomes legally obligated to pay, and related defense costs, because of a claim for a security breach or privacy
          breach, provided that:

          (1)       Such claim is first made against the insured during the endorsement period;
          (2)       Such claim is reported to the Company no later than sixty (60) days after the claim is first made against
                    the insured; and
          (3)       The security breach or privacy breach takes places or first commences on or after the retroactive date.


 E.       PRIVACY BREACH RESPONSE COSTS, NOTIFICATION EXPENSES, AND BREACH SUPPORT AND CREDIT
          MONITORING EXPENSES COVERAGE

          Subject to the limits shown in the Schedule, the Company will pay reasonable and necessary privacy breach
          response costs, notification expenses, and breach support and credit monitoring expenses which you incur
          as a direct result of an adverse media report, security breach or privacy breach, provided that:

          (1)       The adverse media report, security breach or privacy breach takes place or first commences on or
                    after the retroactive date;
          (2)       An insured first discovers the adverse media report, security breach or privacy breach during the
                    endorsement period; and
          (3)       You report the adverse media report, security breach or privacy breach to the Company no later than
                    sixty (60) days from the date an insured first discovers the adverse media report, security breach or
                    privacy breach.




 American Property Insurance Cyber Liability Insurance Endorsement                                        Page 2 of 19
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                                                                                                               API1016CYBR

 F.       NETWORK ASSET PROTECTION COVERAGE

          (1)       Data Recovery

                    Subject to the limits shown in the Schedule, the Company agrees to pay digital assets loss and special
                    expenses which you incur as a direct result of a covered cause of loss that causes damage, alteration,
                    corruption, distortion, theft, misuse or destruction of your digital assets, provided that:

                    (a)      The covered cause of loss takes place or first commences on or after the retroactive date;
                    (b)      An insured first discovers the covered cause of loss during the endorsement period;
                    (c)      You report the covered cause of loss to the Company no later than sixty (60) days from the
                             date an insured first discovers the covered cause of loss; and
                    (d)      You provide clear evidence that the digital assets loss and special expenses directly resulted
                             from the covered cause of loss.

                    The Company will pay digital assets loss and special expenses for a period of up to twelve (12) months
                    following the discovery of the damage to, or alteration, corruption, distortion, theft, misuse or destruction
                    of, your digital assets.

          (2)       Non-Physical Business Interruption and Extra Expense

                    Subject to the limits shown in the Schedule, the Company agrees to pay income loss, interruption
                    expenses and special expenses which you incur during the period of restoration, but after the waiting
                    period, as a direct result of a covered cause of loss that causes a total or partial interruption,
                    degradation in service or failure of an insured computer system, provided that:

                    (a)      The covered cause of loss takes place or first commences on or after the retroactive date;
                    (b)      An insured first discovers the covered cause of loss during the endorsement period;
                    (c)      You report the covered cause of loss to the Company no later than sixty (60) days from the
                             date an insured first discovers the covered cause of loss; and
                    (d)      You provide clear evidence that the digital assets loss and special expenses directly resulted
                             from the covered cause of loss.

 G.       CYBER EXTORTION COVERAGE

          Subject to the limits shown in the Schedule, the Company agrees to pay cyber extortion expenses and cyber
          extortion monies which you incur as a direct result of a cyber extortion threat, provided that:

          (1)      Such cyber extortion threat is first made against an insured during the endorsement period;
          (2)      You report the cyber extortion threat to the Company no later than sixty (60) days from the date the
                   cyber extortion threat is made against an insured; and
          (3)      You provide clear evidence that the cyber extortion expenses and cyber extortion monies      directly
          resulted from the cyber extortion threat.

          The insured shall not incur cyber extortion expenses or cyber extortion monies without the Company’s prior
          consultation and written authorization. You must make every reasonable effort to notify local law enforcement
          authorities and the Federal Bureau of Investigation or any similar equivalent foreign agency before surrendering any
          cyber extortion monies in response to a cyber extortion threat.

 H.       CYBER TERRORISM COVERAGE

          Subject to the limits shown in the Schedule, the Company agrees to pay income loss, interruption expenses and
          special expenses which you incur during the period of restoration, but after the waiting period, as a direct result
          of an act of cyber terrorism that causes a total or partial interruption, degradation in service or failure of an
          insured computer system, provided that:

          (1)       The act of cyber terrorism takes place or first commences on or after the retroactive date;
          (2)       An insured first discovers the act of cyber terrorism during the endorsement period;
          (3)       You report the act of cyber terrorism to the Company no later than sixty (60) days from the date an
                    insured first discovers the act of cyber terrorism; and
          (4)       You provide clear evidence that the income loss, interruption expenses and special expenses directly
                    resulted from the act of cyber terrorism.




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 I.       BRANDGUARD COVERAGE

          Subject to the limits shown in the Schedule, the Company will reimburse you for provable and ascertainable brand
          loss which you sustain during the period of indemnity, but after the waiting period, as a direct result of an
          adverse media report or notification, provided that:

          (1)       The adverse media report or notification results from a privacy breach or security breach that takes
                    place or first commences on or after the retroactive date;
          (2)       You discover the brand loss during the endorsement period;
          (3)       You report the brand loss to the Company no later than sixty (60) days from the date you first discover
                    the brand loss; and
          (4)       You provide clear evidence that the brand loss directly resulted from the adverse media report or
                    notification.

 SECTION II – DEFENSE, INVESTIGATION, AND SETTLEMENT

 The Company will have the right and duty to defend any claim under Coverage Agreement A, B, C or D, even if the
 allegations of the claim are groundless, false or fraudulent. The Company has the right to appoint counsel to defend any
 such claim.

 The Company may investigate or settle any claim at its sole discretion. The applicable limit of insurance will be reduced and
 may be completely exhausted by payment of defense costs. The Company will not be obligated to pay or defend any claim
 after the applicable limit of insurance hereunder has been exhausted.

 No insured will incur any defense costs or other expenses, or settle any claim, assume any contractual obligation, admit
 liability, voluntarily make any payment, or otherwise consent to any settlement or judgment with respect to any claim without
 the Company’s prior written consent, which will not be unreasonably withheld. The Company will not be liable for any
 defense costs or other expenses, settlement or judgment to which the Company has not consented.

 SECTION III – EXCLUSIONS

 The insurance provided under this Endorsement does not apply to:

 A.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving any multimedia
          peril, security and privacy wrongful act, security breach, privacy breach, adverse media report, covered
          cause of loss, cyber extortion threat, or act of cyber terrorism:

          (1)       Which was the subject of written notice given to us or to any other insurer prior to the original inception
                    date of this Cyber Liability coverage;
          (2)       Which was the subject of any prior or pending written demand made against an insured, or a civil,
                    administrative or arbitration proceeding commenced against an insured, prior to the original inception date
                    of this Cyber Liability coverage, or that involved the same or substantially the same fact, circumstance, or
                    situation underlying or alleged in such prior demand or proceeding;
          (3)       That was identified in any summary or statement of claims or potential claims submitted in connection
                    with your application for insurance; or
          (4)       Which an insured had knowledge of prior to the original inception date of this Cyber Liability coverage.

 B.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving any actual, alleged
          or threatened discharge, dispersal, release or escape of pollutants, or any direction, request or voluntary decision to
          test for, abate, monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants, nuclear material or
          nuclear waste. For purposes of this exclusion, “pollutants” means any solid, liquid, gaseous or thermal irritant or
          contaminant, including mold, smoke, vapor, soot, fumes, acids, alkalis, chemicals, odors, noise, lead, oil or oil
          products, radiation, asbestos or asbestos-containing products and waste, and any electric, magnetic or
          electromagnetic field of any frequency. “Waste” includes, but is not limited to, material that is , or is to be, recycled,
          reconditioned or reclaimed.

 C.       Any claim for liability assumed by an insured under any oral or written contract or agreement, except where such
          liability would apply apart from such contract or agreement and is otherwise covered by this Endorsement. With
          respect to any multimedia peril, security breach or privacy breach, this exclusion does not apply to any claim
          alleging liability assumed under contract.




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 D.       Any claim for breach of any express, implied, actual or constructive contract, representation, guarantee, or
          promise, except where such liability would apply apart from such contract, representation, guarantee or promise
          and is otherwise covered by this Endorsement. This exclusion does not apply to any claim alleging breach of your
          privacy policy or liability assumed by contract.

 E.       Any business, joint venture or enterprise which is not named on the Declarations or by endorsement to the Policy.

 F.       Any claim for violation of the False Claims Act or any similar federal or state law, rule, or regulation concerning
          billing errors or fraudulent billing practices or abuse.

 G.       Any claim for infringement of any patent or the misappropriation, theft, copying, display, or publication of any trade
          secret.

 H.       Any claim for unfair competition, price fixing, deceptive trade practices, restraint of trade, or violation of any anti-
          trust laws.

 I.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving:

          (1)       Any employment or employment-related matters, including, but not limited to, employer-employee
                    relations, policies, acts or omissions;
          (2)       Any actual or alleged refusal to employ any person or any other actual or alleged misconduct with respect
                    to employees; or
          (3)       Any actual or alleged obligations of an insured under any workers’ compensation, unemployment
                    insurance, social security, disability benefits or other similar law.

          This exclusion does not apply to an otherwise covered claim under Coverage Agreement B, which is brought by
          your past, present or future employee alleging a security and privacy wrongful act.

 J.       Any claim for bodily injury or property damage.

 K.       Any claim for harassment or discrimination because of, or relating to, race, creed, color, age, sex, sexual
          orientation or preference, national origin, religion, handicap, disability, political affiliation, marital status, or any other
          basis prohibited by federal, state or local law.

 L.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving:

          (1)       Satellite failures;
          (2)       Electrical or mechanical failure or interruption including, but not limited to, electrical disturbance, spike,
                    brownout, or blackout;
          (3)       Outages to gas, water, telephone, cable, telecommunications or other infrastructure, unless such
                    infrastructure is under your direct operational control and such claim is otherwise covered under
                    Coverage Agreement F or Coverage Agreement H;
          (4)       The failure of overhead transmission and distribution lines; or
          (5)       The gradual deterioration of subterranean insulation.

 M.       Any claim for violation of any of United States of America’s economic or trade sanctions, including, but not limited
          to, sanctions administered and enforced by the U.S. Treasury Department’s Office of Foreign Assets Control
          (“OFAC”).

 N.       Any criminal proceeding.

 O.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving any of the
          following, if committed by an insured, whether acting alone or in collusion with other persons:

          (1)       Any willful, deliberately dishonest, malicious, or fraudulent act or omission;
          (2)       Any intentional violation of the law or your privacy policy; or
          (3)       The gaining in fact of any profit, remuneration or financial advantage to which an insured was not legally
                    entitled.

          Notwithstanding the foregoing, the insurance afforded by this Endorsement will apply to defense costs incurred in
          defending any such claim until such time as there is a judgment or other final adjudication adverse to the insured
          establishing such willful, dishonest, fraudulent, or malicious conduct. The Company will have the right to recover




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          defense costs incurred in defending such claim from those parties found to have committed the conduct described
          in this exclusion.

          This exclusion does not apply to:

          (1)       Any insured that did not commit, participate in, or have knowledge of any conduct described in this
                    exclusion; or
          (2)       A claim resulting from sabotage by your employee.

 P.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving:

          (1)       Any actual or alleged multimedia peril, security and privacy wrongful act, security breach, privacy
                    breach, covered cause of loss, cyber extortion threat, act of cyber terrorism, or adverse media
                    report that took place or first commenced prior to the retroactive date; or
          (2)       Any actual or alleged multimedia peril, security and privacy wrongful act, security breach, privacy
                    breach, covered cause of loss, cyber extortion threat, act of cyber terrorism, or adverse media
                    report that took place on or after the retroactive date, which, together with an actual or alleged
                    multimedia peril, security and privacy wrongful act, security breach, privacy breach, covered cause
                    of loss, cyber extortion threat, act of cyber terrorism, or adverse media report that took place prior to
                    the retroactive date, would constitute related multimedia perils, security and privacy wrongful acts,
                    security breaches, privacy breaches, covered causes of loss, cyber extortion threats, acts of cyber
                    terrorism, or adverse media reports.

          For purposes of this exclusion, multimedia perils, security and privacy wrongful acts, security breaches,
          privacy breaches, covered causes of loss, cyber extortion threats, acts of cyber terrorism or adverse media
          reports will be deemed related if we determine that they are logically or causally connected by any common fact,
          circumstance, situation, event, transaction or series of facts, circumstances, situations, events or transactions.

 Q.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving any conduct, act,
          error or omission of any individual serving in any capacity other than as your officer, director, partner, stockholder,
          trustee or employee.

 R.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving an insured’s
          insolvency or bankruptcy, the insolvency or bankruptcy of any other individual or entity, or the failure, inability or
          unwillingness to make payments because of the insolvency, liquidation, or bankruptcy of any individual or entity.

 S.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving the wear and tear,
          drop in performance, progressive deterioration, or aging of your electronic equipment or computer hardware.

 T.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving fire, smoke,
          explosion, lightning, wind, water, flood, earthquake, volcanic eruption, tidal wave, landslide, hail, force majeure or
          any other physical event, however caused.

 U.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving the gradual
          deterioration or wear and tear of an insured computer system.

 V.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving the actual or
          alleged inaccurate, inadequate or incomplete description of the price of goods, products or services.

 W.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving cost guarantees,
          cost representations, contract price or cost estimates being exceeded.

 X.       Any claim brought by or on behalf of:

          (1)       An insured against another insured;
          (2)       Any entity which is owned, in whole or in part, by an insured, or any entity directly or indirectly controlled,
                    operated or managed by an insured;
          (3)       Any entity which is a parent, affiliate or subsidiary of any business, organization or joint venture in which
                    an insured is a partner; or
          (4)       Any individual or entity who is a partner of any business, organization or joint venture in which an insured
                    is also a partner.




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          This exclusion does not apply to an otherwise covered claim under Coverage Agreement B, which is brought by
          your past, present or future employee alleging a security and privacy wrongful act.

 Y.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving unauthorized
          trading. For purposes of this exclusion, “unauthorized trading” means trading, which at the time of the trade is:
          (1)       In excess of permitted financial limits; or
          (2)       Outside of permitted product lines.

 Z.       Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving:

          (1)       The actual or alleged purchase or sale of securities, or an offer, or solicitation of an offer, to purchase or
                    sell securities;
          (2)       The actual or alleged loss of value of any securities; or
          (3)       Any actual or alleged violation of any securities law such as the provisions of the Securities Act of 1933,
                    the Securities Exchange Act of 1934, the Sarbanes-Oxley Act of 2002 or any regulation promulgated
                    under the foregoing statutes, or any federal, state, local, or foreign laws similar to the foregoing statutes,
                    including “Blue Sky” laws, whether such law is statutory, regulatory or common law.

 AA.      Any claim for violation of the Organized Crime Control Act of 1970 (commonly known as ‘Racketeer Influenced And
          Corrupt Organizations Act’ or ‘RICO’), as amended, or any regulation promulgated under the foregoing statutes, or
          any similar federal, state, local or foreign laws, whether such law is statutory, regulatory or common law.

 BB.      Any claim which is brought by the Federal Trade Commission, the Federal Communications Commission or any
          other federal, state or local governmental entity, in such entity’s regulatory or official capacity. This exclusion does
          not apply to an otherwise covered claim under Coverage Agreement C.

 CC.      Any claim alleging:

          (1)       The violation of any pension, healthcare, welfare, profit sharing or mutual or investment plans, funds or
                    trusts; or
          (2)       The violation of any provision of the Employee Retirement Income Security Act of 1974 and its
                    amendments and/or the Pension Protection Act of 2006 and its amendments, or any regulation, ruling or
                    order issued pursuant thereto.

 DD.      Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving:

          (1)       Strikes or similar labor actions, war, invasion, act of foreign enemy, hostilities or warlike operations
                    (whether declared or not), civil war, mutiny, civil commotion assuming the proportions of, or amounting to,
                    a popular uprising, military uprising, insurrection, rebellion, revolution, military or usurped power, or any
                    action taken to hinder or defend against these actions;
          (2)       The confiscation, commandeering, nationalization, requisition or destruction of, or damage to, property,
                    including computer hardware, by or under the order of any government or public authority for whatever
                    reason; or
          (3)       Any action taken in controlling, preventing, suppressing or in any way relating to DD(1) or DD(2) above.

          This exclusion does not apply to an act of cyber terrorism.

 EE.      Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving your commercial
          decision to cease providing a particular product or service, but only if you are contractually obligated to continue
          providing such products or services.

 FF.      Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving:

          (1)       Gambling or pornography;
          (2)       Prizes, awards or coupons; or
          (3)       The sale or provision of prohibited, restricted or regulated items such as alcoholic beverages, tobacco or
                    drugs.

 GG.      Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving the use of
          programs that are not operational programs or delivered programs.

 HH.      Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving an insured’s




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          intentional use of illegal or unlicensed programs.

 II.      Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving the existence,
          emission or discharge of any electromagnetic field, electromagnetic radiation or electromagnetism that affects the
          health, safety or condition of any person or the environment or that affects the value, marketability, condition or use
          of any property.

 JJ.      Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving any violation of the
          Telephone Consumer Protection Act (47 U.S.C.§227), the Telemarketing and Consumer Fraud and Abuse
          Prevention Act (15 U.S.C. §§ 6101-6108), or the CAN-SPAM Act (15 U.S.C. §§ 7701-7713), as amended, or any
          regulations promulgated thereunder, or any similar federal, state, local or foreign laws, whether such laws are
          statutory, regulatory or common law, including any anti-spam law or other law concerning the use of telephonic or
          electronic communications for solicitation purposes, or any allegations of invasion or violation of any rights to
          privacy derived therefrom. This exclusion does not apply to an otherwise covered claim under Coverage
          Agreement B or Coverage Agreement C alleging a violation of the CAN-SPAM Act as amended, or any regulations
          promulgated thereunder, or any similar federal, state, local or foreign law, whether such law is statutory, regulatory
          or common law, but only if such violation arises out of a security breach.

 KK.      Any claim based upon, arising out of, resulting from, in consequence of, or in any way involving:

          (1)       Any violation of the PCI Data Security Standard or any payment card company rules; or
          (2)       The failure to implement, maintain or comply with any security measures or standards related to payment
                    card data, including any fine or penalty imposed by a payment card company on a merchant bank or
                    payment processor that you have paid or agreed to reimburse or indemnify.

          This exclusion does not apply to an otherwise covered claim under Coverage Agreement D.

 LL.      With respect to Coverage Agreement F(1):

          (1)       Any amount incurred in restoring, updating or replacing digital assets to a level beyond that which existed
                    prior to the covered cause of loss;
          (2)       Physical damage to the computer hardware or data center, other than accidental physical damage or
                    destruction of electronic media so that stored digital assets are no longer machine-readable;
          (3)       Contractual penalties or consequential damages;
          (4)       Any liability to third parties for whatever reason, including legal costs and expenses of any type;
          (5)       Fines or penalties imposed by law;
          (6)       The economic or market value of digital assets;
          (7)       Costs or expenses incurred to identify, patch or remediate software program errors or computer system
                    vulnerabilities;
          (8)       Costs to upgrade, redesign, reconfigure or maintain an insured computer system to a level of
                    functionality beyond that which existed prior to the covered cause of loss; or
          (9)       Any losses paid under Coverage Agreement F(2).

 MM.      With respect to Coverage Agreement F(2):

          (1)       Any loss arising out of updating or replacing digital assets to a level beyond that which existed prior to the
                    covered cause of loss;
          (2)       Contractual penalties or consequential damages;
          (3)       Any liability to third parties for whatever reason, including legal costs and expenses of any type;
          (4)       Fines or penalties imposed by law;
          (5)       Costs or expenses incurred to identify, patch or remediate software program errors or computer system
                    vulnerabilities;
          (6)       Loss of goodwill and reputational harm;
          (7)       Costs to upgrade, redesign, reconfigure or maintain an insured computer system to a level of
                    functionality beyond that which existed prior to the covered cause of loss; or
          (8)       Any losses paid under Coverage Agreement F(1).

 NN.      With respect to Coverage Agreement I:

          (1)       Any amounts incurred by you in an effort to re-establish your reputation, including public
                    relations expenses;
          (2)       Any amounts incurred in any claim that is insured by any other insurance, except excess insurance;




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          (3)      Any amounts incurred in connection with an adverse media report that also affects or refers in     similar
              terms to a general security issue, an industry or your specific competitors without any        specific
              allegations regarding a privacy breach or security breach by an insured, a BPO          service provider, an
              outsourced IT service provider, or by others acting on your behalf and         for whom you are legally
              responsible;
          (4)      Any civil or regulatory liability to third parties for whatever reason, including legal costs and
                   expenses of any type;
          (5)      Contractual penalties or consequential damages;
          (6)      Privacy breach response costs, notification expenses or breach support and credit monitoring
              expenses paid under Coverage Agreement E; or
          (7)      Fines or penalties imposed by law or regulation.

 SECTION IV - LIMITS OF LIABILITY

 A.       The limit of insurance shown in the Schedule as applicable to a Coverage Agreement is the most the Company will
          pay for each claim and in the aggregate under that Coverage Agreement, including defense costs where
          applicable, regardless of the number of insureds involved or affected, the number of individuals or entities making
          a claim, or the number of claims made.

 B.       Subject to the provisions respecting each Coverage Agreement, the limit of insurance shown in Schedule as the
          “Annual Aggregate Limit” is the most the Company will pay for all claims made during the endorsement period
          under all Coverage Agreements of this Endorsement combined. The “Annual Aggregate Limit” includes defense
          costs.

 C.       If the “Annual Aggregate Limit” is exhausted, then the Company’s obligations under this Endorsement will be
          deemed completely fulfilled and extinguished.

 D.       All claims made under any one Coverage Agreement which arise out of the same, related, or continuing acts, facts
          or circumstances, will be considered a single claim without regard to the number of insureds, claims, or persons
          or entities making a claim, and only one “each claim” limit will apply. Such claim will be deemed to have been first
          made on the date the earlier of the related claims was first made and will be deemed to have been first reported to
          the Company on the date the earlier of the related claims was first reported to the Company in writing. Appeals and
          any post-trial proceedings or consolidated proceedings approved by us will be considered to be part of the original
          claim.

 E.       In the event that a claim is made and applies to more than one Coverage Agreement of this Endorsement, only one
          “each claim” limit will apply. The Company has the sole discretion to allocate amounts paid, if any, against the
          appropriate limit of liability.

 SECTION V - DEFINITIONS

 When used in this Endorsement:

 Acquiring bank means a bank or financial institution that accepts credit and debit card payments (including stored value
 cards and pre-paid cards) for products or services on behalf of a merchant, including processing and crediting those
 payments to a merchant’s account.

 Act of cyber terrorism means the premeditated use of information technology to organize and execute attacks, or the threat
 thereof, against computers, computer systems, networks or the internet by any person or group, whether acting alone, on
 behalf of, or in connection with any organization or government, which is committed for political, religious, or ideological
 purposes, with the intention to influence any government, put the public in fear, or cause destruction or harm to critical
 infrastructure or data.

 Adverse media report means any report or communication of an actual or potential security breach or privacy breach,
 which:

 A.       Has been publicized through any media channel including, but not limited to, television, print media, radio or
          electronic networks, the internet, or electronic mail; and
 B.       Threatens material damage to your reputation or brands.

 Assumed under contract means liability for damages resulting from a multimedia peril, security breach or privacy
 breach where such liability has been assumed by you in the form of a written hold harmless or indemnity agreement,




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 provided that such agreement was executed prior to the date the multimedia peril, security breach, or privacy breach
 occurred.

 Bodily injury means physical injury, sickness, disease, pain or death, and, if arising out of the foregoing, mental anguish,
 mental injury, shock, humiliation or emotional distress sustained by a person at any time.

 BPO service provider means any third-party independent contractor that provides business process outsourcing services
 for your benefit under a written contract with you, including, but not limited to, call center services, fulfillment services, and
 logistical support.

 Brand loss means your net profit as could have been reasonably projected immediately prior to notification or, in the event
 of an adverse media report, immediately prior to the publication of an adverse media report, but which has been lost as a
 direct result of such notification or adverse media report. Brand loss will be determined in accordance with Section VII.C
 of this Endorsement.

 Breach support and credit monitoring expenses means those reasonable and necessary costs and expenses
 you incur, with the Company’s prior written consent, for the provision of support activity to affected individuals in the event
 of a privacy breach, including the cost to provide a maximum of twelve (12) months of credit monitoring and identity
 theft education or assistance.

 Card association means Visa International, Mastercard, Discover, JCB American Express and any similar credit or debit
 card association that is a participating organization of the Payment Card Industry Security Standards Council.

 Claim means:

 A.       With respect to Coverage Agreement A (Multimedia Liability) and Coverage Agreement B (Security and Privacy
          Liability):

          (1)       Any written demand for monetary or non-monetary relief made against an insured;
          (2)       Any civil proceeding or arbitration proceeding initiated against an insured, commenced by the service of a
                    summons, complaint or similar pleading or notice; or
          (3)       Any written request to toll or waive a statute of limitations relating to a potential claim against an insured,
                    including any appeal therefrom.

          A claim under Coverage Agreement A or Coverage Agreement B will be deemed to be first made when an insured
          first receives notice of any of A(1) through A(3) above.

 B.       With respect to Coverage Agreement C (Privacy Regulatory Defense and Penalties), a government investigation
          commenced against an insured by letter, notice, complaint or order of investigation. A claim under Coverage
          Agreement C will be deemed to be first made when it is first received by an insured.

 C.       With respect to Coverage Agreement D (PCI DSS Assessment), a written demand made against an insured by an
          acquiring bank or card association for a PCI DSS assessment due to the insured’s non-compliance with the
          PCI Data Security Standard. A claim under Coverage Agreement D will be deemed to be first made when such
          written demand is received by an insured.

 D.       With respect to Coverage Agreement E (Privacy Breach Response Costs, Notification Expenses, and Breach
          Support and Credit Monitoring Expenses), your written report to the Company of an adverse media report,
          security breach or privacy breach.

 E.       With respect to Coverage Agreement F (Network Asset Protection), your written report to the Company of a
          covered cause of loss.

 F.       With respect to Coverage Agreement G (Cyber Extortion), your written report to the Company of a cyber extortion
          threat.

 G.       With respect to Coverage Agreement H (Cyber Terrorism), your written report to the Company of an act of cyber
          terrorism.

 H.       With respect to Coverage Agreement I (BrandGuard), your written report to the Company of brand loss directly
          caused by an adverse media report or notification.




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 Computer hardware means the physical components of any computer system, including CPU’s, memory, storage
 devices, storage media, input/output devices and other peripheral devices and components, including, but not limited to ,
 cables, connectors, fiber optics, wires, power supply units, keyboards, display monitors and audio speakers.

 Computer program means an organized set of instructions that, when executed, causes a computer to behave in a
 predetermined manner. Computer program includes, but is not limited to, communication systems, networking systems,
 operating systems, and related computer programs used to create, maintain process, retrieve, store, or transmit electronic
 data.

 Computer system means interconnected electronic, wireless or web systems, or similar systems (including all
 computer hardware and software) used to process and store data or information in an analogue, digital, electronic or
 wireless format including, but not limited to, computer programs, electronic data, operating systems, firmware,
 servers, media libraries, associated input and output devices, mobile devices, networking equipment, websites,
 extranets, off line storage facilities (to the extent that they hold electronic data), and electronic backup equipment.

 Computer virus means a program that possesses the ability to create replicas of itself (commonly known as an
 “auto-reproduction” program) within other programs or operating system areas, and which is capable of spreading copies
 of itself, wholly or in part, to other computer systems.

 Covered cause of loss means, and is limited to, the following:

 A.       Accidental Damage or Destruction

          (1)       Accidental physical damage or destruction of electronic media, so that stored digital assets are no
                    longer machine-readable;
          (2)       Accidental damage or destruction of computer hardware, so that stored data is no longer machine-
                    readable;
          (3)       Failure in power supply or under/over voltage, but only if such power supply, including back-up generators,
                    is under your direct operational control;
          (4)       Programming error of delivered programs; or
          (5)       Electrostatic build-up and static electricity.

 B.       Administrative or Operational Mistakes

          An accidental, unintentional, or negligent act, error or omission by an insured, a BPO service provider or
          outsourced IT service provider in:

          (1)       The entry, or modification of your electronic data, which causes damage to such data; or
          (2)       The creation, handling, development, modification or maintenance of your digital assets; or
          (3)       The on-going operation or maintenance of an insured computer system excluding the design,
                    architecture, or configuration of an insured computer system.

 C.       Computer Crime and Computer Attacks

          A negligent act, error or omission in the operation of an insured computer system or in the handling of your
          digital assets by an insured, a BPO service provider or outsourced IT service provider, which fails to prevent
          or hinder any of the following attacks on an insured computer system:

          (1)       A denial of service attack;
          (2)       Malicious code;
          (3)       Unauthorized access; or
          (4)       Unauthorized use.

 Criminal proceeding means any governmental action for enforcement of criminal laws, including those offenses for which
 conviction could result in imprisonment or criminal fine.

 Cyber extortion expenses means all reasonable and necessary costs and expenses you incur, with the Company’s
 prior written consent, as a direct result of a cyber extortion threat, other than cyber extortion monies.

 Cyber extortion monies means any funds or property you pay, with the Company’s prior written consent, to a person
 or organization reasonably believed to be responsible for a cyber extortion threat, in order to terminate such cyber
 extortion threat.




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 Cyber extortion threat means a credible threat or series of related credible threats, including, but not limited to, a
 demand for cyber extortion monies, directed at you to:

 A.       Release, divulge, disseminate, destroy or use the confidential information of a third party taken from an
          insured as a result of unauthorized access to, or unauthorized use of, an insured computer system;
 B.       Introduce malicious code into an insured computer system;
 C.       Corrupt, damage or destroy an insured computer system;
 D.       Restrict or hinder access to an insured computer system, including, but not limited to, the threat of a denial
          of service attack; or
 E.       Electronically communicate with your customers and falsely claim to be you or to be acting under your direction in
          order to falsely obtain personal or confidential information of a customer (also known as “pharming”, “phishing”, or
          other types of false communications).

 Damages means the amount of money which an insured is legally obligated to pay as a result of a covered claim under
 Coverage Agreement A or Coverage Agreement B, including judgments, legal fees and costs awarded against an insured
 pursuant to such judgments, punitive and exemplary damages where insurable, and settlements negotiated with the
 Company’s consent.

 Damages does not include:

 A.       Taxes;
 B.       Any amount for which an insured is absolved from legal responsibility to make payment to a third party;
 C.       Amounts owed under contract;
 D.       Your future profits or royalties or any return, withdrawal, restitution or reduction of your professional fees, profits or
          other charges;
 E.       Liquidated damages or the multiplied portion of multiplied damages;
 F.       Fines, sanctions or penalties;
 G.       Any matters that are deemed uninsurable under applicable law;
 H.       The costs to comply with orders granting injunctive or non-monetary relief, including specific performance or any
          agreement to provide such relief;
 I.       Disgorgement of any remuneration or financial advantage to which you were not legally entitled; or
 J.       Settlements negotiated without the Company’s consent.

 Data means any and all machine-readable information, including, but not limited to, ready-for-use programs, applications,
 account information, personal information, health and medical information, or electronic information subject to back -up
 procedures, irrespective of the way it is used or rendered.

 Defense costs means reasonable and necessary legal fees and related costs and expenses incurred with the Company’s
 consent in the investigation, defense and appeal of any claim under Coverage Agreement A, Coverage Agreement B,
 Coverage Agreement C, or Coverage Agreement D. Defense costs does not include any wages, salaries, fees, overhead
 or other charges incurred by, or paid to, any insured for time spent in cooperating in the defense and investigation of any
 claim or potential claim under this Endorsement.

 Delivered programs means programs, applications, and software where the development stage has been finalized,
 having passed all test-runs and been proven successful in a live environment.

 Denial of service attack means an event caused by unauthorized or unexpected interference or a malicious attack
 intended by the perpetrator to overwhelm the capacity of a computer system by sending an excessive volume of
 electronic data to such computer system in order to prevent authorized access to such computer system.

 Digital assets means data and computer programs that exist in an insured computer system. Digital assets does not
 include computer hardware.

 Digital assets loss means reasonable and necessary expenses and costs you incur to replace, recreate or restore digital
 assets to the same state and with the same contents immediately before it was damaged, destroyed, altered, misused, or
 stolen, including expenses for materials and machine time. Digital assets loss also includes amounts representing
 employee work time to replace, recreate or restore digital assets, which shall be determined on a predefined billable hours
 or per hour basis as based upon your schedule of employee billable hours.

 Electronic media means floppy disks, CD ROMs, flash drives, hard drives, solid state drives, magnetic tapes, magnetic
 discs, or any other media on which electronic data is recorded or stored.




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 Endorsement period means the period of coverage beginning on the effective date specified on this Endorsement and
 ending on the earlier of the termination, expiration or cancellation date of the Policy to which this Endorsement attaches.
 Endorsement period does not include any extended reporting period.

 Firmware means the fixed programs that internally control basic low-level operations in a device.

 Government investigation means a formal investigation instituted against an insured by any federal, state or local
 government agency or authority, the subject matter of which is a privacy breach or security breach.

 Income loss means financial loss you sustain, as determined in accordance with the provisions of Coverage Agreement
 F(2) or Coverage Agreement H.

 Insured means the named insured and current executive officers, partners, directors, stockholders, trustees, or employees
 of the named insured, but only while such individuals are acting within the scope of their duties on behalf of the named
 insured.

 Insured computer system means:

 A.       A computer system operated by, and either owned by or leased to, you;
 B.       With respect to Coverage Agreement B only, a computer system operated by a BPO service provider or
          outsourced IT service provider and used for the sole purpose of providing hosted computer application
          services to you or for processing, maintaining, hosting, or storing your electronic data, pursuant to a written
          contract with you to provide such services.

 Interruption expenses means those expenses, excluding special expenses, which you incur in accordance with the
 provisions of Coverage Agreement F(2) or Coverage Agreement H to:

 A.       Avoid or minimize the suspension of your business as a result of a total or partial interruption, degradation in
          service, or failure of an insured computer system caused directly by a covered cause of loss or act of cyber
          terrorism, which you would not have incurred had no covered cause of loss or act of cyber terrorism occurred,
          including, but not limited to, the use of rented/leased external equipment, substitution of other work or production
          procedures, use of third party services, or additional staff expenditures or labor costs; and
 B.       Minimize or avoid a covered cause of loss or an act of cyber terrorism and continue your business.

 The amount of interruption expenses recoverable under paragraph A. above shall in no case exceed the amount by which
 the covered income loss is reduced by such incurred expenses.

 Malicious code means software intentionally designed to insert itself into and damage a computer system without the
 owner’s informed consent by a variety of forms including, but not limited to, viruses, worms, Trojan horses, spyware,
 dishonest adware, and crimeware.

 Multimedia peril means the release of or display of any electronic media on your internet site or print media for which
 you are responsible, which directly results in any of the following:

 A.       Any form of defamation or other tort related to the disparagement or harm to the reputation or character of any
          person or organization, including libel, slander, product disparagement or trade libel;
 B.       Invasion, infringement or interference with an individual's right of privacy or publicity, including false light, intrusion
          upon seclusion, commercial misappropriation of name, person or likeness, or public disclosure of private facts;
 C.       Plagiarism, piracy or misappropriation of ideas under an implied contract;
 D.       Infringement of copyright, trademark, trade name, trade dress, title, slogan, service mark or service name; or
 E.       Domain name infringement, improper deep linking, or framing.

 Named insured means the person or organization listed as such on the Declarations Page of the Policy to which this
 Endorsement attaches.

 Notification means written notice to affected individuals in the event of a security breach or a privacy breach.

 Notification expenses means:

 A.       Those reasonable and necessary legal expenses, computer forensic and investigation fees, postage expenses and
          related advertising expenses incurred by you, with the Company’s prior written consent, to comply with




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          governmental privacy legislation mandating notice to affected individuals in the event of a security breach or
          privacy breach; and
 B.       Voluntary notification expenses incurred with the Company’s prior written consent, subject to the voluntary
          notification expenses sublimit.

 Operational programs means programs and software which are ready for operational use, having been fully
 developed, tested, and accepted by you.

 Outsourced IT service provider means a third party independent contractor that provides information technology services
 for your benefit under a written contract with you. Outsourced IT service provider services include, but are not limited to,
 hosting, security management, co-location, and data storage.

 PCI Data Security Standard (known as “PCI DSS”) means the published data security standards in effect now, or as
 hereafter amended, which all merchants and processors must follow when storing, processing and transmitting cardholder
 data.

 PCI DSS assessment means monetary fines, penalties or assessments, such fraud recoveries, card reissuance costs,
 operational expenses or compliance case costs, imposed against an insured by an acquiring bank or card association as
 a result of a security breach or privacy breach.

 Period of indemnity means the period beginning with the earlier of the date of notification or the first publication of an
 adverse media report (whichever applies), and ending on the earlier of:
 A.       The date that gross revenues are restored to the level they had been prior to notification or the first adverse
          media report (whichever applies); or
 B.       One hundred eighty (180) consecutive days after the notice of brand loss is received by the Company.

 Period of restoration means the period of time beginning on the date when the interruption, degradation or failure of an
 insured computer system began and ending on the earlier of:

 A.       The date when the insured computer system is restored or could have been repaired or restored to the same
          condition, functionality, and level of service that existed prior to the covered cause of loss or act of cyber
          terrorism with reasonable diligence, plus up to thirty (30) additional consecutive days after restoration of the
          insured computer system to allow for restoration of your business; or
 B.       One hundred twenty (120) consecutive days after the notice of covered cause of loss or act of cyber terrorism is
          received by the Company.

 Print media means newspapers, newsletters, magazines, brochures, books and literary works in any form, or other types of
 publications and advertising materials, including packaging, photographs, and digital images.

 Privacy breach means any of the below, whether actual or alleged, but only if committed or allegedly committed by an
 insured or by others acting on your behalf for whom you are legally responsible, including BPO service providers and
 outsourced IT service providers:

 A.       A common law breach of confidentiality, infringement, or violation of any right to privacy, including, but not limited
          to, a breach of your privacy policy, false light, intrusion upon a person’s seclusion, commercial misappropriation of
          name, person, or likeness, or public disclosure of a person’s private information; or
 B.       Any breach or violation of U.S. federal, state or local privacy statutes or regulations, as they currently exist and as
          amended, associated with confidentiality, access, control, and use of personally identifiable, non-public
          information, including, but not limited to:

          (1)       The Health Insurance Portability and Accountability Act of 1996 (Public Law 104- 191), known as
                    HIPAA, and related state medical privacy laws;
          (2)       The Gramm-Leach-Bliley Act of 1999 (GLBA), also known as the Financial Services Modernization Act of
                    1999;
          (3)       State and federal statutes and regulations regarding the security and privacy of consumer information;
          (4)       Governmental privacy protection regulations or laws associated with the control and use of personal
                    information;
          (5)       Privacy provisions of consumer protection laws, including the Federal Fair Credit Reporting Act
                    (FCRA) and similar state laws;
          (6)       Title XIII, the Health Information Technology for Economic and Clinical Health Act (“HITECH”), of the
                    American Recovery and Reinvestment Act of 2009 (“ARRA”).




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 A series of continuing privacy breaches, related or repeated privacy breaches, or multiple privacy breaches resulting
 from the same facts or circumstances will be considered a single privacy breach and will be deemed to have occurred at
 the time the first of such privacy breaches occurred.

 Privacy breach response costs means:

 A.       Those reasonable and necessary public relations expenses you incur, with the Company’s prior written
          consent, to avert or mitigate any material damage to your reputation or brands, which results or reasonably will
          result from an adverse media report; and
 B.       Proactive privacy breach response costs incurred with the Company’s prior written consent, subject to the
          proactive privacy breach response costs sublimit.

 Proactive privacy breach response costs means those reasonable and necessary public relations expenses you
 incur in response to an actual or potential security breach or privacy breach, but prior to the publication of an
 adverse media report, in an effort to avert or mitigate the potential impact of such adverse media report. Proactive
 privacy breach response costs must be incurred with our prior written consent.

 Proactive privacy breach response costs sublimit means the maximum amount that the Company will pay for
 proactive privacy breach response costs. The proactive privacy breach response costs sublimit is included
 within, and will erode, the limits of liability applicable to C overage Agreement E.

 Programming error means an error that occurs during the development or encoding of a computer program,
 software, or application, which would, when in operation, result in a malfunction or incorrect operation of a computer
 system.

 Property damage means injury to tangible property, including all resulting loss of use of that property, and loss of use of
 tangible property that is not physically injured. Data is not considered tangible property.

 Public relations expenses means reasonable and necessary fees and expenses you incur in the employment of a public
 relations consultant to re-establish your reputation which was damaged as a direct result of an adverse media report.

 Regulatory compensatory award means a sum of money an insured is legally obligated to pay as an award or fund for
 affected individuals, including a regulatory agency’s monetary award to a third party, due to an adverse judgment or
 settlement arising out of a government investigation. Regulatory compensatory award does not include any criminal
 penalty or fine issued by a regulatory agency of any kind, including federal, state, or local governmental agencies.

 Regulatory fines and penalties means civil or administrative fines and penalties imposed against an insured as a result of
 a government investigation.

 Regulatory fines and penalties does not include:

 A.       Any criminal fines or penalties of any nature whatsoever;
 B.       Any fines or penalties imposed against an insured for failure to comply with or follow the PCI Data Security
          Standard or any payment card company rules; or
 C.       Any interest assessed on regulatory fines and penalties.

 Retroactive date means the date specified as such on this Endorsement, on or after which any multimedia peril, security
 and privacy wrongful act, security breach, privacy breach, covered cause of loss, act of cyber terrorism, or adverse
 media report must have taken place in order to be considered for coverage under this Endorsement.

 Security and privacy wrongful act means any of the following acts, whether actual or alleged, but only if
 committed or allegedly committed by an insured:

 A.       The failure to prevent or hinder a security breach, which in turn results in:

          (1)       The alteration, copying, corruption, destruction or deletion of, or damage to, electronic data stored on an
                    insured computer system;
          (2)       Theft, loss or unauthorized disclosure of electronic or non-electronic confidential commercial, corporate,
                    personally identifiable, or private information that is in an insured’s care, custody or control;
          (3)       Theft, loss or unauthorized disclosure of electronic or non-electronic confidential commercial, corporate,
                    personally identifiable, or private information that is in the care, custody or control of a BPO service




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                    provider or outsourced IT service provider that is holding, processing or transferring such information
                    on your behalf; provided, however, that the theft, loss or unauthorized disclosure occurs while your written
                    contract with such BPO service provider or outsourced IT service provider is in effect; or
          (4)       Unauthorized use of or unauthorized access to a computer system other than an insured computer
                    system;
 B.       The failure to timely disclose a security breach affecting personally identifiable, nonpublic information, or the
          failure to dispose of personally identifiable, nonpublic information within the required time period, in violation of
          privacy regulations in effect now or in the future;
 C.       The failure to prevent the transmission of malicious code or computer virus from an insured computer system
          to the computer system of a third party;
 D.       A privacy breach;
 E.       The failure to prevent or hinder participation by an insured computer system in a denial of service attack
          directed against internet sites or the computer system of any third party; or
 F.       The loss of your employee’s information.

 Security breach means any of the following, whether a specifically targeted attack or a generally distributed attack:

 A.       Unauthorized access to, or unauthorized use of, an insured computer system, including unauthorized access
          or unauthorized use resulting from the theft of a password from an insured computer system or from an
          insured;
 B.       A denial of service attack against an insured computer system; or
 C.       Infection of an insured computer system by malicious code or the transmission of malicious code from an
          insured computer system.

 A series of continuing security breaches, related or repeated security breaches, or multiple security breaches resulting
 from a continuing failure of computer security will be considered a single security breach and will be deemed to have
 occurred at the time the first of such security breaches occurred.

 Special expenses means reasonable and necessary costs and expenses you incur to:

 A.     Prevent, preserve, minimize, or mitigate any further damage to your digital assets, including the reasonable and
        necessary fees and expenses of specialists, outside consultants or forensic experts;
 B.     Preserve critical evidence of any criminal or malicious wrongdoing;
 C.     Purchase replacement licenses for computer programs because the copy protection system or access control
        software was damaged or destroyed by a covered cause of loss or act of cyber terrorism; or
 D.     Notify customers of a total or partial interruption, degradation in service, or failure of an insured computer system
        resulting from a covered cause of loss or act of cyber terrorism.
 Unauthorized access means the gaining of access to a computer system by an unauthorized person.

 Unauthorized use means the use of a computer system by unauthorized persons or by authorized persons in an
 unauthorized manner.

 Voluntary notification expenses reasonable and necessary legal expenses, computer forensic and investigation fees,
 postage expenses and related advertising expenses you incur to provide written notice to any individual or organization of a
 privacy breach or security breach where there is no specific legal requirement in the applicable jurisdiction mandating
 such notice.

 Voluntary notification expenses sublimit means the maximum amount that the Company will pay for voluntary
 notification expenses. The voluntary notification expenses sublimit is included within, and will erode, the limits of
 liability applicable to Coverage Agreement E.

 Waiting period means:

 A.       With respect to Coverage Agreement F(2) and Coverage Agreement H, the 8-hour period which must elapse
          before income loss, interruption expenses and special expenses may be payable. The waiting period applies
          to each period of restoration.
 B.       With respect to Coverage Agreement I, the two-week period which must elapse after notification, or in the event
          of an adverse media report, after publication of the first adverse media report, before brand loss may be
          payable. The waiting period applies to each period of indemnity.




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 You and your mean the named insured.

 Your reputation means the estimation of trust that customers or clients have in doing business with you or in purchasing
 your products or services.

 SECTION VI – NOTICE PROVISIONS

 A.       NOTICE OF A CLAIM

          (1)       As a condition precedent to coverage under Coverage Agreement A, B, C or D, an insured must give the
                    Company written notice of any claim made against the insured no later than sixty (60) days after the
                    claim is first made against the insured.
          (2)       As a condition precedent to coverage under Coverage Agreement E, F, G, H or I, you must give the
                    Company written notice of any claim no later than sixty (60) days from the date an insured first discovers
                    the event or incident giving rise to such claim.
          (3)       You must provide the Company with copies of all documentation comprising the claim as well as any
                    authorization, cooperation, or assistance as the Company may require.
          (4)       The Company will not be obligated to pay any amounts incurred prior to notice of a claim to the Company
                    or amounts incurred without the Company’s prior written consent.

 B.       NOTICE OF A POTENTIAL CLAIM

          If, during the endorsement period, any insured first becomes aware of any facts or circumstances which could
          give rise to a claim covered under this Endorsement, and if the insured provides the Company with written notice
          during the endorsement period of:

          (1)       The details regarding such facts or circumstances;
          (2)       The nature of the loss incurred;
          (3)       The identity of the potential claimant(s) involved;
          (4)       The manner in which the insured first became aware of the facts or circumstances; and
          (5)       The consequences which have resulted or may result,

          then any claim subsequently made arising out of such reported facts or circumstances will be deemed to be a
          claim first made on the date notice complying with the foregoing requirements was first received by the Company.

 SECTION VII - LOSS DETERMINATION

 A.       LOSS OF DIGITAL ASSETS

          For any and all coverage provided under Coverage Agreement F(1), digital assets loss will be determined as
          follows:

          (1)       If the impacted digital asset was purchased from a third party, the Company will pay only the lesser of the
                    original purchase price of the digital asset or the reasonable and necessary digital assets loss.

          (2)       If it is determined that the digital assets cannot be replaced, restored or recreated, then the Company will
                    only reimburse the actual and necessary digital assets loss incurred up to such determination.

 B.       NON-PHYSICAL BUSINESS INTERRUPTION AND EXTRA EXPENSE AND CYBER TERRORISM

          For any and all coverage provided under Coverage Agreement F(2) or Coverage Agreement H, income loss will be
          determined as the reduction of your income during the period of restoration, which is:

          (1)      Your net income (net profit or loss before income taxes) that would have been reasonably projected, but
                   which has been lost directly as a result of a total or partial interruption, degradation in service or failure of an
                   insured computer system caused directly by a covered cause of loss or act of cyber terrorism,
                   whichever applies. The income projection will take into account the prior experience of your business
                   preceding the date of the covered cause of loss or act of cyber terrorism and the probable experience
                   had no covered cause of loss or act of cyber terrorism occurred. Income includes the amount of money
                   paid or payable to you for goods, products or services sold, delivered or rendered in the normal course of
                   your business. The income projection will be reduced by the extent to which you use substitute methods,
                   facilities or personnel to maintain your revenue stream. The Company will take into consideration your




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                   documentation of the trends in your business and variations in, or other circumstances affecting, your
                   business before or after the covered cause of loss or act of cyber terrorism, which would have affected
                   your business had no covered cause of loss or act of cyber terrorism occurred; and
          (2)      Any fixed operating expenses (including ordinary payroll) incurred, but only to the extent that such operating
                   expenses must continue during the period of restoration.

 C.       BRANDGUARD

          For any and all coverage provided under Coverage Agreement I, brand loss will be calculated by taking into
          account the prior experience of your business preceding the date of the adverse media report or notification,
          whichever applies, and the probable experience had no adverse media report been published or notification
          occurred. Income includes the amount of money paid or payable to you for goods, products or services sold,
          delivered or rendered in the normal course of your business. The income projection will be reduced by the extent to
          which you use substitute methods, facilities, or personnel to maintain its revenue stream. The Company will take
          into consideration your documentation of the trends in your business and variations in, or other circumstances
          affecting, your business before or after the adverse media report or notification, which would have affected your
          business had no adverse media report been published or notification occurred. Any fixed operating expenses
          (including ordinary payroll) incurred will be considered in calculating brand loss, but only to the extent that such
          operating expenses must continue during the period of indemnity.

 SECTION VIII – EXTENDED REPORTING PERIOD

 A.       AUTOMATIC EXTENDED REPORTING PERIOD

          In the event of non-renewal or termination of this Policy for any reason other than non-payment of premium, the
          Company will provide an Automatic Extended Reporting Period of sixty (60) days during which claims otherwise
          covered by this Endorsement may be reported. Such Automatic Extended Reporting Period will commence
          immediately upon termination or expiration of this Policy and will apply to:

          (1)       A claim under Coverage Agreement A, B, C, or D which:

                    (a)      Arises out of an actual or alleged multimedia peril, security and privacy wrongful act,
                             security breach or privacy breach, whichever applies, that takes place or first commences on
                             or after the retroactive date, but prior to the expiration or termination of the Policy; and
                    (b)      Is first made against an insured during the endorsement period, but prior to the Policy
                             termination or expiration date; and
                    (c)      Is reported in writing to the Company during the Automatic Extended Reporting Period.

          (2)       A claim under Coverage Agreement E, F, G, H, or I which:

                    (a)      Arises out of an adverse media report, security breach, privacy breach, covered cause of
                             loss, cyber extortion threat or act of cyber terrorism, whichever applies, that takes place or
                             first     commences on or after the retroactive date, but prior to the expiration or termination
                             of the Policy; and
                    (b)      Is reported in writing to the Company during the Automatic Extended Reporting Period.

 B.       SUPPLEMENTAL EXTENDED REPORTING PERIOD

          (1)       You shall have the option, upon payment of the required additional premium, to purchase a Supplemental
                    Extended Reporting Period of 12 months, 24 months, or 36 months following the effective date of
                    termination of coverage. The Supplemental Extended Reporting Period will extend the time during which
                    claims otherwise covered by this Endorsement may be made and reported. If the Supplemental Extended
                    Reporting Period is purchased, the Automatic Extended Reporting Period will be included within the
                    Supplemental Extended Reporting Period. Such Supplemental Extended Reporting Period will apply only
                    to:

                    (a)      A claim under Coverage Agreement A, B, C, or D which:

                             (i)       Arises out of an actual or alleged multimedia peril, security and privacy wrongful
                                       act, security breach or privacy breach, whichever applies, that takes place or first
                                       commences on or after the retroactive date, but prior to the expiration or termination of
                                       the Policy; and




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                             (ii)      Is first made against an insured during the Supplemental Extended Reporting Period;
                                       and
                             (iii)     Is reported in writing to the Company no later than 60 days after the claim is first made
                                       against an insured.

                    (b)      A claim under Coverage Agreement E, F, G H or I which:

                             (i)       Arises out of an adverse media report, security breach, privacy breach, covered
                                       cause of loss, cyber extortion threat or act of cyber terrorism, whichever applies,
                                       that takes place or first commences on or after the retroactive date, but prior to the
                                       expiration or termination of the Policy; and
                             (ii)      Is reported in writing to the Company during the Supplemental Extended Reporting
                                       Period, but no later than 60 days from the date any insured discovers the adverse
                                       media report, security breach, privacy breach, covered cause of loss, cyber
                                       extortion threat, act of cyber terrorism or brand loss, whichever applies.

          (2)       The right to purchase the Supplemental Extended Reporting Period shall terminate unless written notice of
                    such election, together with full payment of the required additional premium due, is rec eived by us no later
                    than sixty (60) days after the effective date of non-renewal or termination of the Policy.

          (3)       The additional premium for the Supplemental Extended Reporting Period shall be a percentage of the
                    rates for such coverage in effect on the later of the date the policy was issued or last renewed.

          (4)       If you do not elect to purchase a Supplemental Extended Reporting Period, then coverage under this
                    Endorsement will terminate at the end of the Automatic Extended Reporting Period. If you elect to
                    purchase a Supplemental Extended Reporting Period, coverage will terminate at the end of the
                    Supplemental Extended Reporting Period.

          (5)       Once in effect, the Supplemental Extended Reporting Period may not be canceled, and the entire premium
                    will be deemed fully earned. We will not be liable to return any portion of the premium to you for such
                    Supplemental Extended Reporting Period. If you have not paid the required additional premium for the
                    Supplemental Extended Reporting Period when due, then such Supplemental Extended Reporting Period
                    shall be void.

 C.       All terms and conditions of this Endorsement, including the limits of insurance, will continue to apply during any
          extended reporting period.

 D.       The existence of any extended reporting period will not increase or reinstate the limits of insurance shown in the
          Schedule.

 SECTION IX – OTHER INSURANCE

 The coverage provided by this Endorsement will be excess insurance over any other valid and collectible insurance
 available, including any self insured retention or deductible portion thereof, whether such insurance is stated to be primary,
 pro rata, contributory, excess, contingent or otherwise, unless such insurance specifically applies as excess insurance over
 the insurance provided under this Endorsement.

 SECTION X – ARBITRATION

 Notwithstanding any other provision of this Endorsement or the Policy, any irreconcilable dispute between the Company and
 an insured is to be resolved by arbitration in accordance with the then current rules of the American Arbitration Association,
 except that the arbitration panel shall consist of one arbitrator selected by the insured, one arbitrator selected by the
 Company, and a third independent arbitrator selected by the first two arbitrators. Both parties must agree to arbitration at the
 time of dispute. Judgment upon the award may be entered in any court having jurisdiction. The arbitrator has the power to
 decide any dispute between the Company and the insured concerning the application or interpretation of this Endorsement.
 However, the arbitrator shall have no power to change or add to the provisions of this Endorsement. The insured and the
 Company will share equally in the cost of arbitration.




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                                                                            COMMERCIAL GENERAL LIABILITY
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                   PRODUCTS/COMPLETED OPERATIONS
                       LIABILITY COVERAGE FORM
 Various provisions in this policy restrict coverage.          b. This insurance applies to "bodily injury" and
 Read the entire policy carefully to determine rights,            "property damage" only if:
 duties and what is and is not covered.                          (1) The "bodily injury" or "property damage" is
 Throughout this policy the words "you" and "your"                   caused by an "occurrence" that takes place
 refer to the Named Insured shown in the Declarations,               in the "coverage territory";
 and any other person or organization qualifying as a            (2) The "bodily injury" or "property damage"
 Named Insured under this policy. The words "we",                    occurs during the policy period; and
 "us" and "our" refer to the company providing this
 insurance.                                                      (3) Prior to the policy period, no insured listed
                                                                     under Paragraph 1. of Section II – Who Is
 The word "insured" means any person or organization                 An Insured and no "employee" authorized
 qualifying as such under Section II – Who Is An                     by you to give or receive notice of an
 Insured.                                                            "occurrence" or claim, knew that the "bodily
 Other words and phrases that appear in quotation                    injury" or "property damage" had occurred,
 marks have special meaning. Refer to Section V –                    in whole or in part. If such a listed insured
 Definitions.                                                        or authorized "employee" knew, prior to the
 SECTION I – COVERAGES                                               policy period, that the "bodily injury" or
 PRODUCTS/COMPLETED OPERATIONS                                       "property damage" occurred, then any
                                                                     continuation, change or resumption of such
 BODILY INJURY AND PROPERTY DAMAGE                                   "bodily injury" or "property damage" during
 LIABILITY                                                           or after the policy period will be deemed to
                                                                     have been known prior to the policy period.
 1. Insuring Agreement
                                                               c. "Bodily injury" or "property damage" which
    a. We will pay those sums that the insured                    occurs during the policy period and was not,
        becomes legally obligated to pay as damages               prior to the policy period, known to have
        because of "bodily injury" or "property damage"           occurred by any insured listed under
        included within the "products-completed                   Paragraph 1. of Section II – Who Is An Insured
        operations hazard" to which this insurance                or any "employee" authorized by you to give or
        applies. We will have the right and duty to               receive notice of an "occurrence" or claim,
        defend the insured against any "suit" seeking             includes any continuation, change or
        those damages. However, we will have no duty              resumption of that "bodily injury" or "property
        to defend the insured against any "suit"                  damage" after the end of the policy period.
        seeking damages for "bodily injury" or
        "property damage" to which this insurance              d. "Bodily injury" or "property damage" will be
        does not apply. We may, at our discretion,                deemed to have been known to have occurred
        investigate any "occurrence" and settle any               at the earliest time when any insured listed
        claim or "suit" that may result. But:                     under Paragraph 1. of Section II – Who Is An
                                                                  Insured or any "employee" authorized by you to
       (1) The amount we will pay for damages is                  give or receive notice of an "occurrence" or
            limited as described in Section III – Limits          claim:
            Of Insurance; and
                                                                  (1) Reports all, or any part, of the "bodily injury"
       (2) Our right and duty to defend ends when we                  or "property damage" to us or any other
            have used up the applicable limit of                      insurer;
            insurance in the payment of judgments or
            settlements.                                          (2) Receives a written or verbal demand or
                                                                      claim for damages because of the "bodily
        No other obligation or liability to pay sums or               injury" or "property damage"; or
        perform acts or services is covered unless
        explicitly provided for under Supplementary               (3) Becomes aware by any other means that
        Payments.                                                     "bodily injury" or "property damage" has
                                                                      occurred or has begun to occur.




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    e. Damages because of "bodily injury" include                  (3) Any statute, ordinance or regulation relating
       damages claimed by any person or                                to the sale, gift, distribution or use of
       organization for care, loss of services or death                alcoholic beverages.
       resulting at any time from the "bodily injury".              This exclusion applies even if the claims
 2. Exclusions                                                      against any insured allege negligence or other
    This insurance does not apply to:                               wrongdoing in:
    a. Expected Or Intended Injury                                    (a) The supervision, hiring, employment,
                                                                          training or monitoring of others by that
       "Bodily injury" or "property damage" expected                      insured; or
       or intended from the standpoint of the insured.
       This exclusion does not apply to "bodily injury"               (b) Providing    or  failing to    provide
       resulting from the use of reasonable force to                      transportation with respect to any
       protect persons or property.                                       person that may be under the influence
                                                                          of alcohol;
    b. Contractual Liability
                                                                   if the "occurrence" which caused the "bodily
       "Bodily injury" or "property damage" for which              injury" or "property damage", involved that
       the insured is obligated to pay damages by                  which is described in Paragraph (1), (2) or (3)
       reason of the assumption of liability in a                  above.
       contract or agreement. This exclusion does not
       apply to liability for damages:                             However, this exclusion applies only if you are
                                                                   in the business of manufacturing, distributing,
      (1) That the insured would have in the absence               selling, serving or furnishing alcoholic
           of the contract or agreement; or                        beverages. For the purposes of this exclusion,
      (2) Assumed in a contract or agreement that is               permitting a person to bring alcoholic
          an "insured contract", provided the "bodily              beverages on your premises, for consumption
          injury" or "property damage" occurs                      on your premises, whether or not a fee is
          subsequent to the execution of the contract              charged or a license is required for such
          or agreement. Solely for the purposes of                 activity, is not by itself considered the business
          liability assumed in an "insured contract",              of selling, serving or furnishing alcoholic
          reasonable attorneys' fees and necessary                 beverages.
          litigation expenses incurred by or for a party        d. Workers' Compensation And Similar Laws
          other than an insured are deemed to be
          damages because of "bodily injury" or                    Any obligation of the insured under a workers'
          "property damage", provided:                             compensation,          disability   benefits    or
                                                                   unemployment compensation law or any
         (a) Liability to such party for, or for the cost          similar law.
               of, that party's defense has also been
               assumed in the same "insured contract";          e. Employer's Liability
               and                                                 "Bodily injury" to:
         (b) Such attorneys' fees and litigation                  (1) An "employee" of the insured arising out of
               expenses are for defense of that party                  and in the course of:
               against a civil or alternative dispute                 (a) Employment by the insured; or
               resolution proceeding in which damages
               to which this insurance applies are                    (b) Performing duties related to the conduct
               alleged.                                                    of the insured's business; or
    c. Liquor Liability                                            (2) The spouse, child, parent, brother or sister
                                                                       of that "employee" as a consequence of
       "Bodily injury" or "property damage" for which                  Paragraph (1) above.
       any insured may be held liable by reason of:
                                                                    This exclusion applies whether the insured
      (1) Causing or contributing to the intoxication of            may be liable as an employer or in any other
          any person;                                               capacity and to any obligation to share
      (2) The furnishing of alcoholic beverages to a                damages with or repay someone else who
          person under the legal drinking age or                    must pay damages because of the injury.
          under the influence of alcohol; or                       This exclusion does not apply to liability
                                                                   assumed by the insured under an "insured
                                                                   contract".




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    f. War                                                        j. Damage To Impaired Property Or Property
       "Bodily injury" or "property damage", however                 Not Physically Injured
       caused, arising, directly or indirectly, out of:              "Property damage" to "impaired property" or
      (1) War, including undeclared or civil war;                    property that has not been physically injured,
                                                                     arising out of:
      (2) Warlike action by a military force, including
          action in hindering or defending against an              (1) A defect, deficiency, inadequacy or
          actual or expected attack, by any                            dangerous condition in "your product" or
          government, sovereign or other authority                     "your work"; or
          using military personnel or other agents; or             (2) A delay or failure by you or anyone acting
      (3) Insurrection, rebellion, revolution, usurped                 on your behalf to perform a contract or
          power, or action taken by governmental                       agreement in accordance with its terms.
          authority in hindering or defending against               This exclusion does not apply to the loss of use
          any of these.                                             of other property arising out of sudden and
    g. Damage To Property                                           accidental physical injury to "your product" or
                                                                    "your work" after it has been put to its intended
       "Property damage" to:                                        use.
      (1) Property you own, rent or occupy, including            k. Recall Of Products, Work Or Impaired
          any costs or expenses incurred by you, or                 Property
          any other person, organization or entity, for
          repair,      replacement,        enhancement,              Damages claimed for any loss, cost or
          restoration or maintenance of such property                expense incurred by you or others for the loss
          for any reason, including prevention of                    of use, withdrawal, recall, inspection, repair,
          injury to a person or damage to another's                  replacement, adjustment, removal or disposal
          property;                                                  of:
      (2) Premises you sell, give away or abandon, if               (1) "Your product";
          the "property damage" arises out of any                   (2) "Your work"; or
          part of those premises;                                   (3) "Impaired property";
      (3) Property loaned to you; or                                 if such product, work, or property is withdrawn
      (4) Personal property in the care, custody or                  or recalled from the market or from use by any
          control of the insured.                                    person or organization because of a known or
        Paragraph (2) of this exclusion does not apply               suspected defect, deficiency, inadequacy or
        if the premises are "your work" and were never               dangerous condition in it.
        occupied, rented or held for rental by you.               l. Electronic Data
        Paragraphs (3) and (4) of this exclusion do not              Damages arising out of the loss of, loss of use
        apply to liability assumed under a sidetrack                 of, damage to, corruption of, inability to access,
        agreement.                                                   or inability to manipulate electronic data.
    h. Damage To Your Product                                        However, this exclusion does not apply to
        "Property damage" to "your product" arising out              liability for damages because of "bodily injury".
        of it or any part of it.                                     As used in this exclusion, electronic data
     i. Damage To Your Work                                          means information, facts or programs stored as
                                                                     or on, created or used on, or transmitted to or
        "Property damage" to "your work" arising out of              from computer software, including systems and
        it or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
        completed operations hazard".                                ROMs, tapes, drives, cells, data processing
        This exclusion does not apply if the damaged                 devices or any other media which are used
        work or the work out of which the damage                     with electronically controlled equipment.
        arises was performed on your behalf by a
        subcontractor.




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 SUPPLEMENTARY PAYMENTS                                           e. The indemnitee and the insured ask us to
 1. We will pay, with respect to any claim we                        conduct and control the defense of that
    investigate or settle, or any "suit" against an                  indemnitee against such "suit" and agree that
    insured we defend:                                               we can assign the same counsel to defend the
                                                                     insured and the indemnitee; and
    a. All expenses we incur.
                                                                  f. The indemnitee:
    b. The cost of bonds to release attachments, but
       only for bond amounts within the applicable                  (1) Agrees in writing to:
       limit of insurance. We do not have to furnish                    (a) Cooperate with us in the investigation,
       these bonds.                                                         settlement or defense of the "suit";
    c. All reasonable expenses incurred by the                          (b) Immediately send us copies of any
       insured at our request to assist us in the                           demands, notices, summonses or legal
       investigation or defense of the claim or "suit",                     papers received in connection with the
       including actual loss of earnings up to $250 a                       "suit";
       day because of time off from work.                               (c) Notify any other insurer whose coverage
    d. All court costs taxed against the insured in the                     is available to the indemnitee; and
       "suit". However, these payments do not include                   (d) Cooperate with us with respect to
       attorneys' fees or attorneys' expenses taxed                         coordinating other applicable insurance
       against the insured.                                                 available to the indemnitee; and
    e. Prejudgment interest awarded against the                      (2) Provides us with written authorization to:
       insured on that part of the judgment we pay. If
       we make an offer to pay the applicable limit of                  (a) Obtain records and other information
       insurance, we will not pay any prejudgment                           related to the "suit"; and
       interest based on that period of time after the                   (b) Conduct and control the defense of the
       offer.                                                                 indemnitee in such "suit".
    f. All interest on the full amount of any judgment            So long as the above conditions are met,
       that accrues after entry of the judgment and               attorneys' fees incurred by us in the defense of
       before we have paid, offered to pay, or                    that indemnitee, necessary litigation expenses
       deposited in court the part of the judgment that           incurred by us and necessary litigation expenses
       is within the applicable limit of insurance.               incurred by the indemnitee at our request will be
    These payments will not reduce the limits of                  paid        as       Supplementary     Payments.
    insurance.                                                    Notwithstanding the provisions of Paragraph
                                                                  2.b.(2) of Section I – Coverages – Bodily Injury
 2. If we defend an insured against a "suit" and an               And Property Damage Liability, such payments will
    indemnitee of the insured is also named as a party            not be deemed to be damages for "bodily injury"
    to the "suit", we will defend that indemnitee if all of       and "property damage" and will not reduce the
    the following conditions are met:                             limits of insurance.
    a. The "suit" against the indemnitee seeks                    Our obligation to defend an insured's indemnitee
        damages for which the insured has assumed                 and to pay for attorneys' fees and necessary
        the liability of the indemnitee in a contract or          litigation expenses as Supplementary Payments
        agreement that is an "insured contract";                  ends when we have used up the applicable limit of
    b. This insurance applies to such liability                   insurance in the payment of judgments or
        assumed by the insured;                                   settlements or the conditions set forth above, or
    c. The obligation to defend, or the cost of the               the terms of the agreement described in
        defense of, that indemnitee, has also been                Paragraph f. above, are no longer met.
        assumed by the insured in the same "insured            SECTION II – WHO IS AN INSURED
        contract";                                             1. If you are designated in the Declarations as:
    d. The allegations in the "suit" and the information          a. An individual, you and your spouse are
        we know about the "occurrence" are such that                   insureds, but only with respect to the conduct
        no conflict appears to exist between the                       of a business of which you are the sole owner.
        interests of the insured and the interests of the
        indemnitee;                                               b. A partnership or joint venture, you are an
                                                                     insured. Your members, your partners, and
                                                                     their spouses are also insureds, but only with
                                                                     respect to the conduct of your business.




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    c. A limited liability company, you are an insured.         b. Any person (other than your "employee") or
       Your members are also insureds, but only with               any organization while acting as your real
       respect to the conduct of your business. Your               estate manager.
       managers are insureds, but only with respect             c. Any person or organization having proper
       to their duties as your managers.                           temporary custody of your property if you die,
    d. An organization other than a partnership, joint             but only:
       venture or limited liability company, you are an           (1) With respect to liability arising out of the
       insured. Your "executive officers" and directors               maintenance or use of that property; and
       are insureds, but only with respect to their
       duties as your officers or directors. Your                 (2) Until your legal representative has been
       stockholders are also insureds, but only with                  appointed.
       respect to their liability as stockholders.              d. Your legal representative if you die, but only
 2. Each of the following is also an insured:                      with respect to duties as such. That
                                                                   representative will have all your rights and
    a. Your "employees", other than either your                    duties under this Coverage Part.
       "executive officers" (if you are an organization
       other than a partnership, joint venture or limited    3. Any organization you newly acquire or form, other
       liability company) or your managers (if you are           than a partnership, joint venture or limited liability
       a limited liability company), but only for acts           company, and over which you maintain ownership
       within the scope of their employment by you or            or majority interest, will qualify as a Named
       while performing duties related to the conduct            Insured if there is no other similar insurance
       of your business. However, none of these                  available to that organization. However:
       "employees" is an insured for:                            a. Coverage under this provision is afforded only
       (1) "Bodily injury":                                         until the 90th day after you acquire or form the
                                                                    organization or the end of the policy period,
          (a) To you, to your partners or members (if               whichever is earlier; and
              you are a partnership or joint venture),
              to your members (if you are a limited              b. Coverage does not apply to "bodily injury" or
              liability company), or to a co-"employee"             "property damage" that occurred before you
              while that co-"employee" is either in the             acquired or formed the organization.
              course of his or her employment or             No person or organization is an insured with respect
              performing duties related to the conduct       to the conduct of any current or past partnership, joint
              of your business;                              venture or limited liability company that is not shown
          (b) To the spouse, child, parent, brother or       as a Named Insured in the Declarations.
              sister of that co-"employee" as a              SECTION III – LIMITS OF INSURANCE
              consequence of Paragraph (a) above;
                                                             1. The Limits of Insurance shown in the Declarations
          (c) For which there is any obligation to               and the rules below fix the most we will pay
              share damages with or repay someone                regardless of the number of:
              else who must pay damages because of
                                                                a. Insureds;
              the injury described in Paragraph (a) or
              (b) above; or                                     b. Claims made or "suits" brought; or
          (d) Arising out of his or her providing or            c. Persons or organizations making claims or
              failing to provide professional health               bringing "suits".
              care services.                                 2. The Aggregate Limit is the most we will pay for
       (2) "Property damage" to property:                       damages because of "bodily injury" and "property
                                                                damage" included in the "products-completed
          (a) Owned, occupied or used by;                       operations hazard".
          (b) Rented to, in the care, custody or             3. Subject to Paragraph 2. above, the Each
               control of, or over which physical control       Occurrence Limit is the most we will pay for
               is being exercised for any purpose by;           damages because of all "bodily injury" and
           you, any of your "employees", any partner            "property damage" arising out of any one
           or member (if you are a partnership or joint         "occurrence".
           venture), or any member (if you are a
           limited liability company).




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 The Limits of Insurance of this Coverage Part apply           d. No insured will, except at that insured's own
 separately to each consecutive annual period and to              cost, voluntarily make a payment, assume any
 any remaining period of less than 12 months, starting            obligation, or incur any expense, other than for
 with the beginning of the policy period shown in the             first aid, without our consent.
 Declarations, unless the policy period is extended         3. Legal Action Against Us
 after issuance for an additional period of less than 12
 months. In that case, the additional period will be           No person or organization has a right under this
 deemed part of the last preceding period for purposes         Coverage Part:
 of determining the Limits of Insurance.                       a. To join us as a party or otherwise bring us into
 SECTION IV – PRODUCTS/COMPLETED                                  a "suit" asking for damages from an insured; or
 OPERATIONS LIABILITY CONDITIONS                               b. To sue us on this Coverage Part unless all of
 1. Bankruptcy                                                    its terms have been fully complied with.
    Bankruptcy or insolvency of the insured or of the          A person or organization may sue us to recover on
    insured's estate will not relieve us of our                an agreed settlement or on a final judgment
    obligations under this Coverage Part.                      against an insured; but we will not be liable for
                                                               damages that are not payable under the terms of
 2. Duties In The Event Of Occurrence, Claim Or                this Coverage Part or that are in excess of the
    Suit                                                       applicable limit of insurance. An agreed settlement
    a. You must see to it that we are notified as soon         means a settlement and release of liability signed
       as practicable of an "occurrence" which may             by us, the insured and the claimant or the
       result in a claim. To the extent possible, notice       claimant's legal representative.
       should include:                                      4. Other Insurance
       (1) How, when and where the "occurrence"                If other valid and collectible insurance is available
           took place;                                         to the insured for a loss we cover under this
       (2) The names and addresses of any injured              Coverage Part, our obligations are limited as
           persons and witnesses; and                          follows:
       (3) The nature and location of any injury or            a. Primary Insurance
           damage arising out of the "occurrence".                 This insurance is primary. Our obligations are
    b. If a claim is made or "suit" is brought against             not affected unless any of the other insurance
       any insured, you must:                                      is also primary. Then, we will share with all that
      (1) Immediately record the specifics of the                  other insurance by the method described in b.
           claim or "suit" and the date received; and              below.
      (2) Notify us as soon as practicable.                    b. Method Of Sharing
       You must see to it that we receive written                 If all of the other insurance permits contribution
       notice of the claim or "suit" as soon as                   by equal shares, we will follow this method
       practicable.                                               also. Under this approach each insurer
                                                                  contributes equal amounts until it has paid its
    c. You and any other involved insured must:                   applicable limit of insurance or none of the loss
      (1) Immediately send us copies of any                       remains, whichever comes first.
           demands, notices, summonses or legal                   If any of the other insurance does not permit
           papers received in connection with the                 contribution by equal shares, we will contribute
           claim or "suit";                                       by limits. Under this method, each insurer's
      (2) Authorize us to obtain records and other                share is based on the ratio of its applicable
           information;                                           limit of insurance to the total applicable limits of
      (3) Cooperate with us in the investigation or               insurance of all insurers.
           settlement of the claim or defense against       5. Premium Audit
           the "suit"; and                                     a. We will compute all premiums for this
      (4) Assist us, upon our request, in the                     Coverage Part in accordance with our rules
           enforcement of any right against any                   and rates.
           person or organization which may be liable
           to the insured because of injury or damage
           to which this insurance may also apply.




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    b. Premium shown in this Coverage Part as                  SECTION V – DEFINITIONS
       advance premium is a deposit premium only.              1. "Auto" means:
       At the close of each audit period we will
       compute the earned premium for that period                 a. A land motor vehicle, trailer or semitrailer
       and send notice to the first Named Insured.                   designed for travel on public roads, including
       The due date for audit and retrospective                      any attached machinery or equipment; or
       premiums is the date shown as the due date                 b. Any other land vehicle that is subject to a
       on the bill. If the sum of the advance and audit              compulsory or financial responsibility law or
       premiums paid for the policy period is greater                other motor vehicle insurance law where it is
       than the earned premium, we will return the                   licensed or principally garaged.
       excess to the first Named Insured.                         However, "auto" does not include "mobile
    c. The first Named Insured must keep records of               equipment".
       the information we need for premium
                                                               2. "Bodily injury" means bodily injury, sickness or
       computation, and send us copies at such times
                                                                  disease sustained by a person, including death
       as we may request.                                         resulting from any of these at any time.
 6. Representations                                            3. "Coverage territory" means:
    By accepting this policy, you agree:                          a. The United States of America (including its
    a. The statements in the Declarations are                        territories and possessions), Puerto Rico and
       accurate and complete;                                        Canada;
    b. Those      statements       are   based    upon            b. International waters or airspace, but only if the
       representations you made to us; and                           injury or damage occurs in the course of travel
    c. We have issued this policy in reliance upon                   or transportation between any places included
       your representations.                                         in Paragraph a. above; or
 7. Separation Of Insureds                                        c. All other parts of the world if the injury or
                                                                     damage arises out of goods or products made
    Except with respect to the Limits of Insurance, and              or sold by you in the territory described in
    any rights or duties specifically assigned in this               Paragraph a. above;
    Coverage Part to the first Named Insured, this
    insurance applies:                                            provided the insured's responsibility to pay
                                                                  damages is determined in a "suit" on the merits, in
    a. As if each Named Insured were the only                     the territory described in Paragraph a. above or in
       Named Insured; and                                         a settlement we agree to.
    b. Separately to each insured against whom claim           4. "Employee"      includes    a    "leased   worker".
       is made or "suit" is brought.                              "Employee" does not include a "temporary
 8. Transfer Of Rights Of Recovery Against Others                 worker".
    To Us                                                      5. "Executive officer" means a person holding any of
    If the insured has rights to recover all or part of           the officer positions created by your charter,
    any payment we have made under this Coverage                  constitution, bylaws or any other similar governing
    Part, those rights are transferred to us. The                 document.
    insured must do nothing after loss to impair them.         6. "Impaired property" means tangible property, other
    At our request, the insured will bring "suit" or              than "your product" or "your work", that cannot be
    transfer those rights to us and help us enforce               used or is less useful because:
    them.
                                                                  a. It incorporates "your product" or "your work"
 9. When We Do Not Renew                                              that is known or thought to be defective,
    If we decide not to renew this Coverage Part, we                  deficient, inadequate or dangerous; or
    will mail or deliver to the first Named Insured               b. You have failed to fulfill the terms of a contract
    shown in the Declarations written notice of the                   or agreement;
    nonrenewal not less than 30 days before the
    expiration date.                                              if such property can be restored to use by the
                                                                  repair, replacement, adjustment or removal of
    If notice is mailed, proof of mailing will be sufficient      "your product" or "your work" or your fulfilling the
    proof of notice.                                              terms of the contract or agreement.




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 7. "Insured contract" means:                                 8. "Leased worker" means a person leased to you by
    a. A contract for a lease of premises. However,               a labor leasing firm under an agreement between
        that portion of the contract for a lease of               you and the labor leasing firm, to perform duties
        premises that indemnifies any person or                   related to the conduct of your business. "Leased
        organization for damage by fire to premises               worker" does not include a "temporary worker".
        while rented to you or temporarily occupied by        9. "Loading or unloading" means the handling of
        you with permission of the owner is not an                property:
        "insured contract";                                       a. After it is moved from the place where it is
    b. A sidetrack agreement;                                         accepted for movement into or onto an aircraft,
    c. Any easement or license agreement, except in                   watercraft or "auto";
       connection with construction or demolition                 b. While it is in or on an aircraft, watercraft or
       operations on or within 50 feet of a railroad;                 "auto"; or
    d. An obligation, as required by ordinance, to                c. While it is being moved from an aircraft,
       indemnify a municipality, except in connection                 watercraft or "auto" to the place where it is
       with work for a municipality;                                  finally delivered;
    e. An elevator maintenance agreement;                         but "loading or unloading" does not include the
    f. That part of any other contract or agreement               movement of property by means of a mechanical
       pertaining to your business (including an                  device, other than a hand truck, that is not
       indemnification of a municipality in connection            attached to the aircraft, watercraft or "auto".
       with work performed for a municipality) under          10. "Mobile equipment" means any of the following
       which you assume the tort liability of another             types of land vehicles, including any attached
       party to pay for "bodily injury" or "property              machinery or equipment:
       damage" to a third person or organization. Tort           a. Bulldozers, farm machinery, forklifts and other
       liability means a liability that would be imposed            vehicles designed for use principally off public
       by law in the absence of any contract or                     roads;
       agreement.
                                                                 b. Vehicles maintained for use solely on or next to
       Paragraph f. does not include that part of any               premises you own or rent;
       contract or agreement:
                                                                 c. Vehicles that travel on crawler treads;
      (1) That indemnifies a railroad for "bodily injury"
           or "property damage" arising out of                   d. Vehicles, whether self-propelled or not,
           construction or demolition operations, within            maintained primarily to provide mobility to
           50 feet of any railroad property and                     permanently mounted:
           affecting any railroad bridge or trestle,               (1) Power cranes, shovels, loaders, diggers or
           tracks, road-beds, tunnel, underpass or                     drills; or
           crossing;
                                                                   (2) Road construction or resurfacing equipment
      (2) That indemnifies an architect, engineer or                    such as graders, scrapers or rollers;
           surveyor for injury or damage arising out of:
                                                                 e. Vehicles not described in Paragraph a., b., c.
          (a) Preparing, approving, or failing to                   or d. above that are not self-propelled and are
              prepare or approve, maps, shop                        maintained primarily to provide mobility to
              drawings, opinions, reports, surveys,                 permanently attached equipment of the
              field orders, change orders or drawings               following types:
              and specifications; or                               (1) Air compressors, pumps and generators,
          (b) Giving directions or instructions, or                     including spraying, welding, building
              failing to give them, if that is the primary              cleaning, geophysical exploration, lighting
              cause of the injury or damage; or                         and well servicing equipment; or
      (3) Under which the insured, if an architect,                (2) Cherry pickers and similar devices used to
          engineer or surveyor, assumes liability for                   raise or lower workers;
          an injury or damage arising out of the
                                                                  f. Vehicles not described in Paragraph a., b., c.
          insured's rendering or failure to render
                                                                     or d. above maintained primarily for purposes
          professional services, including those listed              other than the transportation of persons or
          in Paragraph (2) above and supervisory,                    cargo.
          inspection, architectural or engineering
          activities.




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    However, self-propelled vehicles with the following         b. Does not include "bodily injury" or "property
    types of permanently attached equipment are not                damage" arising out of:
    "mobile equipment" but will be considered "autos":            (1) The transportation of property, unless the
       (1) Equipment designed primarily for:                          injury or damage arises out of a condition in
          (a) Snow removal;                                           or on a vehicle not owned or operated by
                                                                      you, and that condition was created by the
          (b) Road maintenance, but not construction                  "loading or unloading" of that vehicle by any
              or resurfacing; or                                      insured;
            (c) Street cleaning;                                   (2) The existence of tools, uninstalled
        (2) Cherry pickers and similar devices mounted                 equipment or abandoned or unused
             on automobile or truck chassis and used to                materials; or
             raise or lower workers; and                           (3) Products or operations for which the
        (3) Air compressors, pumps and generators,                     classification, listed in the Declarations or in
             including spraying, welding, building                     a     policy      Schedule,      states     that
             cleaning, geophysical exploration, lighting               products/completed          operations       are
             and well servicing equipment.                             included.
     However, "mobile equipment" does not include            13. "Property damage" means:
     land vehicles that are subject to a compulsory or           a. Physical injury to tangible property, including
     financial responsibility law or other motor vehicle            all resulting loss of use of that property. All
     insurance law where it is licensed or principally              such loss of use shall be deemed to occur at
     garaged. Land vehicles subject to a compulsory or              the time of the physical injury that caused it; or
     financial responsibility law or other motor vehicle
     insurance law are considered "autos".                      b. Loss of use of tangible property that is not
                                                                   physically injured. All such loss of use shall be
 11. "Occurrence" means an accident, including                     deemed to occur at the time of the
     continuous or repeated exposure to substantially              "occurrence" that caused it.
     the same general harmful conditions.
                                                                 For the purposes of this insurance, electronic data
 12. "Products-completed operations hazard":                     is not tangible property.
     a. Includes all "bodily injury" and "property               As used in this definition, electronic data means
         damage" occurring away from premises you                information, facts or programs stored as or on,
         own or rent and arising out of "your product" or        created or used on, or transmitted to or from,
         "your work" except:                                     computer software, including systems and
        (1) Products that are still in your physical             applications software, hard or floppy disks, CD-
             possession; or                                      ROMs, tapes, drives, cells, data processing
        (2) Work that has not yet been completed or              devices or any other media which are used with
             abandoned. However, "your work" will be             electronically controlled equipment.
             deemed completed at the earliest of the         14. "Suit" means a civil proceeding in which damages
             following times:                                    because of "bodily injury" or "property damage" to
            (a) When all of the work called for in your          which this insurance applies are alleged. "Suit"
                 contract has been completed.                    includes:
                                                                 a. An arbitration proceeding in which such
          (b) When all of the work to be done at the
                                                                     damages are claimed and to which the insured
              job site has been completed if your
              contract calls for work at more than one               must submit or does submit with our consent;
              job site.                                              or
                                                                 b. Any other alternative dispute resolution
          (c) When that part of the work done at a job
                                                                     proceeding in which such damages are
              site has been put to its intended use by
              any person or organization other than                  claimed and to which the insured submits with
              another contractor or subcontractor                    our consent.
              working on the same project.                   15. "Temporary worker" means a person who is
                                                                 furnished to you to substitute for a permanent
           Work that may need service, maintenance,
           correction, repair or replacement, but which          "employee" on leave or to meet seasonal or short-
           is otherwise complete, will be treated as             term workload conditions.
           completed.




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 16. "Your product":                                        17. "Your work":
     a. Means:                                                  a. Means:
       (1) Any goods or products, other than real                 (1) Work or operations performed by you or on
            property, manufactured, sold, handled,                     your behalf; and
            distributed or disposed of by:                        (2) Materials, parts or equipment furnished in
           (a) You;                                                    connection with such work or operations.
           (b) Others trading under your name; or               b. Includes:
           (c) A person or organization whose                     (1) Warranties or representations made at any
                business or assets you have acquired;                  time with respect to the fitness, quality,
                and                                                    durability, performance or use of "your
       (2) Containers (other than vehicles), materials,                work"; and
            parts or equipment furnished in connection            (2) The providing of or failure to provide
            with such goods or products.                               warnings or instructions.
    b. Includes:
      (1) Warranties or representations made at any
           time with respect to the fitness, quality,
           durability, performance or use of "your
           product"; and
      (2) The providing of or failure to provide
          warnings or instructions.
    c. Does not include vending machines or other
       property rented to or located for the use of
       others but not sold.




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 POLICY NUMBER: CPP-08129-E17-REG                                          COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 18 04 13

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       ADDITIONAL INSURED –
                  MORTGAGEE, ASSIGNEE OR RECEIVER
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                            Designation Of Premises

          Marquis Bank ISAOA/ATIMA                                   2801 Greene Street
          355 Alhambra Circle, Ste 1200                              Hollywood, FL 33020
          Coral Gables, FL 33134




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

 A. Section II – Who Is An Insured is amended to            C. With respect to the insurance afforded to these
    include as an additional insured the person(s) or          additional insureds, the following is added to
    organization(s) shown in the Schedule, but only            Section III – Limits Of Insurance:
    with respect to their liability as mortgagee,              If coverage provided to the additional insured is
    assignee, or receiver and arising out of the               required by a contract or agreement, the most we
    ownership, maintenance, or use of the premises             will pay on behalf of the additional insured is the
    by you and shown in the Schedule.                          amount of insurance:
    However:                                                   1. Required by the contract or agreement; or
    1. The insurance afforded to such additional               2. Available under the applicable Limits of
        insured only applies to the extent permitted by           Insurance shown in the Declarations;
        law; and
                                                               whichever is less.
    2. If coverage provided to the additional insured is
        required by a contract or agreement, the               This endorsement shall not increase the
        insurance afforded to such additional insured          applicable Limits of Insurance shown in the
        will not be broader than that which you are            Declarations.
        required by the contract or agreement to
        provide for such additional insured.
 B. This insurance does not apply to structural
    alterations, new construction and demolition
    operations performed by or for that person or
    organization.




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